  Case 4:17-cv-03821 jDocument 18- 79 Filed on 07/01/1940 TXSD Page 23 of 28
  Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 1 of 368

                                           KATHERINE TYRA
                                      HARRIS COUNTY DISTRICT CLERK




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                    «100 SAKTAbA AKA CAEHBD KAKTIUEZ                                                    ( 1 ) 0-0120655
  CAKMELO
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                                                                                                               Rat Cause LJb* : 632073 A
                                                                                                               ,X-X Court: 209
                                                                                                                                                             -
                                                                                                                        Appearance Dates                     100592

  Dsar: CAKJ2LC IIINO SALJTANA AKA CARMBO JSARTIi

  Please be advised that due to your failuf &yfco       in the above named Court
                                                                                                           ^ -01206555
                                                                                                          ^appearl) D


  of Harris County, Texas on the date shown above, a Judgment of Forfeiture has
  been issued          .
                This Judgment will be
  as to why you did not appear
                                            final unless good cause can be ahewn
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EXHIBIT 79 Page 023
                    301 FANNIN * PXX Box 4651                                *    HOUSTON, TEXAS 77210                  * (713) 755      -5711
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      Case 4:17-cv G3S2X Document 18-79 Filed on 07/01/19 in TXSD Page 24 of 28
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      Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 2 of 368

                               KATHERINE TYRA
                              HARRIS COUNTY DISTRICT CLERK




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 CARMELQ NINO SANTANA AKA CARMHO MARTINEZ (1)0 01206555                     -              V,
                                                                                                V

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                                                                            Re: Cause No : 632073 A
                                                                                           209
                                                                                                    .
                                                                                   Appearance Date; 100J92
                                                                                                                    -
                                               ,Xr}
  Dear: CARMELO NINO SANTANA AKA CARMEO MARTINEZli) D 01206555
  Please be advised that due
                                                         uaXa
                                                          the above named Court
                                           to your £ailureX$b appear in
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  of Harris County, Texas on the date shown afcove a Judgment of Forfeiture has
                                                  ,
  been issued. This Judgment will be madefinal unless good cause can be shown
  as to why you did not appear.        >v N v                           '


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                                                                            Raymond Posado, Manager
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                                                                            Post Trial Systems

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              301 FANNIN " PA)* Box 4651
EXHIBIT 79 Page 024
                                                     *     HOUSTON , TEXAS 77210   *                -
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                            Case 4:17- ev-G3821 Document 18- 79 Filed on 07/01/19 in TX5D Page 25 of 28
                            Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 3 of 368
              -                                                                          .
JUDG&jEfclT OF FORFEIT!>RE OF THE DISTRICT CRIMINAL COURT                             NO 209
                                                                                                         r
OF HAJRIS COUNTY, TEJAS
THE STMS OF TEXAS                                            DATS DEFENDANT FAILED TO
 . .. .
VS S F NO 632073 A                       -                   APPEAR: 100592
CARKELQ                 NINO SANTANA AKA CARUSO MARTINEZ (1) D-01206555
INTERNATIONAL FIDELITY INSURANCE CO ;                    .
BY SERVING HAROUO KLEIN, ATTOKdSY FOR SERVICE
5419 GOLF DRIVE                HOUSTON, TEXAS 77091                              AGENT: JO
     Tills day came the State of Texas by her attorney? and the h    of the Defendant,
CARMEL0 NINO SANTANA AKA CAKSEO MARTINEZ (1) D-01206555       , who stands charged by
INDICIMNT being duly and distinctly called at the door of the Courthouse to cone
into Court to answer the State of Texas on the charge of        FELONY    according to
the tenor and effect of his bend on file in this Court, but after a reasonable time
and the said Defendant be and the same is, declared for,     ed, and that the State of
Texas have and recover  of the said Defendant,
CARMESX) NINO SANTANA AKA CARMEO MARTINEZ (1) D-0120                                                 , as principal
the said {sureties if any);
INTERNATIONAL FIDELITY INSURANCE CO 1                    .
the sureties on said bend the sum of $ <2000.00 dollars Plus prejudgment interest .
at the rate of 6 percent on the face         f the bond, plus post judgment interest
                                                             .
                                          i judgment will be final unless good cause
at the highest rate allowable by law
be shown why the defendant did not
     It is further ordered that c
                                   appear
                                                                 ^.^
                                       ion issue to said sureties commanding them to
be and appear before this Court b      ling written answer with the District Clerk's
                                                                                                               ..
                                 ,

Office, Room 101A, 301 San Jaci     Houston, Texas 77002 at or before 10 o'clock a m
                                                         ^
of the Monday next after the e ration of the twenty days after the date of service
of this citation and show cause why judgment of forfeiture should not be made final
                                                     O
                                                                                                                .
     It is further ordere shat notice to the Defendant,
CAEMELO NINO SANTANA AKA  3MH0 MARTINEZ (1) D 01206555
deposited in the United itates mil directed tothe Defendant at the
                                                                       -
                                                                 as principal, be
                                                                   address shewn
on the bond                   .
              It is
                       ' !
                              further(
                                                                                             .- V.
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                                             ered that an alias capias issue for the arrest of the Defendant           .
              Judgment l isr Granted on                  OCT 0 6 1992
                                  ^
                                                                       Judge Presiding

                                      ANNEXED IN THE JUDGMENT MINUTES AT
                                                 .
                                               Vol       Page
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                      EXHIBIT 79 Page 025
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   Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 4 of 368




   Case 4:17-ev-G3821 Document 18- 79 Filed on 07/01/19 in TXSD Page 26 of 28



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EXHIBIT 79 Page 026
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              Case 4:1i - cv-03821 Document 18 - 79 Filed on 07/01/19 in JXSD Page 27 of. 28 .
     s*       Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 5 of 368
J.        '




                                  NO. 632073-A

     THE STATE OF TEXAS                                  §    IN Criminal District      Cmirr # 209

     VS   .                                              S
     Carnselo Nino Santana           aka    , ET AL §         OF HARRIS COUNTS, TEXAS
                         Martinez
                                           MOTION FOR REMITTITUR


     the above-entitled and numbered
     the bond amount upon payment by
                                      cause
                                      him of
                                            -
     COMES NOW, the Defendant Surety , Jo Betncourt Hr. // 4 03
                                            requesti
                                             court
                                                     ng
                                                   cost
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                                                        &  ^ remittit
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                                                                                        ^
                                                                              ^ ^^
     interest, and any costs incurred by the State pi returning the
     Defendant Principal to custody in Harris Counfc Jl tnd in support of
                    -
     which would show the Court the following:
                                                        I.

     The bond was forfeited on the following                             e:    October 5 th. 1992

                                                        II.

                           -
     The Defendant Principal was return                           to custody in Harris County
     on the following date:     October                           1992

     WHEREFORE, PREMISES CONSIDERED Xpife Defendant-Surety requests that
                                                    ^
     he be discharged from liabilit =bn the bond upon payment of court
                                                     ^
     costs, prejudgment interest, aikd any cost incurred by the State in
     returning the Defendant-Prin pal to custody in Harris County in
                                                    ^        .
     accordance with Article 22| 1@, V.A C.C.P.
                                                ^
                                                              Respectfully submitted,



                                                              SURETY / ATTORNEY FOR .SURETY
                                                                                      # 74303
                                                                   Jo    Betncourt     Lie
                                                VERIFICATION
                                                                  t
     I have readCpie foregoing Motion for Remittitur and represen toto
              <|
     the Court|  fat the facts set out therein are true and correct
                     ^
     the best qt my knowledge and belief.
                   ^

                                                              SURETY / ATTORNEY
                                                              /                       FOR SURETY
                                                                  Jo Betncourt       Lie. # 74303

     APPROVED:
                    S O
     RETURN COSTS = '         -      '




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                                                          Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 6 of 368             «




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[A    AKA CARME                                                  Cl
                     CRIMINAL CAUSE NUMBER:                      O
> 555
    Principal
                     COURT NUMBER:       203                                                                                                    Ift
r
     INSURANCE CO .* ;ATTORNEYS FOR DEFENDANT:
     Sureties                                                                                                                                    I!




     Sureties

                                T7
     Sureties


                     ATTORNEY   FOR STATE:                                        DATE NOTICE OF APPEAL

                                                                                  DATE BOND FILED                        30TH DAY
                                                                                                                                                    !

„    Page                                                                                                                50TH DAY                   I
                                                                                                                                                      i

                                                                                                                         GOTH DAY

                                                                                  DATE MANDATE FILED                     19

                     DISPOSITION:                                                                                                                         i




                                                                                        ACTION;                                                       :
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                     DATE ENTERED:
                                                                                                                                                          :
                     ANNEX TO GENERAL MINUTES VOL.             PAGE                    o,
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                     PAID                RECEIPT NO   .                                                                                             !



                     DATE MOTION FOR NEW TRIAL FILED                                                                                                  P
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                     RECEIPT NO.:                                                                               >
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                     DATE MOTION FOR NEW TRIAL OVERRULED
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                     DATE MOTION FOR NEW TRIAL GRANTED
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                     VOLUME                     PAGE
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 7 of 368

                13847940101C / Court: 337




                EXHIBIT 80




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             Case
              Case4:17-cv-03621
                   4:l?-cv-Q3S21 Document
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DeArsqelo, Lori

From;                                 Tls« Natalie
Sent;                                 Friday, April 24, 2015 11:05 AM
To;                                   DeAngeio, Lori
Cc;                                   Wood, Justin; Gillie, Kerry
                                      RE: Obei Cruz -Garda case


Hi Lon,

Lynn sent me a copy of the Brady motion last week and I printed out all my saved emails on this case and gave them to
her , I think Justin and Kerry' Gillie did the same, ! posted multiple Brady notices on this case that included everything
that 1 could think of that might be considered Brady. This Included references to the Bromwich report and some other
documents pertaining to the crime lab, a report that dealt with problems with the latent fingerprint people, and some
prior inconsistent statements made by my witnesses and criminal history, i listed all of that in the Brady notice I gave to
the defense prior to trial, I also turned over copies of statements to the defense and had printouts of criminal history
available for inspection In the State's hie.

There were no offers or promises made to any witness to testify and, with regard to Rudy, that was pretty hotly debated
In the trial. The simple fact is, however, that Rudy testified because           I s death was weighing on him,, and he
decided that he finally wanted to do the right thing. The defense sent their own investigator to interview him prior to
trial and they were unable to uncover any "secret deal" because their simply 'wasn't one, Rudy never asked for anything
                                                                                          ,


and It was never even a topic of discussion, we ultimately did not file on Rudy because it was our position after
consulting with appellate that under the facts of our case and the story that he told us, he was not a party under the
law. Any conversations I had with Ray Castro were either in person or by phone and they Involved setting up
appointment times when he was available to go to the jail with us to meet with Rudy, We did not have discussions with
him pertaining to making a deal for his client' s participation in the case at any time because Rudy was adamant that he
wanted to tell his story and did not ever attempt to negotiate a deal. Ray testified to this in the trial.

We never told any of our witnesses not to speak to the defense, in fact, as 1 said earlier ., the defense sent an
investigator to interview Rudy in the jail and he willingly spoke to them from my understanding without his attorney
present, i know the defense also went out and Interviewed other witnesses, including some of the people we did not
                                  .
subpoena and did not call at trial I know Diana chose not to talk to the defense, but that was her choice not mine I.
always tell my witnesses that they have a choice. We provided copies of ait statements and reports to the defense
whether we called the witnesses to testify or not .

I was told by the original defense team (Shellist and Capitaine) that Cruz Garcia had been a confidential informant for
the FBI In Puerto Rico. I had a meeting with an FBI agent, Eric Johnson, who worked our capital case and asked him to
research and verify that. He was unable to verify it. I did not find any emails that addressed this conversation and my
memory is that it was only discussed in a face to face meeting that I had with him and a subsequent phone call. There
are a few emails from the feds regarding getting a buccal swab from Rudy that are pretty Innocuous, They basically just
are passing on to me the procedure that they follow and the fact that they are In the process of getting it done.

if you need anything else, ! am glad to help. Thanks for all your efforts on this case.

Natalie




          EXHSBST 80 Page 001
                                                                                                           0001736
                 Case
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                                                                                  Page9 2ofof368
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From: DeAngelo, Lori
S&nti Thursday, April 23, 2015 2:28 PM
             ,
To: T?$e Natalie
Subjects FW: Obe! Cruz-Gatda case

Hey there. !'m going to be handling this case. The Office of Capital Writs has made a lengthy Brady request in this
      .                                                                                                           -
case Please take a look at their attached Brady motion and see if you can think of anything regarding items 1 10 on
             -                                                                                                .
pages 4 5, Genera! litigation has the State' s file, l should be getting it sometime late tomorrow or Monday After
you' ve had a chance to think about this,, let me know a good time that we can talk about it , Thank you!


Front: Hardaway, Lynn
                                   ,
Sent: Wednesday, April 22 2015 4:32 PM
To: DeArsgeio, Lori
Subject: FW: Qbe! Cruz-Garcia case - 90 day extension

See attached motions. I have already told habeas counsel that I do not oppose his request for a 30- day extension.

Lynn


Promt Robert Romlg OliifeiMMitiMiilSiiSMJgmasy]
Sent: Wednesday, April 22, 2015 3:37 PM
To: Hardaway, Lynn
Subject: RE: Gbei Cruz-Garcia case - 90 day extension

Thanks Lynn, Here are the two motions put in the mail today, I would Just note that on the Brady motion, we have
gone ahead and asked for any potential Brady material in the files, but particularly the specific Items listed In my email
previously.

Best regards,
Robert


R, Romlg
      -
Post Conviction Attorney-
Office of Capital Writs
512-463-8522




  #   VvAv
|J||f Office of Capita: Wm$
From: Hardaway, Lynn [:mate:HARIMWAT JLyf1Miidad:.:hefc< bet]
Sent: Wednesday, April 22, 2015 10:59 AM
                                            :                .
To: Robert Romlg
Subject: RE: Obel Cruz-Garda ease - 90 day extension

if this is the statutory extension allowed to habeas counsel, I have no objection.


             EXHSBST 80 Page 002                             2
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                                                                             Page103of
                                                                                    of368
                                                                                       3
*
    Lynn
*
    Front; Robert Ronrdg
    Sent; Wednesday, April 22, 2015 9:41 AH
    To? Hardaway, Lynn
    Subject? Gbel CruzGarcia case - 90 day extension

    Lynn,
                                                         -                                     -
       We are planning on fifing a motion requesting a 30 day extension of time in the Obef Cruz Garda case, I know in the
    past y'aii have not opposed such extensions, but I wanted to make sure that was stifl the case ?

    Best regards,
    Robert


    Robert Romig
        -
    Post Conviction Attorney
    Office of Capital Writs
    1700 Congress Avenue, Suite 460
    Austin,. Texas 78701
       -
    512 483-8322




                       of Capita! WriC




            EXHIBIT 80 Page 003                                3
                                                                                                           0001738
 Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 11 of 368            4/9/2021 1 :54 PM
                                                           Marilyn Burgess - District Clerk Harris County
                                                                                Envelope No . 52314513
                 13847940101C / Court : 337                                             By : E Lane-Orton
                                                                                Filed: 4/9/2021 1 : 54 PM

                IN THE 337 TH JUDICIAL DISTRICT COURT
                        HARRIS COUNTY, TEXAS

                                   AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §             Writ No.
                            §             Trial Court Case No:
                            §            1384794
                            §
                Applicant . §             CAPITAL CASE
                            §
                            §
                            §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
                EXHIBITS 81 THROUGH 90
                                  Jeremy Schepers (Texas 24084578)
                                  Supervisor , Capital Habeas Unit
                                  David Currie (TX 24084240)
                                  Naomi Fenwick (TX 24107764)
                                  Assistant Federal Public Defender
                                  Office of the Federal Public Defender
                                  Northern District of Texas
                                  525 S. Griffin St ., Ste . 629
                                  Dallas, Texas 75202
                                  jere my _schepers@fd .or g
                                  (214) 767 - 2746
                                  (214) 767 - 2886 (fax)

                                   Counsel for Obel Cruz -Garcia



                                                                               0001739
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 12 of 368

                13847940101C / Court: 337




                EXHIBIT 81




                                                                      0001740
  Case
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         4:17- cv-03621Document
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                      DECLARACION DE ELEDEMAS MERCEDES FANA


Mi nombre es Eledemas Mercedes Fana y tenge 73 anos. Vivo enPuerto Rico a pies en la Republics
Dominicans.

Yo conod a Obel Cruz-Garcia cuando su famiiia se mudo de Santo Domingo a Boba . Era vecino
de su famiiia y muy amigo con su papa, Valerio “Hungria” de la Cruz que foe creado en Boba .

Cuando Obel tenia como 17 anos se mudo a Puerto Rico . En ese tiempo, muchas personas se iban
a Puerto Rico para ganar mas dinero y se lo mandaban a sus familias aca . Despues que el se habia
ido a Puerto Rico, Hungria me pregunto si le podria ayudar a construir un almacen en su propiedad
al lado de su casa. Le dije que si y lo empezamos a. construir . Solo pudimos terminal el suelo y
                                                                                         ’


poner cuatro columnas hasta que se nos acabo el dinero . No teniamos para comprar mas materiales
y lo dejamos asi sin terminal- .

Unos cuantos anos despues, cuando Obel estaba fuera del pais, le empezo a. mandar dinero a su
papa para seguir construyendo porque tenia intenciones de regresar y vivir con su famiiia. Hungria
me dijo que le queria construir una casa a Obel para cuando regresara a vivir en la Republica
Dominicana. Obel le mandaba dinero para seguir construyendo y a vec-es Hungria tambien pagaba
por los materiales con su propio dinero . Hungria extranaba mucho a su hijo y se puso muy feliz
cuando le dijo que queria regresar . En ese tiempo estaba yo viviendo en Santo Domingo . Hungria
me pregunto si le podia ayudar y me regrese a Boba para ayudarlo a construir la casa. Nos tardamos
anos para terminar la casa .

Cuando Obel regreso, el tambien nos ayudo a terminar la casa. En ese tiempo el tambien era chofer
de guagua . La rata de Obel iba a Santo Domingo, Higuey, y Boba.

Despues de terminar la casa Obel abrio una pescaderia abajo . AM vivid hasta que Obel se foe a
vivir con Mireya a Santo Domingo y despues a Puerto Rico donde foe arrestado . Nunca lo volvi a
ver despues de eso.

Hasta ahora, nadie del equipo legal de Obel me habia contactado o pedido que testificara en el
juicio de el . Si me hubieran preguntado, habria estado dispuesto y podria testificar en el juicio de
Obel en 2013 de lo que declare arriba.

Yo declare bajo pena de perjurio bajo las leyes de la Republica Dominicana que lo anterior es
verdadero y correcto.
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Eledemas Mercedes Fana



EXHIBIT 81 Page 001
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                                                 07/01/19   TXSD
                                                              TXSDPage
                                                                   Page142of
                                                                          of 368
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                      STATEMENT OF ELEDEMAS MERCEDES FANA


My name is Eledemas Mercedes Fana, and I am 73 years old . I five in Puerto Rico at the foot of
the Dominican Republic (sic).

I met Ob el Cruz-Garcia when his family moved from Santo Domingo to Boba I was a neighbor
of his family and a very close friend with his father, Valerio “Hungria” de la Cruz who was raised
in Boba.

When Obel w'as around 17 years old he moved to Puerto Rico. During that time, a lot of people
went to Puerto Rico to earn more money , and they would send it back to their families over here.
After he had left to go Puerto Rico, Hungria asked me if I could help him build a shop in his
property next to his house. I told him yes, and we started building it . We were able to finish only
the floor and install four columns until we ran out of money . We did not have any money to buy
more materials, and we left it unfinished .

A few years later, when Obel was out of the country' , he started sending money to his father to
continue building because he had the intention of coming back and live there with his family .
Hungria told me that he wanted to build a house for Obel for him to live there when he came back
to live in the Dominican Republic . Obel was sending money to him to continue building, and
sometimes Hungria would also pay for the materials with his own money . Hungria missed his son
very much , and he was very happy when he told him that he wanted to go hack . During that time,
I was living in Santo Domingo. Hungria asked me if I could help him, and I returned to Boba to
help him build the house. I took us years to finish the house.

When Obel returned, he also helped us finish the house . During that time, he was also a bus driver .
Obel ’ s route went to Santo Domingo, Higuey, and Boba    ,




After finishing the house, Obel opened up a fish store downstairs . He lived there until Obel went
to live with Mireya in Santo Domingo and later to Puerto Rico where he was arrested . I never saw
him aeain after that.

Up to now', nobody from Chefs legal team had contacted me or asked me to testify in his trial . If
they had asked me, I would have been willing and could have testified in Obel ’ s trial in 2013 about
what I stated above.

I state under penalty of perjury' under the law's of the Dominican Republic that the above is true
and correct.

Signed [illegible] of November, 2018

             s/
Eledemas Mercedes Fana



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                  DECLARACION BE JUAN CARLOS ADAME MARTINEZ



Me llamo Juan Carlos Adame Martinez y tengo 34 anos. Vivo en Rio San Juan, en la Republica
Domini cana.

Yo conod a Obel Cruz Garcia ouanda yo tenia 14 aiios. Obel ya era hombre y habia regresado a
la Republica Dominicana despues de haber vivido en los Estados Unidos un tiempo . El vino a
                                                                                     /


pescar a Playa Grande, que esta cerca de mi casa. Obel salio en yoia para pescar . El me contrato
para ayudarle con los remos. A veces estaba muy cansado despues de pescar y se quedaba a
dormir aqul en mi pueblo de Matapuereo . Se quedaba con un senor mayor llamado Ariano Sosa
y su esposa Benencia Lantigua. Obel les dejaba pescado a ellos para comer y vender y el se
llevaba el resto. Obel quiera asegurar que nos les faltara comida ni dlnero para arroz y cosas asi .
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Asi era con otra gente de Matapuereo. Les daba mas de lo que el vendla.
   .




La pesca era trabajo peligroso. El mar podia ser bravo, las yolas eran chicas, y a veces, se
volteaban , Una yola volteada no la podiamos arreglar en el mar abierto. Tenlamos que nadar
hasta la playa cargando la yola. Regresar con suficiente pescado era la diferencia en comer o
estar sin comida para la gente quien vivian aqui . Obel trabajaba duro para regresar con pescado .
Yo estaba muy impresionado con la determination de Obel .
El papa de Obel, Hungria, vino con el frecuentemente a Playa Grande. Porque ya era mayor, no
se subia regularmente en la yola, y se quedaba en la playa a supervisar . Solo entraba en el mar si
necesitabamos consejo o ayuda Lin dia, estuve pescando con Obel y su papa. Ese dia, la yola se
                                ,


volteo como 3 veces y cada vez tuvimos que cargaria a la playa para ponerla bien de nuevo y
volver al mar . La ultima vez que volteo ia yola, el papa de Obel se quedo atorado debajo de la
yola. Ya estaba demasiado cansado y no podia salir. Obel nado debajo de la yola v rescato a su
papa, jalandolo hasta la playa.
Una vez, un hombre llamado Jivo encontro un reloj en la playa. Luego otro hombre llamado
Yuma, se lo robo y Obel lo encontro y le dijo que el tal vez Dios le habia regalado el reloj a Jivo
por si neeesitaba dinero en el future por alguna emergencia. Obel ayudo que le volvieran el reloj
a Jivo.
Durante ese tiempo, mucha gente queria salir de la Republica Dominicana e irse a Puerto Rico
donde habia trabajo y page decente. Muchas personas de mi pueblo de Matapuereo fueron. Yo
tambien queria ir pero mi familia me dijo que no .

Ni los abogados ni nadie mas del grupo de defensa de Obel se comunicaron con migo hasta ahora.
Si me hubieron pedido, yo podria haber tesxificado en el juicio de Obel del 2013 .

He leido esta declaration de 2 paginas . Yo declare bajo pena de perjurio bajo las leyes de los
Estados Unidos que lo anterior es verdad y correct© .

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Juan Carlos Adame Martinez




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                                                                    Page193of
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                      STATEMENT OF JUAN CARLOS ADAME MARTINEZ



My name is Juan Carlos Adame Martinez, and I am 34 years old . I live in Rio San Juan, in the
Dominican Republic.

I met Obel Caiz Garcia when I was 14 years old . Obel was a grown man already, and he had
returned to the Dominican Republic after living in the United States for some time . He came to
fish at Playa Grande, which is close to my house. Obel would go out in his yawl to fish . He hired
me to help him with the paddles. Sometimes he was very tired after going fishing, and he would
stay and sleep here in my town, Matapuerco. He used to stay with a man named Ariano Sosa and
his wife Benencia Lantigua. Obel would leave fish for them to eat and to sell, and he would take
the rest. Obel wanted to make sure that they did not lack any food nor money for rice and things
like that . That’ s the way he was with the people in Matapuerco. He used to give them more that
what he used to sell to them .

Fishing was a dangerous job . The sea used to be rough, and the yawls were small, and sometimes,
they would overturn . We were not able to fix an overturned yawl in the middle of the sea. We
used to have to swim to the beach carrying the yawl . Returning with enough fish made the
difference as to whether or not we had food to eat, or whether the people who lived there would
be without food . Obel worked hard to be able to return with fish . I was very impressed with
Obel ’ s determination .

Obel ’s father, Hungria, often came with him to Playa Grande. Because he was elderly, he did not
get on the yawl on a regular basis, and he would stay on the beach to supervise. He would only
go out into the sea if we needed advice or help . One day, I was fi shing with Obel and his father.
That day, the yawl overturned about 3 times, and each time we had to cany it to the beach, so that
we could fix it again and return to the sea. The last time the yawl overturned, Obel ’ s father got
stuck under the yawl . He was very tired, and he was not able to get out. Obel swam under the
yawl, and he rescued his father, pulling him to the beach .

On one occasion, a man named Jivo found a watch on the beach . Then, another man named Yuma,
stole it from him, and Obel found him, and told him that maybe God had given that watch to Jivo
as a gift, in case he needed money in the future for an emergency . Obel helped in getting the watch
returned to Jivo.

During that time, a lot of people wanted to leave the Dominican Republic and go to Puerto Rico
where there were jobs for decent pay . A lot of people from my town of Matapuerco went. I also
wanted to go, but my family told me not to do it.




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Neither the attorneys, nor anybody else from Obel ’ s defense team got in touch with me until now.
If they had asked me, I could have testified in Obel ’ s trial in 2013 .

I have read this 2-page statement. I state under penalty of perjury under to the laws of the United
States that the above is true and correct.

Signed November 29, 2018 in Playa Grande, Dominican Republic.

             /S/
Juan Carlos Adame Martinez




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                EXHIBIT 83




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308, ia Institucion albergaba custodia minima y mediana. Ha pasado tanto tiempo que
  Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 23 of 368
no recuerdo ei ano. No era el sociopenal asignado al caso de Obel, pero en mi rol de
supervisor y presidenta del Comite de Clasificacion y Tratamiento, yo me daba la
oportunidad de conocer y hablar con todos los confinados. Recuerdo especialmente el
caso de Obel.

Vi a Obel frecuentemente porque la mayoria del tiempo se encontraba en las areas
comunes de la prision, limpiando. No se si eso era un trabajo oficial o no mas que Obel
estaba ayudando. Fue ubicado en la poblacion general y podia estarfuera de su celda.

En mis conversaciones con Obel, me di cuenta que se sentia muy atribulado. Ei sentia
el peso de las consecuencias de su pasado. Demostraba como un sufrimiento
existencial. No hablamos especificamente sobre el tema de su crimen, pero era obvio
que el estaba arrepentido y que tenia la intencion de mejorar su vida.

En mis anos de trabajar aqui, he visto muchos confinados con sentencias largas, unos
se cierran perdiendo la oportunidad de cambiar , otros cambian y empiezan a ser
personas diferentes y mejores, puedo reconocer la diferencia., en Obel note que el
parecia uno de los que estaba en proceso de cambiar para mejorar.

Obel hablaba mucho de Dios. Tenia una fe muy fuerte. Tambien, hablaba sobre su amor
a su mujer y sus hijos y de la tristeza por el sufrimiento que ellos tenian. Ei sabia que la
culpa era por las acciones de el; estaba muy avergonzado.

Yo nunca escuche ninguna queja acerca del Obel, ni de los guardias ni de los otros
confinados. No recuerdo que tuvo problemas disciplinarios. Aunque estuvo preso por
un delito serio y tenia una condena larga. Obel no fue considerado un riesgo de seguridad
ni de otros problemas en la carcel, que yo recuerde. En mi opinion, Obel no presento
ningun riesgo de seguridad.

Ni los abogados ni nadie mas del grupo de defensa de Obel se comunicaron conmigo
hasta ahora . Si me hubieran pedido, yo podria haber testificado en el juicio de Obel
desde el 2013.

He leido esta deciaracion de una pagina. Yo declaro bajo pena de perjurio bajo las leyes
de los Estados Unidos que lo anterior es verdad y correcto.

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Dai     Melendez




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                            STATEMENT OF DAISY MELENDEZ


My name is Daisy Melendez . I am 55 years old . I live in San Juan, Puerto Rico, and I work
as a supervisor of the Prison Social Work (,Socio-Penal) Division of the Department of
Corrections and Rehabilitation . I have 30 years of service . I started in 1989, and I am currently
located at the Detention Center Bayamon 1072.

I met Obel Julian Cruz Garcia when he was confined in the Bayamon Institution 308. The
Institution was a minimum and medium security facility . A long time has gone by, so I don’t
remember the year. I was not the prison social worker assigned to Obel’ s case, but in my role
as a supervisor and president of the Classification and Treatment Committee, I allowed myself
the opportunity to meet and talk with all of the inmates. I especially remember Obel’s case.

I saw Obel frequently because most of the time he was in the common areas of the prison, cleaning.
I don’t know if that was an official j ob or not, but Obel was helping. He was placed with the general
population, and he could be outside of his cell .

During my conversations with Obel, I noticed that he felt very troubled . He felt the weight of the
consequences from his past. He showed something like an existential suffering. We did not talk
specifically about the topic involving his crime, but it was obvious that he was repentant, and that
he had the intention of making his life better .

During my years of working here, I have seen a lot of inmates with long sentences . Some of
them close themselves up, losing the opportunity to change, some others change and start being
different, better persons. I can tell the difference; I noticed that Obel seemed to be one of the
ones that was in the process of changing to better himself .

Obel used to talk about God a lot. He had a very strong faith . Also, he would talk about his love
for his wife and his children and about the sadness due to the suffering that they were going through .
He knew it was his fault because of his actions . He was very ashamed .

I never heard any complaints about Obel, neither from the guards, nor from the other inmates . I
don’t remember him having any disciplinary problems, even though he was locked up for a serious
crime, and he had a long sentence. Obel was not considered a security risk, and he did not have
any other problems in jail either, not that I remember . In my opinion, Obel did not present any
security risk .

Neither the attorneys, nor anyone else from Obel’ s defense group contacted me until now. If
they had asked me, I could have testified in Obel’s trial since 2013 .

I have read this one page statement. I state under penalty of perjury that under the laws of the
United States, the above is true and accurate.


Signed February 22, 2019

             /s/
Daisy Melendez

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                       DECLARATION DE IDALIA PEREZ DE LA CRUZ


Mi nombre es Idalia Perez de la Cruz, y tengo 71 ahos de edad . Vivo en Bella Vista de Boba en la
Republica Dominicana .

Yo conozco a Obei Cruz Garcia desde que se mudo a Boba con su papa, Valerio “ Hungria” Julian
                                                 -
de 1a Cruz y sus hermanos. Obei tenia como 10 12 alios .
      .




Antes que se mudaron a Boba, Hungria estuvo en el hospital en Santo Domingo mucho tiempo
porque le habia choeado uti carro. Despues que Hungria salio del hospital, su esposa, Dali a, lo dejo
y se mudo a Venezuela . Hungria se mudo a Boba con sus hijos, pero Dalia eventualmente se llevo
a la hembra mayor , Noemi y despues a la menor, Natalia, a vivir con ell a en Venezuela. No se
Hevo a Obei ni a su hermano menor, Joel .

Yo era la vecina de la mama de Hungria, Ramona, y su padrastro, Enrique. Vivimos en varias
casas en el pueblo de Boba porque los huracanes las destruia, pero siempre nos quedabamos cerca
de la casa de Ramona. El papa de Hungria no era Enrique, era un hombre 11amado Regino . Regino
era el primer esposo de Ramona. Regino tuvo varios ninos con varias mujeres. Ramona lo dejo
porque Regino no estaba bien de la cabeza. El se puso loco y ella lo dejaba atrancado en un cuarto.
Se hacia popo y se lo comla y se ponia bravo. Le tenlati que amarrar los brazos porque la queria
danar. Ramona tuvo que atenderlo y lo alimentaba . El murio antes de que se mudaron Hungria. y
los ninos.

Cuando Obei era joven , el se eailo del techo de la casa de Ramona . Agua estaba entrando a la casa
y Obei se subio al techo para ver si lo podia arreglar . Obei se resbalo, se callo del techo, y se pego
bien duro en la cabeza . Era una herida a la cabeza severa y tuvo que tener co-sriR&s para cerr r la
herida . Obei se lastimo otras veces tambien .                                                    ^
A Obei le gustaba compartir con la genre, trataba a todos como famiiia. Obei me traia comida
cuando el y su papa cocinaban. Yo preparaba el arroz y ellos la sopa de pescado y compartiamos
la comida .

Yo soy una hermana de la iglesia evangelica aqui en Bella Vista de Boba Obei y su famiiia venian
                                                                           ,


a la iglesia frecuentemente. El era un buen nifio y muy humilde. El se encarino con mi hija, Mari .
Ellos se veian en la iglesia y hablaban. Yo les dije que si se querian ver que lo tenian que hacer en
mi casa porque no los queria en la calle . Obei queria mucho a Mari. Ellos tuvieron una relacion
muy bonita e inocente cuando estaban en Boba .

Durante ese tiempo muchos se estaban yendo a Puerto Rico de la Republica Dominicana. En Puerto
Rico la gente encontraba mas trabajo y les mandaban dinero a sus familias acd en Boba . Antes las
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casas estaban hechas de madera y jagua y la lluvia y los huracanes las destruian, pero ahora hay
mas casas de bloques de cemento por el dinero que la gente mandaba de Puerto Rico.




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Mari fue unas de las primeras a irse a Puerto Rico en yota. Las yolas son unos barcos de madera y
sin motor . Se usan remas en vez de motor. Yo estaba muy preocupada para Mari y ore todas las
noches por elia hasta que llego a Puerto Rico varios dias despues. Me ilamo y me dijo que habia
llegado bien.

Despuds de que se fue Mari, Obel se caso con una mujer llamada Mireya. El despues se fue a
Puerto Rico en una yola, como Mari, para buscar major trabajo. Anos despues, Obel y Mari se
encontraron en Puerto Rico y tuvieron una hija juntos, Stefany . Aunque Mari y Obel no se
quedaron juntos, el cuidaba a Stefany . Cuando regreso a la Republics Dominicana, el la venia a
ver y le compraba helado, juguetes, y ropa .

Si me hubieran preguntado, halin'a estado dispuesta y podrta testificar en el juicio de Obel en 2013 .

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                            STATEMENT OF IDALIA PEREZ DE LA CRUZ


My name is Idalia Perez de ia Cruz, and I am 71 years old . I live in Bella Vista de Boba in the
Dominican Republic.

I’ve known Ob el Cruz Garcia since he moved to Boba with his father, Valerio “ Hungria” Julian
de la Cruz and his siblings. Ob el was around 10-12 years old .

Before they moved to Boba, Hungria was in the hospital in Santo Domingo for a long time because
he had been hit by another car in a car crash . After Hungria got out of the hospital, his wife, Daiia,
left him , and she moved to Venezuela. Hungria moved to Boba with his children, but Daiia
eventually took the oldest girl with her, Noemi , and later she took the younger one, Natalia, to go
live with her in Venezuela . She did not take Ob el , nor his younger brother, Joel .

I was the neighbor of Hungria’ s mother, Ramona, and his stepfather, Enrique. We lived in several
houses in the town of Boba because the hurricanes destroyed them , but we always stayed near
Ramona’ s house . Hungria ’ s father was not Enrique, he w as a man named Regino. Regino was
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Ramona’ s first husband . Regino had several children with several women . Ramona left him
because Regino was not mentally stable . He became crazy, and she would lock him up in a room .
He would have a bowel movement, and he would eat it, and he would get angry . They had to tie
up his arms because he 'wanted to hurt her . Ramona had to take care of him , and she fed him . He
died before Hungria. and the children moved .

When Obel was very young, he fell from the roof of Ramona ’ s house . Water was leaking into the
house, and Obel went up on the top of the roof to see if he could fix it . Obel slipped and fell from
the roof, and he hit his head very hard . It was a serious injury to his head, and he had to have
stitches to close the wound . Obel also got hurt on other occasions .

Obel liked to share with people, he treated everyone as family . Obel used to bring me food when
he and his father cooked . 1 prepared the rice, and they would prepare the fish soup, and we shared
the food .

I am a sister of the evangelical church here in Bella Vista de Boba. Obel and his family used to
come to church often . He was a good child and very? humble . He got close to my daughter,
Mari . They would see each other in church, and they talked . I told them that if they wanted
to see each other, it had to be in my house because I did not want them out in the street. Obel
loved Mari very much . They had a very? beautiful and innocent relationship when they were
in Boba .

During that time, many w^ere going to Puerto Rico from the Dominican Republic . People would
find more work in Puerto Rico, and they would send money back to their families here in Boba.
In the past, the houses w'ere made out of wood and genipap trees, and the rain and the hurricanes
would destroy them, but now, there are more houses made out of cement blocks due to the money


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                                                                    Page304of
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that the people were sending from Puerto Rico.

Mari was one of the first ones to go to Puerto Rico in a yawl . The yawls are ships made out of
wood and without a motor. Paddles are used instead of a motor. I was very worried about Mari,
and I prayed every night for her until she arrived in Puerto Rico several days later . She called me
and told me that she had arrived and she was fine .

After Mari left, Obel married a woman named Mireya . Later, he left for Puerto Rico in a yawl, as
Mari did, to look for a better job . Years later, Obel and Mari met in Puerto Rico, and they had a
daughter together , Stefany . Even though Marl and Obel did not stay together, he would take care
of Stefany . When he returned to the Dominican Republic, he used to come over to see her and
w'ould buy her ice cream , toys and clothes.

If they had asked me, I would have been willing, and I could have testified in ObeLs trial in 2013 .

I read this 2-page statement . I state under penalty of perjury under the laws of the United States
that the above is true and correct.

Signed November 28, 2018.

                  / s/
Idaiia Perez




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                                                                                     1 of 17
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                                  DECLARACION DE JOEL CRUZ GARCIA

        Yo, Joel Cruz Garcia declaro lo siguiente:

        1.       Mi nombre es Joel Cruz Garcia. Soy el hermano menor de Obel Cruz-Garcia,
        quien tiene como 5 anos mas que yo.

        2.       En 2013, testifique en el juicio de Obel en Houston. Obel y yo nos crecimos en
        Boba, un pueblito rural en la Republica Dominicana. Nacimos en el capital, Santo
        Domingo, pero cuando yo tenia entre 5 a 7 anos, y Obel tenia entre 10 a 12, mis
        padres se separaron. Nuestra madre se mudo a la Republica de Venezuela, dejandonos
        solos con nuestro padre. Como adulto, yo veia a Obel de vez en cuando. El vivia entre
        Puerto Rico y la Republica Dominicana. Obel era buen padre quien trabajaba y asistia
        a la iglesia. Aunque me di cuenta que Obel fue a la prision en Puerto Rico por un
        secuestro, antes yo no tenia conocimiento de que Obel se habia metido en drogas o
        actividades criminales.

        3.       Cuando me di cuenta que Obel era acusado de un asesino en Houston, busque
        dinero para contratar con unos abogados. El abogado que contrate se llamaba
        Christian Capitaine, con su socio. No era tan facil encontrar dinero para pagar a los
        abogados. Tuve que pedir contribuciones de mucha gente de varias iglesias. En fin,
        junte como $40,000 para la defensa de Obel, la mayoria de mi propio trabajo.

        4.       Yo pense que Sr. Capitaine trabajo duro para defender a Obel y me decepciono
        muchisimo cuando me dijo que no pudo seguir en el caso de Obel porque los fiscales
        decidieron pedir la pena de muerte. Para esa hora, ya todo el dinero que recaudamos
        fue gastado.

        5.       Los abogados nuevos en el caso, casi no me hablaron. Elios se comunicaron
        conmigo por medio de una investigadora que se llamaba Edna Velez. Hablabamos
        varias veces sobre el telefono. Aun asi, ella solamente tenia interes en mi relacion con
        Obel como adulto. Como la dije, nos vimos cuando los dos estabamos en la misma
        ciudad en Puerto Rico, pero cada uno tenia su vida. Recuerdo que la investigadora
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 me pidio los nombres de los hijos de Obel y de las madres. Yo nunca hable con ella
 sobre alguien en Puerto Rico quien pudiera haber ayudado con la defensa de Obel
 porque no conocia quien estuviera importante para la defensa. La investigadora nunca
 hablo sobre las estrategias del equipo de defensa o por que hablar con cierta gente
 seria importante. Entonces, le di los nombres que pidio y nada mas.

 6.      No conod a la investigadora en persona; solamente hablabamos por telefono.
 Que yo sepa, nadie del equipo de defensa vino a Puerto Rico. Si conod a los abogados
 de Obel una vez, en Houston, inmediatamente antes de mi testimonio en el juicio.

 7.      Para mi, parecfa que el trabajo de los abogados se apresuro. Recuerdo que no
 coordinaban las cosas bien. Por ejemplo, cuando pidieron que yo testificara, me
 reservaron un vuelo para ir hacia Houston. Yo les dije que la hora elegida no me sirvio
 porque tenia que hacer un trabajo comunitario a esa hora. Por fin, yo tuve que
 comprar un boleto nuevo porque ellos nunca arreglaron el problema. No estaba
 familiarizado con la area de Houston y ellos me habian prometido ayuda la cual me
 la dieron de recogerme para el hotel y despues al juicio a testificar. Pero de alii,
 desaparecieron y no me devolvieron al hotel ni al aeropuerto. Tuve que encontrar la
 manera yo solo.

 8.      Si los abogados de Obel me hubieron pedido, les hubiera podido darles los
 nombres de la gente quienes querian a Obel y que le conocieron desde su ninez.
 Tambien, habia informacion del ninez de Obel que me gustaria haber compartido con
 el jurado; mucho mas de que me preguntaron durante me testimonio.

 9.      Cuando estuve en el primer grado, mi papa tuvo un accidente horrible. Yo no
 estuve presente cuando paso pero recuerdo el caos que sobrevino. A mi papa le
 pusieron algo de metal en su pierna y tenia una cicatriz larga en su abdomen culpa
 del accidente y las cirugias siguientes. Tambien tenia una cicatriz en su brazo. Aunque
 recupero del accidente, siempre tenia dolor en su pierna cuando se hacia frio y se
 notaba algo en su manera de caminar.



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 10.  Antes del accidente, mi papa era marinero en la marina de la Republica
 Dominicana. Tambien era medico. No doctor, pero practicante de medicina. Era buen
 trabajo y temamos mucho orgullo de el. Pero despues del accidente, tuvo que dejar
 a la marina.

 11.  Poco despues del accidente, mi madre dejo a la familia para vivir en Venezuela.
 Me han dicho dos versiones de porque mi mama nos dejo. Mis abuelos en Boba
 dijeron que ella era mujer mala que abandono a su familia no por ninguna razon mas
 de que era egoista. La familia de mi mama dice que se fue porque todas las mujeres
 de mi papa vinieron al hospital despues del accidente y asi se dio cuenta mi mama
 que habia sido muy infiel. Aunque paso mucho tiempo, mi madre nunca lo explico.
 Sin embargo, Obel y yo nos sentiamos abandonados por nuestra mama.

 12.    Despues de que se fue nuestra mama, mi papa mando a Obel, mi hermana
 Natalia, y yo para quedar con sus padres en Boba. Viviamos entre la casa de mi papa
 en Santo Domingo y la casa de mis abuelos en Boba para un ano. Perdimos un ano
 de escuela por culpa de eso. Al fin, todos fuimos a vivir con mis abuelos en Boba.
 Noemi se quedo con nosotros para poco tiempo antes de que llegaron sus papeles
 de inmigracion y ella se fue donde nuestra mama en Venezuela.

 13 .     En Boba, vivimos con los padres de mi padre y algunos de nuestros tios en una
 pequena comunidad agricola y pesquera. La casa era de dos recamaras y hecha de
 madera. Aunque la casa era chica, mi abuela aceptaba cualquier visitante o nino que
 necesitaba donde quedar. Mi abuelo y mi papa trabajaban para proveer lo necesario.
 En Boba hasta los ninos necesitaban trabajar para hacer dinero y encontrar comida.
 Alii los ninos jugaban menos de los de Santo Domingo. Todavia habia pelota y domino
 pero tambien habia que ayudar con la siembra y la pesca.

 14.   Obel trabajaba muy duro cuando nos mudamos a Boba. En las mahanas fue a
 pescar con los hombres para traer pescado para comer y para vender. Por eso, Obel
 tuvo que asistir clases en las tardes.



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15.    Obel tambien ayudo a nuestro papa en su trabajo de medico. Mi papa abrio
una clfnica rural en el pueblo porque en ese tiempo, no habfa ningun doctor cerca.
Era el unico lugar para recibir atencion medica para todos los pueblos cercanos. Mi
papa tenia mucha medicina y libros de medicina. El ayudaba a las personas que fueron
a la clfnica o iba donde ellos si era necesario. La gente vinieron con toda enfermedad
-   dolores de cabeza, cortadas de machete, y enfermedad general. Mi papa ayudaba a
todos. Obel y Natalia aprendieron dar inyecciones.

16.      Obel me cuidaba y se hizo encargado de asegurar que yo tenfa todo lo que
necesitaba. Me acuerdo que me defendfa de otros ninos. El defendfa personas que
estaban siendo intimidados. El me dio a mf lo mejor de todo, como comida, porque
yo era el menor.

17.      Pienso que Obel tomo mucha responsabilidad en la familia despues de que se
fue nuestra mama. Credo demasiado rapido. Yo notaba que le dolfa que nuestra
mama y hermana se fueron. Pero el hizo lo necesario para cuidarnos y trabajaba duro
para asegurar que la familia estaba bien. No hablabamos de como nos sentfamos
cuando se fueron mama y Noemf. Pienso que Obel se sentfa abandonado, pero dejo
toda la tristeza adentro de si mismo. Se quedo enfocado en trabajar fuerte para
proveer para la familia. Era obvio que de muy joven, a Obel era muy importante
proveer por y proteger a su familia. Eso es algo que note cuando el era adulto con
sus propios hijos.

18.   Despues de estar unos anos en Boba, nuestro papa volvio a casarse. Con la
nueva esposa, nos mudamos a otro pueblo cercano, llamado Bella Vista de Boba. La
madrastra, Dorca, nunca nos acepto como hijos. Ella querfa tener sus propios hijos, y
si lo logro eventualmente. Era obvio que a Dorca no le gustaba a nosotros,
especialmente despues de que tuvo sus propios bebes. Dina a mi papa " jEstos hijos
tuyos ! " como brava.

19.      Cuando nuestra madrastra tuvo a sus bebes, Obel, Natalia, y yo tenfamos que
cuidarles. Dorca era maestra y trabajaba lejos, dejando los nenes con nosotros. Obel

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cocinaba y limpiaba y hizo todo que pidio de el. Nunca era suficiente para la madrastra
y, porque el era el mayor, mas de la responsabilidad y mas del castigo le llego a el.

20.     Recuerdo que una vez estabamos cuidando a nuestros hermanitos, Menny y
Yeli, y habfa chocolate calentando. Mi hermanito, Menny, se acerco y lo tumbo encima
de el y se quemo. Cuando se dio cuenta Dorca, me acuso a mi y ni quiso escuchar de
lo que paso. Asi siempre era ella. Otra vez, me acuerdo que Dorca se puso brava con
nosotros mientras que estuvo lavando los panales de Menny. Dorca quejaba y gritaba
a mi papa. El, para calmarla a ella, tomo el balde lleno de agua sucia y popo y lo tiro
encima de Natalia y yo.

21 .    Nuestro papa no querfa desagrada a Dorca. El se puso distante y menos
carinoso con nosotros despues de que se caso con ella. Nos disciplinaba mas
frecuentemente, normalmente porque ella lo pedia, aunque de veras no hicimos nada
malo. Si intentamos decirle algo diferente de lo que dijo ella, no nos escuchaba .

22.     Papa siempre tomaba mucho. No era bravo cuando era borracho, pero si era
irresponsable. Frecuentemente manejaba tornado y cuando andaba tornado no nos
pudo cuidar. Una vez, unos amigos de mi papa me ofrecieron alcohol. Cuando dije
"no," se burlaban de me, diciendo que no era posible que yo era hijo de Hungria por
el hecho de no querer tomar alcohol.

23.     Obel se caso muyjoven con una mujer llamada Mireya. Es posible que se caso
para poder escapar a la casa y la colera de Dorca. No era matrimonio oficial. En este
tiempo, muy poca gente se casaba oficialmente, con licencia y en la iglesia, porque
costaba mucho dinero. Dos personas simplemente empezaron a vivir juntos y dijeron
que eran casados. Eso es lo que hicieron Obel y Mireya.

24.     Obel se fue para Puerto Rico cuando tenia como 19 anos. Era una epoca muy
diffcil economicamente en la Republica Dominicana. Un tiempo despues, Mireya
tambien fue a Puerto Rico, viviendo con otro hombre. Eventualmente, ella y Obel
regresaron a vivir juntos como esposos.


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                                                                      Page38
                                                                           6 of 17
                                                                                368


25.    Mucha gente de la Republica Dominicana se mudo a Puerto Rico en esa epoca.
Bajo la administracion del presidente Jorge Blanco, la economia dominicana estuvo
muy malo y a la gente sufria economicamente. Obel queria hacer una vida mejor para
si mismo y tener la oportunidad de ayudar a la familia, mandando dinero hacia alia.

Tambien yo me mude a Puerto Rico unos anos despues, queriendo lo mismo.

26.      En un momento en que nosotros dos estabamos en Puerto Rico, yo conod al
hombre que llamabamos " Rudy" y a su prima, Angelita. Obel y Angelita empezaron a
tener una relacion. Yo pienso que Angelita y Rudy ya estaban en el negocio de drogas
y que ellos son los que ensenaron a Obel todo lo que era el vicio. En un momento,
los tres se fueron a los Estados Unidos. Obel nunca me conto de que el andaba en
vender drogas. Pienso que queria protegerme de eso. No era parte de su vida que el
compartia con su familia.

27. Cuando Obel regreso a Puerto Rico en los 90, trabajaba duro para ser buen papa
y proveedor. Recuerdo que viajaba entre Puerto Rico y la Republica Dominicana para
ver a sus hijos. Tenia varios trabajos y hasta recogio latas para entregarlas por dinero
cuando no habia otro trabajo. Lo mas importante para el era poder cuidar a sus hijos.
Sea o no que participo en drogas, Obel fue respetado en la comunidad y por su
familia. Aunque Obel se quedo cerrado con respecto a su vida personal - algo que
aparentemente empezo a pasar cuando nuestra madre se fue - era increiblemente
carihoso y de apoyo con los demas. Le encantaba estar rodeado de gente y hacer que
se sintieran bien.

28.      Yo sabia que Obel trabajaba por el gobierno de los Estados Unidos por un
periodo de tiempo como informante. Algunas veces vi a Obel con un hombre que se
llamaba Wilson Pellot. El era agente de una agenda de los Estados Unidos. Una vez
se juntaron el y Obel en mi casa. Otra vez, Obel me llamo del edificio del
Departamento de Justicia de Estados Unidos en San Juan y me pidio traerle ropa. A
poco Obel habia regresado de un viaje muy pesado donde habia sufrido mucho. El
proposito del viaje era traer a un secuestrador, Sandy Pichardo, desde la Republica
Dominicana para enfrentar a la justicia en Puerto Rico.

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                                                                        Page39
                                                                             7 of 17
                                                                                  368


 29.            Creo que el gobierno de los Estados Unidos lo pago bien por su trabajo
ayudando los agentes. Mi entendimiento era que su trabajo consistia en ayudar al
gobierno obtener informacion para arrestar a los criminales. Pero Obel no hablaba
mucho de este trabajo. No se si es que era prohibido hablar de eso o si quiso
protegernos del peligro que vino en el trabajo como informante.

30.             Si me hubieran dado mas oportunidad de estar involucrado en el juicio de Obel
en Houston, le habria dicho al jurado mas acerca de como fue para nosotros cuando
nuestra mama y hermana mayor nos abandonaron. Le habna dicho al jurado que Obel
tuvo que madurar demasiado    rapido, y que el comenzo a actuar como un padre para
mi cuando yo tenia solo cinco ahos. Le habna dicho al jurado que Obel dejo de hablar
acerca de sus sentimientos, y que el nunca nos dejo ver que el se sentia triste o solo.
El era muy carinoso con y cuidaba a los demas, pero muy cerrado sobre si mismo. A
una edad muy joven, fue determinado a ayudar a la familia y nunca queria que sus
hijos u otros miembros de su familia tuvieran dificultades con respecto al dinero.

31.     Aunque no se exactamente por que Obel se involucro con las drogas, creo que
el creia que era la unica manera de que un joven de un pueblo pequeno y pesquero
en la Republica Dominicana podria alcanzar exito en el mundo. Me hubiera gustado
tener la oportunidad de explicarle mas sobre esto al jurado, con la esperanza de que
hubiera entendido que Obel es una persona buena que se encontro atrapado en un
oficio peligroso. Las drogas estaban por todas partes en Puerto Rico y Republica
Dominicana entre los 80 y 90. Creo que, cuando Obel maduraba, trato de cambiar su
vida y compensar para los errores de su juventud. Creo que es a causa de eso que se
convirtio en un informante del gobierno y porque llego a ser tan dedicado a su fe en
los ultimos veinte ahos. Yo creo que si Obel hubiera sido condenado a la pena
perpetua, pasaria el resto de sus dias ayudando a otros a explorar su fe y hacer una
vida mejor para si mismos.

32.             Yo hubiera testificado a lo anterior durante mi testimonio en 2013, si los
abogados de la defensa me hubieron preguntado.


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 He lefdo esta declaracion de 8 paginas. Yo declaro bajo pena de perjurio bajo las leyes
 de los Estados Unidos que lo anterior es verdad y correcto.



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                                                                     Page41 of 17
                                                                          9 of 368




                          STATEMENT OF JOEL CRUZ GARCIA


I, Joel Cruz Garcia state the following:


    1. My name is Joel Cruz Garcia. I am Obel Cruz-Garcia’s younger brother , who is
about 5 years older than me.


    2. In 2013, I testified in Obel’s trial in Houston. Obel and I grew up in Boba, a small
rural town in the Dominican Republic. We were born in the capital, Santo Domingo, but
when I was between 5 and 7 years old, and Obel was around 10 to 12, our parents got
separated. Our mother moved to the Republic of Venezuela, leaving us by ourselves with
our father. As an adult , I saw Obel once in a while. He used to live in both Puerto Rico
as well as the Dominican Republic. Obel was a good father who worked and attended
church. Even though I realized that Obel went to prison in Puerto Rico for kidnapping,
prior to that , I did not have any knowledge of Obel getting involved with drugs or any
criminal activity.


    3. When I found out that Obel was being accused of being a murderer in Houston, I
looked for ways to get money to hire some attorneys. The name of the attorney that I
hired was Christian Capitaine and his partner. It was not easy to find money to pay for
the attorneys. I had to ask for contributions from people from several churches. I was
able to get around $40, 000 for Obel’s defense, mostly from my own job.


    4. I thought that Mr. Capitaine worked hard to defend Obel, and I was very
disappointed when he told me that he could not continue working on Obel’s case because
the State Attorneys decided to ask for the death penalty. By then, all the money that we
had gathered was already spent.


    5. The new attorneys in the case hardly ever talked to me. They contacted me
through an investigator named Edna Velez. We talked on the phone several times. Even
so, she was only interested in my relationship with Obel as an adult. As I mentioned to

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her, we saw each other when both of us were in the same city in Puerto Rico, but each
one of us had his own life. I remember that the investigator asked me to give her the
names of Obel’s children and their mothers. I never talked to her about anybody in Puerto
Rico who could have helped with Obel’s defense because I did not know who would be
important for the defense.     The investigator never talked about the defense team’s
strategies, or about why it would be important to talk to certain people. So, I only gave
her the names that she asked for and nothing else.


    6. I did not meet the investigator in person; we would only talk via telephone. As far
as I know, nobody from the defense team came to Puerto Rico            ,   I did meet Obel’s
attorneys once, in Houston, immediately before my testimony in the trial.


    7. It seemed to me that the attorneys’ work was rushed. I remember that they did not
coordinate things right.    For instance, when they asked me to testify, they got a
reservation for me for a flight to Houston. I told them that the time that they chose was
not good for me because I had to do some community work at that time. I ended up
having to buy the ticket because they never fixed the problem . I was not familiar with the
Houston area, and they had promised to help me, which they did when they picked me
up at the hotel and then later on to the trial to testify. But after that , they disappeared,
and they did not take me back to the hotel, nor to the airport. I had to figure it out by
myself.


    8. If Obel’s attorneys had asked me, I could have given them the names of people
who loved Obel, and who knew him since he was a child            ,   There was also some
information about Obel’s childhood that I would have liked to share with the jury; much
more than what they asked me during my testimony.


    9. When I was in first grade, my father had a horrible accident. I was not present
when it happened, but I remember the chaos that resulted. They put something made
out of metal in my father’s leg, and he had a long scar on his abdomen due to the accident
and the subsequent surgeries. He also had a scar on his arm. Even though he recovered

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from the accident , he always felt pain in his leg when the weather was cold, and it was
somehow noticeable in the way he walked.


    10. Before the accident , my father was a Marine in the Navy of the Dominican
Republic. He was also a medic. Not a doctor , but would practice in the medical field. He
did a good job, and we were proud of him. But after the accident , he had to leave the
Navy.


    11. Shortly after the accident , my mother left the family to go live in Venezuela. They
have told me two versions about why my mother left us. My grandparents in Boba said
that she was a bad woman who abandoned her family for no reason other than being
selfish. My mother’s family says that she left because when all of the women that my
father had came to the hospital after the accident , that’s is how my mother found out that
he had been very unfaithful.     Even though a lot of time went by, my mother never
explained it. Nevertheless, Obel and I felt abandoned by our mother.


    12. After our mother left , my father sent Obel, my sister Natalia, and me to stay with
his parents in Boba. We lived in both houses, between my father’s house in Santo
Domingo and my grandparents’ house in Boba for one year. Because of that , we lost one
year of school. We all ended up living with my grandparents in Boba. Noernf stayed with
us for a short period of time before her immigration papers arrived, and she left to be with
our mother in Venezuela.


    13. In Boba, we lived with my father’s parents and with some of our aunts and uncles
in a small agricultural and fishing community. The house had two bedrooms, and it was
made out of wood. Even though the house was small, my grandmother welcomed any
visitor or child who needed a place to stay. My grandfather and my father worked to
provide for our necessities. In Boba, even the children needed to work to make money
and find food. The children there played less than the ones in Santo Domingo. There
were still ball games and dominoes, but it was also necessary to help with sowing the
seeds and with fishing.

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    14. Obel worked very hard when we moved to Boba. In the mornings, he went fishing
with the men to bring fish to eat and to sell. That is why Obel had to go to school in the
afternoons.


    15. Obel also helped our father in his job as a medic. My father opened a rural clinic
in town because during that time, there was not a single doctor nearby. That was the
only place to get medical attention for all of the nearby towns. My father had plenty of
medicine and medicine books. He used to help the people who went to his clinic, or he
would go visit them , if necessary. People came with all types of illnesses - headaches,
cuts caused with a machete, and general illnesses. My father used to help everybody.
Obel and Natalia learned how to apply injections.


    16. Obel used to take care of me, and he was in charge of making sure that I had
everything I needed. I remember that he used to defend me from other children. He
defended people who were being intimidated. He gave me the best of everything, such
as food, because I was the youngest.


    17. I think that Obel acquired too much responsibility in the family after our mother
left. He grew up too fast. I noticed that he was hurt when our mother and sister left. But
he did whatever was necessary to take care of us, and he used to work very hard to make
sure that the family was okay. We did not talk about how we felt when our mother and
Noemf left. I think that Obel felt abandoned, but he kept all of the sadness inside him .
He stayed focused in working hard to provide for the family. It was obvious that since a
very young age, it was very important for Obel to provide for and to protect his family.
That is something I noticed when he was an adult regarding his own children.


    18. After some years of being in Boba, our father remarried. We moved to a nearby
town called Bella Vista de Boba with the new wife.        The stepmother, Dorca, never
accepted us as her children. She wanted to have her own children, and she accomplished
that eventually. It was obvious that Dorca did not like us, especially after she had her

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own babies. She would tell my father “ these children of yours !” as if she were angry.


    19. When our stepmother had her babies, Obel, Natalia, and I had to take care of
them . Dorca was a teacher , and she used to work far away, leaving the children with us.
Obel used to cook and clean; he did everything that was asked of him . It was never
enough for the stepmother , and because he was the oldest , he had more responsibility
and received more of the punishment.


    20. I remember one time when we were taking care of our younger siblings, Menny
and Yeli, and there was some chocolate being heated. My little brother Menny got close
to it , and he knocked it over , and it fell over him , and he burned himself. When Dorca
found out , she accused me, and she did not even want to hear what happened. She was
always like that. I remember another time when she got angry at us while she was
washing Menny’s diapers. Dorca was complaining, and she was yelling at my father. To
calm her down, he took the bucket filled with dirty water and feces, and he threw it on top
of Natalia and me.


    21. Our father wanted to please Dorca. He became distant and less loving with us
after he married her. He would discipline us more often, usually, because she would ask
him to do so, even though we really did not do anything wrong. If we attempted to tell
him something different than what she told him , he would not listen to us.


    22. Our father always used to drink a lot. He did not get angry when he was drunk,
but he was irresponsible. He frequently drove drunk, and when he was drunk, he was
not able to take care of us. On one occasion, some of my father’s friends offered me
alcohol. When I said “ no, ” they would make fun of me, telling me that it was not possible
for me to be Hungria’s son due to the fact that I did not want to drink alcohol.


    23. Obel got married very young to a woman named Mireya. It is possible that he got
married so that he could escape from our house and Dorca’s rage. It was not an official
marriage. During that time, very few people got married officially with a license and by

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the church because it would cost a lot of money. Two people would simply start living
together and say that they were married. That is what Obel and Mireya did.


    24. Obel left to go to Puerto Rico when he was around 19 years old. It was a very
difficult economic period of time in the Dominican Republic during that time. Some time
later, Mireya also went to Puerto Rico, living with another man. Eventually, she and Obel
got back together to live as husband and wife.


    25. A lot of people from the Dominican Republic moved to Puerto Rico during that
period of time.       Under the administration of President Jorge Blanco, the Dominican
economy was very bad, and the people suffered financially. Obel wanted to make a better
life for himself and have the opportunity to help the family by sending money over there.
I also moved to Puerto Rico some years later , wanting to do the same.


    26. At some point when both of us were in Puerto Rico, I met a man we called “ Rudy”
and his cousin, Angelita. Obel and Angelita started having a relationship. I think that
Angelita and Rudy were already in the business of drugs, and that they are the ones who
taught Obel everything about the vice. At some point , the three of them went to the United
States. Obel never told me that he was selling drugs. I think that he wanted to protect
me from that. He did not share that part of his life with his family.


    27. When Obel returned to Puerto Rico in the 90’s, he used to work very hard so that
he could be a good father and provider. I remember that he used to travel between Puerto
Rico and the Dominican Republic to see his children. He had several jobs, and he would
even pick up cans to exchange them for money when there was not any other job. The
most important thing for him was to be able to take care of his children. Whether he
participated in drugs or not , Obel was respected in the community and by his family. Even
though Obel remained closed with respect to his personal life - something that apparently
started happening when our mother left - he was incredibly loving and supportive with
others. He loved to be surrounded by people and to make them feel good.


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    28. I knew that Obel worked for the government of the United States as an informant
for a period of time. Sometimes I saw Obel with a man named Wilson Pellot. He was an
agent at an agency in the United States. He and Obel got together at my house on one
occasion. On another occasion, Obel called me from the building of the Department of
Justice of the United States in San Juan, and he asked me to bring him some clothes.
Obel had just come back from a very tough trip where he had suffered a lot. The purpose
of the trip was to bring a kidnapper, Sandy Pichardo, from the Dominican Republic to face
justice in Puerto Rico.


    29. I think that the government of the United States paid him well for his work helping
the agents. My understanding was that his job consisted in helping the government obtain
information to arrest criminals. But Obel did not talk much about that job. I don’t know if
it is prohibited to talk about that , or if he wanted to protect us from the danger that went
along with working as an informant.


    30. If they had given me more opportunity to be involved in Obel’s trial in Houston, I
would have told the jury more about how it was for us when our mother and oldest sister
abandoned us. I would have told the jury that Obel had to mature very fast , and that he
started acting like a father to me when I was only five years old. I would have told the
jury that Obel stopped talking about his feelings, and that he never let us see that he felt
sad or lonely. He was very loving with everyone and took care of them , but anything that
had to do with him , he kept very much to himself. At a very young age, he was determined
to help the family, and he never wanted his children or other family members to have any
difficulties with respect to money.


    31. Even though I don’t know exactly why Obel got involved with drugs, I believe that
he thought that was the only way that a young guy from a small fishing town in the
Dominican Republic could be successful in this world. I would have liked to have the
opportunity to explain more about this to the jury, with the hope that they would have
understood that Obel is a good person who found himself trapped in a dangerous trade.
The drugs were everywhere in Puerto Rico and the Dominican Republic around the 80’s

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    and 90’s. I think that , when Obel was becoming more mature, he tried to change his
    life and compensate for the mistakes that he made during his youth. I believe that
    because of that , he became an informant for the government and why he became a
    firm believer in his faith during the last 20 years. I believe that if Obel had been
    sentenced to a life sentence, he would spend the rest of his life helping others to
    explore their faith and to make a better life for themselves.


    32.1 would have testified the above during my testimony in 2013, if the defense
attorneys had asked me.


I have read this 8-page statement. I state under penalty of perjury under the laws of the
United States that the above is true and correct.


Signed February 17, 2019



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                  DECLARACION DE MAAGAR1TA MARTINEZ ZORR1LLA


  Me Ilamo Margarita Martinez Zoriila. Tengo 48 afios de edad . Vivo en Higuey , Republica
  Dominicana .

  Yo era esposa de Carmeio “Rudy” Martinez Santana. Nos conocimos y casamos en Higuey en el
  afto 1989. Yo conod a Angelita Rodriguez y a Obel Cruz Garda . Yo me crie con Angeiita y Rudy
  aqui en Higuey . Me hice buena amiga de Obel cuando nos conocimos en Houston.

  Rudy se fue en 1987 a Houston a buscar trabajo, consiguio residencia y regreso a la Republica
  Dominicana en 1989 para que nos casaramos. Poco despues que me case con Rudy me fui con el
  a Houston .
  Llegue a Houston el 4 de julio del 1989. Acuerdo de la fecha exacta porque era una celebration .
  Ahi conoci a Obel y Angelita que tambien estahan casados. Rudy conocio a Obel en Puerto Rico
  cuando foe a visitar a su Camilla .

  Yo, Rudy, Angelita y Obel nos fuimos a Puerto Rico a visitar un tio de Rudy. Alii salio
  embarazada de Junior Nos quedamos ahi. Obel y Rudy se regresaron a Houston primero y dos
                         ,



  meses despues se fue Angelita . Yo me quede sola en Puerto Rico con el tio de Rudy por 5 meses
  antes de regresar a Houston. Me fui a Houston para reunirme con Rudy en el 1990. Era el dia de
  las madres y pensamos que yo iba a tener menos problemas con la inmigracion en ese dla. Junior
  nacio en Houston, en el hospital Lyndon B . Johnson, en julio del 1990 .

  Cuando viviamos en Houston, Rudy esiaba usando mucha cocalna y se ponia bravo por cualquier
  cosa. Tambien, Rudy tomaba mucho y salia con otras mujeres. El salia a todas boras del dla y me
  clejaba sola en nuestro apartamento en Houston con el bebe . Solamente tenia 20 ados y me sentia
  muy sola. Era un tiempo muy difici! para mi .

  La situation se puso peor y Rudy empezo a ser violente con migo. Si le preguniaba donde estaba
  se ponia violente conmigo. Deje de hacerle preguntas por miedo de el. El me pegaba v se iba y
  cuando regresaba decia que estaba arrepentido pero despues volvia hacerlo . Nunca llame a la
  policia porque no tenia papeles de estar en los Estados Unidos. Ahora me mostraronun reporte de
  la policia del 1991 que describe como yo intente salir del apartamento con Junior cuando Rudy
  vino borracho un dia y me pego muy foerte. Rudy me mordio en la espalda y los brazos . La policia
  vino y vieron las mordidas y los moretones en mi cara donde me pego. Lo que esta en el reporte
  es verdad y paso asi, pero prefiero no acordarme de eso. No ptenso que foi yo quien ilamo a ia
  policia, A lo major era la vecina quien vio a Rudy asaMndome quien Ilamo a la policia.

  En Houston, Angelita tenia un negocio de salon de belleza en su propio apartamento. Muchas de
  las mujeres dominicanas foeron con ella para arreglar su pelo . Yo no vi ninguri probfema entre
  Angelita v Obel . Si se que tenian problemas en embarazarse .

  Yo fui con Obel y Angelita por ayuda cuando Rudy se ponia violente. Obel era la unica persona
\ qryempodta  caimarlo . Obel era una persona excelente . Obel era muy bueno con migo, no como
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              Rudy . Obel era maravilloso con Junior, tambien. Nos traia comida y panales cuando Rudy no
              proveia lo necesario .

              Cuando yo estaba embarazada con nuestro segundo hijo, Jonathan, Rudy me abuandono y empezo
              a vivir con otra mujer en Houston . Ella era ciudadana o residente permanente. Elios tuvieron un
              hijo, Enrique. For eso, yo me fui a vivir en Nueva York con un prime mio hasta que nacio Jonathan.
              Yo regrese a. la Republica Dominicana cuando Junior tenia 4 anos y Jonathan tenia 4 meses. No
              he regresado a los Estados Unidos desde entonces.

              Regrese a casarme en la Republica Dominicana y este hombre ha sido el padre: verdadero a mis
              hijos porque era el que los crio, no Rudy .

              Mis hijos no quieran nada que ver con su papa, Rudy . Elios como que tienen resentimiento hacia
              el . A veces viene porque vive con su familia al lado de nosotros pero no hablamos muclio con el .

              Despues de regresar a la Republica Dominicana se muri 6 mi papa y empece a ver a un psicologo.
                                                                                         .

              Tengo dificultades durmiendome, casi no duermo, a veces tomo lloro mucho, cosas asl. Tomo
              medicamento que me ayuda un poco con mi depresion . Me regalaron un pero para que me ayude
              tambien . Mi hijo quiere regresar a los Estado Unidos pero no quiero que se vaya. A mi no me gusto
              y no quiero que se vaya. Sufri mucho cuando vivi ahi . Siempre estaba enserada en el apartamento
              y Rudy no me dejaba salir .

          M los abogados ni nadie mas del grupo de defensa de Obel se comunicaron con migo hasta ahora.
          Si me hubieron pedido, yo podria haber testificado en el juicio de Obel del 201.> .

          He leido esta declaration de 2 paginas. Yo declare bajo pena de perjurio bajo las leyes de los
          Estados Unidos que lo anterior es verdad y correct©.

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                      STATEMENT OF MARGARITA MARTINEZ ZORRILLA


My name is Margarita Martinez Zorilia. I am 48 years old . I live in Higuey, Dominican Republic .

I used to be Carmelo "Rudy " Martinez Santana’ s wife. We met and got married in Higuey in 1989.
I met Angelita Rodriguez and Ob el Cruz Garcia. I was raised with Angelita and Rudy here in
Higuey . I became good friends with Ob el when we met in Houston .

Rudy left to go to Houston in 1987 to look for work . He established residency, and he returned to
the Dominican Republic in 1989, so that we could get married . Shortly after I married Rudy , I
went to live with him in Houston .

I arrived in Houston on July 4, 1989. I remember the exact date because there was a celebration .
I met Obel and Angelita there; they were also married . Rudy met Ob el in Puerto Rico when he
went to visit his family .

I, Rudy, Angelita, and Obel went to Puerto Rico to visit one of Rudy’ s uncles. I became pregnant
there with Junior . We stayed there. Obel and Rudy returned to Houston first, and two months
later, Angelita left. I stayed in Puerto Rico by myself with Rudy ’ s uncle for 5 months before
returning to Houston . 1 left and went to Houston to be reunited with Rudy in 1990 . That day was
Mother’ s Day , and we thought that. I would have less problems with Immigration that day . Junior
was born in Houston at the Lyndon B . Johnson Hospital in July of 1990 .

When we were living in Houston, Rudy was using a lot of cocaine, and he used to get angry at
anything and everything . Rudy also used to drink a lot and went out with other women . He would
go out at any time during the day and leave me at the apartment in Houston by myself with the
baby . I was only 20 years old, and I felt very lonely . It was a very difficult time for me.

The situation got worse, and Rudy started being violent with me. If I asked him where he was,
he would become violent with me. I stopped asking him any questions because I was afraid of
him . He used to hit me and then leave, and when he came back, he used to tell me that he was
sorry, but then he would do it again . I never called the police because I did not have any papers
to be in the United States . They now showed me a police report from 1991 that describes how I
tried to get out of the apartment with Junior when Rudy got home drunk one day, and he hit me
very hard . Rudy bit my back and my arms. The police came, and they saw the bites and the
bruises where he hit me on my face. What the report shows is true, and that’ s the way it
happened, but I prefer not to think about that. I don’t think it was me who called the police.
Maybe the person who called the police was my neighbor who saw Rudy attacking me.

In Houston, Angelita had a beauty shop business in her own apartment. A lot of the Dominican
women used to go see her to have their hair done. I did not see any problems between Angelita
and Obel . I know they had problems getting pregnant.

I went to see Obel and Angelita to ask them for help when Rudy became violent. Obel was the
only person who was able to calm him down . Obel was an excellent person . Obel was very
good to me, not like Rudy . Obel was also wonderful with Junior . He would bring us food and


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diapers when Rudy did not provide what was necessary for us .

When I was pregnant with our second child, Jonathan, Rudy abandoned me, and he started living
with another woman in Houston . She was a citizen or a permanent resident. They had a son,
Enrique. That is why I went to live in New York with one of my cousins until Jonathan was
born . I went back to the Dominican Republic when Junior was 4 years old and Jonathan was 4
months old . I have not been back to the United States since then .

I went back to get married in the Dominican Republic, and this man has been the real father to
my children because he is the one who raised them, not Rudy .

My children do not want anything to do with their father, Rudy . They kind of have some
resentment towards him . Sometimes he comes by because he lives with his family next door, but
we don’t talk to him very much .

My father passed away after I returned to the Dominican Republic, and I started seeing a
psychologist. Sometimes, I have difficulty sleeping, I hardly get any sleep; sometimes I drink, I
cry a lot, things like that. I take some medicine that helps me a little with my depression . They
also gave me a dog to help me. My son wants to go back to the United States, but I don’t want
him to go. I did not like it, and I don’t want him to go. I suffered a lot when I lived there . I was
always inside the apartment, and Rudy did not allow me to go out.

Neither the attorneys nor anyone else from Obel ’s defense group contacted me until now. If they
had asked me, I could have testified in Obel ’ s trial in 2013 .

I have read this 2-page statement . I state under penalty of perjury' under the laws of the United
States that the above is true and correct.

Signed December 1, 2018



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 EXHIBIT 86 Page 005
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 56 of 368

                13847940101C / Court: 337




                EXHIBIT 87




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     Case4:17-cv-03621
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                                                                 TXSDPage
                                                                      Page571of
                                                                             of 368
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                      DECLARACION DE MIREYA PEREZ GARCIA


Mi nombre es Mireya Perez Garcia, y tengo 47 anos de edad . Vivo en Bella Vista de Boba en la
Republica Dominicana. Soy la mujer de Obel Cruz-Garcia y testifique por video en su juicio en el
2013 .

Me crei en los Naranjos que queda 5 km de Bella Vista de Boba. Bella Vista de Boba es un pueblo
pobre. Acabamos de obtener el agua ducto hace 2 anos. Todavia se usan las letrinas . Las letrinas
normalmente quedan atras o al lado de la casa . Las casimbas las ponian en frente de la casa para
tratar de evitar contamination . Cuando llueve mucho, las letrinas se desbordan y algunas veces
contaminan el agua de la casimba. Tambien teniamos que cuidar de las ratas . Las ratas se orinaban
en la casimba y tambien contaminaban el agua. Ahora ya tenemos tanques de agua, pero unos
todavia usan las casimbas.

Mis papas se llaman Reina Garcia y Efigenio Perez . Tenia 14 hermanos y hermanas, pero dos
hermanas fallecieron .

Conoci a Obel en el 1986 cuando yo tenia 14 anos de edad . Fui a la casa de un tio en el pueblo de
Boba, donde Obel vivia y ahi vi en el funeral . Pasamos mucho tiempo juntos ese dia y hasta me
escondi debajo de su cama porque mi mama me estaba buscando y no me queria ir a la casa .
Cuando me encontraron escondida debajo de la cama de Obel pensaron nuestros papas que
habiamos tenido relaciones. Aunque no fue cierto, ellos nos dijeron que nos teniamos que casar
porque ya habiamos estados juntos. Tuvimos una celebration, pero nunca nos casamos por la
iglesia o civilmente.

Vivimos un rato con el papa y madrastra de Obel, pero ella era muy religiosa y no nos queria en
su casa. Y aunque Obel queria mucho a su papa, ellos tenian una relation muy complicada .
Hungria tenia una reputation de ser mujeriego . Cuando Obel era nino, su papa lo llevaba cuando
iba a ver otras mujeres . Eso lo hizo sentirse responsable cuando su mama los abandono . Amaba a
su mama y queria que sus padres esten juntos, pero tambien se sintio atorado en el medio de los
dos. Dalia y Hungria ya han fallecido . Los dos fallecieron cuando Obel estaba preso . Se que eso
fue muy dificil para Obel .

Despues de que se fue Dalia a Venezuela, Hungria y sus hijos se mudaron a Boba a vivir con la
mama de Hungria, Ramona. Unos anos despues Hungria se caso con Dorca .

Porque Dorca nos hizo sentir tan incomodos despues de nuestra apresurada boda, nos mudamos a
la casa de mi hermano . Ahi me embarace con nuestro primer hijo, Obelito . Mientras estaba
embarazada, Obel iba a pescar todos los dias para ganarnos dinero . Era bueno para hacer los
chinchorros. Le gustaba pescar y estar en el mar . Despues de un tiempo, Obel me pregunto si podia
ir a Puerto Rico . El dijo que queria irse para que pueda conseguir mejor trabajo y pueda proveer
para su familia . Aunque me puse triste yo soporte su decision .

En ese tiempo muchos de la Republica Dominicana se estaban yendo en yolas a Puerto Rico porque
habia trabajo en las fincas. Cuando llegaba la gente a Puerto Rico buscaban trabajo y les mandaban


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                                                  07/01/19   TXSD
                                                               TXSDPage
                                                                    Page582of
                                                                           of 368
                                                                               7




dinero a los que estaban aca en la Republica Dominicana. Por eso ahora hay mas casas de concreto,
porque la gente mandaba dinero para construir mejores casas . Antes estaban hechas de tablas y
jagua o zinc y los huracanes los destruian muy facilmente.

Obel se fue en yola a Puerto Rico . Me llamo para decirme que habia llegado y le mando dinero a
su papa, Hungria, para que me lo de a mi. Despues que se fue Obel, Hungria le dijo que yo estaba
con otro hombre . Creo que le dijo esa mentira porque no queria que Obel me enviara dinero
esperando que le enviara mas a el . Obel creyo a su papa y el y yo perdimos contacto. Despues,
escuche que se habia casado con una mujer llamada Angelita Rodriguez Santana. A pesar de que
el y yo no estabamos hablando, el todavia le enviaba dinero a Hungria para su hijo, Obelito .

Inmediatamente cuando se fue Obel me fui a vivir con mi mama, Reina. Nacio mi hijo Obelito
mientras estaba viviendo con ella. Ahi conod otro hombre de Boba, Jesus “De Leon” Alvarez y
me junte con el. El y yo tuvimos un hijo llamado Manuel. De Leon se fue a Puerto Rico primero
y me dijo que me podia encontrar trabajo alia . Deje a mis dos hijos, Obelito y Manuel, con mi
mama y me fui a buscar trabajo en Puerto Rico . En Puerto Rico, encontre trabajo limpiando casas
y cuidando un anciano . De Leon y yo tuvimos otra hija en Puerto Rico llamada, Mariela. El tenia
el vicio de jugar y nos separamos . El se fue a Nueva York y eventualmente se llevo a Mariela .

Mientras estaba en Puerto Rico, me entere que Obel habia regresado a la isla y estaba visitando a
su hermano Joel. Fui a la casa de Joel para ver si era cierto y vi a Obel . Obel ya se habia divorciado
de Angelita . Obel y yo recogimos nuestra relacion como lo habiamos dejado . Vivimos en Puerto
Rico juntos como unos dos anos y tuvimos nuestro segundo hijo, Abel . Los tres nos regresamos a
vivir aqui en la Republica Dominicana. Vivimos juntos en la casa que Eledemas y Hungria le
hicieron a Obel cuando Obel estaba viviendo en los Estados Unidos. La casa estaba al lado de la
casa de Hungria y Dorca.

Cuando regresamos a la Republica Dominicana desde Puerto Rico, Obel abrio una pescaderia en
el primer piso de la casa . Tambien se compro una guagiiita azul y el la manejaba . Unos anos
despues decidimos mudarnos a Santo Domingo para que los ninos pudieran ir a una escuela mejor
y porque habia mas trabajo . Obel abrio un negocio de comprar y vender casas llamado “ Abel y
Asociados - Nucvas Raices” en Santo Domingo . Mi hijo Manuel, visitaba frecuentemente, pero el
preferia vivir con su abuelita quien lo crio en los Naranjos.

Obel era un esposo y padre muy carinoso y detallista. Siempre nos traia regalitos. Me trajo una
flor para mi cumpleanos, me compraba cremas que me gustan, me hacia aceitito para mi piel, y
cosas asl . Todavia tengo los ositos de peluche que me dio para nuestro aniversario . El no se
avergonzaba de ayudar en la casa como otros hombres. El lavaba, limpiaba, le cambiaba el panal
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a Abel, cocinaba, el hacia todo. El se tuvo que ganar a Obelito porque no estaba cuando Obelito
era nino, pero si se lo gano . Obelito lo 11ego a querer mucho . Tambien era muy bueno con mi hijo
Manuel . Aunque no era su hijo el le compraba de todo. Si le compraba algo a Obelito tambien se
lo compraba a Manuel . Obel amaba a sus hijos . No me dejaba castigarlos . Nos llevaba a pasear en
el monte, a montar caballos, y a caminar en la playa . Era muy carinoso con sus hijos y les daba
muchos abrazos y besos. El no queria que sus hijos sufrieran como el sufrio cuando era nino .


EXHIBIT 87 Page 002
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                                                                         Page593of
                                                                                 of 368




Me acuerdo que una vez estabamos juntos en el carro y vimos a un nino al lado de la calle. Obel
paro el carro y le pregunto al nino porque no estaba en la escuela. El nino nos dijo que su familia
no tenia dinero y que necesitaba trabajar . Obel le dijo que lo llevara a su casa. Llegamos a una
casita muy humilde donde estaban los papas del nino . Obel les explico por que era necesario que
el nino fuera a la escuela y les dijo que los ayudaria economicamente si lo mandaran a la escuela.
El dia siguiente, Obel regreso con mas ropa para el nino y su familia . Obel siguio visitando al nino
y su familia y lo querian mucho .

Yo y Obel tuvimos una relacion muy bonita. El me tenia mucha confianza y yo tambien le tenia
confianza. Me contaba mucho de su ninez y de lo que sufrio en su vida .

No he visto Obel desde que lo arrestaron en Puerto Rico . Desde entonces, no he podido dormir en
la misma cama que el y yo compartimos . Tampoco me gusta ir a la playa porque me recuerda
mucho de cuando ibamos a pasear como familia. Lo extrano mucho y oro por el mucho .

Si me hubieran preguntado, habria estado dispuesta y podria testificar sobre esta information en
el juicio de Obel en 2013 .

                        - pagina declaration. Yo declaro bajo pena de perjurio bajo las leyes de
Yo he leido este
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los Estado Unidos que lo anterior es verdad y correcto .


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                                                  07/01/19   TXSD
                                                               TXSDPage
                                                                    Page604of
                                                                           of 368
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                        STATEMENT OF MIREYA PEREZ GARCIA


My name is Mireya Perez Garcia, and I am 47 years old . I live in Bella Vista de Boba in the
Dominican Republic. I am Obel Cruz-Garcia’ s wife, and I testified via video in his trial in 2013 .

I was raised in Los Naranjos, which is located 5 km from Bella Vista de Boba . Bella Vista de
Boba is a poor town . We just got running water 2 years ago. They still use latrines. The latrines
are normally located behind the house or next to it. The water wells would be placed in front of
the house in order to try to avoid contamination . When it rains a lot, the latrines overflow, and
sometimes they contaminate the water in the water well . We also had to watch out for rats . The
rats would urinate in the water wells, and they would also contaminate the water. Now we have
water tanks, but some people still use the water wells .

My parents are Reina Garcia and Efigenio Perez . I had 14 brothers and sisters, but two of my
sisters passed away .

I met Obel in 1986 whenlwas 14 yearsold . I went to an uncle’ s house in the town of Boba, where
Obel used to live, and I saw him there at the funeral . We spent a lot of time together that day, and
I even hid under his bed because my mother was looking for me, and I did not want to go home.
When they found me hiding under Obel ’ s bed, our parents thought that we had had sex . Even
though it was not true, they told us that we had to get married because we had already been
together . We had a celebration, but we never got married by the church or in a civil ceremony .

We lived with Obel ’s father and his stepmother for a while, but she was very religious, and she
did not want us in her house. And even though Obel loved his father very much, they had a very
complicated relationship . Hungria had a reputation of being a womanizer . When Obel was a boy,
his father used to bring him along when he used to see other women . That made him feel
responsible when his mother abandoned them . He loved his mother and wanted his parents to be
together, but he also felt stuck in the middle. Dalia and Hungria have already passed away . Both
of them died when Obel was locked up . I know that was very difficult for Obel .

After Dalia left to go to Venezuela, Hungria and his children moved to Boba to go live with
Hungria’ s mother, Ramona . Some years later Hungria married Dorca.

Because Dorca made us feel so uncomfortable after our quick wedding, we moved to my brother’ s
house. I got pregnant there with our first son, Obelito. While I was pregnant, Obel went out to
fish every day to earn some money for us . He was good at preparing the fish to be ready to eat
and selling them . He used to like going fishing and being at sea. Sometime later, Obel asked me
if he could go to Puerto Rico. He told me that he wanted to go to get a better job, so that he could
provide for his family . Even though I became sad, I supported him in his decision .

During that time, a lot of people in the Dominican Republic were leaving for Puerto Rico in yawls
because there was work in the plantations. When the people arrived in Puerto Rico, they would
look for work, and they used to send money back to the people who were over here in the


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EXHIBIT 87 Page 004
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   Case4:17-cv-03621
         4:17- cv-03621Document
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                                                               TXSDPage
                                                                    Page615of
                                                                           of 368
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Dominican Republic. That is the reason there are now more houses made out of concrete, because
people used to send money to build better houses . In the past, they were made out of wooden
boards, genipap trees, or zinc, and the hurricanes would destroy them very easily .

Obel left to go to Puerto Rico in a yawl . He called me to tell me that he had arrived, and he sent
money to his father, Hungria, so that he could give it to me. After Obel left, Hungria told him that
I was with another man . I believe he told him that lie because he did not want Obel to send me
money hoping that he would send more to him . Obel believed his father, and he and I lost contact.
Later, I heard that he had married a woman named Angelita Rodriguez Santana . Even though he
and I were not speaking to each other, he would still send money to Hungria for his son, Obelito.

Immediately, when Obel left, I went to live with my mother, Reina. My son Obelito was born
while I was living with her. I met another man from Boba there, Jesus "De Leon " Alvarez, and
I started living together with him . He and I had a son named Manuel . De Leon went to Puerto
Rico first, and he told me that he could find work for me over there. I left my two sons,
Obelito and Manuel, with my mother, and I went to look for work in Puerto Rico. I found
work cleaning houses in Puerto Rico, and taking care of an elderly man . De Leon and I had
another daughter in Puerto Rico named Mariela. He was addicted to gambling, and we got
separated . He went to New York, and he eventually took Mariela.

While I was in Puerto Rico, I found out that Obel had returned to the island, and that he was
visiting his brother Joel . I went to Joel’s house to see if it was true, and I saw Obel . Obel had
already divorced Angelita. Obel and I picked up our relationship where we left off . We lived
together in Puerto Rico for about two years, and we had our second son, Abel . The three of
us returned to live here in the Dominican Republic. We lived together in the house that
Eledemas and Hungria built for Obel when Obel was living in the United States. The house
was next door to Hungria and Dorca’s house.

When we returned to the Dominican Republic from Puerto Rico, Obel opened a fish store on the
first floor of the house. He also bought a little blue bus, and he used to drive it. Some years later,
we decided to move to Santo Domingo so that the children could go to a better school, and because
there was more work over there. Obel opened a business to buy and sell houses called " Abel y
Asociados Bienes Raices” in Santo Domingo. My son, Manuel, would visit often, but he’d rather
live with his grandmother who raised him in Los Naranjos.

Obel was a very loving husband and father, always taking care of the little details. He always
brought us gifts. He brought me a flower for my birthday . He used to buy me the creams that I
like, he would make the oil that I used for my skin, and things like that. I still have all the teddy
bears that he gave me for our anniversary . Unlike other men, he was not ashamed to help around
the house. He did laundry, he cleaned, he would change Abel ’s diapers, he used to cook, he did
everything. He had to earn Obelito’s love because he was not there when Obelito was a child, but
he did earn it. Obelito got to love him very much . He was also very good to my son Manuel .
Even though he was not his son, he would buy him basically everything. If he bought something
for Obelito, he would also buy something for Manuel . Obel loved his children . He did not allow
me to punish them . He used to take us out to the country, horseback riding, and for walks on the
beach . He was very loving with his children, and he hugged them a lot and gave them a lot of


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EXHIBIT 87 Page 005
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   Case4:17-cv-03621
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                                                  07/01/19   TXSD
                                                               TXSDPage
                                                                    Page626of
                                                                           of 368
                                                                               7




kisses . He did not want his children to suffer like he suffered when he was a child .

I remember one time when we were together in the car, and we saw a child on the side of the street.
Obel stopped the car, and he asked the child why he was not in school . The boy told us that his
family did not have any money, and that he needed to work . Obel told him that he would take him
home. We arrived at a very poor house where the child’ s parents were. Obel explained to them
why it was necessary for the boy to attend school, and he told them that he would help them
financially, if they sent him to school . The next day, Obel went back with more clothes for the
boy and his family . Obel continued visiting the boy and his family, and they loved him very much .

Obel and I had a very beautiful relationship . He trusted me very much, and I also trusted him .
He would tell me a lot about his childhood and about how much he suffered in life .

I have not seen Obel since he was arrested in Puerto Rico. Ever since then, I have not been able
to sleep in the same bed that he and I shared . I don’t like to go to the beach either because it
reminds me a lot about how we used to go out as a family . I miss him very much, and I pray for
him a lot.

If they had asked me, I would have been willing and could have testified about this information in
Obel ’ s trial in 2013 .

I have read this 3-page statement. I state under penalty of perjury under the laws of the United
States that the above is true and correct.

Signed November 29, 2018 in Bella Vista de Boba, Dominican Republic .

            /S/
Mireya Perez Garcia




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"Statement of IdHreye Perea Oarda" Is true and correct to the best of my abilities.

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Alma Adriano                                                       Date
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EXHIBIT 87 Page 007
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 64 of 368

                13847940101C / Court: 337




                EXHIBIT 88




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      Case4:17-cv-03621
            4:17- cv~03621Document
                           Document89-13
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                                            Filed  01/05/23 in In
                                                     07/01/19   TXSD
                                                                  TXSDPage
                                                                       Page651of
                                                                              of 368
                                                                                  7




                      DECLARACION DE MARIA ALTAGRACIA CAPELLAN



Yo, Maria Altagracia Capellan declaro lo siguiente:

1.     Mi nombre es Maria Altagracia Capellan. Me llaman “Dorca.” Ahora tengo 49 ano y vivo
en San Juan, Puerto Rico . Soy la madre de Obeliz Juliana Cruz Capellan, hija de Obel Cruz-Garcia.

2.     Antes de que conoci a Obel, habia estado en una relacion abusiva. Dure dos anos antes de
encontrar la fuerza de salir de ella. Despues, era muy dificil para mi tener confianza en otro
hombre.

3.      Con Obel, todo cambio . Conoci a Obel en 1995 donde la casa de mi primo, quien era amigo
de Obel. Obel, cuando me invito a salir, me hablaba y me escuchaba. El saco sillas para que me
sentara. Abrio la puerta del carro para que me subiera. Jamas nadie me habia tratado tan bien. El
me mostro respeto . En muy poco tiempo, empezamos a salir .

4.      A veces, Obel me hablo de su ninez . Me dijo que era muy dificil cuando su mama dejo a
la familia. El tuvo que ser como hombre y papa. Salio muy de manana a pescar para asegurar que
habia comida para la familia. Tuvo que cuidar a sus hermanitos pequenos, hasta cambiando los
panales de Joel y cocinando . Tambien tuvo que cuidar a su papa despues del accidente. Aunque el
papa era muy estricto, Obel lo amaba. Lo mas importante para Obel era asegurar que su familia
tenia lo suficiente para comer .

5.     Como un ano despues de que nos conocimos, Obel regreso a la Republica Dominicana.
Volvio a Puerto Rico en como dos anos, en 1998.
6.      Obel regreso a Puerto Rico inmediatamente antes de que llego el huracan George, que era
de categoria 3. El dano a la isla era tun fuerte que no podiamos trabajar para varias semanas y
habia pocos recursos. Obel salio diario y me trajo comida y cualquier otra cosa que necesitaba.
Saha a recoger escombros para ayudar a la comunidad. Tambien recogio latas para obtener
dinero.
7.     En 1999, yo sufri de un dolor insoportable del abdomen pero no quiso ir al doctor porque
costaba mucho dinero . Obel me dijo que la enfermedad parecia serio y me prometio pagar para
cualquier atencion medica necesaria. El doctor me diagnostico de un quiste en un ovario y me
dijo que necesitaba cirugia de inmediata. Obel no solamente pago para la cirugia, pero tambien
me cuido mientras que recuperaba. Me hizo comida, me bano, y me llevo a la cama. Me cuido
muy bien .
8.     Decidi tener una relacion con Obel aunque sabia que el ya tenia su pareja, Mireya, porque
Obel me trataba tan bien. Es muy comun para los hombres Dominicanos tener relaciones e hijos
con varias mujeres. Yo sabia que Obel proveia bien para su familia y que iba a ser un padre
carinoso para nuestro bebe. Por eso, estaba de acuerdo estar con el y tener a su hija, aunque sabia
que yo iba a ser criando el bebe bastante sola. Obel regreso a la Republica Dominicana en medio

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EXHIBIT 88 Page 001
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                                                                    Page662of
                                                                           of 368
                                                                               7




del 1999, cuando yo tenia 2 meses de embarazo . Me llamo frecuentemente y nunca me sintio
abandonada. Cuando nacio Obeliz, mande fotos a Obel . El era muy orgulloso y hasta que mostro
las fotos a Mireya.
9.      Nuestra hija, Obeliz, tenia 6 meses cuando regreso Obel a Puerto Rico . Cuando Obel se
quedaba en mi casa, el hizo todo el mandado y recogio a Obeliz de la guarderia. Yo vendi
tarjetas del telefono de la casa y si alguien llego pidiendo comprar, Obel los atendio . En mis dias
libres, Obel nos llevo a pasear a Pinones, al lado de la playa para comer y jugar.
10 .   Obel ayudaba a la gente del barrio . Si alguien necesitaba ayuda en arreglar un carro, el lo
hizo. Compraba un sandwich para personas que no tenian comida. Llevo dulces en el bolsillo
para dar a los ninos.
11.    Yisitaba a Obel casi semanal cuando estaba encarcelado en Puerto Rico . El unico tiempo
en que no pude visitar era cuando mudaron a Obel a la prision en Mayagiiez, que era muy lejos.
Llame a la administration de la prision para decirles que Obeliz necesitaba poder visitar a su
papa y que Mayagiiez nos quedaba demasiado lejos. Despues de mi llamada, Obel fue mudado
mas cerca.
12.     Cuando fiiimos a visitar a Obel, nos sentamos en una mesa en un cuarto grande en la
prision. Habia maquinas de vender sandwiches que calentabamos en la microonda. Obeliz se
sento con Obel y lo peinaba y lo acariciaba.
13 .    Las guardias y las familias de los otros presos me dijeron cuanto les gustaba Obel. Hoy
en dia, si veo uno de las guardias en la calle, me pregunta por Obel. Siempre estan tristes oir que
todavia esta en la prision .
14.     Obeliz tenia 12 anos cuando llevaron a Obel hacia Texas. No tuvimos ninguna noticia
que le iban a llevar a Texas o que enfrentaba la pena de muerte. No vimos a Obel despues de que
fue llevado a Texas.
15 .   Antes del juicio, nadie del equipo de defensa de Obel hablo conmigo en persona.
Solamente me llamo una investigadora inmediatamente antes del juicio y me hizo muy pocas
preguntas en una conversation que duro no mas de 10 minutos.

16.       Si me hubieran entrevistado, yo les hubiera dicho todo lo que he dicho en esta declaraci6n.
Yo podria haber testificado a lo mismo en el juicio de Obel del 2013, si me hubieran llamado como
testigo .




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     He leido esta declaration de 3 paginas. Yo declaro bajo pena de perjurio bajo las leyes de los
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                      STATEMENT OF MARIA ALTAGRACIA CAPELLAN



I, Maria Altagracia Capellan, state the following :

1.      My name is Maria Altagracia Capellan . They call me “Dorca. ” I am now 49 years old,
and I live in San Juan, Puerto Rico. I am the mother of Obeliz Juliana Cruz Capellan, Obel Cruz-
Garcia’ s daughter .

2.     Before meeting Obel, I had been in an abusive relationship . I stayed for two years before
finding the strength to get out of it. Afterwards, it was very difficult for me to trust another man .

3.       Everything changed with Obel . I met Obel in 1995 at my cousin’s house; he was Obel ’ s
friend . Obel, when he invited me to go out, would talk to me and would listen to me . He took
some chairs out for me to sit down . He opened the car door, so that I would get in . Nobody had
ever treated me so nicely . He showed me respect. We started going out shortly after that.

4.      Sometimes, Obel talked to me about his childhood . He told me that it had been very
difficult when his mother abandoned the family . He had to be a man and a father . He used to go
out very early in the morning to go fishing to ensure that his family had food . He had to take care
of his younger little siblings, from changing Joel ’ s diapers to cooking. He also had to take care of
his father after the accident. Even though his father was very strict, Obel loved him . The most
important thing for Obel was to make sure his family had enough to eat.

5.     About a year after we met, Obel returned to the Dominican Republic. He returned to Puerto
Rico about two years later, in 1998.

6.      Obel returned to Puerto Rico immediately before hurricane George hit, which was a
category 3 . The harm to the island was so much that we could not work for several weeks, and
resources were scarce . Obel went out daily and brought me food and whatever else I needed . I
used to go out and pick up the rubble so that I could help our community . Also, I picked up cans
in order to get money .

7.     In 1999, 1 suffered from an unbearable pain in my abdomen area, but did not want to go to
the doctor because it cost a lot of money . Obel told me that it seemed like it was a serious illness,
and he promised to pay for any medical attention that was needed . The doctor diagnosed me with
an ovarian cyst, and he told me that I needed surgery immediately . Obel not only paid for the
surgery, but he also took care of me while I was recovering. He cooked for me, he bathed me, he
would tuck me in bed . He took very good care of me.




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8.      I decided to have a relationship with Obel, even though I knew that he had a partner,
Mireya, because Obel used to treat me so well . It is very common for Dominican men to have
relationships and children with several women . I knew that Obel was a good provider for his
family, and that he was going to be a loving father for our baby . That is why I agreed to be with
him and to have his daughter, even though I knew that I would be raising the baby mostly by
myself . Obel returned to the Dominican Republic in mid -1999, when I was 2 months pregnant.
He called me frequently, and I never felt abandoned . When Obeliz was born, I sent pictures to
Obel . He was very proud, and he even showed the pictures to Mireya.

9.      Our daughter, Obeliz, was 6 months old when Obel returned to Puerto Rico. When Obel
used to stay in my house, he did all the grocery shopping, and he picked up Obeliz at daycare. I
used to sell telephone calling cards from home, and if someone arrived at the house to make a
purchase, Obel would help them . During my days off, Obel took us to Pinones, next to the beach,
to go eat and play .

10 .    Obel used to help the people in the neighborhood . If someone needed help to fix a car, he
would do it. He used to buy a sandwich for people who did not have anything to eat. He used to
carry candy in his pocket to give to children .

11 .    I used to visit Obel almost every week when he was in jail in Puerto Rico. The only time
when I was not able to visit him was when they moved Obel to the prison in Mayagiiez, which was
very far away . I called the administration office at the prison to tell them that Obeliz needed to be
able to visit her father, and that Mayagiiez was very far away for us. After my phone call, Obel
was moved closer.

12 .   When we went to visit Obel, we sat at the table in a big room in the prison . There were
vending machines with sandwiches that we used to microwave. Obeliz would sit with Obel, and
she combed his hair and snuggled with him .

13 .      The guards and the other inmates’ families told me how much they liked Obel . Nowadays,
if I see one of the guards on the street, they ask me about Obel . They’re always sad to hear that
he’ s still in prison .

14.     Obeliz was 12 years old when they took Obel to Texas . We did not have any advanced
notice that they were going to take him to Texas, or that he was facing the death penalty . We did
not see Obel after he was taken to Texas.

15.      Before the trial, nobody from Obel ’ s defense team talked to me in person . Only one
investigator called me just before the trial, and she asked me very few questions in a conversation
that lasted no more than 10 minutes .




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      16.    If they had interviewed me, I would have told them everything that I have said in this
      statement. I could have said the same thing in my testimony in Obel ’ s trial in 2013, if they had
      called me to be a witness.

      I have read this 3-page statement. I state under penalty of perjury under the laws of the United
      States that the above is true and correct.

      Signed February 15, 2019



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                      DECLARACION DE NILSA ELA GARCIA MARINE



Me llamo Nilsa Ela Garcia Marine y tengo 75 anos. Vivo en Santo Domingo, Republica
Dominicana. Mi hermana menor, Dalia Garcia, era la madre de Obel Julian Cruz Garcia. Yo soy
la tia de Obel.

Tenia cinco hermanas y dos hermanos, incluyendo a Dalia . Mi hermana, Dalia, era muy emocional.
Cualquier cosa la hizo llorar . Mi mama, Nereida Garcia era muy buena con nosotros y muchos la
querian. Mi papa, Jaime Marine Martinez era mas fuerte, especialmente con nosotros . Nos
castigaba si nos portabamos mal.

Dalia conocio a Valerio “Hungria” de la Cruz aqui en Santo Domingo . El era un medico en la
armada. Hungria y Dalia se casaron y tuvieron cuatro hijos juntos, dos hembras y dos barrones.
Obel era el segundo hijo y el barron mayor . La familia vivia en Santo Domingo, muy cerca de la
casa mia.

Obel era un buen nino . El, Natalia, y Joel eran tranquilos. Noemi era mas tremenda y a veces
alborotaba a mis hijos. Me acuerdo que Obel tuvo problemas orinando su cama . Noemi y Natalia
no tenian ese problema y Joel apenas era un bebe y todavia estaba usando panales. Noemi , Natalia,
Obel, y Joel venian casi todos los dias a mi casa a jugar con sus primos . Mis hijos y ellos fueron a
la escuela juntos en un colegio en el barrio, cerca de la casa.

Cuando Obel tenia 9-10 anos, Hungria tuvo un accidente en que un vehiculo se choco con el y el
fue hospitalizado por algunas semanas . Era en ese tiempo que mi hermana, Dalia, descubrio que
Hungria habia sido infiel y tuvo un hijo con una vecina . Sabiendo eso, Dalia dejo a sus hijos y foe
a la casa de mis papas. Nuestra familia hablo sobre la situation y decidimos que seria mejor que
Dalia se mude a Venezuela, donde vivia mi hermana Dulce . Dalia se quedo con mis papas hasta
que llegaron los papeles de la inmigracion y despues se fue a Venezuela.

Despues de que se fue Dalia, Hungria se mudo con los tres hijos menores a la puebla de Boba,
donde vivian sus padres. Obel tenia 10-12 anos cuando se mudaron.

Muy pronto despues de llegar a Venezuela, Dalia aplico para una visa para su hija mayor, Noemi
Cruz Garcia. Noemi se quedo en Santo Domingo con mis padres esperando su visa para poder irse
con Dalia. Noemi dejo a su papa y hermanos y se file con su madre a Venezuela. Algunos anos
despues, Dalia mando traer la otra hermana de Obel, Natalia, a Venezuela. Dalia no aplico para
conseguirles los papeles a Obel o su hermanito, Joel . En Venezuela, creo que Dalia trabajaba en
un hotel y les mandaba dinero y ropa a sus hijos aqui.

Cuando era adulto, Obel se fue a Puerto Rico y a los Estados Unidos . Cuando Obel regreso a la
Republica Dominicana su esposa, Angelita, vino tambien y los dos visitaron mi casa y mi familia
en varios ocasiones. Obel es un cocinero maravilloso y a veces nos hacia comida deliciosa. Obel
y Angelita viajaron a Higuey para visitar a la familia de Angelita y tambien fueron a Boba a visitar
el papa de Obel y ver la casa que el estaba construyendo para Obel . No note problemas entre Obel
y Angelita, pero me di cuenta que divorciaron despues de que ya no vivian conmigo .

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          Ni los abogados ni nadie mas del grupo de defensa de Obel se comunicaron con migo hasta ahora .
          Si me hubieron pedido, yo podria haber testificado en el juicio de Obel del 2013 .
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          He leldo esta declaration de ?> paginas. Yo declaro bajo pena de perjurio bajo las leyes de los
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                      STATEMENT OF NILSA ELA GARCIA MARINE



My name is Nilsa Ela Garcia Marine, and I am 75 years old . I live in Santo Domingo, Dominican
Republic . My younger sister, Dalia Garcia, was Obel Julian Cruz Garcia’s mother . I am Obel ’ s
aunt.

I had five sisters and two brothers, including Dalia. My sister, Dalia, was very sensitive .
Anything would make her cry . My mother, Nereida Garcia was very good to us, and she was
loved by many . My father, Jaime Marine Martinez was stronger, especially with us . He would
punish us if we misbehaved .

Dalia met Valerio “Hungria” de la Cruz here in Santo Domingo. He was a medic in the army .
Hungria and Dalia got married, and they had four children together, two girls, and two boys . Obel
was the second child and the oldest boy . The family lived in Santo Domingo, very close to my
house.

Obel was a good child . He, Natalia, and Joel were calm . Noemi was wild and sometimes would
agitate my children . I remember that Obel had problems, he used to wet his bed . Noemi and
Natalia did not have that problem, and Joel was only a baby, and he was still wearing diapers.
Noemi, Natalia, Obel, and Joel used to come to my house almost every day to play with their
cousins. They, and my children, went to school together at a neighborhood school, close to the
house.

When Obel was 9-10 years old, Hungria had an accident when a vehicle crashed against him, and
he was hospitalized for several weeks. It was during that time that my sister, Dalia, found out
that Hungria had been unfaithful, and he had a child with a neighbor . Knowing that, Dalia left
their children and went to my parents’ house . Our family talked about the situation, and we
decided that it would best for Dalia to move to Venezuela, where my sister Dulce lived . Dalia
stayed with my parents until she got the immigration papers, and then she went to Venezuela.

After Dalia left, Hungria moved with the three minor children to the town of Boba, where his
parents lived . Obel was 10-12 years old when they moved .

Very shortly after arriving in Venezuela, Dalia applied for a visa for her oldest daughter, Noemi
Cruz Garcia. Noemi stayed in Santo Domingo with my parents awaiting her visa, so that she
could go live with Dalia. Noemi left her father and siblings, and she left with her mother for
Venezuela. Some years later, Dalia had Obel ’ s other sister, Natalia, brought over to Venezuela.
Dalia did not apply to get papers for Obel or his little brother, Joel . I believe Dalia used to work
at a hotel in Venezuela, and she used to send them money and clothing to her children over here.

When he was an adult, Obel left and went to Puerto Rico and the United States. When Obel
returned to the Dominican Republic, his wife, Angelita, also came over, and both of them visited
my home and my family on several occasions. Obel is a marvelous cook, and sometimes he


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would make delicious food for us . Obel and Angelita traveled to Higuey to visit Angelita’ s
family, and they also went to Boba to visit Obel ’s father and to see the house that he was building
for Obel . I did not notice any problems between Obel and Angelita, but I noticed that they got
divorced after they stopped living with me .

Neither the attorneys, nor anybody else from Obel ’ s defense group got in touch with me until
now. If they had asked me, I could have testified in Obel ’ s trial in 2013 .

I have read this 2-page statement. I state under penalty of perjury according to the laws of the
United States that the above is true and correct.

Signed November 28, 2018

                       /s/
Nilsa Garcia




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                              DECLARACION DE NOEIVSI MARGARITA CRUZ GARCIA



         Yo, Noemi Margarita Cruz Garcia declare lo siguiente:

         1.      Mi nombre es Noemi Margarita Cruz Garcia. Soy la hermana mayor de Obel
         Cruz-Garcia, quien tiene como 2 anos menos que yo.

         2.      No testifique en el juicio de Obel en Houston en 2013. Si los abogados de Obel
         me hubieron comunicado, con gusto me hubiera ido a Houston para testificar y apoyar
         a Obel. Aunque si bable con alguien del equipo de Obel por telefono, fue una
         conversation breve y !a investigadora no pregunto mucho de nuestra crianza. Ahora
         es la primera vez que alguien del equipo legal ha venido a verme y hablar
         profundamente con migo sobre la nihez de Obel.

         3.      Yo nad en 1965 en Santo Domingo en la Republica Dominicana. Obel nacio
         aproximadamente 2 anos despues.

         4.      Nuestro padre, Valerio "Hungria " Cruz Santos, era medico en la marina de la
         Republica Dominicana, No doctor, pero practicante de medicina. Despues de que
         termino la guerra civil en nuestro pals, nuestro papa trabajaba en un hospital militar
         que quedo cerca de la casa. Nuestra mama no necesitaba trabajar fuera de la casa.
         Durante nuestra infancia, Obel y yo nos divertiamos mucho. Nuestro papa nos llevaba
         a la escuela diaria y regreso a la casa casi cada noche. Cuando no estabamos en la
         escuela, Obel y yo teniamos tiempo para jugar. Subiriamos a los arboles de mango y
         coco y jugabamos canicas.

         5.       Obel era muy cerca a nuestra mama. En mi opinion, ella lo mimaba. Si a Obel
         no le gustaba lo que ellapreparaba para el almuerzo, ella hana lo que el queria.
         Cuando regresamos de la escuela, nuestra mama nos daba de comer y nos bahaba.


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              Despues, era hora de la siesta y Obel se acurrucaba ai lado de Mama y barian una
             siesta juntos.

             6.       De vez en cuando, nos regalaron una moneda, y Obel y yo comprabamos 5
             caramelos cada uno. Obel guardaba uno para dar a nuestra mama como regalo.

             7.    Cuando yo tenia como 6 anos y Obel tenia como 4, nuestro papa tuvo un
             accidents horrible. Se quebro su pierna en varies lugares, quebro costiiias, y perdio
             parte de su hsgado. Estuvo en ei hospital para mucho tiempo.

             8.       Alrededor del memento del accidents, mi papa habia comenzado una relacion
             con otra mujer. Eventualmente mi mama se dio cuenta de eso asi como otras
             reiaciones extra matrimoniales. Aunque para los hombres dominicanos no era fuera
             de lo normal tener a varias mujeres, esas reiaciones (y, a io mejor, otros factores)
             causaron problemas en el matrimonio de mis papas. Era muy obvio que nuestra mama
             era muy descontenta en el hogar.

             9.       Cuando yo tenia como 8 anos y Obel tenia como 6, nuestra mama dejo a su
             esposo y sus hijos y se fue para Venezuela, buscando una vida nueva. Eso fue
             devastador para nosotros y More mucho. Nuestro padre intento hacer ias cosas sentir
             normales pero fue horrible estar sin nuestra mama. Por un rato, Obel, yo, y mis otros
             hermanos seguiamos viviendo en Santo Domingo con nuestro papa. En ese entrances,
             a Papi lo encontraron incapaz de hacer sus tareas militares por culpa de sus heridas
             v lo declararon oficiaimente deshabilitado. Le dieron una pension de invalided

             10.    AI principio, mi papa se contrato con una mujer del barrio para cuidarnos. En
             aigun moment©, ella empezo una relacion con nuestro padre. Elia dejo de cuidar a la
             casa y a nosotros. Mi papa no hizo nada porque queria compiaceria. AI fin, el trabajo
             de mantener la casa me llego a mi. Yo tenia que cocinar, limpiar, y cuidar a mis
             hermanos menores. Obel me ayudaba, especialmente con el bebe, Joel,

             11.      Cuando yo tenia como 11 anos y Obel tenia como 10, nuestro papa mudo a la
             familia de Santo Domingo a Boba, un pueblito distante donde vivian mis abuelos. El

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      cambio a Boba era muy duro. En Boba no habia electricidad o piomeria interior.
      Tambien, no habia telefono. Solamente habian 2 casas con parades de medio bloque.
      Todas ias demas eran de madera. La gente que vivian alii sobrevivieron por pescar y
      sembrar,. y hasta los nines tuvieron que trabajar para asegurar que todos tenian lo
      suficiente para comer.

      12.            Hasta la manera de hablar es diferente en Boba, corno habian un dialecto
      diferente. En Santo Domingo, nos habian criado en la iglesia catolica. En Boba, todos
      eran evangelicos.

      13.            La escuela en Boba era menos rigurosa que la de Santo Domingo. A diferencia
      de Santo Domingo, no pude estudiar en la noche porque la unica luz en la casa era
      una lampara de aceite. Lo que hicimos en la noche era asistir a la iglesia todas las
      noches. Era muy oscura cuando regresabamos a la casa y yo tenia miedo de pisar
      zapitos.

      14.            La gente de Boba era muy diferente de nosotros, Eran mas humildes y
      supersticiosos, Un dia, un grupo del pueblo iban a ir a una vigilia en otro pueblo que
      era bastante lejos. Yo me negue a ir y por no dejarme sola nadie de nuestra familia
      se fue. E! vehiculo con la gente de Boba se salio de la carretera y algunas personas
      fueren heridas, hasta que el hijo del pastor perdio su ojo. Despues mucha gente me
      pregunto si yo habia recibido un mensaje de Dios avisando me no ir. Todos en el
      pueblo oraron y dieron gracias a Dios por haber mandado el mensaje y salvando a
      mi familia.

      15.            Una vez a! mes, mi papa tenia que viajar a Santo Domingo y consultar con un
      doctor para verificar su discapacidad. El viaje duro 4 dias y estaba fuera de      3 C3 S3

      viernes hasta limes. Nosotros quedabamos con nuestra abuela en Boba.

      16.   Despues de que se fue nuestra mama, no temamos contacto directo con ella.
      Dejabamos recados con los padres de ella en Santo Domingo y ellos comunicaron


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             con eila. Se que Obe ! ie escribio cartas. No se si e! la respondio. Yo nunca la escribi
             porque yo era brava que nos habian dejado.

             17.    Cuando yo tenia como 14 anos, mis padres hicieron un acuerdo para que Obel
             y yo iban a vivir con nuestra mama en Venezuela. Obel estaba muy emocionado por
             dejar a Boba y vivir con Mami. Yo fui primera a Venezuela . Cuando me fui, Obel me
             dljo que pronto se uniria con mi.    '




             18.        Pero era una mentira. Despues de escuchar acerca de algunos jovenes
             dominicanos que cayeron en delincuencia en Venezuela, mi mama decidio dejar a
             Obel en Boba. Mami mintio a mi papa y le dijo que el acta de nacimiento de Obel se
             perdio, y por eso no era posible conseguirle una visa. Nuestro papa mando otra copia
             del acta de Obel pero todavfa no aplico para una visa para el. Paso mucho tiempo
             antes de que Mami dijo definitivamente que nunca iba a llevar a Obel a Venezuela.
             No se si alguna vez le dijo la razon verdadera. Obel realmente extranaha a nuestra
             madre y       queria   reunirse con eila. Tambien, en ese tiempo, Venezuela tenia una
             economia buena y muchos dominicanos la consideraban la tierra de oportunidades.
             Imagino que e! proceso de tener la ilusion y la esperanza de ir a Venezuela y estar
             con nuestra mama y al fin darse cuenta que nunca sucedena era muy duro para el.

             19.        Era solamente despues de que Obel se habfa ido de la Republica Dominicana
             para Puerto Rico que mi madre envio para mi hermana menor, Natalia, a unirse a
             nosotros en Venezuela. Me send mal que mi madre solamente queria a las hembras
             vivir con eila y que eila nunca hizo nada para ayuciar a Obel unirse con nosotros.

             20.        Yo hubiera testificado a lo anterior en el juicio de Obe! en 2013, si los abogados
             de la defense me hubieron preguntado.




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He leido esta declaracion de 5 paginas. Yo declare bajo pena de perjurio bajo las ieyes
de los Estados Unidos que lo anterior es verdad y correcto.



Ejecutado en el                   dlcJ             dsa de       2019, en Aveiro, Portugal.


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Noeml Margarita Cruz Garcia




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                      STATEMENT OF NOEMI MARGARITA CRUZ GARCIA



I, Noemi Margarita Cruz Garcia state the following :

1.       My name is Noemi Margarita Cruz Garcia. I am Obel Cruz-Garcia’ s oldest sister . He is
around 2 years younger than me .


2.       I did not testify in Obel ’ s trial in Houston in 2013 . If Obel ’ s attorneys had contacted me,
I gladly would have gone to Houston to testify and support Obel . Even though I talked to someone
from Obel ’ s team via telephone, it was a brief conversation, and the investigator did not ask much
about our upbringing. Now, this is the first time that someone from the legal team has come over
to see me and to talk to me in depth about Obel ’s childhood .


3.       I was born in 1965 in Santo Domingo in the Dominican Republic               ,   Obel was born
approximately 2 years later .


4.       Our father, Valerio "Hungria " Cruz Santos, was a medic in the Navy of the Dominican
Republic . Not a doctor, but would practice in the medical field . After the civil war ended in our
country, our father was working in a military hospital that was near our house . Our mother did
not need to work outside the home. During our childhood, Obel and I used to have a lot of fun .
Our father used to take us to school every day, and he would come back home almost every night.
When we were not in school, Obel and I would have time to play . We used to climb the mango
and coconut trees, and we would play with marbles.

5.       Obel was very close to our mother . In my opinion, she used to spoil him . If Obel did not
like what she prepared for lunch, she would make whatever he wanted . When we came back from
school, our mother used to feed and bathe us. Later, it was time to take a nap, and Obel would
snuggle next to Mother, and they would take a nap together .


6.       Once in a while, they would give us some coins, and Obel and I would buy 5 pieces of


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candy each . Obel would keep one to give it to our mother as a gift.


7.       When I was around 6 years old, and Obel was around 4, our father had a horrible accident.
He broke his leg in different places, he broke his ribs and lost part of his liver . He was in the
hospital for a long time.


8.       Around the time of the accident, our father had started a relationship with another woman .
Eventually, my mother found out about that, and about other extra-marital relationships. Even
though it was not out of the ordinary for Dominican men to have several women, those
relationships (and, maybe, other factors) caused problems in my parents’ marriage. It was very
obvious that our mother was very unhappy at home.

9.       When I was around 8 years old, and Obel was around 6, our mother left her husband and
her children, and she went to Venezuela, looking for a new life. That was devastating for us, and
I cried a lot. Our father tried to make things feel normal, but it was horrible to be without our
mother . For a while, Obel, I, and my other siblings kept living in Santo Domingo with our father .
During that time, it was determined that Daddy was unable to do his military duties because of his
wounds, and he was officially declared disabled . They gave him a disability pension .


10.      At the beginning, my father hired a woman from the neighborhood to take care of us . At
some point, she started to have a relationship with our father. She stopped taking care of us and
the house . My father did not do anything about it because he wanted to please her . In any event,
the maintenance work of the house became my responsibility . I had to cook, clean, and take care
of my younger siblings . Obel would help me, especially with the baby, Joel .


11.      When I was around 11 years old, and Obel was around 10, our father moved the family
from Santo Domingo to Boba, a small town far away, where my grandparents lived . The change
to Boba was very tough . There was no electricity or indoor plumbing in Boba . There was no
telephone either . There were only 2 houses with half-brick walls. All the other houses were made
out of wood . The people who lived there would survive by fishing and planting seeds for crops,


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and even the children had to work to make sure that everybody had enough food to eat.


12.      Even the way they talk was different in Boba, because they speak a different dialect. In
Santo Domingo, we had been raised in the Catholic church . In Boba, everyone was Evangelic .


13.      The school in Boba was less rigorous than the one in Santo Domingo. As opposed to what
I did in Santo Domingo, I was not able to study at night because the only light in the house was an
oil lamp . What we did at night was to go to church every night. It was very dark when we got
back home, and I was afraid to step on the little toads.


14.      The people in Boba were very different from us. They were poorer and superstitious. One
day, a group from the town was going to go to a vigil in another town that was very far away . I
refused to go, and in order for me not to be left alone, none of the members of my family went.
The vehicle where the people from Boba were travelling veered off of the highway, and some
people ended up being hurt, even the son of the pastor lost his eye. Later, a lot of people asked me
if I had received a message from God warning me not to go. Everyone in town prayed and gave
thanks to God for sending the message and saving my family .


15.      Once a month, my father had to travel to Santo Domingo for a doctor’ s consultation to
verify his disability . The trip lasted 4 days, and he was away from home from Friday through
Monday . We would stay with our grandmother in Boba.


16.      After our mother left, we did not have direct contact with her. We would leave messages
with her parents in Santo Domingo, and they would contact her . I know that Obel wrote her some
letters. I don’t know if she wrote back . I never wrote because I was angry at her for leaving us.


17.      When I was around 14 years old, my parents made an agreement so that Obel and I would
go live with our mother in Venezuela. Obel was very excited to leave Boba and live with Mommy .
I was the first one to go to Venezuela. When I left, Obel told me that he would join me very soon .



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18.     But it was a lie. After hearing about some Dominican young men that got involved in
criminal behavior in Venezuela, my mother decided to leave Obel in Boba. Mommy lied to my
father, and she told him that Obel ’ s birth certificate got lost, and for that reason it was not possible
to get him a visa . Our father sent another copy of Obel ’ s birth certificate, but she still did not apply
for a visa for him . A lot of time went by before Mommy finally said she was definitely never
going to take Obel to Venezuela . I don’t know if she ever said what the real reason was. Obel
really missed our mother, and he wanted to join her . Also, during that time, Venezuela had a good
economy, and many Dominicans consider it the land of opportunity . I imagine that the process of
looking forward to, and having the hope of, going to Venezuela and being with our mother, and at
the end realizing that it was never going to happen, was very hard for him .


19.     It was only after Obel had left the Dominican Republic to go to Puerto Rico that my mother
had my younger sister, Natalia, join us in Venezuela . I felt bad that my mother only wanted the
females to go live with her, and she never did anything to help Obel join us.


20.     I would have testified the above in Obel ’ s trial in 2013, if the defense attorneys had asked
me.


I have read this 5-page statement. I state under penalty of perjury, under the laws of the United
States, that the above is true and correct.


Signed on April 3, 2019, in Aveiro, Portugal .

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Noemi Margarita Cruz Garcia




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                IN THE 337 TH JUDICIAL DISTRICT COURT
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                                   AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §             Writ No.
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             SUBSEQUENT APPLICATION FOR
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               EXHIBITS 91 THROUGH 100
                                  Jeremy Schepers (Texas 24084578)
                                  Supervisor , Capital Habeas Unit
                                  David Currie (TX 24084240)
                                  Naomi Fenwick (TX 24107764)
                                  Assistant Federal Public Defender
                                  Office of the Federal Public Defender
                                  Northern District of Texas
                                  525 S. Griffin St ., Ste . 629
                                  Dallas, Texas 75202
                                  jere my _schepers@fd .or g
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                                  (214) 767 - 2886 (fax)

                                   Counsel for Obel Cruz -Garcia



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                              DECLARACION BE PIRUQIHNU “PIRUCA ” ACOSTA


    Mi nombre es Piruquinu “Piruca” Acosta y tengo 76 anos de edad . Vivo en Bella Vista de Boba
    en la Republica Dominicana .

    Yo conod a Obel Cruz Garcia cuando su papa, Valerio “Hungria” y sus hijos se mudaron a Bella
    Vista de Boba. Obel tenia como 10 a 11 anos. Era una comunidad cercana y los conocia bien .
1   Elios estaban viviendo con Ramona, la mama de Hungria, en la mata de Boba . IJnos anos
    despues Hungria se caso con una de aqul llamada Dorca. El y Dorca se mudaron aqul en la casita
    al lado de ml y mi mujer, Chinin, mientras los niftos se quedaron en la casa de Ramona. Despues
    se trajeron a los niftos a vivir con ellos aqul al lado de ml . En aquel tiempo, el barrio consistia de
    4 o 5 casas en la carretera que va a Nagua. Mi casa era al lado de la de Hungria y Dorca . Las
    casas no tenian aguaduchos en ese tiempo, nuestra agua vino de las casimbas. Yo todavia uso
    casimba . Cuando liovia, el agua de la letrina se mesclaba con el de la casimba.

    Obel me llamaba “Papa” y llamaba a mi esposa “ Miami” . Cuando tuvo comida, Obel me 11 a mo
    para compartirla .

    El papa de Obel demando respeto de sus hijos . Siempre tenia a Obel trabajando y recuerdo que
    Obel era muy trabajador. Mas trabajador que sus hermanos . La madrasta de Obel era maestra y
    estaba muy ocupada. Obel cocinaba y pescaba con su papa todos los dlas para ayudar a la
    familia .

    Como mucha gente pobre en nuestra area, Obel se fue a Puerto Rico para hacer una vida mejor .
    Yo me fui despues de Obel por la misma razon. Yo vi a Obel de nuevo cuando nosotros dos
    estabamos en Rio Piedra, Puerto Rico . Obel se quedo en mi casa por un rato cuando recien llego
    de la finca . Durante ese tiempo, Obel trabajo en un cafe en Rio Piedra como cocinero . Es alii
    donde conocio a su futura esposa , Angelita . Antes de eso, habia trabajado en una finca de cafe .
    Obel era muy trabajador y buen companero de casa . Despues de como un ano yo regrese a la
    Republica Dominicana para ayudar a mi mujer, Chinin, cuidar a madre quien estaba muy grave.

    No vi a Obel por muchos anos pero supe que e! planeaba regresar a Bella Vista de Boba porque
    su papa ie estaba construyendo una casa en nuestro barrio . Cuando Obel regreso a la Republica
    Dominicana con su esposa, Angelita, se quedaron aqui en la casa que 3e construyeron. Obel
    ayudo a terminal de construir la casa pero le tomo mucho tiempo terminarla .
                          '




    En la Republica Dominicana, es comun para un hombre tener a su esposa y tambien tener
    relaciones con otras mujeres. Muchos hombres tienen hijos de varias mujeres y se considera
    normal tanto como el hombre provee para sus hijos. Yo tengo hijos de unas relaciones fltera de
    mi matrimonio, igual como el papa de Obel, mi mismo papa, y Obel. El papa de Obel era muy
    buen hombre pero a el le gustaba sus mujeres. Era un hombre hermoso y muy mujeriego. Porque
    era medico el estaba foera de la casa mucho trabajando y visitando a la gente. Asi conocia a las
    otras mujeres. Eso cause tension entre el v Dorca porque a eila no le gustaba que estaba fuera de
    casa y con otras mujeres. Pero ei era buen hombre y cuando un enfermo lo neeesitaba el
    inmediatamente iba a ver verios v no le cobraba nada a nadie .
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    Hasta ahora. nadie del equipo legal de Obel me habla contactado o pedido que testificara en el
    juicio de Obel . Si me hubieran preguntado, habria estado dispuesto y podria testificar en el iuicio
    de Obel en 2013

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    Yo he ieido este declaration de 2 paginas. Yo declaro bajo pena de perjurio bajo las leyes de los
    Estado Unidos que io anterior es verdadero y correeto .


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    Piruquinu Acosta




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                          STATEMENT OF PIRUQUINU ’TIRUCA" ACOSTA


Mv name is Piruquinu "Piruca " Acosta, and I am 76 years old . I live In Bella Vista de Boba in
the Dominican Republic .

I met Qbel Cruz Garcia when his father, Valerio “ Hungria” and his children moved to Bella
Vista de Boba . Qbel was around 10 to 11 years old . It was a nearby community, and I knew
them well .

They were living with Ramona, Hungria’ s mother, in La Mata de Boba. A few years later,
Hungria got married to a local woman named Dorca . He and Dorca moved over here to a little
house next door to me and my wife, Chinin, while the children remained in Ramona’s house.
They later brought the children over to live with them here next door to me. During that time,
                                                                 ,                         ,




the neighborhood consisted of 4 or 5 houses along the highway that leads to Vacua My house
was next door to Hungria and Dorca’ s house. The houses did not have running water during that
time . Our water came from a hole in the ground . I still use the water well . When it rained, the
water from the latrine would get mixed in with the water from the well .

Obel used to call me “Papa,” and he called my wife “Mama .” When he had food, Obel called me
to share it with me.

Obel ’ s father demanded respect from his children . He always had Obel working, and I
remember that Obel was a very hard worker . He worked more than his siblings . Obel ’ s
stepmother was a teacher, and she was very busy . Obel used to cook, and he would fish with his
father every day to help the family .

Like many poor people in our area, Obel went to Puerto Rico to make a better life . After Obel
left, I left for the same reason . I saw Obel again when we were both in Rio Piedra, Puerto Rico.
Obel stayed in my house for a while when he first got there from the plantation . During that
time, Obel worked at a cafe in Rio Piedra as a cook . He met his future wife, Angelita, there. He
had previously worked at a coffee plantation . Obel was a very hard worker, and a good
roommate. After about a year later, I returned to the Dominican Republic to help my wife,
Chinin, to take care of Mother who was very ill .

I did not see Obel for many years, but I found out that he was planning on going back to Bella
Vista de Boba because his father was building a house for him in our neighborhood . When Obel
went back to the Dominican Republic with his wife, Angelita, they stayed here at. the house that
     ,




was built for them Obel helped finish building the house, but it took him a long time to finish it .
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In the Dominican Republic, it is common for a man to have his wife and to also have
relationships with other women . Many men have children with several women, and that is


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considered normal so much so, that the men provide for their children . I have children from
some of the relationships outside of my marriage, the same as Obel ’ s father, my own father, and
Obel . Obel ’s father was a very good man, but he liked women . He was a beautiful man and
very much a ladies’ man . Because he was a medic, he spent a lot of time outside of the home
working and visiting people . That is how he met other women . That caused tension between
him and Dorca because she did not like that he was spending time outside of the home and with
other women . But he was a good man, and when a person who was ill needed him, he would go
see them immediately, and he did not charge anybody anything.

Up to now, nobody from Obel ’ s legal team had contacted me or asked me to testify in Obel ’ s
trial . If they had asked me, I would have been willing and could have testified in Obel’ s trial in
2013 .

I have read this 2-page statement. I state under penalty of perjury that under the laws of the
United States the above is true and correct.

Signed November 29, 2018 in Buena Vista de Boba, Dominican Republic .

             /s/
Piruquinu Acosta




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                      DECLARACION DE RAMONA ALTAGRACIA MOSQUEA


    Me llamo Ramona Aitagracia Mosquea y me llaman Altagracia. Tengo 63 alios. Ahora y para 50
    anos, he vivido en Boba, Republica Dominieana y trabajado como maestra . Ahora estoy jubilada,
    pero todavia trabajo con un programa del presidente para combatir el analfabetismo de adultos.

    Yo tenia a Obei Cruz Garcia como estudiante para 2 ahos en un colegio en Boba Era una escuela
    primaria de grados uno a cinco . Despues, los alumnos lueron a una escuela en Las Gordas.
    La escuela en Boba era la unica. escuela en nuestra comunidad y servta las otras pueblas
    cercanas. En ese tiempo, habla 35-40 nines en cada clase. Algunos venlan de lejos - de Los
    Rincones, Bella Vista, La Mata, La Zenda, y El Bambu . Los alumnos caminaban a la escuela y
    no importaba el clima, ni lluvia ni el calor. La mayoria tenlan chancietas pero algunos venlan
    descalzos, Habla que compartir fibres y partir los lapices (unos tenlan la parte con goma y los
    otros no). La escuela no tenia mucho. La escuela recibla ayuda del gobierno en la forma de trigo
•
    y arroz para asegurar que los nines comieron por lo menos una comida buena al dla. Hicimos
    trigo con leche, trigo con pica pica, albeja con arroz, o licuados con trigo .
    Obei vino a Bob con su padre, Valerio “Hungrla”, y sus hermanos, Natalia y Joel. Nunca conocl
    a la mama. Hungrla vivia con su madre, Ramona, durante ese tiempo y recuerdo de elia.
    Recuerdo a la familia muy bien porque las maestras y los parientes eran una comunidad unida y
    nos compartlamos frecuentemente.
    En Boba todos trabajaban, hasta los ninos chiquitos. La comunidad no tenia mucho pero el mar y
    los arboles dieron comida : cangrejo, coco, y pescado. La gente ganaba dinero por hacer y vender
    chinchorros, cortar y vender cocos, y pescar .
    Porque el pueblo de Boba vivia por el mar , a la bora en que yo llegue a la escuela, como a las 7 o
    7 : 15 y la escuela empezaba a las 8. Algunos de los alumnos, como Obei, pescaban en la
    madrugada con sus papas y venlan a ia escuela a las 8 despues de pescar . A veces se quedaban
    dormidos durante la clase porque estaban cansados . Cuando sallan de la escuela, muchos volvlan
    a trabajar con sus papas .
    A Obei no le gustaba hablar en frente de la clase. Se ponia muy nervioso y sus palmas se ponlan
    a sudar. Muchas veces cuando tenian presentation de grupo el se quedaba. callado,
    Hungrla ero un practicante de medicina tambien. El habla prestado servicio militar antes de que
    la familia se mudo a Boba, cuando vivia en el capital de Santo Domingo. En nuestra comunidad,
    si alguien necesitaba asistencia medica, fueron con Hungrla. Si la persona era muy enferma y
    Hungrla no podia ayudar, el se foe con la persona al hospital en Nagua para asegurar que recibio
    lo que necesitaba,
    Habla una vez que Obei se cailo del techo de la casa de Ramona y se partio la cabeza. Hungria lo
    tuvo que llevar al hospital v le pusieron puntos de sutura . Falto la escuela como una semana
    porque tenia problemas de vista y le dolia ia cabeza. Hungrla me dijo que no queria que viniera a
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la escuela porque tenia que tener la cabeza levantada y no queria que leyera o escribiera porque
hubiera tenido que tener la cabeza abajo . Obel no faitaba mucho de la escuela. Las veces que
faltaba era porque estaba enfermo o porque sus hermanitos estaban enfermos y el los tenia que
cuidar mientras Hungria estaba fuera de la casa. Obel era como otro padre para sus hermanos
menores. Acuerdo que su hermanito, Joel era muy joven. Obel era muy carinoso con sus
hermanos, dandoles de comer, banandoles, vistiendoles, y asegurando que estaban bien . Obel
hablo de su mama y de que la hizo falta pero el amaba mucho a su papa, aunque Hungria era
muy estricto con sus bijos.
Obel era un nine muy bueno. Si uno de sus companeros de la escuela necesitaba cualquier cosa,
el siempre era dispuesto de ayudar. Si uno de ellos se enfermo y tenia que irse a casa, Obel
siempre ofrecio llevarle, Lo que Obel tenia, siempre compartia con los de mas. Yo tenia una
tierra detras de la escuela donde sembraba lechuga, tomate, y pepino y Obel siempre me ayudaba
con la siembra.
                                                                                           r


A veces, Obel pescaba tiburones chicos y los colocaba en el sol a secar para hace bacalao . El
sabia que a mi me gustaba el bacalao y me lo traia . Tambien me traia sancocho que hizo su
abuela, Ramona. No habia mucha came pero era muy rico. Obel tenia buenos sentimientos. Era
un nino con buenas intenciones.

Ni los abogados ni nadie mas del grupo de defensa de Obel se comunicaron con migo hasta ahora.
Si me hubieron pedido, yo podria haber testificado en el juicio de Obel del 2013 .

He leido esta declaration de J; pagina. Yo declaro bajo pena de perjurio bajo las leyes de los
Estados Unidos que lo anterior es verdad y correcto.

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                      STATEMENT OF RAMONA ALTAGRACIA MOSQUEA


My name is Ramona Altagracia Mosquea, and they call me Altagracia. I am 63 years old I live    ,


now, and for 50 years have lived, in Roba, Dominican Republic, and I have worked as a teacher .
I am now retired, but I still w'ork with a program from the Mayor/President to help illiterate adults .

I had Obel Cruz Garcia as a student for 2 years in a school in Boba. It was an elementary school
from first grade to fifth grade. Afterwards, the students went to a school at Las Gordas.

The school in Boba was the only school in our community, and it served the other nearby towns .
During that time, there were 35-40 children in each class . Some would come from far away -
from Los Rincones, Bella Vista, La Mata, La Zenda, and El Bambu . The students used to walk to
school, and it didn’t matter how the weather was, nor the rain nor the heat. Most of them had
                                  7



sandals, but some used to come to school barefoot. The books had to be shared and the pencils
had to be broken (some would have the part with the eraser, and some would not.) The school did
not have much . The school received help from the government in the form of wheat and rice to
ensure that the children had at least one good meal per day . We made wheat with milk, wheat with
pica pica (chili powder mixed with lime), peas with rice, or wheat shakes .

Obel came to Boba with his father, Valerio “ Hungria,” and his siblings, Natalia and Joel . I never
met his mother . Hungria lived with his mother, Ramona, during that time, and I remember her. I
remember the family very well because the teachers and the parents were a united community, and
we often interacted .

Everybody worked in Boba, even the small children . The community did not have much, but the
sea and the trees gave us food : crab, coconut, and fish . The people used to earn money by
preparing the fish to be ready to eat and selling it, cutting and selling coconuts, and fishing.

Because the town of Boba was located by the sea, by the time I arrived at school, around 7 or 7 : 15,
and school started at 8. Some of the students, such as Obel , went fishing early in the morning with
their fathers, and they would come to school at 8 after fishing . Sometimes they would fall asleep
in class because they were tired . When they got out of school, many of them would go back to
work with their fathers .

Obel did not like to talk in front of the class. He v/ould get very nervous, and the palms of his
hands would start sweating . Many times, when they had a group presentation, he would remain
quiet .

Hungria w as also a medical practitioner . He had served in the military' before the family moved
            ?


to Boba, when he used to live in the capital , Santo Domingo. If someone needed medical attention
in our community, they W'ould go see Hungria. If the person was very sick, and Hungria was not
able to help, he would go with that person to the hospital in Nagua to make sure that he or she
received what w as needed .
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R. A. M .



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On one occasion, Obel fell from the roof of Ramona’ s house, and he cracked his head . Hun mi a
had to take him to the hospital, and they gave him some stitches . He missed school for about a
week because he had vision problems, and his head hurt. Hungria told me that he did not want
him to come to school because he had to have his head elevated, and he did not want him to read
nor write because he would have to lower his head to do that. Obel did not miss school much .
The times when he missed was because he was sick or because his siblings veere sick, and he had
to take care of them while Hungria was not at home. Obel was like a second father for his younger
siblings . I remember that his brother, Joel, w as very young. Obel was very loving with his
                                                         7



siblings, feeding them, bathing them, dressing them, and making sure that they were okay . Obel
talked about his mother, and that he needed her, but he loved his father very much, even though
Hungria was very strict with his children .

Obel was a very good boy . If one of his classmates needed anything, he w as always willing to
                                                                                           ?


help . If one of them got sick, and had to go home, Obel always offered to take him . Obel always
shared with everybody what he had . I had a piece of land behind the school where I would grow
lettuce, tomatoes, cucumbers, and Obel always helped me with planting the seeds.

Sometimes, Obel caught small sharks, and he would set them to dry under the sun to prepare cod
fish (sic). He knew that I liked cod fish, and he used to bring it to me. He also used to bring me
                       7



beef stew prepared by his grandmother, Ramona. It did not have a lot of meat in it, but it was very
delicious . Obel had good feelings. He was a child with good intentions.

Neither the attorneys nor Obel ’s defense group contacted me until now. If they had asked me, I
could have testified in Obel ’ s trial in 2013 . I have read this 2-page statement. I state under penalty
of perjury under the laws of the United States that the above is true and correct .

Signed November 29, 2018




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Ramona Altagracsa Mosques




(Translator ’s note: Punctuation, grammar and/or spelling added or altered for clarity.)



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                               DECLARACION DE SANDRA H1LVANIA VAZQUEZ


         Mi nombre es Sandra Hilvania “Hilvi” Vazquez, y tengo 46 anos cSe edad. Vivo en Bella
         Vista de Boba en la Republica Dominicans,


         Yo conod a Obel cuando tenia 13 anos en Boba, Republica Dominicana. Nos
Is
         conocimos cuando mi familia estaba construyendo una casa al lado de la casa de
         Hungria. En ese tiempo no lemamos electricidad ni agua corriente, el agua lo
         sacabamos de las casimbas. A veces el agua estaba bien para tomar , pero a veces
         estaba muy sucia, especialmente despues que llovia. Cuando llovia, la letrina se
         iienaba y el agua sucia se mezclaba con el agua fresca en la casimba Hace como 5
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         anos que trajeron e! agua corriente.


         Obel salvo a mi hijo, Hector “VVandy” Alexander Santos, cuando le choco un carro y
         estaba grave. Un dia, como hace veinte anos, estaba caminando con mi tia y mi hijo a
         la casa de mi tie. Wandy tenia 6 anos. Wandy cruzo la caile con mi tia, pero yo no
         porque vi que venia un carro muy rapido. Mientras Wandy estaba cruzando se dio
         cuenta que yo no los estaba siguiendo y solto la mano de mi tia y se empezo a regresar
         a donde yo estaba. Eso fue cuando el carro lo atropello. Yo no supe que hacer. Estaba
         frisada. No teniamos celuiares en ese tiempo y no habia ambulancias. La unica manera
         de ir al hospital fue que alguien te lievara en carro o en moto. En ese momento, Obel
         estaba regresando de un dia de pesca con su papa en una camioneta verde. Obel vio
         lo que le paso a Wandy, y con la ayuda de otros, lo recogieron rapidamente y io
         metieron a la camioneta. Obel lo manejo a la clinica y Wandy reciblo la atencion medica
         que necesitaba. Si no hubiera sido por Obel, Wandy se podria haber muerto. Wandy
         reciblo 3 cirugias de la cabeza, estuvo 14 dias en el intensive en el hospital San
         Vincente de Paul San Francisco de Macons, y le pusieron como un huesito en el
         craneo. Estaba muy lastimado. Estamos muy afortunados que Obel estaba ahf y que
         nos ayudo.

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     Obel iambien ayudo a construir la iglesia catolica aquf en Bella Vista aunque el no era
     catolico. No babia muchos catolicos en Bella Vista y no fenian lugar para celebrar misa   ,



     Obel ies dio dinero y les ayudo a construir una iglesia con sus propias manos. Todavia
     la usan para misa.
Si


     Hasta ahora, nadie del equipo legal de Obel me habia contactado o pedido que iestificara
     en el juicio de Obel. Si me hubieran preguntado, habrla estado dispuesta y podrla
     testificar en el juicio de Obel @n 2013.


     Yo he ieldo esta declaracion de 2 paginas. Yo declare bajo pena de perjurio bajo las
     Seyes de los Estado Unidos que io anterior es verdadero y correcto.


     Ejecutado en el            dsa de                    2018, en
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     Sandra Hilvania Vazquez




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                      STATEMENT OF SANDRA HILVANIA VAZQUEZ




My name is Sandra Hilvania "Hilvi" Vazquez, and I am 46 years old.        live in Bella Vista
de Boba, Dominican Republic.


I met Obei when he was 13 years old in Boba, Dominican Republic. We met each other
when my family was building a house next to Hungria’ s house. During that time, we did
not have electricity , nor running water. We used to get the water from the water wells.
Sometimes the water was good for drinking, but sometimes it was very dirty, especially
after it rained. When if rained, the latrine would fill up, and the dirty water would mix in
with the fresh water from the water well. They brought running water over here about 5
years ago.


Obel saved my son, Hector “ Wandy” Alexander Santos, when he was hit by a car, and he
was seriously injured. One day, about 20 years ago, I was walking with my aunt and my
son towards my uncle’s house. Wandy was 6 years old. Wandy crossed the street with
my aunt , but I did not , because I saw a car coming very fast. While Wandy was crossing,
he realized that I was not following them , and he let go of my aunt’s hand and started
coming back to where I was. That’s when the car ran over him . I did not know what to
do. I was frozen. We did not have cellular phones at that time, and there were no
ambulances. The only way to get to the hospital was if someone took you by car or
motorcycle. At that moment , Obel was coming back from a day of fishing with his father
in a green truck. Obel saw what happened to Wandy, and with the help of others, they
picked him up right away and put him in the truck. Obel drove him to the clinic, and
Wandy received the medical attention that he needed. Had it not been for Obel, Wandy
could have died. Wandy underwent 3 head surgeries. He was in intensive care during
14 days in San Vincente de Paul San Francisco de Macons Hospital, and they inserted
something like a iitfle bone in his skull. He was seriously injured. We are very fortunate
that Obel was there, and that he helped us.


1 S. H. V. M.


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Obel also helped build the catholic church here in Bella Vista, even though he was not
catholic. There were not a lot of Catholics in Bella Vista, and they did not have a place
where they could celebrate mass. Obel gave them money, and he helped them build a
church with his own hands. They still use it for mass.


Up to now , nobody from Obel’s legal team had contacted me or asked me to testify in
Obel’s trial. If they had asked me, I would have been willing and could have testified in
Obel’s trial in 2013.


I have read this 2-page statement. I state under penalty of perjury under the laws of the
United States that the above is true and correct.


Signed                 of                  2018, in
Dominican Republic.


                              /s/
Sandra Hilvania Vazquez




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                                         DECLASACION DE LEURIDES VASQUEZ FANA


         Mi nombre es Leurides “Uri” Vasquez Fana, y tengo 61 alios de edad . Vivo en Bella Vista de
         Boba en la Republics Dominicana.

         Yo conozco a Obel Cruz Garcia desde que tenia 10-12 anos y se mudo a Boba, Republica
         Dominica . Pasamos tiempo juntos en Boba y hablabamos mucho. Yo siento que Obel y yo
         realmente nos abrimos el uno al otro y nos tratabamos mas corao hermanos que amigos.

         Obel sufrio cuando su mama, Dalia, lo abandono . El fue obligado a crecer y cuidar a sus
         hermanos menores cuando todavia era muy joven. Cuando Obel no estaba pescando estaba en su
         casa cocinando, cambiando los panales de sus hermanos y cuidandolos. Cuando no habia
         suficiente comida, Obel tba a pescar y vendia el pescado para comprarle comida a su familia. El
         acompanaba a su papa, Valerio “Hungria” Cruz, por el pueblo tambien, haciendo visitas de casa.
         Hungria, era el medico del pueblo y cuidaba a todos en Boba.

         De lo que yo puedo observar, Obel y su papa eran muy cercanos. Cuando Hungria no podia ir a
         pescar, el mandaba a Obel porque confiaba en el. Obel hizo todo lo que su papa le pedia.
         Hungria era muy estricto y exigia mucho de sus hijos.

     Cuando Hungria se volvio a casar con Dorea, cambio. El se hizo mas distante de sus hijos y no
     los soportaba emocionalmente como antes. Obel sintio como su papa lo habia abandonado
     porque no le demostro el mismo amor y empezo a castigarlo a el y a sus hermanos fisicamente.
     Hungria castigaba a todos sus hijos, pero era mas fuerte con Obel. Era claro para mi que Obel
     estaba sufriendo, pero Obel no queria hablar mal de su papa. Otros en el pueblo sabian que Obel
     estaba sufriendo, pero Obel no hablaba mucho con otras personas sobre su sufrimiento. Yo era
     una de las pocas personas en la que el confiaba. Creo que fue porque el sabia que yo tambien
     habia sufrido mucho en la vida y podia relacionarme con el.

     Hasta ahora, nadie del equip© legal de Obel me habia contactado o pedido que testificara en el
     juicio de Obel. Si me hubieran preguntado, habria estado dispuesta y podria testificar en el juicio
     de Obel en 2013

          Yo he leido este          -I   - pagina declaration. Yo declare bajo pena de perjurio bajo las leyes de
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    Deurides Vasquez Fana


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                          STATEMENT OF LEURIDES VASQUEZ FANA


My name is Leurides "Uri " Vasquez Faria, and I am 61 years old I live in Bella Vista de
                                                                     ,



Boba in the Dominican Republic.

I’ve known Obel Cruz Garcia since he was 10-12 years old, and he moved to Boba,
Dominican Republic. We spent some time together in Boba, and we used to talk a lot. I feel
that Obel and I really opened up to each other, and we treated each other more like siblings
than friends .

Obel suffered when his mother, Dalia, abandoned him . He was forced to grow up and take
care of his younger siblings when he was still very young . When Obel w'as not fishing, he
was at home cooking, changing his siblings’ diapers, and taking care of them . When there
was not enough food, Obel used to go fishing, and he would sell fish, so that he could buy
food for his family . He also accompanied his father, Valerio “ Hungria” Cruz, when he was
making home visits in town . Hungria, was the medic of the town, and he would provide care
to everybody in Boba.

From what I can observe, Obel and his father were very close to each other . When Hungria
was not able to go out fishing, he would send Obel because he trusted him . Obel did
everything that his father asked him to do. Hungria was very' strict, and he would be very'
demanding of his children .

When Hungria married again, to Dorca, he changed . He became more distant with his
children, and he did not give them emotional support like he did before. Obel felt like his
father had abandoned him because he did not show' him the same love, and he started
punishing him and his siblings physically . Hungria punished all of his children, but he was
harsher with Obel It was clear to me that Obel was suffering, but Obel did not want to say
                      ,


anything bad about his father. Other people in town knew that Obel was suffering, but Obel
did not talk much about his suffering with other people. I was one of the few' persons that he
trusted . I think that he knew' that I had also suffered a lot in life, and I could relate to him .

Up until now, nobody from Obel ’ s legal team had contacted nie or asked me to testify in
Obel’s trial . If they had asked nie, I would have been willing and could have testified in
Obel’s trial in 2013 .

I have read this one page statement. I state under penalty of perjury according to the laws
of the United States that the above is true and correct.

Signed November 29, 2018 in Bella Vista, Dominican Republic .

       /s/
Leurides Vasquez Fana
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                        Vasooet cede Is tree and correct to the best of my shillties,
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        EXHIBIT 94 Page 003
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                 13847940101C / Court: 337




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HE RECEIVED A CALL FROM THE DISPATCHER TO CHECK AN AGGRAVATED SEXUAL ASSAULT/
AGGRAVATED KIDNAPPING SCENE AT                OFFICER NORRIS WAS IN THE HOMICIDE
OFP*9 AT THE TIME
     E             OF THE  CALL AND ARRIVED ON THE SCENE AT APPROXIMATELY 0030
HO,    UPON ARRIVAL/ OFFICER NORRIS TALKED WITH SCENE PATROL OFFICERS B , K.
CARPSNDER {PR 98071} AND J. DAVERUX {PR 79439} RIDING UNIT 13D13. ALSO ON THE
SCENE WERE SEVERAL MORE PATROL OFFICERS AND ARRIVING LATER WAS HOMICIDE
SGT. C. ELLIOTT AND LT. D , GAFFORD. AFTER TALKING WITH ALL OF THESE OFFICERS /
OFFICER NORRIS MADE THE FOLLOWING SCENE OBSERVATIONS.
                                                                       *****5CENE SUMMARY*****

AREA OF TOWN

THE ADDRESS OF              WAS OBSERVED TO BE THAT OF THE
                  LOCATED IN THE SOUTH SEGTIGNGF HOUSTON IN HARRIS COUNTY,
THIS ADDRESS CAN BE LOCATED ON KEY MAP
HOUSTON POLICE DEPARTMENTS 13010 $
                                                 A N D W A S F U R T H E R F O U N D IN THE
TO BE AN EAST/WEST STREET JUST SEVERAL BLOCKS SOUTHWEST OF THE MAJOR
INTERSECTION OF TELEPHONE ROAD AND THE SOUTH LOOP (610). THIS AREA OF HOUSTON
WAS OBSERVED TO BE ETHICALLY MIXED HOWEVER THIS PARTICULAR COMPLEX WAS
                                                                               WAS OBSERVED
                                                                                                          ^^^^
OBSERVED TO BE PREDOMINANTLY HISPANIC AND OF A LOW SOCIO ECONOMIC STATURE ,                                                                                       -
OUTSIDE COMPLEX

TH NPARTICULAR COMPLEX                } WAS OBSERVED TO BE ONLY A THREE
  ^
BONDING COMPLEX WITH A LONG NORTH/SOUTH CARPORT ON THE EAST SIDE, ALL
FORMING A "0" CONFIGERATION. THE CENTER OF THE COMPLEX, BETWEEN THE BUILDING
                                              -
CONTAINING UNITS 1 14 WAS COMPRISED MOSTLY OF CONCRETE SLABING WITH A LARGE
OVAL CONCRETE SLAB IN THE CENTER. TOWARD THE NORTH SIDE WERE SOME GRASSY AREAS
AND THERE WERE 4 LARGE PALM TREES LOCATED IN THE NORTH/SOUTH SECTION.
THE RESIDENTIAL BUILDING TO THE WEST CONTAINED UNITS 1 14 WITH ALL ODD NUMBERS
ON THE LOWER LEVEL AND ALL EVEN NUMBERS ON THE TOP. UNITS ONE AND TWO WERE
                                                                                                                                                         -
LOCATED ON THE SOUTH END OF THE BUILDING.

THE LONG EAST/WEST BUILDING AT THE TOP OF THE "O'* CONTAINED UNITS 15 26, ALL
ODD NUMBERS WERE LOCATED ON THE BOTTOM AND ALL EVEN NUMBERED UNITS ON THE TOP.
                                                                                                                                                                                              -
                         -
NUMBERS 15 16 WERE ON THE WEST END. THIS BUILDING WAS VACANT AND FRESH EXTERIOR
WOOD MADE IT APPEAR AS IF THE UNITS WERE BEING RENAVATED. THIS WAS ALSO TRUE OF
THE BUILDING ON THE EAST SIDE (JUST NORTH OF THE CARPORT}. THIS SMALL BUILDING
CONTAINED ONLY FOUR UNITS WITH NUMBERS 27 & 29 ON THE DOWNSTAIRS AND UNITS 28
& 30 ON TOP.

FROM THE SOUTH OF THIS BUILDING TO THE STREET WAS THE AFOREMENTIONED CARPORT.
THE CARPORT ALLOWED VEHICLES TO PULL IN AT A NORTHWESTERLY DIRECTION. THE
PLATE NUMBERS NOTED UNDER THIS CARPORT WERE RECORDED FROM THE NORTH TO THE
SOUTH AS FOLLOWS;
MKLMW

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Ck .(WISE THERE WERE NINE ADDITIONAL VEHICLES THAT PULLED IN DIRECTLY
ON THE SOUTH SIDE OF THE BUILDING, AROUND AND DOWN THE EAST SIDE OF THE
DRIVEWAY. THESE VEHICLES WERE OBSERVED FROM NORTH TO SOUTH AS FOLLOWS;
         JY714SFN
         GP
       3HL
       ZQY
       5YM
       375
         1W

OUTSIDE WEATHER AND LIGHTING
 THE WEATHER OUTSIDE WAS CLEAR AND COMFORTABLE WITH TEMPERATURES IN THE LOW
60'S. THE WINDS WERE LIGHT AT 5 10 MPH. THERE WAS MAYBE A 1/8TH MOON.       -
SCENE LIGHTING ON THE OUTSIDE OF THIS COMPLEX AND WITHIN THE COURTYARD WAS
VERY GOOD AS THERE WERE A TOTAL OF FOUR MERCURY VAPOR SECURITY LIGHTS {ALL
WORKING} AROUND THE COURTYARD AREA. IN ADDITION TO THIS LIGHTING THERE WAS
A MERCURY VAPOR STREET LIGHT JUST TO THE EAST OF THE ENTRENCE DRIVEWAY TO THE
EAST PARKING AREA AND SEVERAL RESIDENTIAL 110 V. PORCH LIGHTS THAT WERE ON.
  /""N
ARc.. IN FRONT OF COMPS APT. #3

THE COMPS APARTMENT WAS LOCATED ON THE LOWER LEVEL OF THE WEST BUILDING. THE
FRONT DOOR FACED THE EAST AND FACED THE COURTYARD. JUST TO THE SOUTHEAST OF THE
FRONT DOOR WAS A BROWN PICNIC TABLE. A SMALL GRILL WAS TO THE WEST OF THE TABLE
(THE GRILL WAS COLD). A CASE OF EMPTY COKE BOTTLES/MOP/1/2 OF A BROOM AND A
PAINT CAN WERE ON THE GROUND JUST TO THE WEST OF THE GRILL.
A BLUE               BOYS BICYCLE WAS LAYING ON THE GROUND NEXT TO A BLACK SUPPORT POST
TO THE               EAST OF THE DOORWAY. THIS BIKE HAD A LARGE CHAIN AROUND THE UPPER SUPPORT
WITH A               LOCK, HOWEVER, THE CHAIN DID NOT GO AROUND THE POST AND WAS NOT SECURED.
 THERE               WAS A GRAY CHAIR TO THE NORTHWEST OF THE DOORWAY AND TWO BENCH SEATS
TO THE               NORTH OF THE CHAIR. THERE WAS A 110V. BULB PORCH LIGHT ON THE NORTH SIDE
OF THE               DOOR BUT THE LIGHT WAS NOT ON.
THERE WERE TWO WINDOWS THAT FACED THE COURTYARD. THE WINDOW TO THE NORTH OF THE
FRONT DOOR WAS A LARGE LIVING ROOM PICTURE WINDOW. THE CURTAINS WERE CLOSED AND
CLOSEFINED TOGETHER ON THE INSIDE. THE INSIDE OF THE CURTAIN WAS PURPLE AND THE
OUTSIDE WAS WHITE. ALL OF THIS MADE IT IMPOSSIBLE TO SEE INTO THE UNIT FROM THIS
WINDOW. THE SECOND WINDOW WAS LOCATED JUST TO THE SOUTH OF THE FRONT DOOR AND
WAS MUCH SMALLER. THIS WINDOW WAS THE KITCHEN WINDOW AND WAS COVERED WITH A
WHITE CURTAIN. IT WAS ALSO IMPOSSIBLE TO VIEW INTO THE UNIT FROM THIS WINDOW.
THfci FRONT DOOR TO THIS UNIT WAS BLUE ON THE OUTSIDE AND WAS A METAL FRAMED
EXTERIOR DOOR. THE NUMBER 3 WAS NOTED ON THE CENTER OF THE DOOR WITH A PEEP
HOLE JUST BELOW THE 3. THERE WAS A DEAD BOLT APPROXIMATELY 3" ABOVE THE KNOB.
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THIS DEAD BOLT ALLOWED ACCESS WITH A KEY ON THE OUTSIDE AND A TWIST TYPE LOCK
ON THE INSIDE. THE DOOR KNOB ALLOWED ACCESS WITH A KEY ON THE OUTSIDE AND ALSO
A    ST KNOB ON THE INSIDE.
  ^
THE DOOR FRAME WAS WHITE PAINTED WOOD. LAYING ON THE GROUND JUST TO THE
OUTSIDE OF THE DOORWAY WAS THE FRAMING COVER PLATE FOR THE DEAD BOLT BAR. THIS
WAS LAYING NEXT TO A PIECE OF WHITE NAPKIN SAID TO BE THE COMPS. THE DOOR FRAME
AT THE DEAD BOLT HEIGHT WAS CRACKED AND BROKEN BUT NOT SEPARATED FROM THE FROM
THE FRAME.

INSIDE COMPS UNIT # 3


THE FRONT DOOR WAS HINGED ON THE SOUTH SIDE AND ALLOWED ACCESS INTO THE SMALL
SECTION BETWEEN THE LIVING ROOM AND THE KITCHEN. THE LIVING ROOM WAS LOCATED
ON THE NORTHEAST CORNER OF THE UNIT. IN THE NORTHEAST CORNER OF THE ROOM WAS
A BRASS COLORED HAT RACK. HANGING ON THE RACK WERE MANY HATS INCLUDING A
BINOCULAR CASE. JUST TO THE WEST OF THIS HAT RACK WAS A SMALL STAND WITH A
WORKING VCR ON IT. TO THE WEST OF THE VCR WAS A FLOOR MODEL TV SET.

THERE WERE SEVERAL NICK NACKS ON THE TOP OF THE TV SET BUT OF INTEREST TO THIS
INVESTIGATION WAS A CIGAR THAT WAS ONLY PARTIALLY SMOKED. THE COMP STATED THAT
THIS CIGAR BELONGED TO ONE OF THE SUSPECTS.

TO THE WEST OF THE TV SET WERE MORE NICK NACKS AND A BOYS BLUE BACK PACK WAS
LEANING UP AGAINST THE WEST SIDE OF THE TV SET. TO THE WEST OF THIS AREA WAS
A PLIGHT VACUUM CLEANER WITH A BLACK LEATHER JACKET HANGING FROM IT. IN THE
NOi. JWEST CORNER OF THE ROOM WAS A TALL WICKER BOOKSHELF.

A COUCH PARTITIONED THE LIVING ROOM FROM THE WALKWAY PRIOR TO COMING TO THE
KITCHEN AREA AND A MATCHING STUFFED CHAIR WAS LOCATED IN THE SOUTHWEST CORNER
OF THE LIVING ROOM. THE LIVING ROOM FLOOR WAS DONE IN A TAN WALL TO WALL CARPET.
THIS WALL TO WALL CARPET EXTENDED THROUGHOUT THE HOUSE WITH THE EXCEPTION OF
A SECTION OF LINOLEUM IN THE KITCHEN.

THE SOUTHWEST CORNER OF THIS LARGE CENTRAL AREA WAS THE DINING ROOM. IN THE
DINING ROOM WAS A LARGE OVAL, BLACK GLASS TOPED TABLE WITH THREE CHAIRS
AROUND IT. ON THE TOP OF THE TABLE WAS A BLACK WOMANS PURSE ( SAID TO HAVE BEEN
PUT THERE AFTER THE SUSPECTS LEFT). SEVERAL OTHER ITEMS AND A LSG
COMMUNICATIONS PAGER. THE NUMBER TO LSG WAS NOTED AS 713-674-8615 AND THE
PAGER SERIAL NUMBER WAS NOTED AS 555471. THERE WAS HOWEVER NO PHONE NUMBER
FOR THE PAGER NOTED ON IT.
IN THE SOUTHEAST CORNER OF THE ROOM WAS THE KITCHEN AREA. ALONG THE SOUTH WALL
WAS A COUNTER AREA WITH A DOUBLE SINK INCLOSED. ALONG THE EAST WALL WAS A STOVE
AND THEN A REFRIGERATOR TO THE NORTH (JUST SOUTH OF THE FRONT DOOR ). SITING ON
THE FLOOR JUST WEST OF THE STOVE WAS THE 4TH KITCHEN CHAIR.

NO
  ^WEST BEDROOM
       .



IN THE CENTER OF THE WEST WALL OF THE LIVING ROOM / DINING ROOM, WAS A DOORWAY
THAT LED      '
                     BEDROOM IN THIS UNIT. THE DOOR TO THIS BEDROOM WAS HINGED
ON THE WE            SAID TO BE OPEN AT THE TIME OF THE ATTACK. LAYING0001843
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DOORWAY WERE A PILE OF ASSORTED CLOTHING ( AS IF THEY HAD BEEN DUMPED FROM A
DRAWER ).
JU. INSIDE THE DOORWAY TO THE EAST WAS A QUEEN SIZED (OR SO ) BED THAT WAS
IN A CADDI CORNER POSITION WITH THE HEAD TOWARD THE NORTHEAST CORNER OF THE
ROOM. AT THE NORTHEAST CORNER OF THE BED WAS A PILLOW WITH NO PILLOW CASE ON
IT AND A ROUND POOL OF BLOOD ON THE PILLOW.
ALSO ON THE TOP OF THIS BED WERE TWO DRAWERS FROM THE SOUTH WALL DRESSER AND
ONE DRAWER FROM THE WEST WALL DRESSER, A CHILDS RED SHIRT WITH A KNOT TIED IN
IT, OTHER ASSORTED CLOTHING, A GOLD CONFORTER, TWO PILLOWS NEAR THE SOUTHWEST
CORNER AND A BROWN FITTED SHEET THAT HAD COME OUT FROM SEVERAL OF THE CORNERS.

ON THE FLOOR ON THE WEST SIDE OF THE BED WERE NOTHING BUT A FLOOR OF CLOTHING.
ON TOP OF THIS CLOTHING WERE SEVERAL SMALL POOLS OF BLOOD AND A CLOCK RADIO
WITH THE CORD TIED IN A LOOSE KNOT.

THERE WAS A DRESSER IN THE NORTHWEST CORNER OF THE ROOM. ALL OF THE DRAWERE WERE
IN PLACE BUT SOME WERE PULLED OUTWARD. IN THE TOP DRAWER OF THIS DRESSER WAS A
RAVEN .25 SEMI-AUTOMATIC PISTOL, MODEL MP 25 BEARING SERAIL NUMBER 1838778. THIS
WEAPON WAS SAID TO HAVE BEEN PICKED UP BY ONE OF THE SUSPECTS AND THEN PUT BACK
INTO THE DRAWER.

LEANING AGAINST THIS DRESSER WAS A LARGE MIRROR. AGAINST THE WEST WALL WAS A
SMALLER DRESSER WITH SEVERAL DRAWERE PULLED ALL THE WAY OUT. A LARGER DRESSER
WAS LOCATED AGAINST THE SOUTH WALL. THIS DRESSER HAD A TV SET ON TOP OF IT
TH sTHE COMP STATED TO THIS OFFICER PROVIDED THE ONLY LIGHTING FOR THIS
  ^
SCi. E AT THE TIME OF THE ATTACK.

TO THE SOUTHWEST CORNER OF THE ROOM WAS A BUILD SHELF WITH HANGING CLOTHES UNDER
THE SHELF. ON THE TOP OF THE SHELF WERE MANY CANDLES SOME OF WHICH WERE LIT.
ALSO LAYING ON THE FLOOR AROUND THE ROOM WERE SEVERAL SUITCASES.

IN THE CENTER OF THE SOUTH WALL WAS THE DOORWAY TO THE BATHROOM. THE WEST WALL
OF THIS BATHROOM AREA WAS BUILT-IN HANGING CLOTHES TYPE AREA WITH A RED CURTAIN
COVERING MOST OF THE CLOTHING. IN THE VERY NORTHEAST CORNER OF THIS SMALL AREA
WAS A METAL SECURITY BOX WITH SEVERAL ITEMS LAYING ON TOP OF IT. THIS SAFE TYPE
BOX WAS UNLOCKED AND EMPTY.

OFFICERS NOTE


WHILE INTERVIEWING THE COMP., ( DIANA GARCIA ), SHE STATED THAT THE SEXUAL
ASSAULT OCCURED ON THE TAN FITTED SHEET ON THE BED AND THAT HER HANDS WERE TIED
WITH THE RED CHILDS SHIRT. SHE SAID THAT HER HUSBANDS HAND WERE TIED WITH THE
CLOCK RADIO CORD. SHE WENT ON TO SAY THAT THE CIGAR IN THE LIVING ROOM WAS
NOT THEIRS AND MUST BELONG TO THE SUSPECT. THIS CIGAR WAS NOTED TO HAVE NOT
BURNED THE TV CABINET ALTHOUGH THE LIT PORTION WAS ON THE WOOD. IT WAS THEREFORE
BELIEVED THAT THE CIGAR WAS OUT WHEN IT WAS PLACED THERE.
MS. GARCIA ALSO TOLD ME THAT ONE OF THE SUSPECT PICKED UP THE GUN FROM THE
TO/”*,ORAWER OF THE DRESSER AND PUT IT BACK DOWN. THIS WEAPON WAS NOTED AS HAVING
     _
FIv LIVE .25 BULLETS IN THE CLIP BUT NONE IN THE CHAMBER.
                                    ** ***CSU OFFICERS INVESTIGATION *** * *

AFTER MAK
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                                    REMENTIONED SCENE OBSERVATIONS, OFFICER NORRIS EXPOSED A
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ROLL OF COLOR 35MM FILM OF THE SCENE WITH THE USE OF A SUNPAK FLASH. FIELD NOTES
WERE THEN RECORDED AND EVIDENCE WAS RECOVERED AS STATED IN THE DISPOSITION OF
EVINCE   SECTION OF THIS SUPPLEMENT. OFFICER NORRIS THEM PRINTED AREAS OF THE
  .
AP JMENT WHERE THE SUSPECT MIGHT HAVE GONE, HOWEVER, DUE TO THE NATURE OF THE
WOOD AND FURNITURE NO LATENT PRINTS WERE FOUND. OFFICER NORRIS CLEARED THIS
SCENE AT APPROXIMATELY 0300 HOURS.


                                                                  ** *** DISPGSJTION OF EVIDENCE*****

#01             ONE ROLL OF COLOR 35MM FILM WAS EXPOSED BY OFFICER NORRIS OF THIS SCENE
                WITH THE USE OF A SUNPAK FLASH. THIS FILM REMAINED IN THE CARE, CUSTODY
                AND CONTROL OF OFFICER NORRIS UNTIL HE DEPOSITED IT INTO THE PHOTO LAB
                LOCK BOX ON THE 4TH FLOOR ID SECTION.

#02             THE FOLLOWING ITEMS OF EVIDENCE WERE RECOVERED BY OFFICER NORRIS AND TAGGED
                UNDER THIS CASE NUMBER INTO THE HPD PROPERTY ROOM.
                ONE TAN SHEET
                ONE CHILDS RED XL T-SHIRT WITH "TRUCKIN'* LOGO ON FRONT { STILL IN TIED KNOT )
                ONE PARTIALLY SMOKED CIGAR

                OFFICER NORRIS MAINTAINED CARE, CUSTODY AND CONTROL OF ALL OF THIS
                EVIDENCE UNTIL HE TAGGED THEM INTO THE PROPERTY ROOM ,
#03 THE FOLLOWING ITEMS OF EVIDENCE WERE TAGGED BY OFFICER NORRIS IN THE LATENT
  /**% PRINT LAB;


                ONE RAVEN .25, MODEL HP 25, SERIAL NUMBER 1838778 ( CLIP WAS REMOVED AND NOT
                TAGGED).
                ONE ** S PART US'* ALARM CLOCK WITH BLACK CORD TIED IN A LOOSE KNOT.

                THIS EVIDENCE REMAINED IN THE CARE, CUSTODY AND CONTROL OF OFFICER NORRIS
                UNTIL HE TAGGED THEM INTO THE LATENT PRINT LAB.

NO OTHER EVIDENCE WAS RECOVERED BY THIS INVESTIGATOR,

********************************************************************************
                 END OF CRIME SCENE INVESTIGATORS SUPPLEMENT
***** ** *** *** ** *** *** * ***** *** ***** * **** * ***** * *** *** * ** *** * ** ** * ************ * **


INVESTIGATION TO CONTINUE




Su/^lement entered by = 81421
Report reviewed by-A , ROQUEMORB                                                                                   Employee number
Date cleared- 09/08/08

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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 118 of 368

                 13847940101C / Court: 337




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                                                           SUPPLEMENT NARRATIVE
    F BREDEMEYR ON UNIT 13D15N CHECKED BY AT
    ,                                                      ON THE KIDNAPPING
CALL
        -
       OFF TRANSPRTED THE COMPLAINANT, DIANA GARCIA , TO ST JOSEPHS HOSPITAL
TO HAVE A SEXUAL ASSAULT EVIDENCE COLLECTION KIT COMPLETED. OFF TOOK CUSTODY OF
THE KIT, AFTER IT NAS CQIMPLETED, FROM NURSE GLORIA KOLOGINC2QK AT APPROX 0425
HRS. OFF TRANSPORTED THE COMPLAINANT TO THE HOIMICIDE DIVISION AND THEN TAGGED
THE KIT IN THE PROPERTY ROOM UNDER THE LISTED CASE NUMBER.

Supplement entered by = 85206
Report reviewed by A. ROQUEMORE
Date cleared- 09/08/08
                                  -                                                Employee number




    -
No 0002
Offense       - BURGLARY OF RES./Street
                                 AGG. SEXUAL ASSAULT/AGG. ASSAULT/AGG. KIDNA
                                        location information
Number
Apt no-
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             Name
                 Name                   -      Type
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Date of offense-G9/30/92                Date of supplement 10/01/92                                               -
Compl{s) Last GARCIA      -   First-DIANA      Middle R
                      Recovered stolen vehicles information
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 R/^ very location
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 Sv.red       -
                                  -
                                 by
                                                    District    Beat   00
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                                                                                                                      -             -
               -
Officerl C.E.ELLIOTT          Emp#        Shift 3 Div/Station HOMICIDE -                        -                      -
                                                           SUPPLEMENT NARRATIVE

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        I, SGT , C,E.ELLIOTT, OF THE HOMICIDE DIVISION RECEIVED A ASSIGNMENT FROM
LT. DENNIS GAFFORD TO MAKE THE "KIDNAPPING" AT
I RECEIVED THE ASSIGNMENT AT Q035HRS ON 10/1/92, I LEFT THE OFFICE AND
PROCEEDED DIRECTLY TO THE SCENE. LT. GAFFORD ACCOMPANIED ME. WE ARRIVED AT
THE SCENE AT 0G50HRS.
   THE PRIMARY UNIT ON THE SCENE, 13D13N , OFF, DEVEREAUX WAS MAKING THE
ORIGINAL REPORT OF THIS INCIDENT AND WAS STILL AT THE SCENE. ALSO AT THE
SCENE WAS C.S - U. OFFICER JIM NORRIS. OFF. V.M. GARCIA, EMP.#    ,
                                                                  ! RIDING
PATROL UNIT 13D83B CHECKED BY THE SCENE AND INTERPRETED FOR ME,
            UPON ARRIVING AT THE SCENE A PRELIMINARY INVESTIGATION REVEALED THAT THE


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COMPLS
                    ^                  — —
                  GARCIA MOTHER, 12 ARTURO RODRIGUEZ BOYFRIEND, |
                          {# W)IANA                                & #3~
                . H/M, lYOA, CHILD) SERE INSIDE THEIR APARTMENT, ASLEEP,
WHp THEIR FRONT DOOR WAS KICKED OPEN BY 2 BLACK MALES WHO WERE WEARING SKI
                                                                             -                     —
HA.       ^
       THE SUSPECTS ENTERED THE APARTMENT AT GUNPOINT AND BOTH THE MOTHER AND
THE BOYFRIEND WERE TIED UP. THE MOTHER WAS SEXUALLY ASSAULTED AND THE
BOYFRIEND WAS STRUCK ON THE HEAD. AFTER THE SUSPECTS LEFT, THE MOTHER WAS
ABLE TO UNTIE HERSELF AND THE CHILD WAS DISCOVERED MISSING. THEIR WERE NO
DEMANDS/RANSOM REQUESTS MADE FOR THE RETURN OF THE CHILD.



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LOCATION OF OFFENSE;
PATROL BEAT;                      13D10
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    THE LOCATION OF THIS OFFENSE IS IN SOUTHEAST HOUSTON, SOUTHWEST OF THE
      SECTIQN OF THE SOUTH LOOP EAST 8 TELEPHONE. THE
IN
    ^
A L..ST/WEST STREET THAT RUNS BETWEEN TELEPHONE AND BROAD.
    THE SOUTH SIDE OF THE
                                                                            IS

                                                IS BARNETT STADIUM. THE NORTH
SIDE OF THE STREET IS SINGLE FAMILY RESIDENCES AND SMALL APARTMENT COMPLEXES,
                IS A SMALL 2 STORY BRICK AND WOOD APARTMENT COMPLEX ON THE
NORTH SIDE OF         IN THE MIDDLE 0F THE BLOCK. THE MAIN AXIS OF THE
APARTMENTS RUN NORTH TO SOUTH WITH THE PARKING LOT FOR THE COMPLEX ON THE
EAST SIDE OF THE PROPERTY. THE APARTMENT DOORS FACE THE PARKING LOT (EAST).




                    IS A DOWNSTAIRS APARTMENT. THE FRONT DOOR FACES EAST. THE
APARTMENT IS THE SECOND DOWNSTAIRS APARTMENT FROM THE SOUTH END {STREET END)
OF THE COMPLEX. THE APARTMENT DOOR HAS THE NUMBER "3* ON THE DOOR.
   THE APARMENT IS A ONE BEDROOM APARTMENT. ENTERING THE FRONT DOOR YOU STEP
INTO A LARGE ROOM THAT ON THE RIGHT (NORTH) SIDE IS THE LIVING AREA. THE LEFT
(SOUTH) SIDE OF THE ROOM IS THE KITCHEN AREA. ON THE WEST WALL IS A DOORWAY
THAT ENTERS INTO THE BEDROOM. A DOOR ON THE LEFT (SOUTH) WALL OF THE BEDROOM
ENTERS INTO A BATHROOM/CLOSET COMBINATION.

  /"" E FRONT DOOR TO THE APARTMENT APPEARED TO OF BEEN FORCED OPEN , THE DOOR
          ^
JAM WAS BROKEN OUT AND WOOD AND SCREWS WERE LAYING ON THE FLOOR. THE LIVING
AREA APPEARED TO BE UNDISTURBED. A COLOR CONSOLE T.V. AND V.C.R. WERE AGAINST
THE NORTH WALL. A HATTREE IN THE NORTHEAST CORNER OF THE LIVING ROOM
CONTAINEDE
      | ||
         |  fg|                   g
                9 0(gATS AND A BINOCULARS AND CASE. A DINING TABLE WAS IN THE
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ROOM ALONG WITH A COUCH. THE ROOM DID NOT APPEAR TO BE RANSACKED.
           KITCHEN HAD THE USUAL DIRTY DISHES, BUT THEIR WAS NOT ANY SIGN OF ANY
TY.      OF RANSACKING OR SEARCHING OF THAT AREA.
   THE DOOR TO THE BEDROOM WAS OPEN AND THE ROOM APPEARED TO BE RANSACKED.
THEIR WERE TWO DRESSERS IN THE ROOM AND BOTH HAD THEIR DRAWERS PULLED OUT AND
DUMPED ON THE FLOOR. THE BED WAS PULLED OUT FROM THE WALL AND THE MATTRESS
WAS PARTIALLY OFF OF ITS FRAME.

   THE BATHROOM/CLOSET AREA HAD CLOTHES AND OTHER ITEMS LAYING ON THE FLOOR
BUT IT WAS UNABLE TO BE DETERMINED IF THE DISARRAY WAS CAUSED BY THE SUSPECTS
OR WAS THE USUAL BATHROOM CLUTTER.

                                                                                      REAL EVIDENCE
   C.S.O. OFFICER JIM NORRIS MADE THE SCENE AND TOOK PHOTOS, LIFTED PRINTS,
AND COLLECTED PHYSICAL EVIDENCE...SEE HIS SUPPLEMENT FOR ADDITIONAL DETAILS.
   THE #1 COMPL {DIANA GARCIA) WAS SEXUALLY ASSAULTED BY ONE OF THE SUSPECTS.
SHE WAS TRANSPORTED TO ST. JOSEPH HOSPITAL BY OFF. W.T. BREDEMEYER,
EMP        FOR A RAPE KIT....SEE SUPPL. #1.
   A CONSENT TO SEARCH FORM SIGNED FOR                , SIGNED BY BOTH DIANA
GARCIA AND ARTURO RODRIGUEZ    TAGGED IN HOMICIDE FILE.

                                            IDENTIFICATION OP #3 COMPL./ DRESS OF #3 COMPL.=====                                                                                        w sw syy w      <Hyi




#3 COMPL;                                                                                        DOB     - ”




PHYSICAL DESCRIPTION: 3’6", 35LBS, BLACK HAIR, SKYBLUE EYES, BIRTHMARK ON
                      LEFT CHIN, DIAMOND SHAPED SCAR ON BACK OF HEAD {WITH
                      SHORTER HAIR).
LAST SEEN WEARING; BATMAN SHORTS, WHITE T SHIRT WITH COLORED DESIGN ON FRONT.                            -
               ADDITIONAL INFORMATION ABOUT THE MISSING CHILD
ATTENDS           ELEMENTARY SCHOOL, 1ST GRADE.
SPEAKS BOTH ENGLISH & SPANISH AND HE KNOWS HIS ADDRESS, PHONE NUMBER AND HOW
TO USE PHONE.
FATHER ANGELO GARCIA SR...LIVES AT                                  I.P.S.
PH          OR
                                             —
SISTER & BROTHER ROSALINDA ADAMA H/F, 21YOA & JAMES GARCIA H/M 18YOA,                   —                                                                      —
PH
     mm          TOLD THIS SOT. THAT SHE X STILL LEGALLY MARRIED TO ANGELO
SR., BUT THAT SHE LEFT HIM 2YRS AGO AND HAS BEEN LIVING WITH ARTURO RODRIGUEZ
                                                                                                         ,
SINCE THEN. DIANA STATED THAT ANGELO SR. SEES/KEEPS
RECENTLY AS THIS PAST WEEK END) AND THAT HE WOULD HA
           BY FORCE.
                                                               REGULARLY (AS
                                                                     -
                                                              ON TO TAKE                                                               mm
    THE ABOVE INFORMATION WAS OBTAINED FROM THE MOTHER...DIANA GARCIA
{COMPL.#l).
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          ^ss      sK sEMEiDENTIFICATION OF #1 & #2 COMPL

                        ^^ ^
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COMPL, # 1; GARCIA, DIANA R. — H /F, 39YOA,                                                                                 DOB —

HAv XLD L                                                                                                         3HE                                                DOES NOT WORK,



COM PL , # 2; RODRIGUEZ, ARTURO — H/M, 37YOA,                                                                                DOB-
              HPDI403348
HAS OLD LO                     SMFHITOSPIII SSTHHIG                                                                 PH
                                                                                                                   WANTS/ WARRANTS.
                                                                                                                                                                    UNEMPLGYEED,


COMFLS. VEHICLES:::
{REGISTRATION DOWN )

CHEV. P.U.   LIC # 12-92 TX      308
   ,
BLK STEPSIDE NEW HAD BRA ON FRONT, TINTED WINDOWS, CHAINED TO CARPORT.
              ,     ,
COVERED WITH DUST....HAS NOT BEEN DRIVEN IN A WHILE -
 OLDS, 2 DR,    TX LIC
MAROON, OLDER MODEL
                            -QHF
                                                           *
                                                   — WOUNDSZAPPARENT WOUNDS TO COMPLS                                                                    Stt SXSSSSSS.SSSSSSSSSS
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                                                                                                                                                                                                                     ^   a



          DIANA GARCIA WAS SEXUALLY ASSAULTED.
                  TURO RODRIGUEZ HAD BEEN STRUCK ON THE HEAD AND HE HAD LACERATIONS/KNOTS
ON    ^
      /
          .iS       SKULL.

       ARTURO AND DIANA WERE CHECKED AT THE SCENE BY H.F.D. AMBULANCE #23.
SSS  »=====SMSSSSS!DIS0RDER /LACK                                                         OF DISORDER S SCENE/SIGNS OF STRUGGLE                                                                — —===   *                    =

    THE LIVING AREA AND KITCHEN DID NOT APPEAR TO BE DISTURBED. THE BEDROOM
WAS RANSACKED. THE BATHROOM /CLOSET AREA WAS IN DISARRAY BUT IT COULD NOT BE
DETERMINED IF THIS WAS A RESULT OF THIS INCIDENT OR JUST NORMAL CLUTTER.
    ALTHOUGH DIANA AND AOTURO SAID THAT THE SUSPECTS BROKE INTO THE APARTMENT
TO ROB THEM. BOTH WERE WEARING GOLD NECKLACES {AUTURO-ROPE CHAIN, NUGGET
CROSS, DIANA--2 SMALL NECKLACES WITH CROSS AND MEDALLION ) AND A V.C.R - 9 CABLE
BOX, 2 T.V.'S, SEWING MACHINE, BINOCULARS, AND OTHER SMALL ITEMS WERE
UNDISTURBED.




                                                                                          — ENTRY EXIT   /

   ^NTRY & EXIT WAS THROUGH THE FRONT ( ONLY ) DOOR. THE DOOR JAM WAS
SHATTERED. THE DOOR AND LOCK WERE INTACT.

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  DIANA GARCIA AND HER SON,                       LIVE WITH ARTURO RODRIGUEZ AT
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            ATT£ O   nv
                   £Tr   p T TWO
                             . V £*t/
                      * vk idi     j  N THE APARTMENT FOR APPROXIMATELY 5 MONTHS.

              ^
NEITHE DIANA, NOR ARTURO ARE EMPLOYEED.
   DIANA & ARTURO ARE IN BED IN THE BEDROOM AND                IS SLEEPING ON A
PALLET NEXT TO THE BED. AT APPROXIMATELY 11;45PM ALL 3 ARE AWAKENED BY THE
FRONT DOOR BEING KICKED OPEN. ARTURO GETS OUT OF BED AND WALKS INTO THE
LIVING ROOM WHERE HE IS CONFRONTED BY 2 B/M SUSPECTS WEARING SKI MASKS AND
CARRYING PISTOLS. ARTURO IS FORCED BACK INTO THE BEDROOM WHERE HE IS TIED UP
USING A ALARM CLOCK CORD. ARTURO IS GAGGED AND HAS A T SHIRT PUT OVER HIS                                                                          -
HEAD. ARTURO IS THEN PUT ON THE FLOOR, FACE DOWN AND A SUSPECT BEGINS TO
STRIKE HIM IN THE HEAD.
    WHILE THIS IS GOING ON DIANA IS FORCED TO LAY FACE DOWN ON THE BED AND
SHE HAS HER HANDS TIED BEHIND HER BACK BY A ELECTRICAL CORD. DIANA SAID A
SUSPECT THEN FELT OF HER BUTTOCKS. DIANA SAID THAT HER HANDS WERE THEN UNTIED
AND SHE WAS FORCED TO ROLL OVER AND A PILLO WAS PUT OVER HER FACE, DIANA SAID
HER HANDS WERE TIED IN FRONT OF HER AND SHE PLACED THEM ACROSS HER CHEST AS
HER PANTIES WERE REMOVED AND A SUSPECT SEXUALLY ASSAULTED HER BY INSERTING
HIS PENIS INTO HER VAGINA. DIANA SAID THE SUSPECT DID EJACULATE. DIANA SAID
THAT WHILE THIS WAS GOING ON THE SUSPECT NEVER SPOKE.
    DIANA STATED THAT WHILE SHE WAS BEING RAPED AND ARTURO BEAT, SHE COULD
HE ''
    ,
             fm
            SCREAMING "MOMMY” AND ALL SHE COULD DO WAS TRY TO COMFORT HIM.
    JIANA TOLD THIS SGT, AFTER THE RAPE, THE SUSPECTS LEFT AND SHE WAS ABLE
TO UNTIE HERSELF. DIANA THEN UNTIED ARTURO AND THEY STARTED OUT OF THE
BEDROOM BUT THEY SAW A SUSPECT STILL IN THE APARTMENT. A MOMENT LATER THEY
HEARD A DOOR CLOSE AND THEY WENT OUT AND DISCOVERED/REALIZED THAT                WAS
MISSING.
   THE ONLY PROPERTY, OTHER THAN THE CHILD, MISSING FROM THE APARTMENT WAS A
WALLET {APPROX. $60.00 CASH & A GOLD BRACELET--$4,000.00).
   THE POLICE WERE THEN CALLED.
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                                                               INTERVIEW OF COMPL./WITNESSES
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COMPL.#1; DIANA GARCIA                                         H/F, 39YOA, D0B-
**********S£E WRITTEN STATEMENT TAKEN BY CHICANO SQUAD OFF. U.P. HERNANDEZ
FOR ADDITIONAL DETAILS**********
             DIANA SPEAK FLUENT ENGLISH.
   DIANA TOLD THIS SGT. THAT THE SUSPECTS KICKED THE DOOR IN, RAPED HER, BEAT
ARTURO UP AND TOOK HER SON ,               DIANA COULD OFFER NO EXPLANATION
AS TO WHY ANYONE WOULD DO THIS TO THEM. DIANA DENIED ANY DRUG INVOLVEMENT OR
DE AT FIRST. LATER DIANA ADMITTED TO THIS SGT. THAT ARTURO MIGHT USE
    ^
POWDERED COCAINE, BUT THAT SHE NEVER HAD.
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                              WIM§ $BRIGUEZ
COMPL.#2;
                          ^ ^                                         H /M, 36YOA,                         DOB      -                                                                               0001851
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****************SEE WRITTEN STATEMENT TAKEN BY CHICANO SQUAD OFF. U.P.
HEp NDEZ FOR ADDITIONAL DETAILS**********
         ^
        AUTURO DOES NOT SPEAK ENGLISH.
   AUTURO WAS INTERVIEWED AT THE SCENE BY OFF. V.M. GARCIA, EMP.#
RIDING UNIT #13D83B,
    AUTURO STATED THAT HE WAS IN BSD ASLEEP WHEN 2 SUSPECTS KICKED IN THE
FRONT DOOR, TIED HIM UP AND BEAT HIM AND RAPED DIANA. AUTURO COULD NOT OFFER
ANY EXPLANATION AS TO WHY ANYONE WOULD DO THIS AND HE DENIED ANY DRUG
INVOLVEMENT AT FIRST BUT THEN CLAIMED THAT HE HAD DONE SOCIAL COCAINE BUT
THAT THAT HAD NOTHING TO DO WITH THIS INCIDENT.

                                                 ““ORAL                 INTERVIEW AT SCENE OF WITNESSES
CESAR M. RIOS                          —    H/M, 20Y0A,                                 DOB          -
CLOTHING; 5'8", STOCKY, LONG HAIR, GREEN S WHITE STRIPED SHIRT, SHORTS,
BALLCAP.
   RIOS WALKED UP TO THE SCENE WHILE THIS INVESTIGATION WAS BEING CONDUCTED.
RIOS SAID THAT HE WAS A FRIEND OF ARTURO AND DIANA. RIOS ADMITTED TO BEING A
EX CON (OUT OF PRISON 2 WEEKS FOR AUTOTHEFT).
    -
   UPON QUESTIONING HIM ABOUT ANY INFORMATION ABOUT THIS CASE, RIOS CLAIMED
NOT O KNOW ANYTHING. WHEN ASKED IF TIHS COULD BE POSSIBLY DRUG RELATED,
    ^
RIO.. ASSURED THIS SGT. THAT IT DID NOT.
                                                                                                      |iSi W?   iSS W ihS wf AS
                                                                                                                   |




LEONORA RUIZ H/F, 19YOA, DOB~“j
              , HOUSTON TX PH    —
WORK PURPLE HEART PH#921 8200
    ;                                                                        -
  LEONORA AND HER HUSBAND LIVE NEXT DOOR TO COMPLS. LEONORA CLAIMED TO HAVE
NO KNOWLEDGE AS TO WHY ANYONE WOULD BREAK IN , ROB THE COMPLS., AND TAKE
THEIR CHILD.
   LEONORA SAID THAT SHE HAS NEVER SEEN ANY UNUSUAL TRAFFIC IN AND OUT OF THE
APARTMENT AND WHEN ASKED ABOUT ANY POSSIBLE DRUG CONNECTION LEONORA REFUSED
TO ANSWER ONE WAY OR OTHER.
                                                                           as ^ s^rsasss SS?5  = =====s=s sss::3       is   ss         as   ===== =ss   sis as




SANDRA CASTILLO                              —   H/F, 23YOA,                     DOB
                                                                                 PH
                                                                                                       -
WK; C.A.M. ENVIORMENTAL
(SISTER; CYNTHIA LEAL @
                                                                           PH#944 7        -                                           PH                             )

  SANDRA LIVES ABOVE THE COMPLS. SANDRA COULD NOT VERBALIZE ANY SPECIFIC
     NS AS TO WHY SHE SUSPECTED IT, BUT TOLD THIS SGT. THAT SHE BELIEVED THIS
RET
    ^
INCIDENT OCCURRED BECAUSE OF SOME TYPE OF DOPE PROBLEM.

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                         EXHIBIT 98 Page 008
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 125 of 368

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THAT SHE RENTED AN APARTMENT IN HUMBLE FOR CHICO AND ANGELITA AND THE
APARTMENT, UTILITIES, AND PHONE HAS IN DIANA AND ARTURO ’S NAME. SHE GAVE US
THJM ADDRESS AND IT MAS CHECKED OUT BY SWAIM AND BROWN. SEE THEIR SUPPLEMENT
           ^
FOi JETAILS, DIANA STATED THAT SHE DID NOT KNOW CHICO’S REAL NAME AND KNEW
VERY LITTLE ABOUT HIM. SHE ALSO SAID THAT CHICO WAS THE ONLY DARK PERSON
THAT CAME TO HER APARTMENT, AND THAT SHE WAS ONLY SELLING AROUND $400 A MEEK
OF POWDER COCAINE.
DIANA STATED THAT THEY WERE BROKE AND WERE LATE ON THEIR CAR PAYMENT AND LATE
ON THE APARTMENT RENT, SHE ALSO SAID THAT THEY BARELY HAD ENOUGH MONEY TO
BUY GROCERIES. SHE SHOWED US THE LATE NOTICE FOR THE CAR PAYMENT TO VERIFY
THE LATE BILL. SHE STATED THAT THEY DID NOT KEEP A LARGE AMOUNT OF CASH ON
HAND AND THEY DID NOT STORE DOPE IN THE APARTMENT. SHE AGAIN STATED THEY
WERE SMALL TIME DEALERS THAT SOLD BY THE GRAM.
SHE MAINTAINED THAT THEY SUSPECTS MADE ABSOLUTELY NO DEMANDS FOR MONEY,
DRUGS, OR ANYTHING ELSE. SHE STATED THAT THEY RANSACKED THE APARTMENT ’S
BEDROOM ONLY, AND THE ONLY ITEM THEY TOOK WAS A GOLD NUGGET BRACELET THAT HAD
THE NAME ’’ARTURO" ON THE FRONT. BOTH DIANA AND ARTURO WERE WEARING GOLD
NECKLACES THAT WERE NOT TAKEN BY THE SUSPECTS.
WE ALSO LEARNED FROM A WITNESS THAT THERE WAS A HISPANIC MALE WHO CAME TO THE
SCENE WHO MADE A REMARK IN SPANISH REGARDING SOME CUBANS, WE LEARNED THAT
THIS MALE IS NAMED CESAR RIOS, AND HE LIVES AT                WE EVENTUALLY
LOCATED CESAR AND HE WAS INTERVIEWED BY SGT SWAIM. SEE HIS SUPPLEMENT FOR
DETAILS.

OCTOBER 2, 1992..                                                     FRIDAY:

WE t SGTS STEPHENS, ALONSO, AND INVS BROWN AND UP HERNANDEZ, CONTINUED FOLLOW
     /

UP ON THIS INVESTIGATION. WE WENT BACK TO THE SCENE AND PICKED UP DIANA AND
ARTURO..,. AGAIN. IT WAS STILL OUR BELIEF THAT WE WERE NOT GETTING THE WHOLE
STORY. THEY WERE BROUGHT TO THE HOMICIDE OFFICE AND REINTERVIEWED AND
POLYGRAPHED.
WE ALSO LEARNED A "NEW" FAMILY SECRET, DIANA SAID THAT THE "REAL" FATHER OF
ANGELO JR WAS A MALE BY THE NAME OF PEDRO ORTIZ. SHE GAVE OS A LICENSE PLATE
NUMBER ON PEDRO'S TRUCK AND HIS PHONE NUMBER. WE FOUND THAT HE LIVES AT
                             . STEPHENS AND BROWN WENT TO THE APARTMENT AND
FOUND THAT PEDRO WAS NOT AT HOME. WE INTERVIEWED HIS NEXT DOOR NEIGHBOR AND
WE TOLD THAT PEDRO LIVES IN THE APARTMENT ALONE, HE LEAVES EARLY IN THE
HORNING TO GO TO WORK, AND HE HAS BEEN HOME ALL WEEK AND HAS LEFT THE SAME
TIME EVERY DAY. WE WENT TO THE OFFICE AND GOT THE FOLLOWING INFORMATION ON
PEDRO FROM THE LEASE AGREEMENT.

              PEDRO ORTIZ                                                        SS#                                        VEH
              PAST ADDRESS:
              WORK ADDRESS:                                    BEYR CONSTRUCTION BOSS VICTOR RENDON 872 7050                                                                       -
     AIN CASE OF EMERGENCY: LETICIA                                            ESQUIVEE WK# 777-1661 770 1023                                                                       -
CHECKED PEDRO F6 AND FOUND NO RECORD. CALLED HIS JOB AND FOUND THAT HE WAS
A STEADY WORKER AND HAS BEEN AT WORK ALL WEEK. ALSO LEARNED THAT HE IS
PRESENTLY ON A JOB NEAR THE "NASA SPACE CENTER ," ALONSO AND HERNANDEZ WENT
                         EXHSBST 97 Page 001
                                                                      0001854
TO THE JOB SITE AND INTERVIEWED PEDRO, IT IS OUR BELIEF AT THIS TIME THAT  HE
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Incident no                        *   105758592 X                 CURRENT INFORMATION REPORT                                                                                 PAGE 2, 027
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IS NOT INVOLVED,

AL   TO BE NOTED THAT THE EX HUSBAND OF DIANA GARCIA . . ANGELO GARCIA SR, WAS
    ^
ALH INTERVIEWED ON THE NIGHT OF THIS INCIDENT. BASED ON THE INFORMATION
RECEIVED FROM SGT ELLIOTT, WE ALSO BELIEVE THAT HE IS NOT INVOLVED.
                                                                       “
                                                                                                                                  «   it




STEPHENS AND BROWN THEN RETURNED TO THE SCENE AND RECANVASSED. WE WERE
PARTICULARLY INTERESTED IN THE BLACK MALES DESCRIBED BY THE UPSTAIRS
NEIGHBOR. THESE MALES WERE STANDING BY THE WHITE CAR AND SAID THAT THEY
LIVED IN THE COMPLEX. WE WENT TO THE OFFICE OF THE APARTMENT COMPLEX LOCATED
BEHIND THE GOMEL'S APARTMENT AND TALKED WITH THE MANAGER, GENEVA GONZALES
644-5087. SHE STATED THAT SHE HAS A BLACK MALE RESIDENT NAMED ALLEN RANDALL
WHO LIVES IN APARTMENT NUMBER 10 AND HE OWNS A WHITE CAR THAT IS SIMILAR TO
THE ONE DESCRIBED BY THE WITNESS. SHE ALSO SAID THAT RANDALL USUALLY PARKS
ON THE WEST SIDE OF THE BUILDING ON              WHICH IS NEAR THE TELEPHONE.
BASED ON HER DESCRIPTION OF RANDALL AND HIS VEHICLE, THIS IS THE PERSON THE
WITNESS SAW ON THE NIGHT OF THIS INCIDENT. WE ALSO TALKED TO BEATRICE TORRES,
WHO LIVES IN APARTMENT 18. SHE HAS NO HOME OR WORK NUMBER BUT SHE CAN BE
REACHED THROUGH THE MANAGER. SHE STATED SHE WAS AWAKE ON THE NIGHT OF THIS
INCIDENT AND SHE HEARD A VEHICLE SPEED AWAY JUST PRIOR TO THE SCREAMING AND
RUNNING AROUND THAT WAS DONE BY THE COMPLS. SHE          THAT THE CAR SOUNDED
LIKE IT WAS PARKED BETWEEN THE TWO COMPLEXES ON            AND THE VEHICLE SPED
AWAY WEST ON           TOWARD BROAD. BEATRICE STATED THAT SHE NEVER SAW THE
VEHICLE, SHE ONLY HEARD IT. SHE ALSO SAID THAT THERE WAS NOTHING DESCRIPTIVE
ABOUT THIS CAR THAT SHE CAN REMEMBER. IT HAD A NORMAL EXHAUST AND A NORMAL
SOUNDING ENGINE. SHE ALSO SAID THAT WHEN SHE HEARD THE PEOPLE RUNNING
ARp***fD...THE NEIGHBOR AND DIANA AND ARTURO...SHE LOOKED OUT AND SAW DUST
              .
ST * IN THE STREET WHERE SHE HEARD THE SPEEDING VEHICLE.
     *




WE LOOKED AT THE AREA WHERE BEATRICE HEARD THE CAR. THIS AREA IS ON THE
NORTH SIDE OF                 LOCATED BETWEEN THE TWO APARTMENT COMPLEXES.
THIS LOCATION                OF ANY OF THE APARTMENTS. THE ONLY WINDOW THAT
HAS ANY VIEW WHATSOEVER OF THIS AREA IS GENEVA GONZALES ’S APARTMENT. SHE WAS
QUESTIONED ABOUT THE VEHICLE AND THE COMMOTION AND SHE SAID THAT SHE WAS NOT
UP AT THE TIME AND DID NOT HAVE A REASON TO LOOK OUT HER BACK WINDOW. SHE
ADDED THAT SHE SAW NOTHING. SHE WAS BELIEVABLE AND IT WAS OUR OPINION THAT
SHE WOULD HAVE TOLD US IF SHE HAD SEEN ANYTHING.
WHEN STEPHENS AND TOBY HERNANDEZ WERE BRINGING DIANA AND ARTURO TO THE
HOMICIDE OFFICE ON THURSDAY, DIANA HAD A PAGER IN HER PURSE THAT BEEPED.
WHEN SHE REMOVED THE PAGER SHE TURNED THE PAGER OFF, THERE BY ERASING ALL
NUMBERS THAT WERE STORED AND THE NUMBER OF THE PERSON CALLING. STEPHENS THEN
ASKED DIANA IF WE COULD KEEP THE PAGER FROM THAT POINT ON. SHE AGREED AND
THE PAGER WAS KEPT IN OUR POSSESSION AND CONTROL. THERE WERE SEVERAL NUMBERS
THAT CAME ACROSS THE PAGER OVER THE NEXT SEVERAL DAYS
                                            THIS NUMBER CAME BACK TO YBARRA AT
                                            DIANA SAID THAT THIS IS A SHOPLIFTER THAT TRADES BOOTS FOR
                                            DOPE

                                            ROGER WARD
                                            DIANA SAID TH                    WITH TATOOS THAT BUYS DOPE
                                            FROM THEM. SAID THE W /M LIVES IN PASADENA.


                                                                     0001855
WE HAVE ALSO BEEN WORKING WITH THE FBI. THEY OFFERED ASSISTANCE AND MANPOWER
                              EXHSBST 97 Page 002
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 128 of 368

                 13847940101C / Court: 337




                 EXHIBIT 98




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 Case 4:17-cv-03621
   Case  4:17- cv-03621Document 89-13
                         Document 18- 98Filed  onon
                                           Filed 01/05/23  in TXSD
                                                    07/01/19  In TXSDPage 129
                                                                       Page   of 5
                                                                            1 of 368
                                                                                                                                 l



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                                           VOLUME 8 OF 9 VOLUMES

         3                             TRIAL COURT CAUSE NO , 1364 S 39

         4                      n OURT   OF APPEALS NO .                                       .1.   4 - 14 - 00142 - CR
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         6        R0G ELI0 AVILES - BARR0S0                                                    IN THE DISTRICT COURT
         r
         7               Appellant                                                     )
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      9           VS ,                                                                 ) HARRIS COUNTY , TEXAS
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     10

     11           THE     C
                          o TATE   OF TEXAS                                            )
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     12                  App e 11 ee                                                           337 TH JUDICIAL DISTRICT

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     16                                 GUILT - INNOCENCE PROCEEDINGS

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     20                  On the 4 th da i of Februar y
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     21          proceedings came on                     o be heard in the above - entitled

     22          and numbered cause before the Honorable Renee Magee ,

                 Judge presiding , held in Houston , H arris County , Texas ;

     24                  Proceedings reported by computer - aided

     25                                                         a
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EXHIBIT 98 Page 001
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   Case  4:17- cv-03621Document 89-13
                         Document 18- 98Filed  onon
                                           Filed 01/05/23   in TXSD
                                                    07 /01/19  in TXSDPage 130
                                                                        Page   of 5
                                                                             2 of 368
                                                                                        2



                                               A P P E A R A N C E S

           Z


           3          MS . NATALIE TISE
                      Assistant District Attorney
           4          SBOT NO . 00795683
                      1201 Franklin
           c.
                      Rous ton, Tex as 77 00 2
                      PHONE :  7i  -
                                _ qD 7/ vj
                                   A   L
                                        r r;. 58 00
                                           »


           6          ATTORNEY FOR THE STATE OF TEXAS
           ri



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           0

                                  AND

           9

     10               MR . CHARLES BROWN
                      SBOT N v . 03101400
                              /0
                              \


     11               7 08 M a i n S t r ee t , Suite 790
                      Houston , n- e x as 77002 - 3200
                                       i



     12               PHONE : 713.222 . 0733
                      ATTORNEY FOR THE DEFENDANT
     13

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EXHIBIT 98 Page 002
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   Case  4:17- cv-03621Document 89-13
                         Document 18- 98Filed  onon
                                           Filed 01/05/23   in TXSD
                                                    07 /01/19  in TXSDPage 131
                                                                        Page   of 5
                                                                             3 of 368
                                                                                  index                    1



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         It.
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                 Closing Argument b v Defense Attorney ...
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                 Cl os i n g Ar g u m e n t b y S t a t e's A11 o r n e y....-            36
                                                                                          of-. z
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         6       J u r y r e t i r e d f o r d e 1 i b e r a t i o ns ....
                 i                                                                         iP         P

                                                                                                      r\
                 Testimony read back ....                                                 76
                                                                                                      *

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                 Verdict Received ... .                                                    r          P
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         9       Polling of the j u r _y ..     \7
                                                                                           82         d


     10              -
                 i' u n i s hm e n t   assessed ..                                         85         P


     ii                                                                                    86         d


     12          Reporter 1 s Certificate ....                                             87         P


     13          W o r d G 1ossa r y ..\7
                                       _                                         .... End o f Vo 1 ume
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     14                                      ALPHABETICAL WITNESS INDEX

     15                                      ( No witnesses        his volume )

     16                                                  EXHIBIT INDEX

     1!                                       ( No exhibits this volume )

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EXHIBIT 98 Page 003
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 Case 4:17-cv-03621
   Case  4:17- cv-03621Document 89-13
                         Document 18- 98Filed  onon
                                           Filed 01/05/23  in TXSD
                                                    07/01/19  In TXSDPage 132
                                                                       Page   of 5
                                                                            4 of 368
                                                                                        60



         i     He didn' t care about that .         He decided he wanted to tell

      z        the truth and that ’ s all h e ever wanted to do .

         3                       I could charge Rudy tomorrow .          I could

         4     c h arcfe him   omorrow .      There ’ s no statute of limitations

         olb   on capital murder .          And there is nothing to stop me .

         6     Yet , he came here and told you what he told y o u w i t h no
         "7
               deal .     No assurances , no promises , nothing .         And how did

               that benefit him ?          Well , you have to think about the

      9        t i m i n g of all this .                  up in prison m

     10        Pennsylvania doing h 1 s federal time .          And absolutely , it

     11        was almost over .      He is going to get out .

     12                          So , 'what does he decide to do ?         For the

     13        first time in years 'when the police come                            Rudy ,

     14        tell us what you know about the murder of this little

     15        b o y.   I am almost done with m y federal time , but I think

     16        I wi 11 go ahead and put myseIf righ           in the bia middle

     1   "7
               of this capital murder case .          Never done it before , but

     18        today I will .     I ' m just going to tell them :         I am ricfht

     19        in the middle of this capita i murder case .              Don ’ t have a

     20        lawyer .     Don' t ask for any advice .      Don' t know anything

     21        about the law of p a r t i e s .    Don' t know 'whether        am

     22        injecting myself and could become criminally responsible

               for all the things that I say .          I ' m going to put myself

     24        right in the big middle of it less than a year before I

     25        am due to get out of prison.



EXHIBIT 98 Page 004
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 Case 4:17-cv-03621
   Case  4:17- cv-03621Document 89-13
                         Document 18- 98Filed  onon
                                           Filed 01/05/23  in TXSD
                                                    07/01/19  In TXSDPage 133
                                                                       Page   of 5
                                                                            5 of 368
                                                                                                 61



         i                       How does that benefit Rudy ?               It doesn ’ t .

      z        And cruess what ?       It didn' t .      Because h e T s still

         3     there in that orange jumpsuit in custody when he could

         4     be home in the Dominican with his family .                   H e could have

         oit   gotten on that witness stand after he got an attorney

         6     here in Houston and his attorney goes :
         "7
               there ’ s some things you ought to know .               There is this

               thing called the law of parties .               And you ? ve already

      9        given your statement and you ’ ve already put yourself in

     10        the middle of this case , and you can' t change that , but

     11        what you can do is get on the witness stand and say :                         I

     12        invoke my Fifth Amendment right not to testify .                        I ' m not

     13        going to get on the witness stand and swear under oath

     14        that I was part of a criminal offense .                 Could have told

     15        him that and he could have not said a 'word from that

     16        witness stand , and there wouldn ’ t have been a damn thing

     1   "7
               I could do about it .          But he didn' t do that .          Even after

     18        advised   r y
                         u
                         < \
                         .     his lawyer o f his rights , h e did not do that .
                                 --
     19                               canno    sen you how exceptions ! I y rare
                                                                               '   ‘
                                  T




     20        what Rudy

     21                          MR . BROWN :        Objection.    That ' s outside the

     22        spectrum of the case .

                                 THE COURT :         That ' s sustained .

     24                          MS . TISE :     V   ou didn' t have    O    like tvi m .

     25        You don' t have to aaree with the decisions that he



EXHIBIT 98 Page 005
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 134 of 368

                 13847940101C / Court: 337




                 EXHIBIT 99




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CONCERNING THIS INCIDENT. SPCL AGENT ERIC JOHNSON WAS GIVEN THE DIANA'S
PAGER NUMBER TO TRY AND GET A LOG OF RECENTLY REGISTERED NUMBERS. THE PAGER
NU   R IS          AND IS RENTED THROUGH SUGARLAND TELEPHONE COMPANY.
    ^
BOTH DIANA AND ARTURO AGREED TO TAKE A POLYGRAPH CONCERNING THIS INCIDENT.
THEY WERE ASKED SPECIFIC QUESTIONS ABOUT THE ACCOUNT OF THE INCIDENT AND IF
THEY KNEW THE WHEREABOUTS OF BABY          ACCORDING TO OUR POLYGRAPH
OPERATORS, THEY PASSED THE POLYGRAPH AND ARE BEING TRUTHFUL..

AS NOTED EARLIER THERE WAS A PURSE SEIZED AT THE SCENE BY STEPHENS AND
HERNANDEZ THAT WAS TAKEN TO THE LATENT PRINT LAB. THIS PURSE CONTAINED
VARIOUS PAPERS BELONGING TO DIANA AND ARTURO. INCLUDED IN THESE PAPERS WERE
LETTERS TO DIANA FROM A JOSE VALDEZ. VALDEZ IS IN PRISON IN DIBOLL TEXAS AND
HE HAD A ROMANTIC INTEREST IN DIANA. JOSE IS ALSO THE BROTHER OF CESAR RIOS,
THE PERSON WHO WENT TO THE SCENE THE NIGHT OF THIS INCIDENT.
STEPHENS WENT TO DIBOLL AND INTERVIEWED JOSE IN THE PRISON.
           INTERVIEW WITH:     JOSE VALDEZ    INMATE TDC
                                                                                                             1« if U TT
                                                                                                 PRIORS FOR: DWI
                                                                                                                      *
                                                                                                                           M   LS   it
                                                                                                                                         ^ DEL   COCAINE   AUTO THEFT
                                                                                                 TID# 11840712
VALDEZ STATED HE IS ON HIS 11TH MONTH OF A SENTENCE HE RECEIVED FOR AUTO
THEFT. HE ADDED THAT HE HAS BEEN IN THE DIBOLL PRISON SINCE HE WAS
INCARCERATED AND USED TO KEEP IN CLOSE TOUCH WITH DIANA UNTIL APPROXIMATELY
2 MONTHS AGO WHEN THE PHONES WERE REMOVED FROM THE CELLS. VALDEZ SAID THAT
HE aS KNOWN DIANA AND ARTURO FOR SEVERAL YEARS. HE WENT ON TO SAY THAT HE
USED TO SUPPLY THEM WITH COCAINE AND THEY SOLD FOR HIM UP UNTIL THE TIME HE
WENT TO JAIL. JOSE ALSO SAID THAT WHEN HE WENT TO JAIL, THEY STARTED GETTING
THEIR DOPE FROM A DOMINICAN NAMED CHICO.   HE SAID THAT CHICO WAS A BIGGER
SUPPLIER THAT HE WAS, AND HE USED TO GIVE DIANA AND ARTURO ABOUT $4000
DOLLARS WORTH OF POWDER A WEEK. JOSE SEEMED TO REALLY CARE FOR DIANA AND HE
DIDN'T HAVE MUCH TO SAY ABOUT ARTURO.

I ASKED JOSE IF HE KNEW ANY REASON WHY SOMEONE WOULD TAKE BABY           HE
REPLIED THAT HE HAD NO IDEA, AND SAID THAT THE BABY WAS A GOOD KID. JOSE
SAID THAT DIANA AND ARTURO HAVE BEEN RIPPED OFF TWO TIME IN THE PAST. HE
SAID BOTH OF THE TIMES THEY LIVED IN THE APARTMENTS |
                                                    ON           JOSE STATED
THAT BOTH OF THE RIPS CONSISTED OF A BURGLARY, WHERE THE APPLIANCES WERE
TAKEN. HE SAID HE DID NOT KNOW OF AN OCCASION WHERE THEY WERE ACTUALLY
ROBBED. I TOLD JOSE THAT DIANA AND ARTURO CLAIMED THAT THEY WERE DEALING IN
VERY SMALL QUANTITIES ....$ 400 A WEEK, HE LAUGHED AT THAT AMOUNT AND SAID
THEY WERE MUCH BIGGER THAN THAT. HE ADDED THAT THEY DIDN'T DEAL IN KILOS,
BUT THEY WERE BIGGER THAN $400 A WEEK.
JOSE ALSO SAID THAT WE NEEDED TO CHECK OUT A MALE BY THE NAME OF "CHINO.” HE
SAID THAT CHINO USED TO LIVE WITH ARTURO AND DIANA AND THAT ARTURO AND CHINO
HAD A FALLING OUT AND CHINO MOVED. JOSE STATED THAT CHINO HAS A BROTHER

  '     -
NAMED JAVIER AND THAT DIANA AND ARTURO SHOULD KNOW HOW TO GET IN CONTACT WITH
CH "**. JOSE ALSO SAID THAT DIANA AND ARTURO HAD A PROBLEM WITH A WHITE MALE
NAK^D THOMAS, WHO HAS ALOT OF TATOOS AND WORKS ACROSS THE STREET FROM THE
                     HE DID NOT KNOW THE EXTENT OF THE PROBLEM BETWEEN THE
GARCIAS AND THOMAS.
                                 EXHIBIT 9S Page 001
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 136 of 368

                 13847940101C / Court: 337




               EXHIBIT 100




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Incident no. 105758592 X CURRENT INFORMATION REPORT
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ANGELO GARCIA, SR.
M/
SSi.
TDL#


MR. GARCIA STATED THAT HE HAS BEEN MARRIED TO DIANA GARCIA FOR OVER TWENTY
YEARS. HE RELATED THAT THEY SEPARATED ALMOST TWO YEARS AGO, BUT THAT THEY HAVE
NEVER GOT A DIVORCE. MR. GARCIA STATED THAT DIANA MOVED IN WITH ARTURO JUST
AFTER SHE LEFT AND THAT HE THINKS THAT THEY WERE SEEING EACH OTHER DURING THE
TIME THAT THEY WERE STILL TOGETHER.
MR. GARCIA STATED THAT HE GETS        ON THE WEEKENDS SOMETIMES. HE RELATED
THAT HE HAD HIM LAST WEEKEND AND THAT HE PICKED HIM UP ON FRIDAY AND TOOK HIM
HOME ON MONDAY, HE STATED THAT HE NEVER PICKS UP        AT THE FAIRWAY ADDRESS
THAT DIANA BRINGS HIM TO STAFFORD OR HE PICKS HIM OP OVER AT DIANA'S SISTER'S
APARTMENT. HE REVEALED THAT HE HAS NEVER BEEN OVER ON
MR. GARCIA STATED THAT HE KNOWS NOTHING ABOUT DIANA AND ARTURO BEING IN THE
DRUG BUSINESS. HE RELATED THAT        HAS NEVER MENTIONED HIS MOTHER BEING IN
THE DRUG BUSINESS. MR. GARCIA STATED THAT HE ASKED DIANA ONE TIME WHERE THEY
GOT ALL OF THEIR MONEY AND THAT SHE TOLD HIM THAT SHE WAS WORKING TWO JOBS.
HE STATED THAT AS FAR AS HE KNOWS THAT ARTURO DOES NOT HAVE A JOB.
it * -f r it

          _
INY JTIGATORS LEARNED THAT THE HISPANIC MALE THAT ARTURO WAS TALKING WITH AT
THE SCENE IS CESAR RIOS. THIS IS THE PERSON THAT ALICE LIMON OVERHEARD SAYING
"THOSE DAMN CUBANS"! INVESTIGATORS LEARNED THAT CESAR RIOS LIVES AT
AND THAT HIS PHONE NUMBER IS
SGTS. SWAIM AND STEPHENS AND INV. BROWN DROVE TO THE         ADDRESS FOR THE
PURPOSE OF INTERVIEWING CESAR RIOS. UPON ARRIVAL, INVESTIGATORS SPOKE WITH
CESAR'S BROTHER, HECTOR SAAVEDRA, WHO RELATED THAT CESAR DOES NOT LIVE THERE,
BUT THAT HE COMES BY ALMOST EVERYDAY. SGT. SWAIM LEFT HIS BUSINESS CARD AND
ASKED HECTOR TO HAVE CESAR CALL AS SOON AS POSSIBLE.
*****
ABOUT ONE HOUR LATER, SGT. SWAIM RECIEVED A PAGE TO CALL CESAR RIOS AND ARRANGE
MENTS WERE MADE FOR HIM TO REPORT TO THE HOMICIDE DIVISION FOR AN INTERVIEW.
                                                                                                                                                                                                                                                          -
INVESTIGATORS THEN RETURNED TO THE HOMICIDE DIVISION AND SGT. SWAIM INTERVIEWED
CESAR RIOS REGARDING HIS KNOWLEDGE OF THIS INVESTIGATION. THE FOLLOWING IS
A SUMMARY OF THAT ORAL INTERVIEW:
CESAR MALA RIOS
H/.




CE<*7. STATED THAT HE HAS KNOWN DIANA AND ARTURO FOR ABOUT ONE YEAR. HE RELATED
        .
IHh HE JUST RECENTLY GOT OUT OF JAIL AND THAT HE HAS NOT HAD MUCH CONTACT
          '

WITH THEM SINCE. CESAR RELATED THAT THEY ARE SMALL TIME DRUG DEALERS, BUT THAT
HE DOES NOT KNOW HOW MUCH THEY SELL A WEEK OR WHO IS THEIR SUPPLIER.
CESAR STATED THAT HE IS NOT REAL CLOSE TO ARTURO BECAUSE HIS BROTHER (0001865
                                                                      CESAR'S)
                                 EXHIBIT 100 Page 001
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 138 of 3684/9/2021 2:03 PM
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                  13847940101C / Court : 337                                               By : E Lane-Orton
                                                                                   Filed: 4/9/2021 2: 03 PM

                IN THE 337 TH JUDICIAL DISTRICT COURT
                        HARRIS COUNTY, TEXAS

                                    AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §               Writ No.
                            §               Trial Court Case No:
                            §              1384794
                            §
                Applicant . §               CAPITAL CASE
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             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
               EXHIBITS 101 THROUGH 110
                                    Jeremy Schepers (Texas 24084578)
                                    Supervisor , Capital Habeas Unit
                                    David Currie (TX 24084240)
                                    Naomi Fenwick (TX 24107764)
                                    Assistant Federal Public Defender
                                    Office of the Federal Public Defender
                                    Northern District of Texas
                                    525 S. Griffin St ., Ste . 629
                                    Dallas, Texas 75202
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                                    (214) 767 - 2886 (fax)

                                    Counsel for Obel Cruz -Garcia



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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 139 of 368

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               EXHIBIT 101




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            o - t he kidnaping. MAIEClHri advised that ns " worked" for CHICO.
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            arid societirees he would " wnrk ” for other people           By     wor K ** for
            CHICO aod others, HAITI8ES elarifled that he suaunt he trafficked                                                                                                                                                                                      .                                  .


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             apartment of DIANA and ARTURO. MARTINEh war adviced that oasea
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            ARTURO and DIANA     MARTIhat was farther told that CHICO has been                                    v


            churned  and  other investigative
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            MARTINEZ  wan  told that his statement would not be the only source
            of Information   against CHICO *


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            told tha a anv cooDsra I- ion he cave would be made known to thiO           *>   '
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            urosecutor anr the prssiding     judge . MARTINEZ was f utther told that
            HHHB and his fasdlv need to put .          swatter to rest.                                                                                                                                               *»*>
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                         Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 142 of 368
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                                 Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 144 of 368
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                         Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 145 of 368
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                    Case 4:i7-ev- Q3621 Document 18-101 Filed on 07/01/19 in TXSD Page 8 of 16
                   Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 147 of 368
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           Case 4:i7-ev- Q3621 Document 18-101 Filed on 07/01/19 in TXSD Page 9 of 16
          Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 148 of 368




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           MAETlhEt adviced that he had been to Baytown many men                                                                                                                                                                                                                                                                                                                                                             ,                                               w


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    EXHIBIT 101 Page 009
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                      Case 4:17- cv-G3621 Document 18-101 Filed on 07/01/19 in TXSD Paqe 10 of 16
                      Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 149 of 368
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         drawing of the dead end street referenced above. bhRTldEE did not
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                       ROGSLIO and HARTINEZ threw            into tie water but
                      bodv floated , ROGELXG and WARTIMES tied to push
             under the water but his bod - >              --  KART lull and ROGSLIO                                                                                                                       •
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             looked around for items to      hi down            body , MARTIHE3 and
             ROGELXG found some rocks and used Srt- he rocks to xeiah
                                                                    if down
             foody                              A




                       OORTI REE was ecuin asked f or the name of the road a                                                                                                                                                                                                                                                                                                           Vv


             roads ne traveled on to dispose of            body , MARTINEE advised
             that it was a long time but thought ha might have been on 146 ,
                                                             0overed in blood and  DARTIREE advised tha t he waa
             sweating .      He wore a khaki colored j.v USip salt because ne was working
             fo C a avaensure around that GW- ime
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                                                  * MARTIdEE advised that his khakis                                                                                                              •




             were covered in blood and dirt / mud , M"i £ L A IN 10 took a short break                                                                                                                                                                                              \       ,

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             wh> 1 hs C at the river location ,
                  MARTIEEh again stated that he was willing to tell the
                     agents the truth and was not looking or compassxor
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             . the incident EiatU A u was scared and did not say much
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                       MARTIEEh noted that              body eventually went down
             under wate -Vv- due to the vetent of the rocks ,                                                                                                                            A*




                   MARTIES3 reca-. A1.ed th f CHICO st ii AI- had a Distal
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         and was looking around the area , CHICO stayed at the car while
         MARTIEEE ? mi ROGER
                           ! 0 carried             body down to the water ’ s
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                  Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 152 of 368
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                     ECOELIP Obtained a Pothi toon that nicht-
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         advised that: DIED a wetid know this apartment ad op tE.- st. < MEET  ! ESI aat                                                                                                                                                                                                                                                                                                         •       ,
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         'throve out > : is sneakers hut did not throw our               MEETIEEE            •




         did not sash his Ci t n t a q    He did not recall ehat happened ro ^. he                                                                                                                                                                                                                                                                                                                                                                                                  V



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         of the big hotel and had blood a p r over the back seat. Ip the
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         Mechanic put newer          tea on t h e o a t a n d n e v e r l o c k e d inside the                                                                      X X*    «




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               Case 4:17- cv-G3621 Document 18-101 Filed on 07/01/19 in TXSD Page 15 of 16
               Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 154 of 368
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     ranlied that he did not. RAR TINES ran then naked to nr ice oat a
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    eorm o r buccal awabc from. MAETIKBE
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          Case 4:17~cv~03821 Document 18-101 Filed on 07/01/19 in i XSD Paqe 16 of 16
          Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 155 of 368
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     happened to              a     nr- .oe aIdV ve CHICO, and ROCSLI0
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               The internlaw ended and an M VCI auard escorted the inmate    .
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     away from the interview room , At no time was MARTIhiHi made any
     promises with regard to charges    ea aoreenents senteverno t el                                           $
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      EXHIBIT 101 Page 016
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 156 of 368

                 13847940101C / Court: 337




               EXHIBIT 102




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 158 of 368

                 13847940101C / Court: 337




               EXHIBIT 104




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 Incident no. 105758592 X CURRENT INFORMATION REPORT                                                                                                                                                             PAGE 2.085
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                                                                                         SUPPLEMENT NARRATIVE

THr. OFFICER ASSIGNED TO THE VEH EXAM BLDG PROCESSED THE BELOW VEH ON 11/10/92
          -
IN STALL 2.OFFICER CONTACTED ROM AND LEARNED THE DETAILS OF THE CASE.OFFICER
TOOK 1 ROLL OF COLOR 35MM FILM OF THE VEH USING A NIKON 4004S CAMERA WITH
FLASH.THE FILM WAS TAGGED IN THE PHOTO LOCK BOX IN I.D.OFFICER COLLECTED
AND TAGGED IN THE P.R , £TL7E} THE FOLLOWING EVIDENCE:
HAIR:1.TRUNK MATT TAGGED MATT
     2.DR FRONT SEAT
                                                      -
     3.DR FRONT FLOOR
     A .PASS FRONT SEAT
     5.PASS FRONT FLOOR
     6.PASS REAR FLOOR
     7.PASS REAR SEAT
     8.DR REAR FLOOR
     9.DR REAR SEAT
CARPET:10.PASS FRONT FLOOR
        11.PASS REAR FLOOR
BLOOD:NONE
OFFICER PRINTED THE VEH LIFTING 19 LIFTERS OF PRINTS,SEE PRINT CARDS FOR
LOCATION.THE PRINTS WERE TAGGED IN THE LATENT LAB.THE VEH WAS RELEASED TO
THE OWNER.
 VEH:86 OLDS ROYALE COLOR:BEIGE/TAN TX:f
                                                                                                                      ^   j3C              VIN:1G3BY37YXF9011915




Supplement entered by = 20359
Report reviewed by-GLASS                                                                                                    Employee number
Date cleared 09/08/08                 -

       -
 No 0031

                         -
Offense CAPITAL MURDER / SEXUAL ASSAULT / AGG ASSAULT
                          Street location information
Number
|
Apt no~
               5 Name
             Name
                        -                      Type
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                                                                -
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Date of offense-09/30/9                 Date of supplement 12/01/92                                                                                                               -
Compl(s) Last GARCIA
         Last-
                              First DIANA-     Middle R                                                     -                                                          -
                      Recovered stolen vehicles information
 Stored
Officer1 WALLACE
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                                          Shift- Div/Station CRIME LAB
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                             EXHIBIT 104 Page 001
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 160 of 368

                 13847940101C / Court: 337




               EXHIBIT 105




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                     DECLAKACI0N JURA DA DE IRMA IGLESI AS CRUZ
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     Yo, Irma Iglesias Cruz, dtgo y declare to sigutonte:
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         I      All nombre es Irma Iglesias Cruz Yo trabajo tiempo complete como un
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                capeilan de la prision instkucional en las mstaiaciones be Sayamon m San
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                Juan, Puerto Rico. Superviso a Unas sesenta personas en lat. Instalacjon 448

                en Bayarnon , ademas de supervisar a eapellanes en slate otras
                mstituciones. Supervise la orientaeion de eapellanes nuevas que vienen a
                trabajar en el entomo institneional. En estas orientadones, revisamos lias
                normas y proeedimientos de ministrar en un estabtecimiento penitenciario .
                Me hago cargo tambien de papeles actives en diferentes eiases de religion                       j




                incluyendo eiases de la Riblia. Superviso los evemos en la eapilla y
                tambidn sirvo comp predieadora y epnsejera He trabajado como eapellan
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                en el Departamento de Correccibn y Xiberaeibn de Puerto Rico por
                aproxlmadarrienfe eoarenta anqs.
                La primera vez que conocl a 0bd Cruz-Garcia foe a Sos fines cte los anqs
                2OQ0 , cuando el se ubkaba en Rayamom Yo liegue a conoeerlo rmiy bien a
                to largo de unos cuatro anos. Obel y yo nos ibamos cenoetendo a travbs de
                nuestfo trabajo junto   en la capdla, asi como aslstir servicios religiosos
               juntos y nuestro estudio de la Biblia y sestones de consejena.
               Durante ei tiempo que Obel fue encarcelado en Bayamom trabajo como mi
                                                                                                                    A'




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               asisfenle. En el tfempo que nos conodmos foe el preso mas con fi ado en la
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               capilta, y me asksiio en tod os los asuntos de los servicios religiosos de la:
               mstaJadon, limpid mi oficina v la capilla. Tambien superviso a otros
               encarcelados que asistieron los servicios religiosos de la mstakteion , El
               tomb m papel m.uy active ayudando a otras personas ©nearoeiadas,
               actuando como un       consejero     para ellos, Obel tambien trabajo m el


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           raanteniuMenio general
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                                   de la eared, cyudamio im$mm que k eapilk
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           estuvo Hsta para los servidos Cun fteuenda, Obel se <jimio solo m !u
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     4 . Defeido a las fUertes creeficks y       las eonvieeidnes religtosM de Obel die
            tti-uy queride y respetatio pot las otras perscams encarcekdas, y tambien per
            el personal de la instllucwTt. Induso al    sitperinlendesUe   de la prbsdn le
            gusto y el eon fid sineeramente a Obel
     5-     Obel tiivo !a conllanza general del personal pemtendaruv Ninguna
            imdtueion eorreeclonal permitira a eualquiera de camlnar per la
            instateeidn sin supervision , Un preso debe tener soda la conftanza para
                tener ese grado de iibertad, y tuvtmos esa confianza en Obel De hecho,
                                                                                    ,




                Obel tuvo las Haves de mi olldna. Le di las Haves porqoe los necesttp para
                tnautenef y euidar la eapillai Bn todo el tkmpo que coned Obel nunea
                acted de manera inapropiada . se porto mab o quedo redactado Nosotros   ,




                eapelknes, en general somos ana oemunidad muy conservative, y ef heebo
                de que Obel gaeo nuestra conflanza Is notable y derouestra mueho sobre
                su earaeter, Ademas, eomo eapelian de la prision , estoy acostximferada a
                tratar eon rmiehas personas enearceladas, y ereo que me he eonverttdo en
                una persona que piiede distinguir entre personas de buen o mal earaeter.
                For lo general puedo deck si un preso me e$ta fmtando de engarkr o
                manipular. Creo que Obel fue sincere en su le y sus creenelas rebgiosas           *



                Nada de lo que dijo o Mzo nunea me die una razon para dudar a II.
      6         Ep algun memento antes de    que Obel tuera trasladado a Houston, fue
                trasladado a una celda segregada. Antes de esie tkmpo, skmpre Labia
                estado en la pobladon general Me sorprendid que fue trasiadado ya que       .
                nunea habia tenido ningimos problemas diseiplinarios Obel me dt|o que
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                file trasladado a k segregation, ya que era sospechoso en tm eagyj4ii:

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                                   sabla, no lo movie roo debido at ma!
      comportamieMo. El           nunca se Gomporto de manera i napropiada durante el
                                                                 .



      tbrapo qm to eonoci For lo que yo se, su eomportamiento en la cancel foe
                                          .                                                                 .




      impecahle.
7.    Obel se mantuvo may retigioso a lo largo de la totalidad de su pena de
      prision. El oraba eon otros encarcelados, y tambien Ies predicaba, Obel
      blen ayudaba que los otros presos anal izaran y hablaran de las cosas qua
       ellos experimentaban. EI ies aconsejaba y los cuidaba.
8      Yo pensaba que Obel iba tener ditlculfades de manfener su fe v eonviecion
        despues de que foe trasladado a la segregation. For ei contrario, incluso
        despues de que Obel foe trasladado a una celda segregada, podriamos
        escuchario, desde miestra capill a, dan do sermones a los demas
        encarcelados en segregacion . El tomo la iniciaiiva de dirigir los servicios.
        Su te      ntinea    lo fa 116 . Todos estabames may orguildsos de el. Todo el
                                    .




         mundo le hizo caso . Yo sabia que su to y sus creencias eran foertes ,
 9.      Obel no era solo     bnen oyente, si no que tambien era : dedicado y
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         carinoso A voces tambien me ayudd a pensar bien en ms prop fe y
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         ereenda en Dios Estoy agradedda que Obel me diera la conftanza para
         predicarle a el . Yo se que Dios ha transforrnado a Obel         yo siempre le
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        estado muy impresionada con la foerza de su ereenda,
 10 En mis mas de cuarenta anas de trabajo en las              pnsiones    y centros de
        deteitcibn en Puerto Rico, he trabajado con miles de presos. (
                                                                       Ibel
        destaca corho uno de los presos mejores portados y mas coodados
                                                                        que                                             he
        conoddo durante todo mi tierapo de trabajo en las careeles y
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        detencidn.
 I E Nunca foi contactada per los abogados litigantes de
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     side eontaetada, habria hecho eualquier cosa que podia pira
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      Obei. Si me httbieran Hamado como tedfga. haWa tesbfcado af eontenido da esta deefaraaon              .

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      1k . He teido y revisado esta detiaf&cson jurada de cuatfo pagiaas
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                 dorado y suscrito ante mi par !rma Iglesias Cruz* mayor de edad, caseda, y
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                CERTIFICATION OF                 ADRIAN DE LA ROSA
 I, Adrian de la Rosa, state and declare as follows ;

    1 . My name is A d r i a n d e l a R o s a . I currently live in Austin,
        Texas. I am fluent in both English and Spanish.
    2. I am a native Spanish speaker, bom in Big Spring, Texas. Spanish was
        my first language, and I speak Spanish regularly with several family
        members. I also took formal Spanish classes for native speakers during
        high school and college. I am able to speak, read , and write in Spanish
        proficiently.
    3 . I am a Post-Conviction Investigator at the Office of Capital Writs (OC W)
        in Austin, Texas. As part of my investigation, I was asked by the OCW
        to translate several English-language affidavits into Spanish .
    4. The attached notarized affidavit signed by Irma Iglesias Cruz is
        the Spanish- language affidavit I translated from an English-language
        affidavit           provided      to me by the OCW. The English-language
        version of the affidavit is also here attached ,
    5. I declare under penalty of perjury under the laws of the State of Texas
        that the signed document is a true and correct translation of the
        English-language text that I originally received.


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                                                           Adrian de la Eos;

Subscribed and sworn to before me on M & irti                -   A   2015
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                       AFFIDAVIT OF IRMA IGLESIAS CRUZ

I, Irma Iglesias Cruz, state and declare as follows:

    1 . My name is Irma Iglesias Cruz . I work fulltime as an institutional prison
         chaplain at the Bayamon facility in San Juan, Puerto Rico . I supervise
         about sixty people in the 448 Facility in Bayamon in addition to chaplains in
         seven other institutions. I oversee the orientation of new chaplains coming
         to work in the institutional setting. In these orientations, we go over the
         norms and procedures of ministering in a correctional facility. I also take
         on active roles in different religious classes, including Bible classes. I
         supervise the events in chapel and also serve as a preacher and a counselor .
         I have worked as a chaplain in the Puerto Rico Department of Correction
         and Liberation for roughly forty years.
   2.    I first met Obel Cruz-Garcia in the late 2000 s when he was housed at
         Bayamon . I got to know him very well over the course of about four years.
         Obel and I came to know one another through our work together in the
         chapel, as well as through attending religious services together and our
         Bible study and counseling sessions.
    3 . While Obel was incarcerated at Bayamon, he served as my assistant . In the
         time that we knew one another, he was the most trusted inmate in the
         chapel, and assisted in all matters dealing with the facility's religious
         services. He cleaned my office and the chapel . He also supervised other
         inmates who made their way to the facility's religious services. He took a
         very active role in helping with other inmates, serving as a type of counselor
         for them .    Obel also performed general maintenance duties, helping to
         ensure that the chapel was ready for services. He was often left alone in the
         facility .


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    4 . Because of Obel's strong religious beliefs and convictions, he was
         extremely well-liked and respected by other inmates, as well as the
         institutional staff   ,    Even the prison's superintendent was fond of and
         sincerely trusted Obel .
    5 . Obel had the overall trust and confidence of the prison staff             ,    No
         correctional institution will allow just anyone to walk around the facility
         without supervision . An inmate must have total trust in order to have that
         degree of freedom, and Obel had that . In fact, Obel had keys to my office .
         I gave him keys because he needed them in order to maintain and take care
         of the chapel .           In the entire time I knew Obel, he never acted
         inappropriately, misbehaved, or got written up . We chaplains, generally
         speaking, are a very conservative people, and the fact that Obel won our
         trust is remarkable and shows a lot about his character . Furthermore, as a
         prison chaplain, I am used to dealing with inmates, and I believe that I have
         become a good judge of character . I usually can tell if an inmate is trying to
         ‘con’ or manipulate me . I believe that Obel was sincere in his faith and his
         religious beliefs. Nothing he said or did ever gave me a reason to doubt
         him .
    6 . At some point before Obel was transferred to Houston, he was transferred to
         a segregated cell .        Before this time, he had always been in general
         population . I was surprised when he was transferred, since he had never
         had any disciplinary problems        ,       Obel told me he was transferred to
         segregation because he was suspected in a case from Houston . As far as I
         knew, he was not moved due to bad behavior                ,   He never behaved
         inappropriately during the time that I knew him . As far as I know, his
         behavior in jail was impeccable .



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   7.    Obel remained very religious throughout the entirety of his prison sentence.
         He would pray with and preach to other inmates. Obel was very good at
         helping other inmates analyze and talk about the things that they were going
         through . He counseled them and took care of other inmates.
   8.    I thought that Obel would find it very difficult to maintain his faith and
         conviction after he was moved into segregation . To the contrary, even after
         Obel was transferred into a segregated cell, we could hear him, from our
         chapel, giving sermons to the other inmates in segregation . He took the
         initiative to lead services. His faith never failed him . We were all so proud
         of him . Everyone would listen to him . I knew his faith and beliefs were
         strong.
    9 . Not only was Obel a good listener, but he was also dedicated and loving . At
         times, he also helped me think through my own faith and belief in God . I
         am grateful to Obel for giving me the confidence to preach to him . I know
         that God has transformed Obel, and I have always been very impressed by
         the strength of his belief .
    10 . In my forty-plus years working in prisons and detention centers in Puerto
         Rico, I have worked with thousands of inmates. Obel stands out as one of
         the best behaved and most trusted inmates I have met during my entire time
         working in jails and detention facilities.
    11.1 was never contacted by Obel’s trial attorneys. If I had been contacted, I
         would have done anything I could to help Obel . Had I been called as a
         witness, I would have testified to the contents of this affidavit .
    12.1 have read and reviewed this four-page affidavit .




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                                      Irma Iglesias Cruz



SWORN TO AND SUBSCRIBED BEFORE ME by Irma Iglesias Cruz, of legal
age, married, and resident of Toa Baja, and who I know personally and I can attest,
this day August 21, 2015 , in San Juan , Puerto Rico




                                      Attorney—Notary




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                                                                ia. Estudi   en

             el Seminario Teologico Autonomo de San Juan, Puerto Rico.
          2. Durante parte de mi tenencia en el Departamento de Correcciones,
             supervise a 2,000 capellanes que Servian las diferentes instalaciones
              por unos doce anos, desde 2000 hasta 2012 . En mi papel actual de
              capellan hoy dia, tiendo a las vidas espirituales de los encarcelados de
              todos los orlgenes y credos. Tambien ayudo a las personas con
              pensamientos suicidas, los que tienen problemas familiares e incluso
              ayudo con la insercion laboral. Tambien tiendo a las necesidades del
              personal de la institucion correccional, incluyendo los guardias .
          3 . La primera vez que conod a Obel fue alrededor de 2005-2006 cuando
              fue encarcelado en la carcel Rio Piedra 352. Creo que estaba alii
              desde 2005 hasta 2010 . Trabaje con Obel en sesiones de
              asesoramiento, asi como los estudios religiosos. Me relacione con el
              casi todos los dias. Despues de eso, me traslade a la carcel de
              Bayamon, pero todavia me mantuve en contacto con Obel . Yo lo
             conod hasta que fue extraditado a Houston .
          4. Cuando primero conod a Obel, fue evidente la cantidad de interes que
             tenia en la religion    , Basado en mis experiencias anteriores
               interactuando con personas encarceladas, yo sabia que Obel era
               alguien para mirar porque el mostraba habilidades de liderazgo y sus




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             acerca de el, ni supe que tuvo problemas disciplinarios . Debido a su
             comportamiento y buen trabajo, Obel tenia la confianza de mi y otros
             miembros del personal penitenciario, tanto como la confianza de los
             demas individuos encarcelados.
         6. Yo tenia tanta confianza en Obel que le di las Haves de mi oficina, que
             necesitaba para sus funciones manteniendo la capilla.         Para los
             servicios de la capilla, Obel llegaba temprano para desbloquear y abrir
             la capilla, encender el aire acondicionado, y preparar la capilla para
             los servicios . Permitanme ser claro, no se le da a cualquiera estos
             tipos de deberes. Nosotros solamente los dabamos a la gente que
             confiabamos verdaderamente por la razon que tenian acceso a Haves
             muy importantes. Puedo contar en mi mano el numero de individuos
             que he dado este nivel de responsabilidad, el nivel de responsabilidad
             que le di a Obel, y todavia tendria dedos sobrantes. Eso es lo mucho
             que confiaba en el . Nunca he tenido ninguna razon para no hacerlo.
        7. Obel tambien se permitio la oportunidad de trabajar en la fabrication
           de muebles mientras que el estaba encarcelado . De nuevo, esto era un
             privilegio dado a las personas encarceladas que se comportaban bien y
             no causaban ningun problema. Especialmente teniendo en cuenta el
             grado de acceso de este programa a las herramientas electricas y otras




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             asegurandose de que todo el mundo prestaba atencion a las reglas de
             la facilidad .   Y, a pesar de que era tan querido por el personal
             penitenciario, ninguno de los otros encarcelados resentlan a Obel por
             eso . Lo querian y respetaban tambien .
         9. Yo bautice a Obel en 2008, cuando aun estaba en la institution de Rio
            Piedra. Obel a veces hablaba de haber tornado malas decisiones antes
             de ser encarcelado, cuando el no tenia a Dios en su vida. Antes de
             redescubrir su fe, a veces hablaba de un " vacio" o sensation de que
             algo faltaba en su vida. Yo creo que estos sentimientos se derivaron
             de no tener a Dios siempre en su vida.
         10. Mientras encarcelado, la fe de Obel en Dios fue muy claro y evidente,
             tanto en la forma en que hablo durante los servicios de la capilla, sino
             tambien en su alcance a otras personas encarceladas.     Yo
             personalmente vi que Obel cambio las vidas de otras personas
             encarceladas con sus discusiones acerca de Dios y sus creencias. Les
             toco las vidas de tantas personas con su fe y sus creencias en Dios, y
             yo incluiria a yo mismo como una de esas personas.
         11. Movieron a Obel entre diferentes instalaciones durante el tiempo que
             estuvo encarcelado en Puerto Rico, pero esto es comun para las




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                 tan dificiles en este momento, el sigue mostrando el amor y apoyo .
                 En sus cartas siempre pregunta como me va y expresa interes en mi
                 vida . Estoy, y siempre he sido, impresionado con el grado de
                 sensibilidad que tiene Obel .
            14 . En mis diecisiete anos de trabajar con los presos y personas

/                encarceladas, he trabajado con miles de personas . Obel se destaca
                 como uno de los mejores educados y mas de confianza de todas las
                                                                                     t


                 personas con las que he trabajado en los centros penitenciarios . El ha
                 dejado una impresion muy importante en mi vida como capellan.
            15. Nunca fui contactado por abogados litigantes de Obel . Si yo hubiera
                sido contactada, habria hecho cualquier cosa que podia para ayudar a
                 Obel . Habria juntado el dinero para viajar a Houston, si el equipo de
                 defensa no tenia fondos para traerme. Si me hubieran llamado como
                 testigo, yo habria testificado del contenido de esta declaracion jurada.




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 Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 175 of 368
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                                                            Ivan Negron Vera

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                                                                        Page   of 10
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                   CERTIFICATION OF ADRIAN DE LA ROSA

    I, Adrian de la Rosa, state and declare as follows:

        1. My name is A d r i a n d e l a R o s a , I currently live in Austin,
           Texas. I am fluent in both English and Spanish.
        2. I am a native Spanish speaker, bom in Big Spring, Texas. Spanish was
           my first language, and I speak Spanish regularly with several family
           members. I also took formal Spanish classes for native speakers during
           high school and college. I am able to speak, read , and write in Spanish
           proficiently.
        3. I am a Post-Conviction Investigator at the Office of Capital Writs (OCW)
                                    .




           in Austin, Texas, As part of my investigation, I was asked by the OCW
           to translate several English-language affidavits into Spanish ,
        4. The attached notarized affidavit signed by Ivan Negron Vera is the
           Spanish- language affidavit I translated from an English-language
           affidavit   provided     to me by the OCW. The English-language
           version of the affidavit is also here attached .
        5. I declare under penalty of perjury under the laws of the State of Texas
           that the signed document is a true and correct translation of the
           English -language text that I originally received .


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    Subscribed and sworn to before me on AJSSUST u            .5
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                                                                     Page   of 10
                                                                          7 of 368




                       AFFIDAVIT OF IVAN NEGRON VERA

I, Ivan Negron Vera, state and declare as follows:

    1 . My name is Ivan Negron Vera.             I work as a prison chaplain at the
        Department of Corrections in San Juan, Puerto Rico. I have worked there
        for seventeen years .    I am a recognized and ordained minister with a
        bachelor's degree in Theology.          I studied at the Seminario Teologico
        Autonomo in San Juan, Puerto Rico.
    2 . During my tenure at the Department of Corrections, I supervised 2,000
        chaplains serving the different facilities for roughly twelve years, from 2000
        through 2012 . In my current chaplain role, I tend to the spiritual lives of
        those incarcerated from all backgrounds and faiths. I also help individuals
        with suicidal thoughts, those having family problems and even help with job
        placement .    I also tend to the needs of the correctional facility staff,
        including guards.
    3 . I first met Obel around 2005-2006 when he was housed at the Rio Piedra jail
        352 . I believe he was housed there from 2005 to 2010 . I worked with Obel
        in counseling sessions, as well as religious studies. I interacted with him
        nearly every day . After that, I moved to Bayamon jail, but I still kept in
        contact with Obel . I knew him until he was extradited to Houston .
    4 . When I first met Obel, it was obvious how much interest he had in religion .
        Based on my prior experiences interacting with incarcerated individuals, I
        knew Obel was someone to watch because he showed leadership skills and
        his strong personal testimonies regarding religion were very impactful . He
        completely earned my confidence and the confidence of several other
        individuals at the facility, both inmates and facility staff and guards.



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                                                  07/01/19  In TXSDPage 178
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    5 . While Obel was housed at Rio Piedra, he was housed in general population
        and was frequently left alone outside of his cell . During the time that I knew
        him, I never had any complaints about him or knew him to have any
        disciplinary problems. Because of his behavior and good work, Obel had
        the trust of myself and other prison staff, as well as the other incarcerated
        individuals.
    6 . I had so much trust and confidence in Obel, I gave him the keys to my
        office, which he needed for his chapel duties. For chapel, Obel would arrive
        early to unlock and open the chapel, turn on the air conditioning, and prepare
        the chapel for services. Let me be clear, not everyone is given these types of
        duties. We only gave them to the people we truly trusted and confided in
        because they were given important keys. I can count on my hand the
        number of individuals that I have given this level of responsibility, the level
        of responsibility that I gave Obel, and I would still have fingers left over .
        That is how much I trusted him . I never had any reason not to.
    7 . Obel also was allowed the opportunity to work making furniture while in
        jail .   Again, this was a privilege given to incarcerated individuals that
        behaved well and did not cause any problems. Especially considering how
        much access this program gave to power tools and other sharp machinery,
        only the most trusted inmates were given this privilege .
    8. Not only was Obel well behaved, but he also helped to maintain order in the
        prison . He was respected by other inmates as well as staff, and was able to
        convince other inmates to pay attention to the correctional staff and follow
        the rules. Many of the corrections officers that I knew felt that Obel made
        their lives much easier by making sure that everyone in the facility followed
        the rules. And, even though he was so well liked by the correctional staff,



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                                                  07/01/19  In TXSDPage 179
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        none of the other inmates seemed to resent him for it . They liked and
        respected him, too.
    9 . I baptized Obel in 2008, while he was still at the Rio Piedra facility . Obel
        sometimes talked about having made bad decisions before he was
        incarcerated, when he did not have God in his life            ,   Before Obel
        rediscovered his faith, he sometimes talked about an “emptiness” or feeling
        like something was missing in his life . I believe that these feelings stemmed
        from his not always having God in his life .
    10 . While incarcerated, ObeTs faith in God was very clear and evident, both in
        the way that he spoke during chapel services, but also in his outreach to
        other incarcerated individuals. I personally saw him change other inmates’
        lives with his discussions about God and his beliefs. He touched so many
        people’s lives with his faith and beliefs in God, and I would include myself
        as one of those people .
    11. Obel was moved between different facilities during the time he was
        incarcerated in Puerto Rico, but this is common for inmates here . As far as I
        know, this had nothing to do with ObeTs conduct in prison .
    12.1 am still grateful to Obel because he did so much to help me and the rest of
        the prison staff . I am grateful for the positive influence that he had on other
        inmates at Rio Piedra during the time he was housed there .
    13. Obel still writes me letters. Even though his circumstances are so difficult
        right now, he continues to show love and support . In his letters he always
        asks how I am doing and expresses interest in my life . I am, and always
        have been, impressed with how sensitive Obel is.
    14 . In my seventeen years working with prisoners and incarcerated individuals, I
        have worked with thousands of people . Obel stands out as one of the best
        behaved and most trustworthy of all the people I have worked with in

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        correctional facilities. He has left a very important impression in my life as
        a chaplain .
    15.1 was never contacted by Obel’s trial attorneys. If I had been contacted, I
        would have done anything I could to help Obel . I would have raised the
        money to fly to Houston, if the trial team could not afford to bring me . Had
        I been called as a witness, I would have testified to the contents of this
        affidavit .
    16.1 have read and reviewed this five-page affidavit .


    I declare under penalty of perjury under the laws of Puerto Rico that the
    foregoing is true and correct to the best of my knowledge and that this affidavit
    was executed on       of August, 2015 in




                                        Ivan Negron Vera




Subscribed and sworn to before me on this          day                , 2015 .




Notary Public




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EXHIBIT 106 Page 010
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 181 of 368

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                  personas que tienen problemas como la depresion o ideas suicidas.
                  He sido voluntario durante aproximadamente 22 anos. He sido pastor
                  durante los ultimos 30 anos y estudie en el Institute Biblico Jovenes
                  Cristianos.
              2. La primera vez que conod a Obel era cuando el estaba ubicado en la
                 instalacion del 352 . Lo conoci unos cuatro anos, durante los cuales
                  servi como predicador y consejero. Recuerdo a Obel bien porque el
                                       t

                  cuidaba la capilla. El ayudaba preparar la capilla para los servicios.
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                  Recuerdo tambien que Obel tomo parte en la parte musica de nuestros
                  servicios. Llegue a conocer a Obel muy bien durante nuestro tiempo
                  juntos, tanto hablandonos individualmente y tambien de nuestro
                  tiempo en los servicios de la iglesia . Era muy feliz y se llevaba bien
                  con todo el mundo a su alrededor. El era muy carinoso y una buena
                  persona en general . El era amable con los condenados y tambien los
                  guardias.
              3. Obel era muy confiado por el personal de la prision en la instalacion
                 del 352. No recuerdo que el tuviera jamas problemas disciplinarios;
                  Obel no era considerado un preso peligroso o violento. Estaba
                  ubicado en la poblacion general . Durante el tiempo que lo conoci,
                  nunca escuche ninguna queja sobre el . Por el contrario, recuerdo a




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                personas encarceladas podian construir y vender muebles. Debido a
                que los presos que trabajaban en la " corporacion" tendrian acceso a las
                herramientas y otros materiales potencialmente peligrosos, solo los
                presos que estaban bien educados y trabajadores eran autorizados para
                trabajar alii. El hecho de que Obel fue permitido para trabajar alii
                indica la cantidad de confianza que el personal de la prision tenia en
                el .
            5 . Despues de observar a Obel y conocerlo mejor, supe que su fe en Dios
                era real . El es un buen hombre con creencias honestas que lo llevan a
                hacer un buen trabajo para otros. No era consciente que el tenia
                problemas con nadie. Si tuviera algunas problemas, el nunca habria
                sido dado todos los privilegios que le dieron mientras estaba detenido
                en el 352.
            6 . En mis veintidos anos trabajando en los centros penitenciarios y
                trabajando con miles de presos, Obel se destaca corao uno de los
                presos mas educados y confiados que puedo recordar . Lo veia
                regularmente y se como todos en las instalaciones le tenian mucha
                confianza.  Yo estaba extremadamente impresionado por su
                comportamiento en las instalaciones, sino tambien por su deseo de ser
                una mejor persona y un buen padre. Recuerdo que hacia hamacas




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           hubieran contactado, habria hecho todo lo que podia para ayudar a
                    Obel . Si me hubieran llamado como testigo, habria testificado de los
                    contenidos de esta declaracion jurada.
           8 . He leido y revisado esta declaracion jurada de tres paginas.


      Yo declaro bajo pena de perjurio bajo las leyes          / oo ,
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      anterior es verdadero y correcto segun mi mejor conocimiento y aue esta                                     A
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                                                                             Jimmy Osorio


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                     CERTIFICATION OF     ADRIAN DE LA ROSA
 I, Adrian de la Rosa, state and declare as follows:

    1. My name is A d r i a n d e l a R o s a . I currently live in Austin,
        Texas. I am fluent in both English and Spanish ,
    2. I am a native Spanish speaker, bom in Big Spring, Texas. Spanish was
        my first language, and I speak Spanish regularly with several family
           members , I also took formal Spanish classes for native speakers during
        high school and college , I am able to speak, read, and write in Spanish
        proficiently ,
    3. I am a Post-Conviction Investigator at the Office of Capital Writs (OCW)
        in Austin, Texas. As part of my investigation, I was asked by the OCW
        to translate several English-language affidavits into Spanish.
    4. The attached notarized affidavit signed by Jimmy Osorio is the
        Spanish- language affidavit I translated from an English-language
        affidavit      provided   to me by the OCW. The English-language
        version of the affidavit is also here attached .
    5. I declare under penalty of perjury under the laws of the State of Texas
        that the signed document is a true and correct translation of the
       English-language text that I originally received .


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                                                           Adrian de la Rosay

 Subscribed and sworn to before me on Amvsc           £7     2015

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                          AFFIDAVIT OF JIMMY OSORIO

I, Jimmy Osorio, state and declare as follows:

    1. My name is Jimmy Osorio. I volunteer as an assistant prison chaplain at the
         Department of Corrections in San Juan, Puerto Rico . I am currently at the
         Bayamon facility. In my role as a volunteer assistant chaplain, I serve as a
         counselor and preacher, and I help people that are having problems such as
         depression or suicidal thoughts. I have volunteered for about 22 years. I
         have been a pastor for the past 30 years and I studied at the Insituto Biblico
         Jovenes Cristianos.
    2 . I first met Obel when he was housed at the 352 facility . I knew him for
         about four years, during which time I served as a preacher and counselor . I
         remember Obel well because he took care of the chapel . He assisted in
         getting the chapel ready for services. I also remember he took part in the
         music part of our services. I got to know Obel very well during our time
         together, both talking individually and also from our time in church
         services. He was very happy and he got along well with everyone around
         him . He was very loving and an overall good person . He was kind to both
         inmates and guards.
    3 . Obel was very much trusted by the prison staff at the 352 facility . I do not
         recall him ever having disciplinary problems; Obel was not considered a
         dangerous or violent inmate . He was housed in general population . During
         the time I knew him, I never heard any complaints about him . On the
         contrary, I remember Obel because of the tremendous privileges he had
         while he was housed at the 352 facility . Because of his good behavior, he
         was given keys to move around unsupervised, in order to get the chapel
         ready for services. He was well respected by the guards and other inmates.


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EXHIBIT 107 Page 005
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  Case4:17-cv-03621
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                                                                    Page    of 368
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    4 . While Obel was housed at the 352, he worked in a facility that we called the
         "corporation ."   This was a facility where inmates could build and sell
         furniture . Because inmates who worked at the "corporation" would have
         access to tools and other potentially dangerous materials, only inmates who
         were well-behaved and hard-working were permitted to work there . The
         fact that Obel was permitted to work there indicates how much trust the
         prison staff had in him .
    5 . After watching Obel and getting to know him better, I knew his faith in God
         was real . He is a good man with honest beliefs that lead him to do good
         work for others. I did not know him to have any problems with anyone . If
         he had any problems, he would never have been given all of the privileges
         he was given while at the 352 .
    6 . In my twenty-two years working in correctional facilities and working with
         thousands of inmates, Obel stands out as one of the best behaved and most
         trusted inmates I can recall . I saw him regularly and I know how trusted he
         was by everyone in the facility . I was extremely impressed by his behavior
         in the facility, but also by his desire to be a better person and a good father .
         I remember he would make hammocks while in jail, in order to sell them to
         make money for his daughter .            He also counseled other inmates and
         encouraged and supported them to be better people . He would help them
         improve their behavior in jail and he would guide them through Bible
         studies. He worked hard to help them be better people and I respected him
         for that .
    7 . I was never contacted by ObeTs trial attorneys. If I had been contacted, I
         would have done anything I could to help Obel . Had I been called as a
         witness, I would have testified to the contents of this affidavit .
    8 . I have read and reviewed this three-page affidavit .

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    I declare under penalty of perjury under the laws of Puerto Rico that the
    foregoing is true and correct to the best of my knowledge and that this affidavit
    was executed on                 of August, 2015 in                      , Puerto
    Rico .




                                       Jimmy Osorio




Subscribed and sworn to before me on                   , 2015 .




Notary Public, State of Texas




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EXHIBIT 107 Page 007
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 189 of 368

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               EXHIBIT 108




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                  capellan voluntaiio durante unos veintiocho anos, y he trabajado en
        Case 4:17-cv-03621 Document 89-13 Filed  on 01/05/23 in TXSD Page 190 of 368
                  varias instalaciones correccionales diferentes . Tambien trabaje para
                  "El Nuevo Dia ", el principal diario en Puerto Rico, por unos
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                  anos Mantuve la maquinaria y tendia al papel para imprimir el
                          ,



                  periodico.
              2 . La primera vez que conoci Obel Cruz Garcia fue cuando era un preso
G ''/             alojado en la carcel 352 en el complejo penitenciario Oso Blanco.
                 Ivan Negron era el capellan supervisor en ese tiempo. Conoci Obel
                 por cerca de cuatro anos . Yo lo conoci personalmente a traves de
                 sesiones de terapia y de trabajar con el en la capilla, asi como nuestras
                 interacciones durante los servicios religiosos. Yo fui su predicador
                 tambien. Me traslade a una instalacion diferente despues de esos
                 cuatro anos, pero todavia me mantenia en contacto con Obel .
                Recuerdo bien a Obel a causa de su fe y de su manera de hablar de su
                fe. Tambien me acuerdo que el era un gran trabajador y una influencia
                positiva en general a todo el mundo a su alrededor. Estaba seguro de
                su fe, y hablaba de sus sentimientos a los demas, y eso era contagioso.
             3 . Obel gano la confianza del personal penitenciario en el 352 . Me pase
                 mucho tiempo hablando con el y trabajando con el, y nunca considere
                que Obel fuera un preso peligroso o violento . En los airos que yo
                conocia Obel, el estaba ubicado en la poblacion general y se le dieron




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                                                            la instalacion  of 352
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                nunca escuche ninguna queja sobre Obel o supe que tuvo problemas
                disciplinarios. Obel era bien respetado por todos en las instalaciones,
                incluyendo los administradores de la carcel, los guardias, y los demas
                confinados .
           4 . Una cosa que me impresiono de Obel fue la fuerza de su fe en Dios.
               Solo a traves de hablar con el, yo mismo aprendi mucho acerca de
                Dios y la espiritualidad . Lo vi cambiar y transformar en un lugar
                donde es diflcil de cambiar porque sucede tanto detras de esas
               paredes. El vencio todo eso y era capaz de mantener su fe. No solo
               eso, el fue capaz de ayudar a otras personas, otros presos, entrar en un
               buen camino tambien . El era muy digna y muy admirable. Estoy
               agradecido a Obel por pensar en mi como su amigo, su familia, y su
                pastor.
           5. Despues de mis veintiocho anos de trabajo en los centros
              penitenciarios, he visto y trabajado con miles de presos, y Obel se
               destaca como uno de los individuos y los presos mejores comportados
                y de mayor confianza que puedo recordar .
           6. Nunca fui contactado por los abogados litigantes de Obel . Si yo
              hubiera sido contactado, habria hecho cualquier cosa que podia para
               ayudar a Obel . Creo que habria sido importante que el tribunal de




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          de esta declaracion
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          8 . He leido y revisado esta declaracion jurada de tres paginas.


     Yo declaro bajo pena de perjurio y bajo las leyes de                que lo
     anterior es verdadero y correcto segun mi mejor conocimiento y que esta
     declaracion juradocfue ejecutada el //               2015 en y/ yri




                                                               Luis Gonzalez Martinez




     Jurado y afirmado ante mi este / /          dia                            , 2015.
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                                                                    Page    of 368
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                       CERTIFICATION OF ADRIAN DE LA ROSA

I, Adrian de la Rosa, state and declare as follows:

        1 , My name is A d r i a n d e l a R o s a , I currently live in Austin,
           Texas , I am fluent in both English and Spanish.
        2 , I am a native Spanish speaker, born in Big Spring, Texas. Spanish was
           my first language, and I speak Spanish regularly with several family
           members. I also took formal Spanish classes for native speakers during
           high school and college. I am able to speak, read, and write in Spanish
           proficiently.
        3 , I am a Post-Conviction Investigator at the Office of Capital Writs (OCW)
           in Austin, Texas, As part of my investigation, I was asked by the OCW
           to translate several English-language affidavits into Spanish .
        4 , The       attached   notarized   affidavit   signed           by       Luis Gonzalez
           Martinez is the Spanish- language affidavit I translated from an
           English-language affidavit        provided    to me by the OCW, The
           English-language version of the affidavit is also here attached.
        5 , I declare under penalty of perjury under the laws of the State of Texas
           that the signed document is a true and correct translation of the
           English -language text that I originally received .


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Subscribed and sworn to before me on /Wssf 14                     , 2015
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                       AFFIDAVIT OF LUIS GONZALEZ MARTINEZ

I, Luis Gonzalez Martinez, state and declare as follows:

    1. My name is Luis Gonzalez Martinez . I currently volunteer as a prison
         chaplain at several different correctional facilities in San Juan, Puerto Rico .
         I have volunteered as a chaplain for about twenty-eight years, and I have
         worked at several different facilities. I also worked at “el Nuevo Dia,” the
         main newspaper in Puerto Rico, for about thirteen years. I maintained the
         machinery and tended to the paper in order to print the newspaper .
    2 . I first met Obel Cruz-Garcia when he was an inmate housed at the 352 jail
         in the Oso Blanco prison complex . Ivan Negron was the head chaplain at
         the time . I knew Obel for about four years. I knew him personally through
         counseling sessions and working with him at the chapel, as well as our
         interactions during church services. I was his preacher as well . I moved to
         a different facility after those four years, but I still kept in contact with
         Obel . I remember Obel well because of his faith and the way he spoke of
         his faith . I also remember him being a hard worker and an overall positive
         influence on everyone around him . He was secure in his faith, and he spoke
         of his feelings to others, and that was infectious.
    3 . Obel earned the trust of the prison staff at the 352 . I spent considerable
         time speaking to him and working with him, and I never considered Obel to
         be a dangerous or violent inmate . In the years that I knew Obel, he was
         housed in general population and he was given tremendous privileges that
         not just anyone is given . He was allowed to open the chapel, which meant
         he had important keys and unsupervised movement within the facility. He
         was also given the privilege of working on furniture, which again is an
         important job for only the most trusted . I have to stress that he gained


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                                                                    Page    of 368
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         tremendous trust and confidence from the jail staff and the chaplains.
         During my time working at the 352 facility, I never heard any complaints
         about Obel or knew him to have any disciplinary problems. Obel was well
         respected by everyone in the facility, including jail administrators, guards,
         and other inmates.
    4 . One thing that impressed me about Obel was the strength of his faith in
         God . Just through speaking with him, I myself learned a lot about God and
         spirituality. I saw him change and transform in a place where it is hard to
         change because so much happens behind those walls. He overcame all of
         that and was able to keep his faith . Not only that, he was able to help other
         people, other inmates, get on a good path as well . He was very dignified
         and very admirable . I am grateful to Obel for thinking of me as his friend,
         his family, and his pastor .
    5 . After my twenty-eight years working in correctional facilities, I have seen
         and worked with thousands of inmates, and Obel stands out as one of the
         best behaved and most trusted individuals and inmates I can recall .
    6 . I was never contacted by Obel’s trial attorneys. If I had been contacted, I
         would have done anything I could to help Obel . I think it would have been
         important for the court in the United States to hear how successful Obel was
         in prison in Puerto Rico. I could have spoken to the jury about my trust in
         Obel and the depth of his faith in God . I think this information would have
         helped the jury decide to sentence him to life in prison .
    7 . Had I been called as a witness, I would have testified to the contents of this
         affidavit .
    8. I have read and reviewed this three-page affidavit .




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    I declare under penalty of perjury under the laws of Puerto Rico that the
    foregoing is true and correct to the best of my knowledge and that this affidavit
    was executed on the          of August, 2015 in San Juan, Puerto Rico .




                                       Luis Gonzalez Martinez




Subscribed and sworn to before me on                   , 2015 .




Notary Public




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EXHIBIT 108 Page 007
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 197 of 368

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               EXHIBIT 110




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                                                  07/01/19  In TXSDPage 198
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                                                                          1 of 368




  EXPERT DECLARATION OF DR . CLAUDIA AHUMADA DEGRATI , PH . D.

I, Claudia Ahumada Degrati, Ph.D., declare as follows:
1.       My name is Claudia Ahumada Degrati, Ph .D. I am a practicing clinical and
         forensic psychologist . In my practice, I assess and treat individuals, some of
         whom have an acquired brain injury or suffer from depression , anxiety,
         PTSD, and other mental disorders. My clinical experience also includes
         providing psychotherapy to individuals who have been exposed to domestic
         violence and sexual, physical, and emotional abuse. In addition , I conduct
         psychological and neuropsychological evaluations and assessments and
         provide forensic consultation on mental health issues. I am fully bilingual in
         English and Spanish and many of my patients are immigrants, particularly
         from Latin America. The factual statements I make in this declaration are
         true and correct to the best of my knowledge and experience.
2.       Obel Cruz -Garcia is an inmate in the custody of Texas Department of
         Criminal Justice (TDCJ). Current counsel for Obel Cruz Garcia requested
         that I conduct a psychosocial assessment of Obel to identify and describe
         psychologically significant traumatic events in Obel’s life and evaluate and
         explain the effects, if any, of those events on his cognitive, psychological, and
         emotional development and social functioning. My findings, analysis, and
         conclusions are set forth in this Declaration .
                                EXECUTIVE SUMMARY
3.       Obel’s traumatic life experiences began with a childhood characterized by
         neglect, parentification at a young age, exposure to alcohol at a very young
         age, abandonment , and other traumatic and stressful events. From childhood
         and early adolescence to adulthood, Obel Cruz Garcia suffered chronic,
         repeated, trauma with its long-lasting consequences and effects on somatic,
         cognitive, affective, and behavioral areas of functioning.

                       BACKGROUND AND QUALIFICATIONS
4.       My professional qualifications are fully expressed in my curriculum vitae
         appended to this report. Brief highhghts include the following:

         a. I am a clinical psychologist licensed to practice in the State of California. I
            also hold a temporary license to practice in the state of Texas. I received
            my Bachelor of Arts degree, with a major in hberal arts and minor in
            Spanish , from Prescott College in Prescott , Arizona, in 1998.1 received my
            Master of Arts in Clinical Psychology from Ryokan College in 2000. In

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                                                  07/01/19  In TXSDPage 199
                                                                     Page   of 17
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              2004, I received a Ph.D. in Clinical Psychology from Pacifica Graduate
              Institute in Santa Barbara, California. In 2017, I received a certificate in
              Clinical Neuropsychology from Fielding Graduate University.
         b. Between 2000 and 2003, and between 2006 and 2007, I worked at the
            Crime Victim Counseling Center in Cerritos, California as a psychological
            assistant. I provided individual and family psychotherapy to child,
            adolescent, and adult victims of crime experiencing high -risk stressors
            including domestic violence and sexual, physical, and emotional abuse. I
            also assessed and provided treatment plans for children, adolescents, and
            adults exhibiting symptoms of mental disorders including anxiety,
            depression, and posttraumatic stress disorder (PTSD).

         c. Between 2005 and 2007, 1 worked for Barbara Cort Counter , Ph .D., Inc., a
            private clinical and forensic psychological practice in Beverly Hills,
            California. As a psychological assistant , I provided individual
            psychotherapy as well as forensic consultations and evaluations for state
            and federal court cases.
         d. I have been an approved service provider for two Regional Centers in
            Southern California. From 2011 until 2013, I provided services at the
            North Los Angeles County Regional Center in Van Nuys. From 2013 until
            2015 I provided psychological services at Harbor Regional Center in
            Torrance. Regional centers are private, non -profit organizations
            contracting with the State of California for the provision of services to
            persons with developmental disabilities. At the regional centers, I
            conducted reevaluations of the regional center’s clients and evaluations of
            regional center applicants to determine eligibility for services by assessing
            whether the clients or applicants have a developmental disability as
            defined by Cahfornia law and regulations.
         e. Since 2007, I have maintained a private practice in clinical and forensic
            psychology, until recently in Beverly Hills, and currently in Fullerton ,
            California. In my practice, I assess and treat individuals, some of whom
            have an acquired brain injury or suffer from depression, anxiety, PTSD,
            and other mental disorders. My clinical experience also includes providing
            psychotherapy to individuals who have been exposed to domestic violence
            and sexual, physical, and emotional abuse. I also conduct psychological
            and neuropsychological evaluations and assessments and provide forensic
            consultation on mental health issues. I am fully bihngual in English and



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                                                  07/01/19  In TXSDPage 200
                                                                     Page   of 17
                                                                          3 of 368




              Spanish and many of my patients are immigrants, particularly from Latin
              America.
         f. From 2011 until 2017, I served as an adjunct faculty member at the
            Pacifica Graduate Institute in Carpinteria, California. I taught and
            provided case consultation and supervision to doctoral-level students on
            multiculturalism and cultural diversity issues arising in psychotherapy.
                REFERRAL QUESTION AND SCOPE OF EVALUATION
5.       Current counsel for Obel Cruz Garcia requested that I conduct a psychosocial
         assessment of Obel to identify and describe psychologically significant
         traumatic events in Obel’s life and evaluate and explain the effects, if any, of
         those events on his cognitive, psychological, and emotional development and
         social functioning.
6.       To perform the requested tasks, I conducted four clinical interviews of Obel in
         a confidential meeting room at Texas Department of Criminal Justice (TDCJ)
         Polunsky Unit , in Livingston, Texas on October 15, 2018; October 16, 2018;
         February 28, 2019 and March 1, 2019, for a total of approximately twenty
         three hours. In addition, I reviewed numerous declarations and court
         testimony of family members and other individuals who observed Obel’s
         experiences, development , and functioning. These are the types of materials
         and information upon which psychologists rely to reach reliable opinions and
         clinical conclusions about a person’s history and functioning.
                               MATERIALS REVIEWED
7.       In preparing this report and reaching the expert opinions contained herein , I
         have reviewed, among other materials:
         a. Excerpts from state writ and accompanying exhibits;
         b. Punishment phase trial transcripts (volumes 24- 28);
         c. Declarations from witnesses in Dominican Republic;
         d. Declarations from witnesses in Puerto Rico;
         e. Declaration of Noemi Cruz - Garcia;
8.       On the basis of my review of these materials and interviews, I provide the
         following opinions and conclusions.




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Exhibit 110 Page 003
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       4:17- cv-Q3621 Document
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                                                  07/01/19  in TXSDPage 201
                                                                     Page   of 17
                                                                          4 of 368




                       MR . OBEL CRUZ-GARCIA’S LIFE HISTORY
9.       Obel Cruz Garcia was born on July 8, 1967, in Santo Domingo, Dominican
         Republic, to Valerio Julian de la Cruz Santos and Dalia Garcia.

                                       Early Childhood
10 .     Obel is the second of his parent’s four children . In birth order they are:
         Noemi, Obel, Natalia and Joel. When Obel was a young child, the family lived
         in a house that his father built in the Maquiteria neighborhood of Santo
         Domingo. Valerio cleared what was at the time a small piece of scrubland and
         claimed it for himself and his family. Initially, the house was precariously
         built with wood planks. Later , Valerio re-built it with cement blocks.
11 .     Obel’s mother , Dalia was a homemaker and his father was the sole bread
         winner. Valerio was a paramedic in the navy; he worked shifts at the military
         base and his job was well regarded. Valerio also liked to drink and had affairs
         with many women. Based on information obtained from multiple sources in
         the Dominican Republic, Obel’s father’s womanizing and multiple affairs
         were one of the cultural mores common in the Dominican Republic. Valerio’s
         father and his father’s father had many children with multiple women. Obel’s
         great grandfather had 36 children with different, women . Despite the cultural
         and familial underpinnings of Valerio’s behavior , it still caused tremendous
         tension between Obel’s parents and exposed him to situations that were
         highly inappropriate for a child.

12 .     Valerio’s excesses were drinking and womanizing. He began sharing his
         drinks with Obel when Obel was a five - year -old child. Valerio would tell Obel
         that he was a man already and have him drink rum and sometimes whisky.
13 .     When Obel was about five years old, his father had an accident that was to
         change life Obel’s and his family’s life forever. Valerio was hit by a car while
         on the side of the road and was injured so severely that when he was taken to
         the hospital, they thought he was dead. Valerio was placed in the morgue
         until one of Obel’s uncles went to identify him and realized he was not dead.
         Valerio had seven broken ribs, a broken leg and an injured spleen . His
         recovery was long and arduous. He was hospitalized for a long time and had
         many surgeries. Afterwards, Obel became his father’s crutch . During
         Valerio’s hospitalization , Obel would go back and forth from home to the
         hospital and help tend to his father . After the accident, Valerio would tell
         Obel he had become the man of the house now. Because of his injuries,



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Exhibit 110 Page 004
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                                         Filed 01/05/23  in TXSD
                                                  07/01/19  In TXSDPage 202
                                                                     Page   of 17
                                                                          5 of 368




         Valerio was declared officially disabled and could no longer work for the
         navy.

                                  Abandonment by Mother
14 .      After Valerio’s accident, Dalia became aware of his multiple affairs. Valerio
         was unrepentant and made it clear that he intended to continue to see other
         women . With the support of her family, Dalia decided to leave her husband
         and children and join her older sister in Venezuela. Obel was six or seven
         years old when his mother abandoned the family. The loss of his mother was
         devastating to Obel. Valerio hired a neighborhood woman to help but the
         brunt of household duties fell on Obel and his older sister , Noemi. They
         cleaned and cooked and cared for their younger siblings, including Joel, who
         was still in diapers.
                                   Move to a Rural Village
15 .     After some time, Valerio decided to move with the children to his mother’s
         house in the small rural village of Boba, so that he could have help . Moving to
         Boba was another life-changing event for Obel, who was around 10 years old.
         He left behind fife as he knew it in Santo Domingo, the capital, to five in a
         small fishing village in a rural area of the country. There was no electricity or
         running water in Boba. At night, the house was lit by an oil lamp . The family
         obtained water from a small well or “cacimba.” A hole in the yard served as
         the toilet. During storms, the runoff from the latrine contaminated the
         cacimba. Nor were there any phones in the village. Obel brought his dog with
         him but in Boba the dog barked constantly and was tied outside until he set
         himself free and attacked a pig. Obel was devastated when his pet was sent
         back to Santo Domingo. Not having his dog with him felt like another
         tremendous loss to him .
16.      The residents of Boba fed their families by fishing and farming and everyone,
         even the children , were expected to help . When Obel and his family moved to
         Boba, they initially lived with his paternal grandmother , Ramona Santos,
         who lived in a small two -bedroom wooden house with her second husband.
         Their large extended family lived in the area and it was not uncommon for
         other people to stay overnight in the already crowded home. Ramona cooked
         using firewood and gathering wood for cooking became one of Obel’s chores.

17.      Valerio frequently took Obel with him to fish in order to feed the family. They
         left very early in the mornings, before school. Sometimes they went fishing
         out to sea for three or four days. On the fishing trips they brought food such


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                                         Filed 01/05/23  in TXSD
                                                  07/01/19  In TXSDPage 203
                                                                     Page   of 17
                                                                          6 of 368




         as bread, salami and sardines and alcohol to “keep warm .” They fished in the
         deep waters off the coast and tried to keep land in sight. They were often
         caught in rough seas. Several people described an incident in which the boat
         capsized and Obel jumped in the water to rescue his father who had fallen in
         the water. Obel became an avid and skillful fisherman. He and his father also
         worked in the fields tending to and gathering rice crops. In Boba, Obel
         attended a small village school. He fished with his father in the morning and
         attended class in the afternoon. Obel’s teacher , Altagracia Mosquea,
         remembers his nervousness and anxiety whenever he was required to speak
         in front of the class. He would break into a cold sweat when called upon to go
         up to the board. Obel would volunteer to walk a sick classmate home in order
         to leave school.
18 .     While living in Boba, Obel and his siblings had no direct contact with their
         mother. Dalia sent some money back via her parents, which Valerio would
         collect when he made monthly medical visits to Santo Domingo. When Obel
         was approximately twelve, Dalia sent for his older sister , Noemi, to join her
         in Venezuela. She promised to send for Obel shortly thereafter and he was
         excited about going to live with his mother and older sister. However ,
         according to Noemi, Dalia never really intended to bring Obel to live with
         her. Obel felt rejected and abandoned anew.
19 .     Valerio set up a dispensary in Boba, which had previously had no place to go
         for medical attention . People from the area and neighboring villages went
         there for his services. Obel became his father’s assistant of sorts and watched
         as his father cared for illnesses of all kinds. Valerio taught Obel how to give
         injections and clean wounds.

                                  Abandonment by Father
20 .     Valerio met a local teacher named Dorca . They later married and moved to a
         nearby village called Bella Vista where they built a house. Like Boba, it had
         no running water , electricity, or telephone. Up until the time Valerio married
         Dorca, Obel and his father went everywhere together; Obel was his father’s
         crutch, his right hand. They worked together; they ate and even drank
         together. Valerio’s marriage caused tremendous change in Obel’s relationship
         with his father and left a gaping hole in Obel’s life. Dorca was jealous of
         Valerio’s relationship with his children and in particular his relationship
         with Obel. When she complained about the children , Valerio disciplined them
         harshly to placate her. Obel felt as if Dorca had stolen his father away from



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Exhibit 110 Page 006
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                       Document89-13
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                                                  07/01/19  In TXSDPage 204
                                                                     Page   of 17
                                                                          7 of 368




         him . The loss of his close relationship with his father was extremely painful
         for Obel. Valerio fathered two children with Dorca.
21 .     When Obel was 13 years old, he was seduced by a 40 -year -old woman . She
         lived in the village and was considered a prostitute who frequently preyed on
         the young men in the area.
22 .     During his time in the area of Nagua, Obel worked as a fisherman, in the
         fields, and in construction for several years. His work in the fields included
         planting and gathering rice and other crops. Another of his agricultural tasks
         was applying pesticides on the crops. He would first fill the pump’s container
         with pesticide using a can that he had hand-dipped into the pesticide. He
         then sprayed the chemicals using the pump he carried on his back. Spraying
         pesticides was also one of his tasks later on , when he worked in the coffee
         fields in Puerto Rico. Sometimes he sprayed an herbicide and other times an
         insecticide. In the fields, there was no water to wash off the chemicals. Using
         them frequently caused him a headache; sometimes he also felt nauseated.
                                       Forced Marriage
23 .     Obel was 18 when he met Mireya Perez Garcia. She lived in a nearby village
         and went to Boba to attend her uncle’s funeral. Although he liked her , he was
         not planning to start a serious relationship with her. Mireya’s family forced
         them to move in together after one of her sisters told others they had had sex,
         even though they both denied it . Cultural mores in the area dictate that once
         a young woman has been “ dishonored” the man is obliged to take her as his
         wife. Obel did not feel ready to take on the responsibility of starting a family
         of his own; he lived at home with his father. Still, he followed the tradition
         and took Mireya as his common -law wife. Obel’s family did not approve of the
         relationship . His stepmother , Dorca in particular , disliked Mireya as Obel’s
         partner. This made it very difficult for Obel to have Mireya hve with him in
         his father’s house. They went to live in a small house her family lent them in
         nearby Los Naranjos.
24 .     Obel continued to work in whatever he could find in order to support his new
         wife but they had a hard time making ends meet . His friend and neighbor
         Piruquiru “Piruca” Acosta saw how hard Obel worked. He would go out to sea
         with a group of other fishermen on his father’s boat . Some days the catch was
         very small and there was not much fish to distribute among them . Food was
         very scarce for Obel in those days yet he shared his food and the fish he
         caught with other people such as his friends Piruca. People who knew him


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Exhibit 110 Page 007
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                                                  07/01/19  In TXSDPage 205
                                                                     Page   of 17
                                                                          8 of 368




         described Obel as generous, nice , and hardworking. He was willing to go
         fishing even when other fishermen would not because the sea was too rough .
         At one point Valerio no longer allowed Obel to take his boat fishing and with
         that, severely curtailed Obel’s chances of making a living as a fisherman .
         Obel was certain his stepmother was behind his father’s decision.
                                      Move to Puerto Rico
25 .     When Mireya became pregnant with their first child, they agreed Obel should
         leave and go to Puerto Rico in search of work , as so many other Dominican
         migrants did. His chances in Puerto Rico were better than in the
         impoverished village of Boba; from Puerto Rico he would send money for her
         and their baby. Obel did not have the money to go to Puerto Rico so he helped
         a carpenter make the “yola,” the yawl that would take him and other
         migrants from the Dominican Republic to Puerto Rico. The journey was full of
         dangers.

26.      Obel was 19 when the boat left Punta Cana in the Dominican Republic and
         crossed the Mona Passage to arrive in Puerto Rico. The passage connects the
         Atlantic Ocean and the Caribbean Sea. The area is fraught with variable
         tidal currents and strong winds. The crossing on a yola is not for the faint of
         heart . Locals call it el mar de los muertos, “the sea of the dead” because of the
         many boating accidents and deaths caused by the severe storms and currents
         in the shark infested waters. Despite the dangers, Dominican migrants like
         Obel take to the boats in hopes of reaching U.S. territory in search of a better
         life. Obel’s plan was to work there long enough to save money to buy a small
         fishing boat and equipment so he could support his family in the Dominican
         Republic.

                            Abandonment by Common-Law Wife
27.      Obel was working in Puerto Rico when he learned through his father than
         Mireya, although still pregnant with his child, was with another man. The
         news completely devastated Obel. He felt as if all the dangers he had faced to
         make it to Puerto Rico and all the sacrifices he had made to send some money
         to her for his unborn child had been in vain. In that moment , he felt
         “everything a body can feel.” His entire body felt like a gaping wound. He
         sought to alleviate his pain the way he had learned from his father and drank
         an entire bottle of Bacardi (rum) in a single long gulp. He stayed in Puerto
         Rico but his spirit was crushed. From then on , his drinking intensified.




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Exhibit 110 Page 008
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  Case4:17-cv-03621
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                                         Filed 01/05/23  in TXSD
                                                  07/01/19  In TXSDPage 206
                                                                     Page   of 17
                                                                          9 of 368




28 .     As an undocumented immigrant in Puerto Rico Obel faced discrimination and
         had a difficult time navigating the differences between Puerto Rican and
         Dominican cultures. Locals call Dominicans and other undocumented
         immigrants by the pejorative name of “mojados” (wetbacks). Obel felt a great
         sense of unease and anxiety not knowing when he might be spotted and
         caught by “la migra” (immigration officers). He tried hard to speak and act
         like a local to go undetected.
29 .     When Obel first arrived in Puerto Rico, one of Mireya’s cousins told him he
         had found a job for him at a coffee plantation . Obel was required to work long
         hours each day, seven days a week , and to live in barracks housing on the
         plantation with up to 15 other workers. Obel earned 50 or 60 dollars for two
         weeks of grueling work. He and another 15 workers slept on a mattress on
         the floor of a warehouse that was used as a deposit for fertilizer , herbicides,
         the pumps used to spray the chemicals, and other agricultural products and
         equipment. The place reeked from the chemicals and the unbathed body -odor
         of the workers. The workday started at 6 am and ended at 3 pm . Work was
         exhausting, it included clearing the land by cutting down trees and loading
         the wood onto trucks, clearing brush and weeds using a machete, digging
         holes for the coffee plants, planting them , spraying pesticides and spreading
         fertilizer. The workers were also expected to harvest and load banana
         bunches onto trucks. Obel and the other workers were charged for their food
         such as rice and coffee. They were only given green bananas for free. They
         were not given gloves or any other protective equipment or supplies. The
         company sold them all their supplies including the boots and machetes they
         needed to perform their work. Obel’s hands and feet were covered with
         blisters. Still, he needed to earn more money to send home so he asked for
         extra work. He often worked a couple of extra hours each day cutting guinea
         grass. This sometimes supplemented his income up to 80 dollars. Obel sent
         most of his earnings to his father with the belief that he would pass it on to
         Mireya. After several months of living and working under those conditions,
         and despondent after learning that Mireya was with someone else, Obel left
         the plantation and moved to Rio Piedras, Puerto Rico.
                                 Attempt to Start a New Life

30 .     From then on, during his time in Puerto Rico Obel worked in whatever he
         could find; as a cook at a restaurant; as a gardener; loading and unloading
         cargo; in construction; painting and roofing. He also gathered aluminum cans
         that he sold for recycling and gathered other metals that he could sell, such


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Exhibit 110 Page 009
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                                                            T XSDPage
                                                                  Page207
                                                                       10of
                                                                          of 368
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         as copper. He would also take down , haul away and sell aluminum awnings
         damaged by the frequent storms that battered Puerto Rico. In Rio Piedras,
         Obel reunited with his neighbor from Bella Vista, Piruca. A friend of Piruca,
         Salome, helped Obel obtain employment as a cook in a restaurant.
31.      At the restaurant , Obel met Angelita Rodriguez . They started a relationship
         and eventually married. Obel went to work in construction with Angelita’s
         father , Victoriano. Obel’s job was mixing cement and building cement roofs.
         Obel and Angelita were together about five years. From Puerto Rico Obel
         moved with Angelita to Texas.
32.      In or around 1992 , they moved back to the Dominican Republic. They moved
         in with Angelita’s family in Higuey. There, they started a tourist bus
         company. Obel’s job was driving a bus while Angelita, her mother and aunts,
         were in charge of administration and financial matters.
33 .     Throughout his hfe Obel experienced many environmental stressors. He lived
         through several violent storms, one of them at sea , and had at least two
         serious car accidents. One of them was in the Dominican Republic. As he was
         driving a pickup truck , he tried to avoid hitting a bus head on and crushed
         against a palm tree instead. In this accident a metal shaft pierced his foot.
         The other accident happened in Puerto Rico. On a rainy day, he was the
         passenger in a car travelhng from Rio Piedras to Santurce when they colhded
         with another car. Obel was propelled out of the car through the windshield.
         People who came to the scene were surprised to see he was alive. He left
         running despite being hurt because he was undocumented. His eyebrow was
         bleeding from a cut and he had pieces of glass embedded in the skin of his
         forehead. Since he could not go to the hospital and seek treatment because of
         his legal status, a woman held the flaps of skin on both sides of the injury on
         his eyebrow with a drop of Crazy Glue. He had pieces of windshield glass in
         his forehead for a long time.
                                CLINICAL OBSERVATIONS
34 .     During my clinical interviews with Obel, which were conducted in Spanish, he was
         cooperative and polite and appeared to try to respond to my questions as best as he was
         able. He was well -groomed for all the interviews; it appears he expends considerable
         effort maintaining his cleanliness . He mentioned that it is important to him to smell and
         look clean . He carried with him a small towel that he took out at times to wipe
         perspiration from his hands or wipe his tears . When he arrived into the interview
         room the first time, he walked and moved with some difficulty which he
         attributed to using a brace on his right knee. He complained of having a

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Exhibit 110 Page 010
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         painful right knee and reported he was being evaluated for knee replacement
         surgery. His movements were slowed in general throughout most of the
         interviews, although he became fidgety at times.
35 .     The cognitive and psychological impact of the deprivation , neglect and
         significant trauma he experienced as a child were apparent throughout the
         clinical interviews. He exhibited verbal problems including an impoverished
         vocabulary, word finding difficulties, and misuse of some words. As he had
         difficulty finding words, he could not think of how to say mail box, for
         instance. He did not seem to know the meaning of the word “season” when
         asked what season it was as part of the Mental Status Examination. The
         Mini -Mental State Examination (MMSE) is a standardized, widely used,
         screening instrument designed to detect gross impairment in general
         cognitive functioning. He mispronounced some words, such as “incienso”
         (incense) and said “insencio” instead. He also said “ibanos” instead of
         “ibamos” (we used to go/we would go) as well as “comianos” instead of
         “comiamos” (we used to eat /we would eat). There were other instances of his
         substituting “m” with “n .” However , it should be noted that this substitution
         in certain words is not entirely uncommon among some Spanish speakers.
         His vocal tone was normal and his rate of speech was somewhat rapid. The
         latter is likely a characteristic of his Caribbean origin.
36 .     During our interviews, Obel exhibited a number of symptoms associated with
         a traumatic response. He had darting pupils and became agitated at times.
         He also reported suspicion of others that reflected hypervigilance. Eye
         contact was initially somewhat poor until rapport was established, it became
         subsequently appropriate. However , he continued to cover his face
         sometimes, particularly in the beginning of the first interview, when the topic
         of conversation caused him significant distress or embarrassment . He did not
         appear to be responding to external stimuli during the interviews. His
         prevailing mood was sad in general and anxious at times. His thought
         content demonstrated sadness and religiosity. He reported suffering from
         frequent nightmares. He mentioned having flashbacks of “what happened in
         court” but did not explain what he meant by that despite being asked follow
         up questions. He appeared to not understand what flashbacks are
         notwithstanding attempts to explain . He indicated that his mind races
         sometimes but that he prays and cries out for God’s help to cope. He denied
         suicidal or homicidal ideation.




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37 .     He exhibited and reported memory and attention deficits during the clinical
         interviews. It is well understood that trauma has profound effects on
         memory. He said he used to have to write everything, such as people’s names,
         down in a notebook because he would otherwise forget. Some of the accounts
         regarding his life history were lacking in detail. Even though he was
         cooperative during interviews, obtaining the details of his traumatic
         experiences required significant effort on my part.

                                    CONCLUSIONS
38 .     Years of repeated and prolonged adverse experiences profoundly affected
         Obel Cruz Garcia. Chronic and repeated exposure to traumatic and stressful
         events throughout his life, particularly during his developmental period,
         shaped and substantially impaired his cognitive, psychological, and social
         functioning and behaviors. The most significant traumatic events in Obel’s
         life, even among a myriad of others included the chaos, parental discord and
         maternal abandonment in which he grew up .
39 .     Obel’s father , even though Obel was only a child, made him feel complicit in
         his secret liaisons. His father’s easy - going and friendlier attitude, compared
         to his mother’s, made Obel idealize his father. However , Valerio’s
         womanizing and drinking exposed Obel to sexual abuse and started him early
         on the road to alcohol abuse and addition. In doing so, Valerio normalized
         what were dangerous situations for a child.
40 .     Yet the most significant turning points in Obel’s life and perhaps the most
         traumatic experiences for him were his father’s accident and his mother’s
         abandonment not long after. Obel was still a child when Valerio had such a
         serious accident that medical personal thought he was dead and placed him
         in the hospital’s morgue until they realized he was not. Later , Dalia left the
         country and moved to Venezuela, leaving her children without a mother.
         From then on , despite his young age, Obel was propelled into a parental role,
         forced to become a caretaker for his younger siblings. Obel also had to care
         for his father , who would not allow anyone other than Obel take care of his
         personal hygiene. From then on , Obel was to become not only his siblings’
         father of sorts, but his father’s “crutch .” The abandonment by his mother was
         repeated when his mother sent for his older sister to join her in Venezuela,
         while falsely promising to send for Obel soon. He suffered the loss of both
         mother and sister and was left feeling unwanted and unworthy.




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41.      After Obel’s father remarried, Obel was rejected anew by his stepmother , who
         treated him and his siblings harshly. She demanded that Obel’s father
         prioritize his relationship with her and her biological children at the expense
         of his previously close relationship with Obel.
42.      As described in detail throughout his life history above, the long list of
         traumatic incidents to which Obel was exposed in childhood and adolescence
         include: familial patterns of trauma and poverty; what appears to be
         maternal mental illness and stress; extreme poverty and related
         environmental deprivation; child labor , abandonment , and neglect; repeated
         exposure to pesticides and other neurotoxins, including alcohol as a child;
         early loss of sense of safety, loss of his father as a protector and income -
         earner , loss of familiar surroundings when his family moved from the capital
         to a rural area, etc.. Each of these traumatic events alone may detrimentally
         impact an individual’s cognitive and behavioral development , however , the
         presence and interaction of multiple traumatic incidents had an exponential
         effect on Obel’s development and subsequent functioning.
43 .     Research (Herman , 1997; van der Kolk , 2009) has shown that traumatic
         childhood experiences like those experienced by Obel Cruz Garcia are the
         kind of adverse childhood experiences powerfully linked to detrimental effects
         on adult health . The Adverse Childhood Experiences (ACE) study by Kaiser
         Permanente and the Center for Disease Control was based on a questionnaire
         regarding adverse childhood experiences including abuse, neglect, poverty,
         family dysfunction , and other traumatic experiences such as those of Obel
         Cruz Garcia. The ACE study identified factors that set the stage for illness
         including mental illness. The study confirmed an unequivocal and highly
         significant link between repeated traumatization in childhood and
         depression, alcoholism , drug abuse and sexual promiscuity, as well as various
         medical illnesses including heart disease, cancer , stroke and diabetes.
44 .     In late adolescence and adulthood Obel’s exposure to trauma and stress
         continued. The experiences described above in more detail include: extreme
         poverty and lack of access to services and resources; many near - death
         experiences at sea, while fishing, his and his father’s lives were at constant
         risk , their boat capsized at sea in shark infested waters; while helping his
         father tend to patients that suffered from severe ihnesses, he was exposed
         not only to those ihnesses, but also saw severe deformities; felt forced into a
         live -in relationship and started a family at a young age; suffered the dangers
         of crossing the Mona Passage on a frail boat, as he and many Dominican risk


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Exhibit 110 Page 013
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         their lives in search of a better life in Puerto Rico; faced discrimination and
         fear of being detected as an undocumented alien in Puerto Rico; learned his
         common -law wife was being unfaithful while pregnant with their child;
         survived tropical storms in the Dominican Republic, Puerto Rico and at sea,
         and experienced at least two serious car accidents. He also continued to be
         exposed to neurotoxins, particularly in the form of pesticides and other agro-
         chemicals.
45 .     Exposure to such chronic, multiple and severe instances of trauma, in
         combination with a genetic predisposition to substance abuse, set the stage
         for his resorting, early on , to the coping method that is common in victims of
         trauma: self -soothing and self - medicating his symptoms with alcohol and
         ultimately, drugs. Also early on, however , he followed not only the famihal
         and cultural mores of having multiple relationships and children with several
         women , but felt obliged to support them at significant personal cost to him .
         Despite the numerous parallel relationships, the women in his life whose
         declarations I read continue to describe him as a loving father and caring
         husband.
46 .     In adulthood, religion became not only a source of comfort and hope for him ,
         but when it helped him with a severe addiction to heroin while in prison in
         Puerto Rico, it became his lifeline. Currently on death row, his religious faith
         continues to sustain him . There have been several executions since he was
         sentenced, a recent one was that of his friend Joey, but he still holds out hope
         and feels at peace. God, he said, provides him everything he needs. He
         believes in the power of prayer because he has seen his prayers answered.
         Even though on death row life is not without temptation , he remains firm in
         his commitment to God. He tries to inspire faith and hope in others. He, in
         turn , is inspired by the likes of preacher and motivational speaker Nick
         Vujicic who was born without arms or legs. As a result , Vujicic cannot care
         for himself and must rely on others for his basic needs. Obel thinks that if
         someone like “Nick” can remain hopeful and continue to have faith , so should
         he. Just remembering this makes him appreciate that he can walk, write,
         shower ... whenever he feels his motivation is flagging he prays and praises
         God, sometimes out loud, and looks at Nick’s photograph . He had it with him
         among other pictures during our last interview. On the opposite side, he had
         glued a picture he asked the guards to take of him with his arms raised so as
         to “lend them to Nick ,” he said. It seems as though Obel Cruz Garcia has
         found in religion an adaptive way of coping with the sequelae of the chronic,



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         severe and repeated traumatic life experiences he has had to live through
         since childhood.


I declare under penalty of perjury that the foregoing is true and correct .

Dated:            July 1, 2019
                  Fullerton , California



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                   Claudia Ahumada Degrati, PhD.




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                              Claudia Ahumada Degrali, Ph. IX
                                    CLINICAL AND FORENSIC PSYCHOLOGY
                                          Bilingual Spanish/English

                       Tel ./ Fax

                                          CURRICULUM VITAE
LICENSURE                           Clinical Psychology, 2007 (California: PSY 21691}
LANGUAGES                           English and Spanish

PRIVATE PRACTICE                    Psychofogica! Evaluations and Assessments
                                    Neuropsychological Evaluations
                                    Mental Health & Psychosocial Consultation
                                    Psychosocial Histories
                                    Victim Outreach
                                    Psychotherapy
                                    Clinical supervision
EDUCATION
         Ph.D., Clinical Psychology, 2004. Pacifica Graduate Institute. Carpinteria, California
         Neuropsychology Postdoctoral Certificate Program, 2017.
               Fielding Graduate University. Santa Ana, California
         M. A., Clinical Psychology. Ryokan College, Los Angeles, California
         B. A., Liberal Arts. Minor; Spanish. Prescott College, Prescott, Arizona
         Interpersonal Neurobiology (IPNB) Certificate.
                Mindsight Institute, Los Angeles, California
         Journalism, Universidad Nacional de Cordoba. Cordoba, Argentina
         Interpretation and Translation in Spanish/English Certificate.
                 University of California, Los Angeles (UCLA ), Los Angeies, California

PROFESSIONAL EXPERIENCE
PRIVATE PRACTICE                                                              2007 - Present
      Forensic and Clinical Psychology. Mental Health ancf Psychosocial Consultation .
      specializing in Latino cases. Mitigation Consultation with emphasis on psychological
      functioning and mental health issues. Psychosocial Histories. Victim Outreach. Capita!
      and Non-Capita! Cases, State and Federal Courts at Trial, Sentencing, Appellate, and
      Habeas Levels. Psychological and Sentencing Evaluations . Neuropsychological
      Evaluations. Psychological Assessments . Regional Center approved vendor. Assess for
      developmental disabilities including Inteilectua! Disability and Autism Spectrum
      Disorders by administering, scoring and interpreting psychometric tests and utilizing
      other psychodiagnostic techniques. Psychotherapy and Clinical Supervision. Treatment
      of Depression, Anxiety, Posttraumatic Stress Disorder (PTSD), Adjustment Disorder,
      Domestic Violence, Sexual, Physical and Emotional Abuse. Treatment, Evaluations,
      Assessments and other services provided in English and Spanish.
PACIFICA GRADUATE INSTITUTE                                              2011 - 2017
                               .
      Adjunct Faculty PhD Depth Psychology with Emphasis on Psychotherapy Program.
      Face to Face Consultation with Emphasis on Cultural Diversity Course. Teach and
      provide case consultation and supervision to doctoral students regarding
      multicufturalism and cultural diversity Issues.




Exhibit 110 Page 016
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                                                                                   Dr. Degrati C. V. 2


BARBARA CORT COUNTER , PH. D., INC. AND ASSOCIATES                          2005 - 2007
     Psychological Assistant. Provided psychological consultation and evaluation as well
         as mitigation services in capital and non- capital, state and federal court cases, at all
         levels of court proceedings. Prepared Psychosocial Histories. Conducted research and
         investigation. Victim outreach services. Provided individual psychotherapy.
VICTIMS OF CRIME COUNSELING CENTER                                        2000 - 2003    2006 - 2007
         Psychological Assistant. Conducted initial evaluations and assessments. Diagnosed
         and developed treatment plans. Provided individual and family psychotherapy to
         children, adolescent and adult victims of crime mainly for treatment of depression,
         anxiety , posttraumatic stress disorder (PTSD) , domestic violence, sexual, physical and
         emotional abuse, in Spanish and English. Complied with documentation requirements of
         the State of California. Prepared written reports for social workers, attorneys and other
         professionals.
LOS ANGELES COUNTY SUPERIOR COURTS                                                       1994 - 2007
         Interpreter and Translator. Court interpreter, certified by the State of California and
         the Administrative Office of the United States Courts (State and Federal certification) .
         Approved translator for the County of Los Angeles.
CAREER ADVANCEMENT CENTERS - Los Angeles, CA                                             1991 - 1994
         Bilingual Vocational Rehabilitation Counselor. Managed a large caseload. Provided
         counseling to Spanish and English speaking injured workers. Conducted vocational
         testing. Prepared vocational rehabilitation plans for state approval. Provided job
         development services. Implemented rehabilitation plans and supervised clients. Wrote
         periodic progress reports. Conducted training workshops in English and Spanish.

EDUCATIONALLY RELEVANT PUBLICATIONS
     Degrati , C. A . (2009) . Maps to the soul: Stories Latinas tell of their migration journey,
             Saarbruken, Germany: VDM Publishing House Ltd.
PRESENTATIONS AND LECTURES
         Office of the Federal Public Defender, Los Angeles, CA . “Psychological Trauma”
         Nov 2008
         Pacifica Graduate Institute, Carpinteria, CA . “Multicultural Issues in Psychotherapy”
         May 2009
         Office of the Public Defender, Los Angeles, CA . “Mitigation Investigations in Latin
         America” Oct 2009
         Public Defender’s Office, Clark County , NV. “Mitigation with Mexican Nationals”
         April 2011
         Public Defender’s Office, Washoe County , NV. “Mitigation with Mexican Nationals”
         April 2011

PROFESSIONAL MEMBERSHIPS
         American Psychological Association (APA) - Division of Law and Psychology (41, APA)
         Los Angeles Psychological Association (LACPA)
         California Psychological Association (CPA)
         Global Association for Interpersonal Neurobiology Studies (GAINS)




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            7                Mt                                                CERTIFICATION
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 I,                                                , swear or affirm that the Harris County Auditor may rely upon
 the information contained above to make payment according to the fee schedule adopted by the Board of District
 Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or affirm
 that I have not received nor will 1 receive anything of value for representing the accused, except as otherwise
 disclosed to the Court in writing.
 SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE                                                                                                             AY OF                            A.D. 20


 Approved
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      M)            Dates of court appearances listed on claim ?
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                                   IN CAMERA MOTION -

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                                                                QHE DISTRICT COURT OF
THE STATE OF TEXAS

v.s.
                                             §
                                             §
                                             §
                                                          ^JpARRIS
                                                            I

                                                                       COUNTY, TEXAS
                                             §
JEFFREY KEITH PREVOST                        §              351ST JUDICIAL DISTRICT

       DEFENDANT’S MOTION FOR PAYME                    OF MITIGATION SPECIALIST

TO THE HONORABLE JUDGE OF SAID CO

                COMES NOW, JEFFREY                H PREVOST, the Defendant in the above-styled

and numbered cause, by and through his attorney of record, R. P. CORNELIUS, and respectfully

requests the Court to grant this request for out of court expenses for the following good and

sufficient reasons:

                              o;                 I.

        Defendant is chargedwith capital murder.

                                                 n.
        Defendant is in need of additional funds to cover the out of court expenses to obtain a

Mitigation Specialist.

                                                 m.
        This request is based on the need to obtain testimony from a material witnesses on the

question of mitigation.

        WHEREFORE, PREMISES CONSIDERS, Defendant, JEFFREY KEITH PREVOST,

prays that the Court grant this motion in camera and order that such costs as are necessary be paid

by the state.                                                       Chris Daniel
                                                                    District Cleric
                                                                    MAY 1 "i 20ft
                                                           Time:
                                                                     Harris County, Texas

                                                                          Deputy            0001945
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 218 of 368




                                                Respectfully submitted,




                                            Q   .P. CORNELIUS
                                           /j 2028  Buffalo Terrace
                                              Houston, Texas 77019
                                              (713) 237-8547
                                              State Bar No. 04831500

                                                COURT APPOINTED
                                                ATTORNEY FOR DEFENDANT




                                                                          0001946
 Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 219 of 368



                                            NO. 1307219

THE STATE OF TEXAS                            §                                ISTRICT COURT OF
                                              §
V.S.                                          §                        S COUNTY, TEXAS
                                              §
JEFFREY KEITH PREVOST                         §                  1ST JUDICIAL DISTRICT
                                                            7
                                                            (/

                                           ORDER

       On this   |W       day of                           , came on to be heard DEFENDANT’S

MOTION FOR PAYMENT OF MITIGATION                         IALIST and it is the Order of the Court that

said motion should be granted.
                                                                      £>   -
                                                                           2
       It is the Order of the Court that       iunt of       /
                                                                 VL        , is approved for payment

to Gina T. Vitale, LMSW for out of coujt expenses consistent with this motion.


   )

                                                              * VL~ Q\
                                                      Judge, 351st District Court
                                                      of Harris County, Texas




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                                                                                               0001947
    Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 220 of 368




f




    Billing Date; 04/15/14

                                SERVICE AND EXPENSE SUMMARY
                                                                                                     yin* .


                                               FROM: 9/15/12 TO: 4/15/14

                                                     CASE NO.                       m$w      ;\ S5
                                                                                              No


            STATE OF TEXAS V JEFFERY KEITH PEEYOST
                                                                                        V.
                                                                                        "


                                                                                    #
    PROFESSIONAL SERVICES
     DATE                 TIME                       ACTION TAKEN
    09/17/12              05                         Case Review
    09/20/12              0.25                       Case Review
    10/01/12              3.75                       Retard
                                                       ._  j
                                                             _Review & Case Research
                                                               \   Is / v   .   '
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    11/ 21/12             3.5                        Client Interview
    11/14/12              1.75                       Case Research; Document Production; Witness Location
    11/15/12              1                          Document Production & Case Research
                                             ,. vv
    11/19/12              2                          Record Requests
    11/21/12              0.5                 V?     Records Requests
    11/28/12              0.5                        Records Requests
                                      ..r;
                                      '
     11/30/12             0.25                       Records Requests
     02/19/13             0.25:::; e?                Record Requests
     02/20/13             05                         Record Requests
     02/25/13             0.75                       Record Request
     02/26/13             1                          Record Request
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     02/ 27/13            >15
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                                                     Records Management
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     03/01/13             2.25                       Record Review
     03/03/13             2.25                       Reviewing Attorney Motes; Memo to Attorney
     03/08/13             1.5                        Records Management
     03/08/13             0.75                       Memo to Attorney
     03/13/13             1,0                        Records Management; Document Production
     03/14/13             1.5                        Records Management; Document Production
     05/14/13             1.5                        Records Requests & Management
     05/23/13             0.5                        Records Requests
     05/24/13             0.25                       Records Requests
     06/13/13             0.25                       Records Collection
     06/17/13             0.75                       Witness Contact; Record Collection
     06/18/13             0.75                       Record Collection
    2429 Bissomsst St. #24                                                                                        Phone; (832) 316-8796
    Houston, Texas 77005        .                                                                                   Fax; (832) 550-2233
                                                                                                                                          0001948
    Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 221 of 368


                                                  Gina T. Vitale, LMi
*
    06/20/ 13          0.25                       Witness Contact                       rc
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    6/25/13            4.0                        Witness interviews
    7/1/13             .75                        Records Collection
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    7/3/13             1.5                        Witness interviews          v.
                                                                              *




    7/7/13             , 75                       Record Collection
    7/8/13             4.25                       Witness interviews W
     7/19/13           1                          Memo to Attorney
     7/25/13           .25                        Memo to Attorney C;:
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     8/22/13
     11/4/13
                       .75
                       2.25
                                                  Witness Locatiog
                                                                  ^^
                                                  Witness location; Memo to Attorney
     11/6/13           .25                        Memo to Attorney
     11/11/13          1.75                       Memo to Attorney
     11/25/13          1.25                       Attorney Consultation; Memo to Attorney
     12/2/13           1.25                       Attorney Consultation
     12/9/13           1.2S                       Record Collection; Document Preparation for Expert
                                                  Witness
     12/10/13          1                          Record Collection
     12/13/13          1.75                       Witness Location
     12/14/13          .75                        Witness interviews
     12/16/13          .25                        Expert Witness Consultation
     12/17/13          1.25                       Witness Location & Contact
     12/19/13          4.25                 Sv,   Witness interviews
     12/20/13          3.5          'V
                                                  Witness location & interviews
     1/2/14                            V>
                                       ,
                                                  Client interview; Attorney Consultation; Record Review;
                                   .
                                   • NO'
                                                  Memo to Attorney
     1/3/14            1.25 *  -                  Attorney Consultation
     1/4/14            1,25                       Attorney Consultation; Expert Witness Consultation &
                   t
                       0                          Record Requests
     1/5/14                                       Witness Location
     1/6/14            2.75                       Witness Location & Contact; Document Production for
                                                  Expert Witness
     1/7/14            1.5                        Attorney Consuitation; Record Retrieval
     1/8/14            1.25                       Witness Research; Memo to Attorney
     1/9/14            .5                         Record Requests
     1/10/14           ,   5                      Witness Correspondence
     1/12/14           1.25                       Witness interview
     1/14/14           1.5                        Memo to Attorney; Attorney Consuitation
     1/15/14           .75                        Record Review; Expert Witness Consultation
     1/23/14                                      Record Review; Record Request Follow-up; Document
                                                  Production
     1/24/14           2                          Record Review; Record Request Follow up; Document
                                                  Production
    2429 Bissonnet St #24                                                                    Phon®; (832) 316-87%
    Houston, Texas 77005                                                                       Fax: (832) 550-2233
                               6W                                                                                    0001949
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 222 of 368


                                                    Gin* T. Vitale, LMSW
                                                                                        V   .
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1/29/14                        5.25                 Attorney & Investigator Consultation
1/30/14                        2.5                                                  >
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                                                    Witness Contact; Records Request Follow up; Document
                                                    Production
1/31/14                        4.25                 Record Request Foiiow-up; Record Retrieval; Document
                                                    Production for Expert Witness
2/4/14                         .5                   Record Retrieval      #1       Mm



2/5/14                                              Witness Interview
2/7/14                         5.25                 Witness interview; Client interview; Witney Contact
2/10/14                        5.5                  Memos to Attorney; Document Update; Record Review
2/11/14                        3, 25                                       -
                                                    Record Request Foffow up; Memos to Attorneys;
                                                    Witness Interviews; Attorney Consultation
2/12/14                        1.75                 Attorney Meeting; Witness Travel Arrangements
2/13/14                        1.75                 Witness location; Witness Travel Arrangements
2/14/14                        .5                   AttorneyConsuitation
2/15/14                        2.5                  Record Review
2/16/14                        5.25                 Client interview; Witness location & Contact; Family
                                                    Contact
2/17/14                        1.5                  Attorney Consultation; Client Contact
2/18/14                        7                    Witness location & Interviews; Record Requests &

2/19/14                        3.25
                                                          -
                                                    Foliow up
                                                    Witness location & Interviews; Record Review
2/20/14                        2,25                 Document Production; Record Requests; Witness
                                                    Interview
2/21/14                                             Document Production; Attorney Consultation; Case
                                              v:>
                                                    Research; Expert Witness Correspondence
2/24/14                        2.75 *               Record Review
                                          '
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2/25/14                                             Record Review; Document Production; Expert Witness
                           &                        Correspondence             .
2/ 26/14      N    >
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                       3*                           Record Retrieval
                           ?
2/27/14                ?
                               1.5                  Expert Witness Consultation; Record Retrieval
3/1/14                         5.5                  Attorney & Expert Witness Consultation; Client
                                                    interview
3/2/14                         .75                  Expert Witness Consultation
3/3/14
3/5/14
                               2
                               .75                  Record Requests
                                                                           -
                                                    Record Request Falfow up

3/6/14                         4                    Video Statement Reviewed
3/ 7/14                        .75                  Document Production
03/10/14                       1.5                  Attorney Consultation/correspondence
03/12/14                       4.25                 Record Requests; Document Production; Witness
                                                    location & Interview
 03/13/14                      0.75                 Memo to Attorney & Witness location
 03/14/14                      1.25                 Memo to Attorney & Witness Research
2429 Bisscumet St #24
Houston, Texas 77065                 n.zs                                                       Phone: (832) 3 I 6-87JXS
                                                                                                  Pax: (832) 550-2233
                                                                                                                           0001950
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 223 of 368
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03/15/14                2                               Memo to Attorney                 )>

03/18/14                4.5                             Witness Interviews; Witness Travel Arrangements;
                                                        Document Production & Correspondence w/ Expert
          >                                             Witness                                              .

03/18/14               1                                TDCj & investigator Correspondence
03/19/14                7.25                             Witness Travel Arrangements; Witness & Expert
                                                         Correspondence; Expert Consultation
03/20/14                3.25                             Witness location & Trave! Arrangements
03/21/14                0.25                             Attorney Consultatlon/correspondence
03/21/14                5.5                              Witness Interviews; TOO Correspondence; Witness
                                                         Travel Arrangements; Witness Correspondence
03/22/14                2.5                              Attorney Consultation; Memo to Attorney; Expert
                                                         Witness Correspondence
03/23/14                2.7S                             Attorney Consultation; Document Production; Memo to

03/25/14                1.75
                                                         Attorney
                                                                   ^
                                                         Witness interview; jExpert Witness Correspondence
03/26/14                5                                Attorney & Expert Witness Consultation
03/27/14                3.7S                             Attorney Consultation; Witness Travel Arrangements;

03/27/14
03/28/14
                        0.75
                        6.0
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                                                        l ftness Correspondence
                                                         Record Review
                                                         Court; Witness interviews; Attorney Consultation;
03/29/14                0.75                        x    Witness Correspondence
                                                :VV,
03/31/14                7.5             - ; s;
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                                                         Attorney Consultation; Record Review & Document
                                                        Production
                        12.5 ^;v
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04/01/14
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                                                        Court; Attorney Consultation; Witness Interviews;
                            ,p :>T                      Expert Witness Consultation; Witness Correspondence

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04/02/14                10.25*                          Court; Witness Interviews; Expert Witness Consultation;
                                                        Attorney Consultation; Witness Correspondence



                   —
04/03/14      .v
               ,
                        7.75
                       'N
                                                        Court; Attorneys Expert Witness Consultation; Witness
              v\                                        Contact
                       77
                        Total Service hours * 262.25 % $75.00/ Hour * $10,668.75
EXPENSES
DATE                   EXPENSE                              COST
11/12/12               .5 hours Travel                                                                              $18.75
11/12/12               20 miles Travel                                                                              $11.20
2/7/13                 Document                                                                                     $56.00
                       Reproduction
2/7/13                 Document                                                                                      $2.27
                       Reproduction
6/8/13                 Certified Mail                                                                                $5.65
2429 Bissonnet St #24                                                                                  Phone: (S32) 3 i 6-8796
Houston, Texas 77005                                                                                                    -
                                                                                                         Fax:(832) 550 2233
                                                                                                                                 0001951
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 224 of 368




6/25/13          2.25 Hours                                                        $84.75
                 Travel
6/25/13          110 Miles Travel
                                                                 ^:-
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                                                                                   $61.60
                                                            77


7/7/13           Postage                                                            $6.11
7/8/13           3.5 Hours Travel                           ML                     131.25
7/8/13           170 Miles Travel                                                  $95.20
12/10/13         Parking                                                            $5.00
12/19/13         3 hours Travel                     <>  v
                                                   s v >>                         $112.50
12/19/13         110 Miles Travel                    *                             $61.60
12/19/13         lodging                                                           $68.41
12/20/13         .5 hours travel
                                               *                                   $18.75
12/20/13         15 Miles Travel                                                    $8.40
1/6/14                                                                             $24.00
1/7/14           Parking
                                          \\
                                                                                    $5.00
1/9/14           Document                                                          $20.00
                 Reproduction          M  .

1/13/14          Document                                                           $59.82
                 Reproduction &
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1/18/14                       sss    V?
                                                                                   $39.95
1/29/14          Parking       £                                                    $7.00
1/31/14          Parking                                                            $5.00
2/5/14           75 Hours Travel
                 ,                                                                 $28.13
2/5/14           30 Miles Tbivei                                                   $16.80
2/7/14           Parking
                        v>
                                                                                     $2.00
2/10/14          . 25 Hours Travel                                                  $9.38
2/12/14          .5 Hours Travel                                                   $10.75
2/12/14          15 chiles Travel                                                   $8.40
2/12/14          Piping                                                             $2.00
2/16/14          .75 Hours Travel                                                  $28.13
2/16/14     \\
                 26 miles Travel                                                   $14.56
2/17/14          1.5 Hours Travel                                                  $56.25
2/17/14          70 miles travel                                                   $39.20
2/17/14          Parking                                                            $7.00
2/18/14          2.5 Hours Travel                                                  $93.75
2/19/14          6.5 Hours Travel                                                 $293.75
2/21/14          .5 hours Travel                                                     18.75
2/27/14          Postage                                                            $88.92
3/1/14           .5 hours travel                                                    $18, 75
3/1/14           15 miles travel                                                     $8.40
3/ 2/14          . 5 hours travel                                                   $18.75
3/2/14           15 miles travel                                                     $8.40
3/7/14           Postage                                                            $17.45
2429 Bissonnet St #24
       .
Houston Tex® 77005
                                                                              <        --
                                                                        Phone: 832) 316 8794
                                                                          Pax; (832) 550 2233
                                                                                                0001952
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 225 of 368


                                     Gina T          .                       LMSW


3/11/14         Postage                                                                                                    $2,03
3/13/14         .5 hours Travel                                                                                           $18,75
3/14/14
3/14/14
                . 25 hours travel
                Parking
                                                                                        -§
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                                                                                                                           $938
                                                                                                                           $7,00
3/17/14         1,25 hours travel                                                      *                                  $46.88
3/17/14         25 Mites Travel                                                                                           $14.00
3/19/14         .5 hours Travel                                                  •vv
                                                                                                                          $18.75
3/19/14         15 miles Travel                                                                                             $8.40
3/ 20/14        .25 hours travel                                                                                            $938
3/20/14         Postage                                                                                                     $7.68
3/21/14
3/21/14
3/25/14
                1 hours travel
                35 Miles Travel
                .5 hourstravel
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                                                                                                                          $37.50
                                                                                                                          $19.60
                                                                                                                          $18.75
3/26/14         , 75 hours travel                                                                                         $28.13
3/26/14         30 Miles Travel                         'XN
                                                                                                                          $16.80
                                                  :;v -V>
3/26/14         Parking                      if                                                                            $5.00
3/27/14         .5 Hours Travel                                                                                           $18.75
3/27/14         15 Miles Travel-                                                                                           $8.40
3/27/14         Parking         iV ^
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                                                                                                                            $7.00
3/28/14         .5 hours Trav4 0.                                                                                          $18.75
3/28/14         12 Miles Travel                                                                                             $6.72
3/28/14         Parking                                                                                                     $5.00
4/1/14          1 hours travel                                                                                             $37.50
4/1/14          30 MiiesTravei
                        »*»
                                                                                                                           $16.80
4/1/14          Parking }                                                                                                   $6.00
4/2/14          Shours Travel                                                                                             $18.75
4/ 2/14          15 Miles Travel                                                                                           $8.40
4/2/14
4/3/14
4/ 3/14
4/ 3/14
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                jaggs
                              —
                   hours Travel
                 25 Mites Travel
                Parking
                                                                                                                            $6.00
                                                                                                                           $18.75
                                                                                                                           $14.00
                                                                                                                           $20,00
4/4/14          .75 Hours Travel                                                                                           $28.13
4 / 4 / 14      26 Miles Travel                                                                                            $14,56
4/4/14          Parking                                                                                                     $6.00
                                                                             TOTAL EXPENSES <* $2,233,27

                                    TOTAL TIME AND EXPENSES « $21,902.02




2429 Bissconet St #24                                                                                          Phone: (832) 314-8796
Houston, Texas 77003                                                                                                          -
                                                                                                                 Fax: (832) 550 2233
                                                                                                                                       0001953
     Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 226 of 368
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         I swear or affirm the attaclIRi      <        *
                                                      invoice aSISately                                                docitoibnts the time that I
         spent on this ease         .                                                                                        s C...;-
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                                                                                                                                             Gina T. Vitale, LMSW
                                                                                                                       .y

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                                                                                                                                              Mitigation Specialist
                                                                                                           Vy


         SWORN TO AND SOBSCRfflED befiwe fee on the
            jf
             A , 2014.
                                                                                  ,;Vs < >
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                                                                                                                                                     ^       day of

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          ROBERT A. RSfJfWO
          My Gsrsmissioft EspSrss
                  * .
              M 2t 2S1S                           :
                                                      A-v   :



    •w                                   Payppi is due upon receipt
                                        PteaSPiake check payable to:
                                         AJ   Gina T„ Vitale
                                           2429 Bissonnet St #24
                                            Houston, TX 77005




     2429 BisaotHMR St #24
     Houston, Tsxss 77965                                                                                                                                 Phone: (852) 336-8796
                                                                                                                                                            Fax: (832) 550*2233

                                                                                                                                                                                  0001954
 Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 227 of 368

                         13847940101C / Court: 337



              HARRIS COUNTY DISTRICT COURTS TRYING CRIMINAL CASES
                                FAIR DEFENSE ACT
       ALTERNATIVE PLAN FOR APPOINTMENT OF COUNSEL TO INDIGENT DEFENDANTS

                                             FEE SCHEDULE

Attorney’s Fees

Harris County pays attorneys appointed in district courts either per hour, per court appearance, or
per court appearance plus out-of-court hours .

Trial Level Assignment and Payment Limitations

A term assigned lawyer can be assigned up to five clients a day. A term assigned lawyer cannot
accept any other trial level appointments for the period of the term . Any cases reset beyond the
term of the attorney’s assignment will be paid on an individual case assignment basis .

An attorney should not sign on as a limited term attorney in one court when he has an appointed
matter in another court on the same day, except that an appointed trial setting in one court will
not prevent an attorney from accepting a limited term appointment in another court on the same
day .

An attorney appointed to be the limited term attorney in one court who is called to trial in
another court should immediately notify the first court that he will not be available the rest of the
week.

An attorney can accept two individual case assignments per day .

An attorney being paid on the basis of court appearances can be paid for up to four cases per day
for court appearances that occur on or after July 1, 2010 . Attorneys can be paid for up to three
cases per day for court appearances that occurred prior to July 1, 2010. “ Cases” in this context
means different defendants or a defendant with cases arising from different transactions, i . e.,
different offense reports .

Limits on. clients and / or eases above are waived for vouchers submitted since August 2$, 2017,
                                  -
until further notice during post Harvey displacement of courts and dockets. Attorneys may
accept two limited term assignments in one dav for a morning and afternoon docket hut mav not   ,


accept two limited term assignments for two morning dockets in the same day nor two afternoon
                                         -
dockets in the same day, during post Harvey displacement of courts and dockets.

Two or more cases tried in a single proceeding are paid as a single case.

                                                 Page 1 of 4
   Effective 9/1/07; Modified 3/5/08, 7/1/10, 8/1/11, 8/27/13, 09/15/2015, 09/23/2015, 11/01/2017, 03/01/2019
                                                                                                         0001955
 Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 228 of 368




Two or more cases tried in one proceeding are paid as one appeal .

The attorney’s pay rate is based on his certification level and the level of the offense charged,
without consideration of enhancements . If the offense level drops, the attorney will be paid at
the higher rate for the entire course of the representation .

Appointed attorneys and attorneys seeking public funds for investigative or expert assistance
must submit a voucher to the appointing Court in the format specified by the Harris County
District Courts Administrative Office, including registering to submit vouchers electronically.
Appointed attorneys and attorneys seeking public funds for investigative or expert assistance
must follow all procedures for payment required by the Harris County Auditor .

All vouchers must be submitted to the appointing Court within 21 days of disposition of the
matter or the attorney’ s withdrawal, unless good cause is shown .

Hourly

Cases paid on an hourly basis have no presumptive maximums. Hours are billed in six -minute
increments rounded to the nearest such increment. Attorneys are compensated on the basis of
time spent working on the case whether that time is in or out of court. The attorney is
compensated for only one case at a time. For example, if the attorney is in court on two cases, he
allocates his time between those two cases for billing purposes; he does not bill for two cases .
There is no bi -lingual supplement on cases paid on an hourly basis .

All district courts pay hourly for capitals, post-conviction proceedings, and argument in the
Court of Criminal Appeals .

The rates are as follows :

$150/hour                                              $125/hour

Capital First Chair                                    Capital Second Chair


$100/hour                                                $75/hour

11.071 Writ of Habeas Corpus                             DNA Motion
Capital Appeal                                           11.07 Writ of Habeas Corpus
Capital Motion for New Trial                             Non -Capital Appeal
Capital Petition for Discretionary Review                Non -Capital Motion for New Trial
Capital New Brief after PDR Granted                      Non -Capital Petition for Discretionary Review
Capital Court of Appeals Oral Argument                   Non-Capital New Brief after PDR Granted
Court of Criminal Appeals Oral Argument                  Non -Capital Court of Appeals Oral Argument




                                                 Page 2 of 4
   Effective 9/1/07; Modified 3/5/08, 7/1/10, 8/1/11, 8/27/13, 09/15/2015, 09/23/2015, 11/01/2017, 03/01/2019
                                                                                                         0001956
 Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 229 of 368




Beginning January 1, 2016, some courts will pay hourly for all individual case assignments. The
rates are as follows:

1st degree                                                  $120
2nd degree                                                    95
3 rd degree, state jails felonies, motions, contempt          75

Per Court Appearance

For all other cases, all district courts pay per court appearance or per court appearance plus out-
of -court hours with presumptive maximums . The courts may appoint and pay the attorney on
the basis of an individual case assignment or a term assignment. The rates are as follows:

Individual Case Assignment              Daily   Rate / Presumptive Max        Out of Court / Presumptive Max

Non -Trial
First Degree                                      $255 / $1275                      $120 (per hour) / $2400
                                                  $205 / $820                        $95 (per hour) / $1140
Second Degree

Third Degree
State Jail Felony
                                                  $155 / $465                        $75 (per hour) / $750
Motion to Revoke Probation
Motion to Adjudicate Guilt
Contempt

Pre-Trial Hearing w/ Testimony
                                                      $350
PSI Hearing

Bilingual Supplement                               $50 / $250

Trial

First Degree
                                                      $550
Second Degree                                         $450


Third Degree
State Jail Felony                                    $350
Motion to Revoke Probation
Motion to Adjudicate Guilt




                                                 Page 3 of 4
   Effective 9/1/07; Modified 3/5/08, 7/1/10, 8/1/11, 8/27/13, 09/15/2015, 09/23/2015, 11/01/2017, 03/01/2019
                                                                                                         0001957
 Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 230 of 368




Term Assignments (Daily, Weekly,
                                                                Presumptive Max
Term)                                           Daily
                                                                For Weekly/Term
  First Degree
                                                $440             $2200
  Second Degree
                                                $400             $2000
  Third Degree
  State Jail Felony
                                                $360             $1800
  Motion to Revoke Probation
  Motion to Adjudicate Guilt

A request to exceed the presumptive maximum will not be considered except upon written
request providing adequate justification .

Investigators   and Experts

Investigators on non-capitals are paid at a uniform rate of $40/hour at a maximum of $600 per
case, unless good cause shown . For capital cases, investigators are paid $75/hour.

Investigators and experts must be licensed in accordance with applicable State law.

Experts are paid on a case-by -case basis per Harris County guidelines.

Bills submitted by investigators and experts must document the dates and time spent on the case
and must be sworn to or affirmed as accurate. The following oath would suffice: “I swear or
affirm that the attached invoice accurately documents the time that I spent on this case.”

Investigators and Experts seeking direct payment must follow all procedures for payment
required by the Harris County Auditor, including submitting a vendor identification number on
invoices.

Travel and Expenses

Paid per Harris County guidelines. Receipts must be provided.




                                                 Page 4 of 4
   Effective 9/1/07; Modified 3/5/08, 7/1/10, 8/1/11, 8/27/13, 09/15/2015, 09/23/2015, 11/01/2017, 03/01/2019
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 231 of 3684/9/2021 2:08 PM
                                                              Marilyn Burgess - District Clerk Harris County
                                                                                   Envelope No . 52315599
                  13847940101C / Court : 337                                               By : E Lane-Orton
                                                                                   Filed: 4/9/2021 2: 08 PM

                IN THE 337 TH JUDICIAL DISTRICT COURT
                        HARRIS COUNTY, TEXAS

                                    AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §               Writ No.
                            §               Trial Court Case No:
                            §              1384794
                            §
                Applicant . §               CAPITAL CASE
                            §
                            §
                            §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
               EXHIBITS 111 THROUGH 120
                                    Jeremy Schepers (Texas 24084578)
                                    Supervisor , Capital Habeas Unit
                                    David Currie (TX 24084240)
                                    Naomi Fenwick (TX 24107764)
                                    Assistant Federal Public Defender
                                    Office of the Federal Public Defender
                                    Northern District of Texas
                                    525 S. Griffin St ., Ste . 629
                                    Dallas, Texas 75202
                                    jere my _schepers@fd .or g
                                    (214) 767 - 2746
                                    (214) 767 - 2886 (fax)

                                    Counsel for Obel Cruz -Garcia



                                                                                  0001959
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 232 of 368

                 13847940101C / Court: 337




               EXHIBIT 111




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                                    Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 246 of 368




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                                      Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 247 of 368




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 248 of 368

                 13847940101C / Court: 337




                   EXHIBIT 112




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           Case 4:17-cv-03621
             Case               Document
                   4:17- cv~03821        89-13
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Reid, Chris
From:                           Cailis, Leah (DCA) < leah_caftis@ j:ustex;net >
Sent;                           Thursday, December 29 2016 11:11 AM
                                                         ^
To:                             DeAngelp,,Lori
Subject;                        RE: Obel Cruz Garda




From: DeAngelo, Lor! [mailto : DEANSELO_LORJ@dao.hctx,net]
Sent: Thursday, December 29, 2016 11:09 AM
To: Caltls, Leah (DCA) < Leah_Gatlis@Justex ,net>
Subject; Obei Cruz-Garcia

Good morning, Do you know if Judge Magee signed our findings or did her own yet?




                                                            35
                                                                                     Exhibit A
                                                                                       0001977
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 250 of 368

                 13847940101C / Court: 337




                   EXHIBIT 113




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Reid, Chris

From:                               Use,TMataise
Sent:                               Thursday, October S 201 & 7;T6 PM
                                                           ;


To;                                 Remande?., Glorias
Subject*                            Ameiita
                                      -r.
                                            letter
Attadsments:                                 letter,doex


Please send this letter to JC Castillo tomorrow for me, 1 -wilf leave a signed copy in your chair .


Thanks

Natalie




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                                                                                                      Exhibit B 001
                                                                                                              0001979
      Case 4:17-cv-03621
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Bclimb HIM                                                                                     Juslice ( 'enter
First Assistant                                                                      1201 Fraaidia Suite 609
                                                                                                      ^
                                                                                   Houston, Texas 77002 -1901
                                                                                                  '




                                       HARRIS COI . NTY DISTRICT ATTORNEY
                                                  DEVON ANDERSON


                                                   August 8, 2019


     j, C . Castillo
     Attorney ai I.aw
     The Lyric Center
     4401xnusiana Ste 1 550
              .                    ,

     Houston,-> XX

                  Re:          Anadira Rodnenex


     Greetings:


             I am sending this letter to acknowledge that your client, Angeiita Rodriguez, served
                                       .


     as a very important witness lo the 2013 trial of a capita! murder case where the death
          .
                                              :
                                                              ‘




     penalty was being sought The defendant in that ease was Ms. Rodriguez s ex- hushand.
                                                          .
                                                                                        '



     Ms, Rodriguez testified against him; despite the feet that he had made very credible threats
     to her safety and the safely: of her laimiy members in the past. 1 anl v ery appreci a ti ve of Ms.
     Rodriguez s willingness to testily trutliihlly in this ease cfespi ie the feet that she had real
                       5



     concerns for the safety of her family.

     Should you have any questions about this matter or need limiter mfomiatiofl from me                  .5


     please contact me at


     Best Regards,




     Natalie Tise
     Assistant Di sttic-t Attorney
                   ,       .   .


     CMe£ Public Integrity Division


                                                                                            Exhibit B 002
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 253 of 368

                 13847940101C / Court: 337




                   EXHIBIT 114




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Case 4:17-cv-03621
  Case  4:17- cv~03621Document 89-13
                        Document 43-1 Filed
                                       Filedon
                                             on01/05/23
                                                10/ 20/ 20ininTXSD
                                                               TXSD Page
                                                                     Page254
                                                                          1 ofof24
                                                                                 368
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      1.
      j                                       REPORTER * S RECORD

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                                        VOLUME 6 OF 9 VOLUMES

      3                             TRIAL COURT CAUSE NO , 1364839

      4                      n OURT   OF APPEALS NO .                                - 4 - 14 - 00142 - CR
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      c.


      6        ROC E LIO AVILES - BARROSO                                            IN THE DISTRICT COURT
      r
      7               Appellant                                               )
                                                                              )
      d


    9          VS ,                                                           ) HARRIS COUNTY , TEXAS
                                                                              )
  10

  11           THE     C
                       o TATE   OF TEXAS                                      )
                                                                              )
  12                  App e 11 ee                                                    337 TH JUDICIAL DISTRICT

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  16                                 GUILT - INNOCENCE PROCEEDINGS

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  18

  19

  20                  On the 31 st day o -F January ,                                      o 014 ,
                                                                                           Zl            the following

  21          proceedings came on                 o be heard in the above ent i 11 ed

  22          and numbered cause before the Honorable Renee Magee ,

              Judge presiding , held in Houston , H arris County , Texas ;

  24                  Proceedings reported by computer - aided

  25          transcription/stenograph shorthand .




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Case 4:17-cv-03621
  Case  4:17- cv~03621Document 89-13
                        Document 43-1 Filed
                                       Filedon
                                             on01/05/23
                                                10/ 20/ 20ininTXSD
                                                               TXSD Page
                                                                     Page255
                                                                          2 ofof24
                                                                                 368
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      1                            May this witness be excused ?

    z                              MS . TISE :    v es ;          Your Honor .

      3                            THE COURT :       You may step down , sir .

      4                            Please call y o u r next .

      oit                          MS . TISE :         -
                                                  ITf !1I vI 0
                                                             I
                                                                 State will call Ray Castro .

      6                            THE BAILIFF :                 The witness has not been
      "7
            sworn , Your Honor .

                                   THE COURT :       Thank you , Your Honor .

    9                              ( Witness sworn )

  10                               THE COURT :       v O U may proceed .

  11                                             RAY CASTRO ,

  12        having been first duly sworn , testified as follows :

  13                                      DIRECT EXAMINATION

  14        BY MS. TISE :

  15             Q.    Would you introduce y o u r s e l f                  o the jury ,

  16        please , sir ?

  1   "7         —.
                 r>
                 A     Yes .        My name is Ray Castro .

  18             Q.    And what do you do for a living ?

  19             —.
                 r>
                 A     I ' m a lawyer .

                 Q.     -
                       r.
  20                          V       What kind of law

  21                        ly ?

  22             A.    Specifically , I practice criminal                        i   aw .

                 Q.    And is your practice primarily h ere in the

  24        Harris    ounty courthouse ?

  25             —.
                 r>
                 A     Yes , ma f am , it is .




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Case 4:17-cv-03621
  Case  4;17- cv-03621Document 89-13
                        Document 43 ~1 Filed
                                        Filedon
                                              on01/05/23
                                                 10/ 20/ 20ininTXSD
                                                                TXSD Page
                                                                      Page256
                                                                           3 ofof24
                                                                                  368
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    1
                Q.        And ; in     p
                                           ac   /       you ' ve known Mr . Brown for years     .
    z s
    /**

          have vou not ?
                     j




    3           —
                r>
                A    .    We have been colleagues .

    4           Q.        How long do you think you have known him ?
    it
    o           —
                r>
                A    .    Twenty - five p ! us vears .
                                                    '


                                                           j




    6           Q.        And you are                          n ies   as members o p the
    " 7
          criminal defense bar ?

                A.        That f s correct .

    9           Q.        And you' ve known me a long time ?

  10            A.        That f s correct .

  11            Q.        How long do you think you have known me ?

  12            A.        About the same time , if not more .

  13            Q.        Okay .     A n d y o u a 1 so k no w J u d g e M a g e e ?

  14            it   .    I do .

  15            Q.        You are a regular here in the courthouse ?

  16            it   .    Yes , ma 't am .

  17            Q.        A respected and experienced criminal defense
    "




  18      lawyer?

  19            —.
                n
                A         Yes , ma 'f am .

  20            Q.        I want to ask you if at some point in                         ime   you

  21      w ere appointed to represent an individual by the name of

  22      r-* armelo     Martinez Santana ?

                A.        Yes , I w as .

  24            Q.        And who appointed you?

  25            A    .    I believe I was appointed by Judge Guerrero .




                                                                                        0001984
Case 4:17-cv-03621
  Case  4:17- cv~03621Document 89-13
                        Document 43-1 Filed
                                       Filedon
                                             on01/05/23
                                                10/ 20/ 20ininTXSD
                                                               TXSD Page
                                                                     Page257
                                                                          4 ofof24
                                                                                 368
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                   Q.             Okay .    — na     vou were going to represent him in
                                             n
      1                                     A
                                                 1

                                                     j




    z   s
      /**

            his capacity as a witness , were you not ?

      3            —.
                   A
                    r>
                                  That ’¥ s correct        *




      4            Q.             Is it fair to say that y o u were appointed
      Li
            almost immediately ?                         Pretty much as soon as he got here ,

      6     the Court was notified that he was here and he needed an
      " 7
            a11 o r n e y ?

                   A,             Yes .     To the best of my recollection , I think

    9       that was the case .

  10               Q.              -
                                  r.
                                       V    And what did you do after you got tha

  11        appointment ?

  12               A.             During that time , I remember I was in a trial

  13                     f   so        didn' t get to see him until probably a

  14        least about two or three weeks later down the road , but

  15        I did have an int erview with him .

  16               Q.              -
                                  r.
                                       V    And did you kin H of apprise y o u r s e 1 f ,

  1   " 7
            basically , of why he was here and what was going with

  18        the case prior to that time ?

  19               —.
                    r>
                   ii             Yes , I did .

  20               Q.             And when you went to see h i m , d i d y o u g o a 1o n e ?

  21               —.
                    r>
                   ii             I did .

  22               Q.              -
                                  r.
                                       v    And did you talk to him , 'without going

            into what you said , basically about what his rights are ?

  24               A.             Definitely , ye s .

  25               Q.             Okay .    Because you were appointed to protect




                                                                                     0001985
Case 4:17-cv-03621
  Case  4:17- cv~03621Document 89-13
                        Document 43-1 Filed
                                       Filedon
                                             on01/05/23
                                                10/ 20/ 20ininTXSD
                                                               TXSD Page
                                                                     Page258
                                                                          5 ofof24
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      1     his rights ?

    z           A,    That f s correct .

      3          Q.   An d that ’ s the sole reason you were appointed ?

      4         A,    That f s correct .

      oIt        Q.   Was he charge H with a crime a               the time ?

      6         A,    At the time as far as             know , no .
                                                              7




       7
                 Q.   Okay .     r\ ther   than the federal time that he was
      "




            completing ?

    9           —.
                A
                 r>
                      Other than that .        He already had a          convic    i o n.


  10             Q.   Has he been charged with a crime since ?

  11            —.
                A
                 r>
                      To my knowledge at this point , no .

                 Q.    -
                      r.
  12                       v     E a r l y on you learned that he had given a

  13        statement to the FBI

  14            A.    That f s correct .

  15             Q.        m Pennsylvania ?

  16            A.    Yes , he did .

  1              Q.   Making himself a witness on this case ?
      "7



  18            A.    That f s correct .

  19             Q.   And you knew this was a c a p i t a l murder case ?

  20            A.    That f s correct .

  21             Q.   And the penalties were               are very serious ?

  22            A.    That f s correct .

                 Q.   And I ' m sure 2vou talked to him about that ?

  24            A.    We did .

  25             Q.   At some point during that time period do 2vou




                                                                               0001986
Case 4:17-cv-03621
  Case  4:17- cv~03621Document 89-13
                        Document 43-1 Filed
                                       Filedon
                                             on01/05/23
                                                10/ 20/ 20ininTXSD
                                                               TXSD Page
                                                                     Page259
                                                                          6 ofof24
                                                                                 368      Q7




      1      recall being contacted by me and asking if we would be

    z /**s

             able        o Cf o and' int ervi ew Rudy ?

      3             —.
                    r>
                    A       Yes ,

      4             Q.      And did you arrange for that to happen ?
      It            —.
                    r>
                    A       That ' s correct , I did .

      6             Q.      And were you present during that interview ?
      " 7           —.
                    r>
                    A       I was present , as far as              know , in all of the

             interviews that w e had , ye s ,

    9               Q.      Right    «      You and one or both of my investigators

  10         and another attorney , Justin Wood , on some cases ?

  11                —.
                    r>
                    A       r*   orrect .

  12                Q.      But you were always there when we would meet

  13         with him ?

  14                A.      That ’r s correct , yes , ma ?’ am .

  15                Q.      L>   n o r to our meetings with him , had you kin H        Of

  16                                           basically , to determine what Rudy ’ s

  1   " 7
             intentions were as far as                estifying on this case ?

  18                A,      I think he made that known to me immediately

  19         that first time that I interviewed him as to the purpose

  20         that he was here .

  21                Q.      And what was h i s intention ?

  22                A,

                    Q.      Okay .       And did you talk to him about some of

  24         the consequences of him testifying?
                    —n
  25                A.      I did tell them the consequences of how that




                                                                                0001987
Case 4:17-cv-03621
  Case  4:17- cv~03621Document 89-13
                        Document 43-1 Filed
                                       Filedon
                                             on01/05/23
                                                10/ 20/ 20ininTXSD
                                                               TXSD Page
                                                                     Page260
                                                                          7 ofof24
                                                                                 368
                                                                                                            98



      1     could very well affect him down the road if , in fact ,

    z   s
      /**

            c h arges were pending .                Whatever may have happened , that

      3     definitely would             r
                                         < \
                                         U
                                         .     e held against him and it would not be

      4     in his best interest .
      If
                   Q.    Okay .         And did he persist

      6     testified anyway ?
      " 7          —.
                   r>
                   A     II e d i d .

                   Q.     -
                         r.
                                 v      In fact , was he fairly stubborn about

    9       that ?

  10               A.    He was insistent to do that .

  11               Q.    And did he tell you why?

  12               A.    Yes .        He t o 1 d

  13                                 MR . BROWN :     Obiection.                    Calls for h e a r s a y .

  14                                 THE COURT :      That ’ s sustained .

  15               Q.    ( By Ms . Tise ) Did you talk to him about things

  16        like , w h en you testify in a situation like this it could

  1   " 7
            be dangerous for y o u at some point , sometimes other

  18        inmate will retaliate ?

  19                                 MR . BROWN :     Judge , w e « r e going to object .
                                                                       5




  20        That ’ s starting to get into attorney - client privilege .

  21                                 THE COURT :      I w ill                  ow       little bi *- o f
                                                                  '    ‘

                                                                   !       I



  22        it .     I 111 allow a                             as long as it doesn ’ t call

             or h ea r sa 2v .

  24                                 MS . TISE :     M a y we approach on that ?

  25                                 THE COURT :      Y es .




                                                                                                   0001988
Case 4:17-cv-03621
  Case  4;17- cv-03621Document 89-13
                        Document 43 ~1 Filed
                                        Filedon
                                              on01/05/23
                                                 10/ 20/ 20ininTXSD
                                                                TXSD Page
                                                                      Page261
                                                                           8 ofof24
                                                                                  368
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                                 ( At the Bench , on the record )

    z   s
      /**

                                 MS . TISE :    Mr . Brown can ? t invoke t h e

      3     a11 o r n e y c   leriL


      4                          THE COURT :           understand .
      :
      c
      o                          MS . TISE :    And so , I understand you are

      6     allowing me to go there , but I iust want                              IN       case
      " 7
            there ’ s further objections on that point

                                 MR . BROWN :                       T   ?
                                                                            m not invokincf it .

    9

  10                             MS . TISE :    Mr . Castro can invoke it .

  11                             MR . BROWN :       My objection was that it '? s

  12        b a s i c a l l y hearsay and he ' s going into attorney - client

  13        privilege .        What he talks about with his client is

  14        supposedly between him and his client .

  15                             THE COURT :        Well , that ? s true as             1   ong as
                                                                                        ‘




  16        he ? s waiving it .       And you may want to ask him that ,                           i F
                                                                                                   "   "   *




  1   ” 7
            he is , but I ' m still not going to let you go into

  18        hearsay about what the defendant said .                          0k a y ?
                                                y
  19                             MS . TISE :         a az r e e .
                                                        >




  20                             ( Open cour ^( defendant and jury present }\

  21              Q.     ( By Ms . Tise ) I will ask you , Mr . Castro , Rudy

  22        knows that you ? re going to testify , does he not ?
                  —.
                  A
                   r>
                         He was aware o p that , y es .

  24              Q.     And does he have any objection to that ?

  25              —.
                  A
                   r>
                         No , h0 does not .




                                                                                             0001989
Case 4:17-cv-03621
  Case  4:17- cv~03621Document 89-13
                        Document 43-1 Filed
                                       Filedon
                                             on01/05/23
                                                10/ 20/ 20ininTXSD
                                                               TXSD Page
                                                                     Page262
                                                                          9 ofof24
                                                                                 368
                                                                                              uu



    1          Q.    Okay .       And so ,          n   O   y o u about your

      s
    z
    /**

          meetings with him , what were some of the                   hings that you

    3     expressed to him              not his responses , but what you

    4     expressed to him about             hings that he ought to think
    It
    o     about be fore d o i n g this ?

    6          A.    Initially , we had gone over h i s         "

                                                                    v e r s i o n.     It
   '
    7
          was over a period of m a y b e a couple of hours or so .                          And

          soon after we met after that , we definitely would g o

    9     over the options , consequences , the range of punishment ,

  10      whatever was involved here , as well as every time I

  11      always emphasized to him , you know , there ’ s some                       serious


  12      dangers here in you wanting to test
                                            ! fy and procee H to

  13      want to do that .         His response was constantly that he

  14      wanted to do it .

  15           Q.    And those dangers included possible danger from

  16      retaliation from other inmates ?

  17
   '
               —.
               A
                r>
                     If they found out about what he was doing , ves .

  18           Q.    And possibly saying something that would lead

  19      to him b e i n g c h a r g e d with a crime ?

  20           A.    That was mv
                               2 primary concern for him , is being

  21      charged with another offense , which could very well

  22      happen.

               Q.    And you explained that to him ?

  24           A.             n     V


  25           Q.    And he persisted that he wanted to do this ?




                                                                                0001990
Case
 Case4:17-cv-03621
       4:17 ~ cv-G3621Document
                       Document89-13
                                 43 -1 Filed
                                       Filedon
                                             on01/05/23
                                               10/ 20/ 20in
                                                          inTXSD
                                                            TXSD Page
                                                                 Page263  of24
                                                                      10 of 368
                                                                                                 101



      1           —.
                  n
                  A     Yes ,         Yes , marf am .

                  Q.
        s
   z  /**


                            J   "




      3           —.
                  n
                  A     L)r i r t i a r y    reason         e v e r y time I ’ ve talked     o

      4     him , his primary , he wants to get i                         o ft his conscienc e

      oIT   and tell the truth .                    That ' s primarily what he was

      6     saying .

        7
                  Q.    And did he ever ask y o u :                     Should I answer the
      "




                                             U   ions     certain way so that I 'won ’ t be

   9        charged?     Did he ever do that ?

  10              A,    No , never .

  11              Q.    Did he ever ask you                   -F or   advice on what ?’ s   going

  12        to make me , you know , get drug into this case as far as

  13        the law of parties or anything like that is concerned ?

  14              A,    No .        Our primary convers at ions w e r e             mainly

  15        confined to what actually had happened .

  16              Q,    Right .              And his story to you was consistent ?

  1   " 7         —.
                  r>
                  A     That '¥ s correct .

  18              Q.    And you were here when he testified in the last

  19        trial ?

  20              A,    I 'was .

  21              Q.    And was it consistent with what he had said

  22        before in our m e e t i n g s ?
                  —.
                  r>
                  A     Yes , it was .                  At the last trial and our prior

  24        meetings , yes .

  25              Q.    Okay .              And because you 'were going to testify in




                                                                                        0001991
Case
 Case4:17-cv-03621
       4:17 ~ cv-G3621Document
                       Document89-13
                                 43 -1 Filed
                                       Filedon
                                             on01/05/23
                                               10/ 20/ 20in
                                                          inTXSD
                                                            TXSD Page
                                                                 Page264  of24
                                                                      11 of 368
                                                                                           102



    1                             you were unable to be present          or h 1 s "




      s
    /**

    Z     t e s t i m o n y this time ?

   3              —
                  r>
                  A    .   That ’¥ s correct .

   4              Q.       But h e ¥ s always been very consistent in h1" s
    it
    o     story ?

   6              A.       Yes , ma ¥ am .
                                      1




                  Q.       An d h e never said :       How do I     e i i my story so
   '
     7



          that I don' t get into any trouble ?

   9              —
                  r>
                  A    .   That '¥ s correct .

  10              Q.       I-I is s t o r y w as just what his s t o r y w as ?

  11              —
                  r>
                  A    .   That '¥ s correct .

  12              Q.       When we 'would come meet with him , 2vou 'were

  13      a 1'ways present ?

  14              A.       Yes , ma 't am .

  15              Q.       Sometimes you would help translate , would you

  16      not ?

  17”             —
                  r>
                  A    .   Yes .

  18              Q.       You are a fluent Spanish speaker?

  19              —
                  r>
                  A    .   Yes , ma ¥ am , I am .

  20              Q.       And did you or he ever tell us that we couldn' t

  21      ask him                         that there was s o m e t h i n g off limits ?

  22              A.       No .

                  Q.       11 was a 1 ways wide open ?

  24              A.       Yes , ma 't am .

  25              Q.       And was this all in accordance with the way




                                                                                      0001992
Case
 Case4:17-cv-03621
       4:17 ~ cv-G3621Document
                       Document89-13
                                 43 -1 Filed
                                       Filedon
                                             on01/05/23
                                               10/ 20/ 20in
                                                          inTXSD
                                                            TXSD Page
                                                                 Page265  of24
                                                                      12 of 368
                                                                                     103



      1     Rud y wanted it t o b e ?

   z             A.     Yes , ma ’¥ am .

      3          Q.     At any poin           in time did you and I or y o u and

      4     a n y member of the D . A. ¥ s o f -F ice
                                                  -i  ever talk about a deal

      oIf   for Rudy in exchange for his test irony ?

      6          A.     No , ma ¥ am
                                   *
                                         *



       7
                 Q.     Did Rudy ever ask you to talk to us about a
      "




            deal ?

   9             —.
                 r>
                 A      No .

                 Q.      -
                        r.
  10                           v       As far as y o u ’ re concerned , has there

  11        ever been any assurances to you or anyone that he

  12        wouldn' t be charaed with a crime if the evidence led us

  13        that direction ?

  14             A.     No , ma '¥ am .      No t e v e n explicitly or implicitly .

  15             Q.     And as far as y o u know , I could charge him with

  16        a crime tomorrow if the evidence led me in that

  1   "7
            O



  18             A.     Which was my concern if he testified ; ives .

  19             Q.     Sure .         But     and you explained tha     to him ?

  20             A.     Very much so , ives .

  21             Q.     And he did not ask for or wan             any ass u ranees

  22        from us ?
                 —.
                 r>
                 A      He continued to want to               he insisted on

  24        testifying .

  25             Q.     He is still in custody , correct ?




                                                                            0001993
Case
 Case4:17-cv-03621
       4:17 ~ cv-G3621Document
                       Document89-13
                                 43 -1 Filed
                                       Filedon
                                             on01/05/23
                                               10/ 20/ 20in
                                                          inTXSD
                                                            TXSD Page
                                                                 Page266  of24
                                                                      13 of 368
                                                                                    104



      1          —.
                 n
                 A    Yes , ma 'f am .

   z             Q.   And why is that ?

      3          —.
                 n
                 A    As       ar as I know , he was finishing out his

      4     federal sentence and I think he completed it , and a e ¥ s       J.J.




      oit   still here .

                 Q.    -
                      r.
      6                    V      And he ' s here because he is a material
      "7
            witness on                   murder case ?

                 A,   That ¥ s correct .

   9             Q.   And there is a process for that called a

  10        material witness bond , isn ’ t there ?

  11             —.
                 r>
                 A    That '¥ s correct .

  12             Q.   And because he           because he ’ s persisting in

  13        wanting to t e s t i f y , we put that material witnes s bond in

  14        place and that ’ s keeping him in cus           O d V?

  15             —.
                 r>
                 A    That '¥ s correct .

  16             Q.   Is it your understanding that once the material

  1         witness bond is lifted then h e will be deported back to

  18        his homeland , the Dominican Republic ?

  19             —.
                 r>
                 A    Immigration procedures will definitely start

  20        soon thereafter .

  21             Q.   And if we didn ’ t have a witness bond in place ,

  22        the feds would have deported him and w e wouldn' t h ave

            him available for trial ?

  24             A.   Immediate 1 y .

  25             Q.   So , that ’ s 'why we have         o keep him in cus o d y ?




                                                                          0001994
Case
 Case4:17-cv-03621
       4:17 ~ cv-G3621Document
                       Document89-13
                                 43 -1 Filed
                                       Filedon
                                             on01/05/23
                                               10/ 20/ 20in
                                                          inTXSD
                                                            TXSD Page
                                                                 Page267  of24
                                                                      14 of 368
                                                                                        105



      1            —.
                   r>
                   A     That ’¥ s co r rec t .

   z               Q.    Because ; otherwise , the feds are going to take
      /**s




      3      him and we ¥ re going to lose him ?

      4            A.    Right ,
      it
                   Q.    I-I e wants to go back to the Dominican Republic ,

      6      do esn ' t he ?
      " 7          —.
                   r>
                   A     1-I e is prepared to go .         So , yes .

                   Q.    An d 1 oo king for wa r d    o   .u eing   with his fami 1 y

   9         and seeing them again?

  10               A.    That '¥ s correct , yes , ma ?’ am .

  11               Q.    And you' ve explaine H to him , because h e ¥ s been

  12         willing to testify in this case , that ' s what ’ s keeping

  13         him in custody?

  14               A.    Yes .     He' s aware o     that .

  15               Q.    And he continues          o wan      to testify .

  16                             THE COURT :      s that

  1   " 7
                                 MS . TISE :

  18               A.    Yes .

  19               Q.    ( By Ms . Tise ) Does he continue to want to

  20

  21               —.
                   r>
                   A     Yes .     He will stay as long as necessary .

  22               Q.    Is it      air to say that , in fact , in the last

                                            had been charged with capital

  24         murder ?

  25               —.
                   r>
                   A     Yes ,




                                                                               0001995
Case
 Case4:17-cv-03621
       4:17 ~ cv-G3621Document
                       Document89-13
                                 43 -1 Filed
                                       Filedon
                                             on01/05/23
                                               10/ 20/ 20in
                                                          inTXSD
                                                            TXSD Page
                                                                 Page268  of24
                                                                      15 of 368
                                                                                                          106



      1                            MR   c   BROWN :    Objection , Your Honor

   z    s
      /**

                  A.       Yes .

      3                            MR   c   BROWN :            that ’ s hearsay .

      4                            THE COURT :         H ang tigh                 a minute when one of
      it
            the   i    awyers stand up , Mr , Castro .                    I k no w you k no w t h a t ,

      6     but didn ’ t be too quick to answer                       i F
                                                                      "   "   *


                                                                                  a    Jv   r stands up    *



      ” 7
                                   THE WITNESS :          v es ; ma « am .

                                   THE COURT :         Thank you .                 Please proceed .

   9                               MS . TISE :        I ' m so rr 2v .            I didn' t hear 2vour

  10        ri             Did you sustain it ?

  11                               THE COURT :         Well , h0 had already answered

  12        the question.

  13                               MS . TISE :        Okay .      I ’ m so rr 2v .

  14                               Pass the witness .

  15                                          CROSS - EXAMINATION

  16        BY MR . BROWN :

  1     7
                      Q.   What ' s the other reason for a material witness
      ”




  18        bond ?

  19              —.
                  A
                      r>
                           To assure that he ’ s here , he stays here .

  20                  Q.   So , h e can ’ t run?

  21              —.
                  A
                      r>
                           That could be another reason , too .

  22                  Q.   If he gets deported , that ' s the same as

            running , correct ?

  24                               MS . TISE :        i ’ ll    object to that .              It ’ s no

  25        the same as running .




                                                                                                0001996
Case
 Case4:17-cv-03621
       4:17 ~ cv-G3621Document
                       Document89-13
                                 43 -1 Filed
                                       Filedon
                                             on01/05/23
                                               10/ 20/ 20in
                                                          inTXSD
                                                            TXSD Page
                                                                 Page269  of24
                                                                      16 of 368
                                                                                  107



      1                        THE COURT :      I will sustain the
        s
      /**

      Z     mischaracterization.

      3          Q.     ( By Mr . Brown ) If he was H sported ; h e f d be home

      4     where he wanted to be , right ?

      oit        —.
                 r>
                 A      That could be implied ; ves ,       j




      6          Q.     He ’ s running , correct ?
      " 7        —.
                 r>
                 A      He is not here , not present ,

                 Q.     Now , y o u were appointed to be his attorney once

   9        he was brought into Houston , Harris County ; Texas ; is

  10        that correct ?

  11             —.
                 r>
                 A      Yes , sir .

  12             Q.     You were not aware of anything that was said to

  13        him in 1 998 -      no      ' 97 by the first investigators that

  14        went to talk to him in Orlando , Florida ; is that

  15        correct ?

  16             A.     No ,    was not aware of that .

  1              Q.     S o , y ou don ' t know if anything was said to him
      " 7



  18        about what could happen to him , what deals could be

  19        made ; you don' t know a n y of that kind of information?

  20             A.     I 'was no     aware .

  21             Q.     When he was talked to again in Pennsylvania ,

  22        you weren ’ t there at that time ?
                 —.
                 r>
                 A      I was not present .

  24             Q.     So , you don ' t know      F
                                                   "   *


                                                           any deals   anything

  25        that was said about his testimony , y o u weren' t aware o




                                                                           0001997
Case
 Case4:17-cv-03621
       4:17 ~ cv-G3621Document
                       Document89-13
                                 43 -1 Filed
                                       Filedon
                                             on01/05/23
                                               10/ 20/ 20in
                                                          inTXSD
                                                            TXSD Page
                                                                 Page270  of24
                                                                      17 of 368
                                                                                          108



      1     what his                                      f   what his statement 'were ;
        s
      /**

      Z     is that correct ?

      3           —.
                  r>
                  A         Just what happened h ere m Harris County and

      4     wha t h e had s aid .
      Li
                  Q.        Ri qht   «     But the question is :      You saw his

      6     transcript of his statements made to the FBI in
      " 7
            Penns ylvania , correct ?

                  A,        I think I saw it later on after I had been

   9        appointed to represent him , but , initially ; I was not

  10        aware of that .

  11              Q.        N O W,   y
                                     J
                                       o u ' ve   been with him on one or many

  12        occasions when the D .A . went to talk to him about his

  13        testimony ?

  14              A.        Yes .        I believe about three times , if I ' m not

  15        mis t a ken .

  16              Q.        Was that three times before Obe 1' s trial ?

  1   " 7         —.
                  r>
                  ii        I think before Obel ' s trial , it micfht have been

  18        t wice .

  19              Q.        And one time before this trial ?

  20              A.        That f s correct .

  21              Q.        Now , I ' m just going to             y o u talked   to him

  22        about the consequences of testifying , correct ?
                  —.
                  r>
                  ii        Right .

  24              Q.        You talked to him about the consequences o

  25        changing his story ,                  oo ,    ?




                                                                                   0001998
Case
 Case4:17-cv-03621
       4:17 ~ cv-G3621Document
                       Document89-13
                                 43 -1 Filed
                                       Filedon
                                             on01/05/23
                                               10/ 20/ 20in
                                                          inTXSD
                                                            TXSD Page
                                                                 Page271  of24
                                                                      18 of 368
                                                                                                 109



      1            —.
                   r>
                   A    That ’¥ s co r rec t .

                   Q.
        s
   z  /**

                        So , if he changes his story in any way , h e aoes

      3     to prison , correct ?

      4            A.   Well , I 1 ve always admonished him about perjury
      it
      O     issues also .

      6            Q.   What ' s the difference between explicit and
      " 7
            implicit deals ?

                   A.   Explicit is coming right                     forthright a nd

   9        coming out and saying them .
                                                                     -   \7
                                                                         i    is something you

  10        can read between the lines .

  11               Q.   Now , he was never given an explicit dea 1 ; is

  12        that correct ?

  13               —.
                   r>
                   A    That '¥ s correct .

  14               Q.   He hasn' t been charged with capita i murder , has

  15        he ?

  16               A.   As far as        know , no .
                                                 7




  1                Q.   What is the implicit deal then regarding his
      " 7



  18        testimony in these two trials ?

  19               —.
                   r>
                   A    Implicitly , I don ’ t think                     w e haven ’ t e v e n

  20        gotten close to even discussing any kind of resolution

  21        as to his status other than just testifying .

  22               Q.   If he testifies the 'way the State wants him                             o

            testify and tells the story the same way and

  24        consistently , does h e        cfo       home ?

  25               —.
                   r>
                   A    At this point , if                    like I said earlier , if he




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Case
 Case4:17-cv-03621
       4:17- cv-03 S 21Document
                        Document89-13
                                  43 ~1 Filed
                                        Filedon
                                              on01/05/23
                                                10/ 20/ 20in
                                                           inTXSD
                                                             TXSD Page
                                                                  Page272  of24
                                                                       19 of 368
                                                                                   110



         1s    finish e d with his federal sen enee , immiaration                  of

   z     course , assuming that he ' s let go from here , released

   3      rom Harris County ; then immediately has to go under

   4     immigration proceedings .
    it
    o.
                Q.     And the Dominican Republie is home , right ?

   6            A.     As far as        know , yes .

                Q.     So , he gets to go home , right ?
   " 7



                A.      That f s correct .

   9            Q.     A11 right .      N o w , w e f ve done this     or many ,

  10     many , many , many , many , many years , correct ?
                —.      Y e s,   sir.
                r>
  11            A

  12            Q.     All right .      An d a lot o -F what you talk to a

  13     client about                                         co - defendants and

  14     co de f endants f a11 o r neys, correct ?

  15            —.
                r>
                A       That '¥ s correct .

  16            Q.     All right .      And it ' s a i s o privileged as to the

  17
   "
         D . A. ¥ s office , c orrect ?

  18            A.     Definitely , ye s .

  19            Q.     Did you go over the police report with your

  20     c i ient ?

  21            —.
                r>
                A       The police report meaning the incident report

  22     prepare!        or this particular case here ?              I don' t recall

         that I did g o over i t extensively wit h him .                 I think

  24     mainly        went over the          his version of what happened .

  25     And         think I had sort o       like a s ynop sis o f what




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Case
 Case4:17-cv-03621
       4:17 ~ cv-G3621Document
                       Document89-13
                                 43 -1 Filed
                                       Filedon
                                             on01/05/23
                                               10/ 20/ 20in
                                                          inTXSD
                                                            TXSD Page
                                                                 Page273  of24
                                                                      20 of 368
                                                                                           ill



      1     actually transpired .          think I got probably the

   z    s
      /**

            first     the original report .        That ’ s basically it , but

      3     as far as supplements , no .

      4          Q.   Did he tell you that they were in a blue car
      If
            when they went and did this act on September 30 th and

      6     the e a r l y morning of October 1 st , 1992 ?
      " 7
                            MS . TISE :                   Calls for        ea r sa y .
                                                                        J.J.




                            MR . BROWN :       believe s h e ? s opened up the
                                                                                       p
   9        door ; Judge , as far as attorney - client privilege ; as                      ar

  10        as hearsay .     believe he has testified already                    I¥m

  11        just asking-

  12                        THE COURT :     Well , Mr . Brown , as to h ea r sa 2v

  13        that is sustained .     If y o u                 o impeach

  14        Mr . Carmelo Martinez Santana with something tha                   w as

  15        said to this witness , then just set it up             or

  16        impeachment and I wi 11 allow that .

  1              Q.   ( By Mr . Brown ) Did he tell you why                            car
      " 7



  18        that t h e y used had sand and dirt in it when it 'was

  19        returned to Charlie ?

  20             A.   I don ’ t recall him saying 'why , but I do

  21        remember him saying , yes , it did have some dirt .

  22             Q.   Did he tell you that he and Obel had the knife

            that nicfht ?

  24             A.   I don ’ t recall if he said he had it , but                     do

  25        remember that Obel        h e said Obel had it .




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                                                                 Page274  of24
                                                                      21 of 368



      1           Q.   Did he tell you that Obel was the only person
      /**s

      Z      with a weapon tha           night ?

      3          —.
                 A
                  r>
                       I believe ; yes , that is what he had told me ; if

      4      I remember correctly .             I ' m not sure .        can' t tell you
      It
      o       or a fact .

      6           Q.   Did he tell you that when he went to Diana
      " 7
             Garcia ' s home he knew what was cooing to h appen?

                 A.    I don ’ t remember if it was before or after they

   9         had left Diana Garcia ' s home .

  10              Q.   What ' s the definition o -F 1 aw o               parties ?

  11                           MS . TISE :                         That ' s calls for a

  12         legal conclusion .

  13                           MR   c   BROWN :    K e f s a lawyer ,   V   our H onor .

  14                           MS . TISE :        That ' s true , but

  15                           THE COURT :         That ' s sustained .

  16                           Members of the jury , you will be instructed

  1   " 7
             on what the law of parties is and how it applies for y o u

  18         to apply it to the facts in this case .

  19                           You may procee H

  20              Q.   ( By Mr . Brown ) Did you explain to your c                    ienL


  21         the differences between law of parties ,                   conspiracy ,       and

  22         a n y other forms of        i   egal consequences as        CT   person who '? s

             at a criminal event ?

  24             A.    Yes .

  25              Q.   You did talk to him about the difference




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                                                                 Page275  of24
                                                                      22 of 368
                                                                                       113



      i     between law of parties , conspiracy , accessory ,

      z     unindicteel co                         all those things ,

      3     you?

      4            A.   Everything was explained to him with regards to

      oit                           " .
            how this could affect h irti

      6            Q.   Did you have conversations               and I ’ m not
      "7
            asking what you said , but did you have conversations

            outside o      the presence of your client with the district

   9        a11orney's o f fice ?

  10               A,   As far as making arrangements for meetings and

  11        scheduling purposes .          And I think there may have been

  12        some other         h i n g s , but I don' t think it was   very
                                                                          J


  13        relevant to the case that '¥ s being tried or any o                  the

  14        cases that 'were b e i n g tried .

  15               Q.   Did you ever go to the D .A . ¥ s office and ask

  16        for a deal ?

  1   "7           —.
                   r>
                   A    No .

  18               Q.   Did they come          o y o u and say there would be no

  19        deals ?

  20               A.   No .

  21                            MR . BROWN :    Pass the witness .

  22                            THE COURT :     Thank y o u .

                                Any t hin g further , Ms . T i se ?

  24                            MS . TISE :    No , Your Honor .

  25                            THE COURT :     May the witness be excused ?




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                                                                 Page276  of24
                                                                      23 of 368
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      1                      MS . TISE :    Y es f Y o u r H onor   c




   z    s
      /**

                             MR . BROWN :    v es ,   Your Honor .

      3                      THE COURT :     Step dov/ n.     Thank you ,

      4     Mr . Castro .
      it
                             Please call your next .

      6                      MS . TISE :    State calls Kerry
      " 7
                             THE COURT :     Please raise your right hand .

                             ( Witness swo r n )

   9                         THE COURT :     Please be seated .

  10                         V   ou may proceed , Ms . Tise .

  11                                     KERRY GILLIE ,

  12        having been first duly sworn , testified as follows :

  13                                  DIRECT EXAMINATION

  14        BY MS. TISE :

  15             Q.    State your name , please , sir .

  16             A.    My name is Kerry Gillie .           I ' m a licensed pollc e

  1         officer investigator employe H here at the Harris County

  18        D . A.' s Office .

  19             Q.    Can you tell the jury a little bit about your

  20        backaround ?

  21             —.
                 A
                  r>
                       I have had over 30       years    o -F law enforcement

  22        experience   .   The majority o        that has been in the

            investiaative side .        I retired as a detective from the

  24        Deer Park P .D . and was recruited by the Attorney

  25        Gene r a 1 ¥ s Office to do fraud .       When I was there , after




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                                                                 Page277  of24
                                                                      24 of 368
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      1                        REPORTER ’ S CERTIFICATE

    z      THE STATE OF TEXAS      /

           COUNTY OF HARRIS
      3

      4         I , Mary Ann Rodriguez , Official Court Reporter in
                                                r*
      it
      O    and for the 337 th District               ourt of Harris County , State

      6    of Texas , do hereby c e r t i f y that the above and foregoing
      "7
           contains a true and correc

           portions of evidence and other proceedings requested in

    9      writing by counsel for the parties to be included in

  10       this volume of the Reporter ' s Record , in the

  11       above - styled and numbered cause , a i          i   of which occurred

  12       in open court or in chambers and w ere reported by me .

  13              further certif1 t h a t thb1 S Reporter ' s Record of
                                       \7




  14       the proceedings tru i y and correct 1 y reflects the

  15       exhibits , if any , admitted by the respective parties .

  16            WITNESS MY OFFICIAL HAND               his the 3 rd d a y of March ,

  1   "7



  18

  19

  20
  9   1.
  SUJ J    f s // M a r y An n R o d r i g u e z
           Mary Ann Rodriguez , Texas CSR 3047
           Expiration Date : 12 / 31 / 201 r.-i.'
                                            .   V




           0f ficia 1 C ourt Reporter
  23       33 7 t h C o u r t
           1201 Franklin
  24       Houston , T e x as 77 00 2
           713.755. 7746
  25




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 278 of 368

                 13847940101C / Court: 337




                   EXHIBIT 115




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  HCDistrictclerk.com                                     The State of Texas vs. RODRIGUEZ, ANGELITA                                                                                          10/11/2018
                                                          SANTANA (SPN: 01190928)
                                                          Cause : 061425701010 CDI : 3    Court : 337

  ACTIVITIES
  Date     1 \ |)C                                                                 Description                                                                                               mmmm
  10/29/1993               SENTENCED IN                                            COURT 337 STARTING 10/29/93                                                                                999

  10/29/1993               SENTENCE TO                                             2 YEARS CONFINEMENT

  10/29/1993               CREDIT GIVEN                                            DEFENDANT RECEIVED 78 DAYS CREDIT
  10/29/1993               DELIVERY ORDER                                          RETURNED EXECUTED 06/27/94                                                                                 999
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  10/29/1993                JUDGMENT                                               CONVICTION                                                                                                 999
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   10/29/1993                JUDGMENT                                               GUILTY PLEA-NO JURY
   10/29/1993                JUDG OFFENSE                                           POSS COCAINE LT 28G-CRACK LEVEL F2
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  10/29/1993               PENALTY                                                 TDC AMOUNT 2 YEARS
  ^xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
  09/03/1993               SERVICE ACTIVITY                                        BY PLACING DEF IN JAIL ON 09/02/93
  \\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\

  09/03/1993                                                                       RECEIPTED BY CLERK
  06/03/1993               ACI/BF                                                  TIME 1013 AMOUNT $0                                                                                        998

  06/03/1993                                                                       ACKNOWLEDGED BY SHERIFF
  10/08/1992               MOTIONS                                                 MO DISCL INFOR IDENT                                                                                       998
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  10/08/1992               MOTIONS                                                 FILED CFI 337
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   02/28/1992               MOTIONS                                                 REL PERSONAL PROPTY                                                                                       999

   02/28/1992               MOTIONS                                                 FILED CFI 337
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  02/28/1992               ORDER                                                   OR GRT RELEASE PERSONAL PRO                                                                                999
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  02/28/1992               OFFENSE                                                 POSS COCAINE LT 28G-CRACK LEVEL F2
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  11/20/1991               BOND FILED                                              CRT 337 TIME 0148 TYPE SURETY
  11/20/1991               BOND MADE                                               AMT $25000 DATE 11/19/91 RCPT # 102581
  11/20/1991               BONDSMAN                                                VENEZIA, PASCO BAIL BONDING
  11/15/1991               GRAND JURY ACTION                                       FID 11/15 /91 G338                                                                                         999
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  11/15/1991               GRAND JURY ACTION                                       ROTATION CRT 337 OFF FREQ BND $25000
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   11/15/1991               GRAND JURY ACTION                                       OFFENSE POSS COCAINE LT 28G-CRAC LEVEL F2
   11/15/1991               ORI                                                     ******************** OFFENSE NO:
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   11/15/1991               PRECEPT/SERVE IND DATE                                  HOW EXECUTED E
                             RETURNED 11/19/91
                             DATE SERVED                                            11/17/91
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  11/08/1991               C87 ACTIVITY                                            BOND SET STATUS CFI 337                                                                                    999

  11/04/1991               SERVICE ACTIVITY                                        BY PLACING DEF IN JAIL ON 11/02/91
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  11/02/1991               CMIF                                                    TIME 1000 AMOUNT $0                                                                                        999
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  11/01/1991               COMPLAINT FILED                                         0003 337 POSS COCAINE LT 28G-CRA LEVEL F2
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  11/01/1991               BOND SET                                                $0                                                                                                         999
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   11/01/1991               ORI                                                     HOUSTON POLICE DEPAR OFFENSE NO: 116673491
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  11/01/1991               COMPLAINANT                                             DAVIS




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 280 of 368

                 13847940101C / Court: 337




                   EXHIBIT 116




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           4:17- cv~03821        89-13
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                                                                        Page281 of n368
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                                          FAX TRANSMISSION
                                      FEDERAL PUBLIC DEFENDER
                                           NORTHERN DISTRICT OF TEXAS
                                                   525 Griffin Street, Suite 629
                                                        Dallas, TX 75202
                                     Phone: (214) 767-2746                Fax: (214) 767-2886


                                                                                       t,
                                                                                        '




TO:      Chief of Police                                                COMPANY:                 Houston Police Department

FAX NO.: 713.308.1601

FROM:          Beth Guemmer                                             PAGES (including cover):                              2

  January 25, 2019              Resubmission June 13, 2019

COMMENTS

RE:       Request for Records [My records reflect no response to date]

          In the event a response was generated and submitted, I apologize.
          Please provide to elizabeth_guemmer@fd.org
          Thank you, in advance , for revisiting this request.


          The following correspondence identifies the requested records. Please contact me with any
          questions or concerns. Thank you for your assistance.


          Respectfully

          Beth Guemmer
          Paralegal-Capital Habeas Unit




 CONFIDENTIALITY NOTE; The documents accompanying this fax transmission contain information from the Office of the Federal Public
                                                .
 Defender for the Northern District of Texas The information is confidential or privileged. The information is intended to be for the use of
 the individual or entity named on this transmission sheet If you are not the Intended recipient, be aware that any disclosure , copying,
                                                                         .
 distribution or use of the contents of this fax transmission is prohibited If you have received this fax transmission in error, please notify us by
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                                                                      Page282  of n368
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                          Federal Public Defender
                                 Northern District of Texas
JASON D. HAWKINS                       525 GRIFFIN STREET
Federal Public Defender                     SUITE 629
JOHN NICHOLSON                        DALLAS, TEXAS 75202
First Assistant

JEREMY SCHEPERS                        PHONE (214) 767-2746
Supervisor-Capital Habeas Unit
                                        FAX (214) 767-2886


                                        January 24, 2019


Office of the Chief of Police
1200 Travis
Houston, TX 77002
Fax : 713.308. 1601

Re: Open Records Request
Incident #058851589Q

Dear Chief Acevedo:

The Capital Habeas Unit of the Federal Public Defender-Northern District of Texas is submitting
this interagency request for records per the directions outlined on the website.

The requested records are for the murder of Saul Cedillo Flores, assigned Incident
#058851589Q, with the date of the offense as July 1, 1989. This request includes, but is not
limited to, police investigation reports, supplemental narratives to the reports, Crime Scene Unit
investigative activity and evidence gathering, logging, and chain of custody, identification of
persons of interest, search and/or arrest warrants applied for and/or issued, handwritten notes,
interagency communications, and any other records pertaining to the murder investigation not
otherwise identified .

Thank you, in advance, for the attention given this matter . Please contact me with any questions
or concerns at eIiza.betb _ guemmer@fd . org.

Respectfully,

Beth Guemmer
Paralegal -CHU
Federal Public Defender-Northern District of Texas




                                                                                            0002010
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 283 of 368

                 13847940101C / Court: 337




                   EXHIBIT 117




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                                                                                          1 of 368
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                                                                   CITY OF HOUSTON                                     Houston Police Department
Sylvester Turner , Mayor                                                                           1200 Travis Houston, Texas 77002-8000 713/308 1600           -
CITY COUNCIL MEMBERS: Brenda                            Jerry Davis Ellen - R , Cohen pwight A. Boykins Da*e Msrffri Sieve Le Greg Tmyls Kmte P»$nero$
                                                                                  ,                                                                      Robert Gallegos
MikeLmlai       Martha Gasisx Tatem   -          Mike Knox    OovkS W. . Robinson Mkftnas# Kubosh Amanda- K Edwards- Jack Christie CITY CONTROLLER:       Chris B   Brpwrf




            June 27, 2019                                                                                   Act Acevedo


            The Honorable Ken Paxton
                                                                                                           Chief of Police
                                                                                                                                     '{#
            Texas Attorney General
            ST O . Box 12548
            Austin , Texas 78711-2548      '




            Attention :                        Open Records Division

                            Re;                Public Information Act request: received on him 1.3, 201.9* from Beth Guemmer
                                               requesting the case file related to ffPO Incident //058851589; OR #19-06880

            Dear Genera 1 Paxton

            The Houston Police Department ( the ‘TfepartmenGT received the above referenced request on June 13,.  -
            2019 ( Exhibit 1). By copy of this letter, the department is informing the requestor that the department is.
                                                                            '




            seeking a decision from your office because the - department believes responsive information is excepted
                                                                      '




            from public disclosure pursuant to sections 552 , 101 through 5 S2JS3 of the Government Code, We will
            forward responsive information and our legal arguments under separate cover shortly. Please include OR
                    .
            No 194)6880 in any future correspondence concerning this request.
                                                               '




            Sincerely.
            i
                -
                , '0
                                          yAvmvTOwW'   '"'"*
            V                •X   .
            Jeffrey G , Monlq DBA
            H PD Ad in ini strut ion Manager

            jem :. ke

            Enclosures

            ce:             Federal Public Defender
                            Attn ; Beth Guemmer
                            252 Griffin St., Ste , 629
                            Dallas, TX 752G2
                            Sent via electronic marl: etizab(ifit
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                            (w /o Exhibits)




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 285 of 368

                 13847940101C / Court: 337




                   EXHIBIT 118




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                                                                                      1 of




                                                  CITY OF HOUSTON                                 Houston Police Department
Sylvester Turner, Mayor                                                      1200 Travis     Houston, Texas 77002-6000 713/308-1600

CITY COUNCIL MEMBERS: Brenda Stardig Jerry Davis Ellen R. Cohen Dwight A. Boykins Dave Martin Steve Le Greg Travis Karla Cisneros   Robert Gallegos
Mike Laster Martha Castex -Tatum Mike Knox David W. Robinson Michael Kubosh Amanda K. Edwards Jack Christie CITY CONTROLLER:         Chris B. Brown



            July 3, 2019                                                                    Art Acevedo
                                                                                          Chief of Police

           The Honorable Ken Paxton
           Texas Attorney General
           P. O. Box 12548
           Austin, Texas 78711 2548  -
           Attention:        Open Records Division

                    Re:      Public Information Act request received on June 13, 2019, from Beth Guemmer
                             requesting the case file related to incident #058851589; OR #19 06880           -
           Dear General Paxton :
           This is a follow up to my letter dated June 27, 2019. The Houston Police Department (the
           “Department”) received the above-referenced request on June 13, 2019 (Exhibit 1A). By copy of
           this letter, the Department is informing the requester that the Department believes responsive
           information (Exhibit 2) is excepted from public disclosure under section 552, 108 of the
           Government Code , HPD advises that the information in Exhibit 2 is a representative sample.

                                            Section 552,108 of the Government Code

           Section 552 , 108 of the Government Code provides, in part:

                    (a ) Information held by a law enforcement agency or prosecutor that deals with
                    the detection, investigation, or prosecution of crime is excepted from the
                    requirements of Section 552, 021 if:

                             (1 ) release of the information would interfere with the detection, investigation, or
                                  prosecution of crime[.]


                             (2) it is information that deals with the detection, investigation, or
                                 prosecution of crime only in relation to an investigation that did not
                                 result in conviction or deferred adjudication .




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Honorable Ken Paxton                           July 3, 2019                               Page 2


                                                                                      .
The criminal investigation, attached as Exhibit 2, is inactive: pending additional leads However,
the statute of limitations has not run, The investigation may be reactivated once additional leads
are developed. Release of the investigation would interfere with the detection and investigation
of a crime. Thus, HPD believes the information contained in Exhibit 2 should be excepted from
public disclosure pursuant to section 552.108(a)(1)

The Department respectfully requests a ruling on this matter. Please do not hesitate to contact
me at 713-308-3200 if you need additional information . Please include OR #19-06880 in any
      '




future correspondence concerning this request   *




Sincerely>


               fl.C ' --
Jeffrey C. Monk, DBA
HPD Administration Manager
jcnukse

Enclosures

ce:           Federal Public Defender
              Attn: Beth Gueminer
          .   252 Griffin St., Ste. 629
              Dallas, TX 75202
                                                        ^.
              Sent via electronic mail: eUzabeth gaemmem 'd ovg
              (w/o Exhibits)




                                                                                           0002015
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 288 of 368

                 13847940101C / Court: 337




                   EXHIBIT 119




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                                                    timm
                                                KEN PAXTON
                                           ATTORS' KV OKNKRAl , OV TKXA .S




    September 5 , 2019



    Mr. Jeffrey C, Monk
    Administration Tyfariager
    Houston Police Department
    1200 Jottvis, 21 s! Floor
A
    Houston , Texas 77002-6000
                                                                                                  OR 2019-24820

    Dear Mr. Monk :

    You ask whether certain information is subject to required public disclosure under the
    Public Information Act (the “Act”), chapter 552 of the Government Code. Your request
    was assigned 1 D#7841 76 (OR No. 19-06880).

    The Houston Police Department (the “department”) received a request for information
    pertaining to a specified incident. You claim the submitted information is excepted from
    disclosure under section 552.108 of the Government Code. We have considered the
    exception you claim and reviewed the submitted representative sample of information. *                         .




    Section 552 108(a)( 1 ) of the Government Code excepts from disclosure “[information held
                   ,

    by a law enforcement agency or prosecutor that deals with the detection, investigation, or
    prosecution of crime . . . if: (1 ) release of the information ’would interfere with the detection ,
    investigation, or prosecution of crime . ” Gov’t Code § 552.108(a)( 1 ). Generally , a
                       ,




    governmental body claiming section 552.108(a)( 1 ) must explain how and why the release
    of the requested information would interfere with law enforcement .                       See hi
    §§ 552.108(a)( 1 ), .301(e )(1 )( A);      also Ex parte Pruitt , 551 S.W.2d 706 ( Tex . 1977 )
                                           ^
    You state the submitted information relates to an ongoing criminal investigation, and
                                                                                                                       ,




    release of that information would interfere with the investigation and prosecution of the
    case. Based upon this representation, we conclude the release of the submitted information
    would interfere with the detection, investigation , or prosecution of crime. See Houston
    I We assume the “representative sample” of records submitted to this office is truly representative of the
    requested records as a whole. See Open Records Decision Nos . 499 ( 1988), 497 ( 1988). This open records
    letter does not reach , and therefore does not authorize the withholding of, any other requested records to the
    extent that those records contain substantially different types of information than that submitted to this office.



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  Mr. Jeffrey C. Monk     - Page 2

  Chronicle Publ ' g Co. v. City of Houston , 531 S. W . 2d 177 (Tex . Civ . App. Houston 114 th
  Disk ] 1975 ) (court delineates law enforcement interests that are present in active cases ) .
  writ refd n. r. e. per curiam, 536 S . W .2d 559 (Tex . 1976). Thus, section 552.108( a )( 1 ) is
  applicable to the submitted information .

  However, we note section 552.108 does not except from disclosure “ basic information
  about an arrested person, an arrest, or a crime.” Gov ’ t Code § 552.108( c ). Section
  552.108( c) refers to the basic “front-page” information held to be public in Houston
  Chronicle. See 531 S. W . 2d at 186-187; see also Open Records Decision No . 127 ( 1976 )
  ( summarizing types of information considered to be basic information ) . Thus, with tire
  exception of the basic information, you may generally withhold the submitted information
  under section 552.108(a)(1 ) of the Government Code.

  However, we note the requestor is a representative of the Office of the Federal Public
  Defender of the Northern District of Texas ( the “ public defender’ s office ”). Section
  411.1272 of the Government Code provides:

          The office of capital and forensic writs and a public defender’ s office are
          entitled to obtain from the [Texas Department of Public Safety ( “ DPS”)|
          criminal history record information [( “ CHRJ ”) ] maintained by the [ DPS ]
          that relates to a criminal case in which an attorney compensated . . . by the
          public defender’s office has been appointed.

  Gov’t Code § 411.1272. In addition , section 411.087( a) of the Government Code provides :

          (a) Unless otherwise authorized by Subsection (e ). a person , agency ,
          department , political subdivision, or other entity that is authorized by this
          subchapter or Subchapter E- l to obtain from the [ DPS CHRI] maintained
          by the [DPS] that relates to another person is authorized to :



                  ( 2) obtain from any other criminal justice agency in this state
                  CHRI maintained by that criminal justice agency that relates
                  to that person.

  Id. § 411.087( a)(2 ). CHRI is defined as “information collected about a person by a criminal
  justice agency that consists of identifiable descriptions and notations of arrests , detentions,
  indictments, informations, and other formal criminal charges and their dispositions.” See
  id. § 411.082(2).

 Accordingly, the requestor is authorized to obtain the CHRI in the information at issue from
 the department pursuant to sections 411.087(a)(2 ) and 411.1272 of the Government Code
 if it relates to a criminal case in which an attorney compensated by the public defender ' s
 office is appointed. See id. § § 411.087(a)(2 ), .1272. Although the department raises section
 552.108 of the Government Code for this information , we note a statutory right of access




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  Mr . Jeffrey C. Monk - Page 3

 generally prevails over the Act ’ s general exceptions to disclosure. See Open Records
 Decision Nos . 623 at 3 ( 1994) , 525 at 3 (1989), 451 at 4 (1986 ) (specific statutory right of
 access provisions overcome general exception to disclosure under the Act ). Therefore, if
 the department determines the submitted information relates to a criminal case in which an
 attorney compensated by the public defender ’ s office is appointed , then the department
 must release the information that shows the type of allegations made and whether there was
 an arrest information , indictment , detention, conviction , or other formal charges and their
           ,


 dispositions. In that instance, with the exception of basic information , the department may
 withhold the remaining information under section 552.108( a ) ( 1 ). Conversely, if the
 department determines the submitted information does not relate to a criminal case in which
 an attorney compensated by the public defender’s office is appointed, then the department ,
 with the exception of basic information, may withhold the submitted information under
 section 552.108(a )(1 ). In either instance, the department must release the basic information
 from the submitted information .

 This letter ruling is limited to the particular information at issue in this request and limited
 to the facts as presented to us; therefore, this ruling must not be relied upon as a previous
 determination regarding any other information or any other circumstances .

 This ruling triggers important deadlines regarding the rights and responsibilities of the
 governmental body and of the requestor. For more information concerning those rights and
 responsibilities, please visit our website at l itt. ps : / / wvvw . texa.s ati:omeviieiK- ml uov / opcn -
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 Government Hotline, toll free, at (877) 673-6839. Questions concerning the allowable
 charges for providing public information under the Public Information Act may be directed
 to the Cost Rules Administrator of the OAG , toll free, at ( 888) 672-6787.

 Sincerely ,



 Britni Ramirez
 Assistant Attorney General
 Open Records Division

  BR/ mo

  Ref:     ID # 784176

  me.      Submitted documents

  c:       Requestor
           ( vv / o enclosures )




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        KEN PAXTON
    ATTORNEY CKN-GRAi. OJ; TEXAS                                                              ii
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     AUSTIN TEXAS 78715 -2548

       .Rifiurn Service Requested



                                               FEREDAL PUBLIC DEFENDER
                                               ATTN : BETH GUEMMER
                                               252 GRIFFIN ST S TE 629
                                                              '




                                               DALLAS TX 75202



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                   EXHIBIT 120




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                                DECLARATION OF JOANNE HEISEY

          I, Joanne Heisey, declare the following:

  1.   I graduated from the University of Texas at Austin ( “ UT” ) School of Law in Spring 2013

       and successfully took the Texas bar examination that summer and was admitted to the

       Texas bar . During law school, I participated in the death penalty clinic and after school I

       obtained a fellowship at what was then known as the Office of Capital Writs ( “ OCW” )

       ( now known as the Office of Capital and Forensic Writs ) . The fellowship was funded by

       UT Law and began in Fall 2013.

  2.   After my initial months with OCW under the UT-funded fellowship, I obtained a further

       one-year fellowship and was then hired by OCW as a staff attorney, beginning in the Fall

       of 2014.

  3.   I worked at OCW until September 2017, when I accepted a position as a Research and

       Writing Specialist with the Federal Community Defender Office in Philadelphia, working

       in the Capital Habeas Unit . I continue to work there as an Assistant Federal Defender .

  4.   I was assigned to Mr . Cruz-Garcia’ s case, alone with another OCW attorney, Robert

       Romig. At the time, staff turnover at the OCW was very high. Prior to my assignment,

       Mr . Cruz-Garcia had been represented by another OCW attorney. Robert Romig

       resigned from the OCW as a staff attorney after we filed an initial application for habeas

       relief on behalf of Mr . Cruz-Garcia.

  5. Neither myself nor Mr . Romig had any prior capital post-conviction experience before

       working at the OCW.

  6.   On August 27, 2015, Mr. Romig and I prepared and filed Mr . Cruz-Garcia’ s initial

       application for habeas relief in the 337 th District Court, Harris County. On May 2, 2016,




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        I prepared and filed a successive application with Gretchen Sween, who had joined the

        OCW at the beginning of 2016.

  7 . At the time I began working on Mr . Cruz-Garcia’ s case, Mr. Brad Levenson was the

        Director of the OCW. He was the first Director OCW had ever had. The office was

        extremely dysfunctional. Attorneys carried a heavy case load and received minimal

        supervision from the Director . Most of my colleagues were inexperienced, having started

        as staff attorneys immediately upon graduating law school and/ or without any capital

        post-conviction experience . This office-wide inexperience, combined with a heavy case

        load, meant that the only potential source of guidance was Mr . Levenson .

  8.    The policies in effect at the time of my representation of Mr . Cruz-Garcia severely limited

        the development of evidence and claims in state post-conviction proceedings . The office

        prohibited attorneys from petitioning trial courts for funding for investigation or expert

        services . This policy required us to rely solely on the office’ s resources, which were very

        limited .

  9.    This policy negatively impacted Mr . Cruz-Garcia’ s case because we were unable to

        conduct an effective investigation of trial counsel’ s performance and effectively challenge

        the State’ s case at trial.

  10.   A single investigator was assigned to Mr . Cruz-Garcia’ s case even though the

        investigation spanned Houston, the Dominican Republic, and Puerto Rico.

  11.   Mr . Cruz-Garcia was born in the Dominican Republic and critical mitigation witnesses,

        including family members, remained there . We also determined that Mr . Cruz-Garcia

        moved to Puerto Rico as a young adult and that critical mitigation and fact witnesses

        remained there as well .




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  12. The OCW         initially resisted our request to approve our investigator to travel to the

         Dominican Republic and Puerto Rico. Our investigator was eventually authorized to

         travel for just five to six days, travel included, to cover both the Dominican Republic and

         Puerto Rico .

  13.    By the time our investigator was authorized, and able to, travel to the Dominican

         Republic and Puerto Rico it was already Spring 2015. Mr . Cruz-Garcia’ s initial

         application was initially due end of May 2015.

  14. Due to     attorneys and investigators’ significant case load at OCW, we could not keep up

         with the cases we were assigned to. Investigations were routinely conducted, and

         applications prepared, very close to the filing date .

  15. I do not recall that we ever discussed seeking out the expertise of a trauma expert to

         inform our mitigation investigation or development of claims .

  16. Based on the office’ s limited capital   post-conviction experience, we did not investigate the

         background of co-defendants and testifying witnesses for the prosecution. As a result, we

         did not attempt to obtain publicly available documents relating to federal proceedings

         against Mr . Santana. We likewise did not investigate Angelita Rodriguez’ s background.

  17. Based on our lack of post-conviction experience and being rushed by our       significant case-

         load, we did not identify a number of record-based claims implicating Mr . Cruz-Garcia’ s

         constitutional rights that are raised in his federal petition .

  18.    Additionally, we did not federalize claims resulting from the State’ s amended DNA

         report, which revealed that much of the DNA evidence upon which Mr. Cruz-Garcia was

         convicted was false, and based on which we filed an unsuccessful successive petition.

  19 .   If called to testify, I would provide the foregoing information and any additional

         information I could recall concerning Mr . Cruz-Garcia’ s case and my work on it .


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I declare under penalty of perjury, as provided in the laws of the United States and in the laws of

                                   __
the State of Texas, that foregoing 4 -page declaration is true and correct and based on my

personal knowledge .
                                                    tHHJUl•
                                                                 17
                                               Jeanne HEISEY

Subscribed by me this 23rd    day of   Novemberjn Philadelphia              County,
Pennsylvania.




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                IN THE 337 TH JUDICIAL DISTRICT COURT
                        HARRIS COUNTY, TEXAS

                                    AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §               Writ No.
                            §               Trial Court Case No:
                            §              1384794
                            §
                Applicant . §               CAPITAL CASE
                            §
                            §
                            §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
               EXHIBITS 121 THROUGH 130
                                    Jeremy Schepers (Texas 24084578)
                                    Supervisor , Capital Habeas Unit
                                    David Currie (TX 24084240)
                                    Naomi Fenwick (TX 24107764)
                                    Assistant Federal Public Defender
                                    Office of the Federal Public Defender
                                    Northern District of Texas
                                    525 S. Griffin St ., Ste . 629
                                    Dallas, Texas 75202
                                    jere my _schepers@fd .or g
                                    (214) 767 - 2746
                                    (214) 767 - 2886 (fax)

                                    Counsel for Obel Cruz -Garcia



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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 300 of 368

                 13847940101C / Court: 337




                   EXHIBIT 121




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                                   DECLARATION OF ADRIAN DE LA ROSA

             I, Adrian de la Rosa, declare the following:

  L I worked at the Office of Capital Writs ( “ OCW” ) (now known as the Office of Capital and

          Forensic Writs) as a mitigation specialist and fact investigator from May 2014 through

          October 2018     *




  2   *   In the Fall 2018, I accepted a position as an investigator in the Capital Habeas Unit of the

          Federal Public Defender for the Western District of Texas     *




  3   *   I did not have any mitigation and fact investigation experience in the capital context before

          being hired by the OCW At the time I joined the office, there were just two other mitigation
                                   *




          specialists There was no supervising mitigation specialist The office was a chaotic work
                   *                                                        *




          environment Mitigation specialists carried a heavy case load with no dedicated supervisor
                       *




          and very little or no experience amongst coworkers    *




  4 The OCW imposed significant limitations on the investigation relating to Mr Cruz-Garcia’s
      *                                                                                 *




          case I was allowed to conduct only one trip, which lasted one week, to cover both the
              *




                                                   *    *           -
          Dominican Republic and Puerto Rico Mr Cruz Garcia was born in the Dominican

          Republic, where a lot of his family still lived, and had then spent a number of years as a

          young adult in Puerto Rico, where he had met his second wife I thought about asking for a
                                                                                *




          second person to be authorized to travel with me because investigating in both the

          Dominican Republic and Puerto Rico was a herculean task, but seeing as I was barely

          approved to travel by myself , there was no question it would have been denied Because these
                                                                                        *




                                       -
          places were where Mr Cruz Garcia had spent his childhood and then established himself as
                               *




          a young adult, there were a lot of witnesses to be interviewed and from whom to get

          declarations, all in a short very short amount of time and having to account for travel time

          between the Dominican Republic and Puerto Rico        *




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   5   *   Although I was able to visit with several witnesses by telephone before my trip, I was not

           able to spend more time with folks in-person to build more rapport I wish the office would
                                                                                   *




           have authorized another trip because family and friends of Mr Cruz-Garcia’s in the
                                                                                       *




           Dominican Republic wanted to help               *




   6 My already limited time to locate and interview witnesses was further cut short by the fact
       *




           that I had to interview witnesses, draft memos to Mr Cruz-Garcia’s *                attorneys, review

           declarations and send them off for translation, and finally signed by witnesses all in that

           single trip This was made even more difficult because I did not consistently have access to
                     *




           reliable internet   *




   7   *   I unfortunately had to cut my trip short by a day due to a family emergency that required

           that I travel back to Texas     *




                                                                                       -
   8 The teams at OCW were so small and had to handle such a high case load, both for attorneys
       *




           and mitigation specialists, that we were not able to conduct a full investigation in our cases,

           including for Mr Cruz Garcia
                                   *   -           *




   9   *   If called to testily, I would provide the foregoing information and any additional information

                                               *       -
           I could recall concerning Mr Cruz Garcia’s case and my work on it       *




I declare under penalty of perjury, as provided in the laws of the United States and in the laws of

the State of Texas, that foregoing 2-page declaration is true and correct and based on my personal

knowledge     *




                                                               Adrian DE LA ROSA


Subscribed by me this .day of 11 /25/2020                         in Travis                County, Texas.




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 303 of 368

                 13847940101C / Court: 337




                   EXHIBIT 122




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                                IN THE 337th DISTRICT COURT
                                   HARRIS COUNTY, TEXAS



                                                    )       Trial Cause No.
        EX PARTE                                    )       1384794
        Obel Cruz-Garcia,                           )
                  APPLICANT                         )
                                                    )
                                                    )


            MOTION FOR DISCLOSURE OF BRADY V. MARYLAND MATERIALS




0\                                               BRAD D. LEVENSON (No. 24073411)
o
                                                 Director, Office of Capital Writs
W>
cd                                               (E-Mail: Brad.Levenson@ocw.texas.gov)
OH
<N
                                                 ROBERT ROMIG (No. 24060517)
r-
oo
0\                                               (E-Mail: Robert.Romig@ocw.texas.gov)
o
o
\
                                                 JOANNE HEISEY (No. 24087704)
Q                                                (E-Mail: Joanne.Heisey@ocw.texas.gov)
=
OH
    3                                            Post-Conviction Attorneys
CJ
a                                                Office of Capital Writs
Q
                                                 1700 N. Congress Avenue, Suite 460
cd
e                                                Austin, Texas 78701
S                                                (512) 463-8600
x/l

Q                                                (512) 463-8590 (fax)
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Q                                                Attorneys for Applicant
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                                IN THE 337th DISTRICT COURT
                                   HARRIS COUNTY, TEXAS



                                                )       Trial Cause No.
         EX PARTE                               )       1384794
         Obel Cruz-Garcia ,                     )
                   APPLICANT                    )
                                                )
                                                )


           MOTION FOR DISCLOSURE OF BRADY V. MARYLAND MATERIALS

               Obel Cruz-Garcia (“Cruz-Garcia”), through his attorneys the Office of
         Capital Writs (“OCW”), seeks copies of any potentially favorable evidence in the
0\       possession of the Harris County District Attorney’s Office, pursuant to Brady v.
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         Maryland. 373 U.S. 83, 87 (1963).
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OH
               Cruz-Garcia was Convicted of capital murder and sentenced to death by this
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o        Court on July 22, 2013. The Court appointed the OCW to represent Applicant in
to
\o
 o       his state habeas corpus proceedings. As part of the statutorily-mandated duty to
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         investigate under Article 11.071 of the Texas Code of Criminal Procedure, Cruz-
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         Garcia requests this Court order the State to disclose any information in its
 cd
 a
 S       possession that may provide grounds for habeas corpus relief. Specifically, Cruz-
 <*)
 <*)
Q        Garcia requests this Court ( 1) order the State to submit information potentially
 o
2        requiring disclosure under Brady v. Maryland for in camera inspection, and (2)
 o
Q

3
         subsequently order any information necessitating disclosure turned over to the
O
 <*)     defense.
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s              In Brady v. Maryland, the Supreme Court held that “the suppression by the
         prosecution of evidence favorable to an accused . . . violates due process where the
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        evidence is material either to guilt or to punishment, irrespective of the good faith
        or bad faith of the prosecution.” Brady , 373 U.S. at 87; see also Harm v. State , 183
        S.W.3d 403, 406 (Tex. Crim. App. 2006) (noting that included within this duty is
        the “disclosure of favorable evidence known only to the police” ). This duty to
        disclose includes any information that could be used to impeach witnesses against
        Cruz-Garcia. United States v. Bagley , 473 U.S. 667, 684 (1985). The State’s
        withholding of exculpatory evidence violates due process if the evidence is material
        to either guilt or punishment, irrespective of whether such information was
        knowingly withheld by the State. Brady , 373 U.S. at 87.
               The Texas discovery statute mirrors these constitutional requirements. See
        TEX . CODE CRIM . P. art 39.14(h) (“[T]he state shall disclose to the defendant any
        exculpatory, impeachment, or mitigating document, item, or information in the

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        possession, custody, or control of the state that tends to negate the guilt of the
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        defendant or would tend to reduce the punishment for the offense charged.”). This
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OH      statute also explicitly extends this requirement to materials not discovered by the
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0\      State until after trial. TEX . CODE CRIM. P. art 39.14(k) (“If at any time before,
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        during, or after trial the state discovers any additional document, item, or
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    3   information required to be disclosed under Subsection (h), the state shall promptly
5       disclose the existence of the document, item, or information to the defendant or the
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e       court.”).
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ui            According to the Supreme Court, “[w]hen police or prosecutors conceal
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2       significant exculpatory or impeaching material in the State’s possession, it is
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        ordinarily incumbent on the State to set the record straight.” Banks v. Dretke , 540
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O       U.S. 668, 675-76 (2004).
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13            Keeping these requirements in mind, Cruz-Garcia requests the following
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        categories of information in possession of the State or its agents be turned over to
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        the defense:
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        1. Any information tending to show a witness’s bias in favor of the
           government or against Cruz-Garcia or which otherwise impeaches a
           witness’s testimony. See United States v. Bagley, 473 U.S. 667 (1985).
        2. Any information indicating a witness’s hostility towards or dislike of Cruz-
           Garcia. United States v. Sipe , 388 F.3d 471 (5th Cir. 2004) (witness’s
           dislike of defendant); United States v. Sperling , 726 F.2d 69 (2nd Cir.
           1984) (tape of pre-trial conversation indicating that government witness was
           motivated by revenge).
        3. All deals or “consideration” or promises of “consideration” given to or on
           behalf of all State witnesses or expected or hoped for by said State
           witnesses. See Giglio v. United States , 405 U.S. 150 (1972); Banks v.
           Dretke , 540 U.S. 668 (2004).
        4. Instructions to a witness by the police, a prosecutor, a victim-witness
           coordinator, or any agent of the State to not speak with defense counsel or to
           do so only in the presence of the State’s counsel. See, e.g , Gregory v.
           United States , 369 F. 2d 185 (D.C. Cir. 1966).
        5. Knowledge of police intimidation of witnesses. See, e.g., Guerra v.
0\         Johnson , 90 F.3d 1075, 1078-80 (5th Cir. 1996) (failure to disclose police
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’t         intimidation of key witnesses and information regarding suspect seen
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           carrying murder weapon minutes after shooting is considered Brady ).
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r       6. Evidence or information indicating the untruthfulness of a State witness.
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o          See, e.g., Napue v. Illinois , 360 U.S. 264 (1959).
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        7. Perjury by any State witness at any time, whether or not adjudicated and
           whether or not in connection with this case. See, e.g., Mooney v. Holohan ,
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           294 U.S. 103 (1935).
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        8. Statements of potential witnesses not called to testify. See, e.g. , United States
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e          v. Frost , 125 F.3d 346, 383-84 (6th Cir. 1997) (Brady violation when
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           government did not disclose statement of potentially exculpatory witness, but
Q          instead told defense that that witness would provide inculpatory information
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2          if called to testify).
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        9. Contradictory or inconsistent statements. See, e.g. , Brady v. Maryland , 373
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           U.S. 83, 87 (1963) (failure to turn over statement by co-defendant that he had
 <         planned the killing, and that co-defendant had performed actual killing); see
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13         also Kyles v. Whitley, 514 U.S. 419 (1995) (failure to disclose inconsistent
s          eyewitness and informant statements, and list of license numbers compiled
           by police that did not show Kyles’s car in supermarket parking lot); United
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a          States v. Hanna , 55 F.3d 1456 (9th Cir. 1995) (discrepancies between law
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               enforcement officers and reports and grand jury testimony); United States v.
               Weintraub , 871 F.2d 1257 (5th Cir. 1989).
           10. Expert reports inconsistent with the State’s case or tending to support the
               defense case. See, e.g. , United States v. Fairman, 769 F.2d 386, 391 (7th Cir.
               1985) ( Brady violation when government failed to disclose ballistics
               worksheet that showed gun defendant was accused of firing was inoperable).


              Particularly relating to Cruz-Garcia, the State’s case rests on two key pieces
        of evidence: DNA evidence and the testimony of an alleged co conspirator -
        (Carmelo Martinez Santana, a.k.a. “Rudy”), who was never charged in connection
        with this case. Thus, interactions between the District Attorney’s office, and other
        law enforcement personnel, in collecting and testing the DNA evidence could
        potentially indicate exculpatory or impeachment evidence. Similarly, interactions
        between the District Attorney’s office, or other law enforcement personnel, and the
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        co-conspirator in securing his testimony may also reveal evidence favorable to
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        Cruz-Garcia.                       -
                         Therefore, Cruz Garcia also specifically requests the District
        Attorney’s office disclose the following information:
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              1. Emails between the State and the FBI or (if applicable) other law
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        enforcement agencies regarding the collection and testing of a DNA sample from
        Cruz-Garcia;
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5             2. Emails between the State and the Houston Police Department (“HPD”)
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        crime lab regarding the storage, condition, and subsequent testing of biological
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e       material in this case.
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    )         3. Emails between the State and the FBI regarding Carmelo Martinez
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        Santana (“Rudy”), specifically discussing:
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Q                    a. his willingness to testify;
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                     b. the anticipated content of his testimony;
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                   c. any representations made to him regarding the potential
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s            consequences of his testimony; and
                     d . his transfer from federal custody in Pennsylvania to Houston to
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              testify.
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              4. Emails between the State internally discussing any representations made
        to Rudy regarding his testimony.
               5. Emails between the State and Rudy’s attorney, Ray Castro, regarding his
        client’s participation in this case.
              6. Emails between the State and the FBI or other law enforcement entities
        regarding Cruz-Garcia’s use as a Confidential Informant by FBI agents in Puerto
        Rico.


                For the foregoing reasons, Cruz-Garcia requests this Court direct the Harris
        County District Attorney’s office to provide the identified information to the Court
        for in camera inspection. Cruz-Garcia then requests this Court order disclosed to
        the defense any evidence which arguably may be seen as favorable (i.e.,
        impeaching or exculpatory) under the broad intent of Brady v. Maryland.


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        DATED:        April 22, 2015                 By
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                                    IN THE 337 th DISTRICT COURT
                                      HARRIS COUNTY, TEXAS



                                                    )         Trial Cause No.
             EX PARTE                               )         1384794
             Obel Cruz-Garcia ,                     )
                       APPLICANT                    )
                                                    )
                                                    )



                                                  ORDER

                   On this date, the Court considered Applicant’s Motion for Disclosure of
             Brady v. Maryland Materials. After due consideration, Applicant’s Motion is
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 o           GRANTED. The State shall provide the materials referenced in the Motion to the
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             Court for in camera inspection within thirty days of this Order.
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                   ORDERED AND SIGNED on this               3$ day of April, 2015.
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                                                              The Honorable Judge Renee Magee
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a                                                             Presiding Judge, 337th District Court
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                                 CERTIFICATE OF SERVICE

        I, the undersigned, declare and certify that I have served the foregoing Motion for
        Disclosure of Brady v. Maryland Materials to:

        Paula Gibson                                        Judge Renee Magee
        Criminal Post-Trial                                 337th District Court
        Harris County District Clerk                        1201 Franklin Street
        1201 Franklin Street, 3rd Floor                     15th Floor
        Suite 3180                                          Houston, TX 77002
        Houston, TX 77002                                   (One courtesy copy, via mail)
        (Original, via mail)

        Harris County District Attorney
        c/o Lynn Hardaway
        1201 Franklin
        Suite 600
        Houston, TX 77002
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        (One copy, via email)
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           This certification is executed on April 22, 2015, in Austin, Texas.
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           I declare under penalty of perjury that the foregoing is true and correct to the
o       best of my knowledge.
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     I, Marilyn Burgess, District Clerk of Harris
     County , Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy , as it appears on this date.
     Witness my official hand and seal of office
     this November 18. 2020


     Certified Document Number:                                                                             65309872 Total Pages: 9




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406,013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e -mail support @ hcdistrictclerk.com


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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 314 of 368

                 13847940101C / Court: 337




                   EXHIBIT 123




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                                    CAUSE NO. 1384794


EX PARTE                                     §   IN THE 337     DISTRICT COURT

OBEL CRUZ - GARCIA                               OF

                                             §   HARRIS COUNTY, TEXAS




STATE'S OBJECTIONS AND / OR REQUEST FOR RECONSIDERATION OF ORDER GRANTING
                    DEFENDANT’S MOTION FOR DISCLOSURE




TO THE HONORABLE JUDGE OF THE DISTRICT COURT:

       COMES NOW THE STATE OF TEXAS, through the undersigned assistant district

attorney, and respectfully objects and / or requests that this Court reconsider its order

granting the defendant's Motion for Disclosure. In support, the State would respectfully

show the Court the following:



       On July 22, 2013, defendant Obel Cruz - Garcia was convicted of capital murder and

sentenced to death , cause no. 1384794, in the 337th District Court of Harris County, Texas.

       Direct appeal of the instant conviction is currently pending before the Court of

Criminal Appeals,

       The defendant has not filed his post-conviction application for writ of habeas

corpus.




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        On April 22, 2015, counsel representing the defendant for purposes of a post-

 conviction habeas application filed a motion for the State to disclose "any potentially

 favorable evidence in the possession of the Harris County District Attorney's Office ” for in

 camera inspection and possible disclosure to habeas counsel. Defense motion at 2 ,

        On April 28, 2015, this Court granted the defendant's motion without argument

 from the parties.

                                              II
        The State acknowledges Its ongoing obligation under Brady v. Maryland , 373 U .S. 83

 (1963), to disclose material, exculpatory and impeachment evidence to the defense.

 Pursuant to his request under the Texas Open Records Act, habeas counsel has had an

opportunity to review the prosecution file in the primary case and request copies of

materials from that file.

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       Notwithstanding the State’s ongoing efforts to comply with Brady, the State

respectfully objects and asks that this Court reconsider its granting of the defendant 's

motion. The defendant's motion for disclosure is overly broad and unduly burdensome in

that it seeks disclosure of “ any potentially favorable evidence" or "any evidence which

arguably may be seen as favorable." See Thomas v, State, 511 S, W.2 d 302, 303 (Tex. Crim.

App. 1974) (holding that defendant's request for "any papers, object or real evidence that is

in the possession of the police or District Attorney's office which may in any way be

material to the guilt or innocence of the defendant ” was too broad to be effective). Also,

some of the defendant's requested items are either work product or not subject to

discovery.




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       Moreover, the defense’s cited statutory authority does not support the granting of

the instant motion for disclosure. The defendant relies on the current version of Texas

Code of Criminal Procedure’s Article 39 ,14 (h ) & ( k) [ Michael Morton Act], to support his
                                           '




motion. However, the current version of the Texas criminal discovery statute applies only

to offenses committed on or after January 1, 2014, the effective date of the Act. TEX. CODE

GRIM. PROC. ANN. art. 39.14 historical note (West Supp. 2014) . The instant offense was

committed in 1992.

       Under the applicable version of Article 39.14, a defendant must show good cause,

materiality, and possession of the information by the State or its agent in order to be

entitled to pre-trial discovery.   It should be noted that Texas post-conviction habeas

proceedings are governed by TEX. CODE CRJM. PROC. art. 11.071 which provides for the use of

affidavits, depositions, interrogatories, evidentiary hearings, and personal recollection to

resolve “ previously unresolved factual issues material to the legality of the applicant’s

confinement," rather than for discovery.

                                               IV.

       Accordingly, the State respectfully requests that this Court vacate its order granting

the defendant’s motion for disclosure. In the alternative, the State respectfully requests

that this Court clarify and narrow its order in accordance with the State’s objections.




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      A copy of this instrument has been hand delivered to counsel for the defendant,

Robert Romig, on the 11th day of May, 2015.

                                                   Respectfully submitted,
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                                                   LOM DEANGELG
                                                   Assistant District Attorney
                                                   Harris County, Texas
                                                   1201 Franklin, Suite 600
                                                   Houston, Texas 77002
                                                   SBT No. 24005167
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                                                   (713) 755 6657
                                                   E-mail ; deangeloJori@ dao,hctx.net




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                                    CAUSE NO. 1384794-


EX PARTE                                    §     IN THE 337TH DISTRICT COURT
                                            §
OBEL CRUZ- GARCIA                           §     OF
                                            §
                                            §     HARRIS COUNTY, TEXAS




                                          ORDER




       The foregoing motion is hereby GRANTED.           The Court's order granting the

defendant’s motion for disclosure signed on April 28, 2015, is hereby vacated and set aside.

      SIGNED THIS             day of May, 2015.




                                          JUDGE PRESIDING
                                          337 th District Court
                                          Harris County, Texas




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 320 of 368

                 13847940101C / Court: 337




                   EXHIBIT 125




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          Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 321 of 368


Use, Natalie

from:                             RobinD Guidry < RobinD,Guldry @ cityofhouston,net >
Sont :                            Tuesday, August 02, 2011 9:24 AM
                                  Tise, Natalie
                                  RE: Obei Cruz Garcia case 105758592
Attachments;                      105758592 Orchid DNA 061511. PDF

Categories:                       Red Category


Good morning,

                                                                                .
I think this would qualify for cold case monies, assuming sufficient funds remain When you know more about what
may need testing, let’s talk and we can decide what testing is necessary, and who wiii perform it.
Regarding Carmelo Martinez, attached is the latest DNA repost from Orchid with his profile. ! guess I thought you had
received a copy - 1 do apoiogize!

Have a great weekl
Robin

>>> "Tise, Natalie” <TTSE_NATALIE@dao.hctx,net> 8/1/ 2011 6:52 PM > > >

Hi Robin,

Sorry I haven't gotten back to you sooner , It has been a busy summer for me, In May we sent in a buccal swab from a
guy named Carmeio Martinez Santana. We requested that he be compared to all the evidence in the case, i have not
yet received the results of that comparison. Are those available ? if so, I think we are done for purposes of my case in
chief.

However — due to a newly discovered witness, we are now looking at seeking the death penalty against this defendant
and the trial has been postponed once again, it will probably not go until early next year. Our new witness has told us
about an extraneous murder that he saw this defendant commit. We have found a 1989 unsolved cold case that
                                                                                    —
matches the details provided by this witness. There are some items of evidence fingernail scrapings, etc.- that were
collected in this case that will likely need to be compared. Would this case fall under the Cold Case Grant that we have
been relying on to cover the costs of DNA analysis thus far ? We have just learned of this new murder so we are still
trying to put things together, but we may be contacting ya'ii for more testing related to this case at some point.

Thanks for all your help,

Natalie

                                     .
From: RobinD Guidry [mailto:RobinD Guidry@dtyofhouston net] .
Sent: Wednesday, July 13, 2011 5:00 PM
To: Tise, Natalie
Subjact; RE: Obei Cruz Garda case 105758592




Hi, Natalie,


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justchecking in. Is there anything outstanding from this lab, or are all of your DNA testing needs met either by us or
by Orchid?

Thanks
Robin

                                           .
»> "Tise, Natalie" <TISE_NATALIE@dao hctx.Ret> 5 / 19/ 2011 12:48 PM »>

Hi Robin,

The defense has told me that they plan to make an issue of the fact that one of the individuals that elimination samples
were taken from back in 1992 was not re-compared to the DNA in the rape kit in 2007 because there were only
extractions and there was not enough to retest. My understanding is that we cannot rule out other contributors to the
                                                                                                                  .
rape kit sample and ! know that Rudy was iskely with the defendant that night. Everyone eise has been ruled out I just
want to be able to say that Rudy was ruled out too. Or if not -— then ! might have enough information to charge him.

At trial, i plan to call both Orchid and HPD analysts to testify regarding the DNA resuits that were obtained by each
respective agency. For this iast comparison, i am fine with whoever does the analysis. My biggest concern is just that
it be done by the trial date Not sure who has a quicker turn around time. Thanks for ali your help, Robin.
                              .
Natalie




From; Webb, Micah
Sent; Thursday, May 19, 2011 12:32 PM
             .
To; ’RobinD Guidry@dtyofhQuston net’  .
Ces Tise, Nataiie
Subject; Re: Obel Cruz Garda case 105758592




I agree. The new swab is for the guy we didn't have a full profile for (can't remember name off hand) .

                                                                           .
                                                                          ,•   NV » iSSSSS'




From; RobirsD Guidry
To: Webb, Mieah
Cc: Courtney Head ; Use, Nataiie
Sent: Thu May 19 12:23:58 2011
Subject: Re: Obel Cruz Garda case 105758592
                                  .
That should not be a problem However, I am curious, why is another buccal swab being collected? For the unknown
                                                                                                                         .
hair? The sexual assault kit items appear to have come back to Diana Garcia, Arturo Rodriguez and Obel Cruz-Garcia

Something to consider : we can process it in time for the July 25, 2011 trial date, assuming it is submitted in about a
week, However, you will need Orchid to testify regarding their evidence. We would then testify to state whether the
new reference matched any of the data generated by Orchid. Ithink testimony would be simplified if ail of the DNA
testing was conducted by Orchid. (They would issue one comprehensive report.) Your thoughts?

Thanks,
Robin

                          .
Robin DeVilie Guidry, M.S , F-ABC
Criminalist Specialist
                                                             2
                                                                                                            0002050
                     Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 323 of 368

    Houston Police Department Crime Laboratory
                                                                                                                                           I
    Phone; 713-308 2620 -
i                -
    Fax: 713 308-2645
    Email;
                                                                                                                                           ;

    »> "Webb, Mlcah" <WEBB. MICAH@dao.                           5/19/ 2011 10:07 AM »>                                                    :
                                   „               hctx ,net >

                                                                      compared to the rape kit of Diana Garcia and any other items
    We am baying the FBi collect another buccal swab to be tested and
                                                                            getting tested in time. Will HPD be able to test it once you
    of evidence. The trial is set for 7/ 25 /11 and «are concerned about it
                                                                      ents to send it to Orchid ?
    get the sample in about a week ? Or do we need to make arrangem


    Advise

                            .
    f$iesh K , Webb, D A, investigator
    282nd District Court
    Harris County District Attorney’s Office
    1201 Franklin St, Suite 600
    Houston, Texas 77002-1S23
    713-755 0410 -
                                                                          y s Office prepared in anticipation of or in
             -
    This © mail is the work product of the Harris County District Attorne ’
                                                                   -
    the course of preparing tor eriminai litigation. This mail reflects the
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    the express permission of the Harris County District Attorney or her




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 324 of 368

                 13847940101C / Court: 337




                   EXHIBIT 126




                                                                      0002052
                      Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 325 of 368


   Use, Natalie

  frw:                                                       Webb, Micah
  Sent:                                                      Friday, May 27, 2011 9:56 AM
  To:                                                        ,
                                                              EricJohnsonB @ ic,fbi.gov ’
  Cc                                                         Tise, Natalie
  Subject:                                                   Re: DNA Swab


  Great, thank you

            ..
  ’,SSS>\ SS'   '
                |
                               ,N‘,,Y.'» ^' »
                    Xs'.SSVSSS \   '   S   «    .
 From: Johnson, Eric L                                  .                                   *'.v.\ \vNNViVV »'




 To: Webb, Micah
   c: Use, Natalie
 Sent: Frl May 27 09:38:14 2011
 Subject: RE: DNA Swab
 MiMh, i: .havd received tile swab, butwilf not be abie to send it until Tuesday
                                                                                   because the Orehjd Ceilmark is not open on
 the weekend it is our eyldsnce policy to have evidence
                                                            delivered to facilities when they are open and to prevent
 evidence from laying around with a carrier until the feeiltty opens. Therefo
                                                                                 re, i will be sending it out first thing on
 Tuesday because Monday is a holiday.

 Thanks
 Eric

 From: Webb, Micah
 Sent: Thursday, May 26, 2011 9: if AM
 To; Johnson, Eric L
 Subject: RE: DNA Swab

 Thank you very much                                .
From: Johnson, Eric L                               .
Sent: Thursday, May 26, 10119;18; AM
To; Webb, Micah
Subject; Re; DNA Swab

Oh yes, i will send it


                                                                                                                                  ..,.
From: : W#b, Micah < WBB8 MICAH@dao,hdj ,nef>
                                                                                                                 .• • SSS \ SNS



                                        <
To: Johnson Eric L,      ,
Cc; Tise, Nalplie <T g MTAU£ljdao.<h<ax t
Sent: Thu May 26 MUMS 2011
                                          >     ^       ..


                                                                    ^
Subject: RE; DNA Swab

Just checking if you were going to be abie to ship it directly, keeping
                                                                        me out of the chain. Sounds like you will be able to
then      ?

Thank you sir for your assistance,

Fromi Johnson, Eric L, [maiito:EifcJohh$oa3 icfbi,ogyl
Sent; Thursday, May 26, 2011 9: 01 AM                               ^              i
                                                                                                                                         0002053   !



                                                                                                                                                   !
           Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 326 of 368

 To; Webb, Micah
‘ Subject; Re; DNA Swab

 Hi Micah. Not ignoring you, just been very busy. We have to utilize our evidence control procedures for togging and
 mailing any evidence. This required the agent to package and mail. the evidence to his evidence control room in Pittsburgh
 so they can tog it in and then mail it out to me. f should receive it tomorrow or Monday. Onee ! receive it, I will immedieefy
 mail it to the address you provided. Everyone knows to handle this expeditiously ,


 From: Webb, Micah < WEBB. M]CAHi:daaactx,net>
 To; Johnson, Eric L
 Sent; Thu May 26 09:56 ;01 2011
 Subject: RE; DNA Swab

 I need to know about the procedures so we can get it mailed quickly.


                  ,
 From; Johnson Eric L,
 Sent: Monday, May 23, 2011 3:55 PM
 To; Webb, Micah
 Subject; Re: DNA Swab

 I'm not certain, i will check our procedures for mailing evidence tomorrow.


From: Webb, Micah
To: Johnson, Eric L.
Sent: Mon May 23 16:52:17 2011
Subject: RE: DNA Swab

Is it necessary to put me in the chain. Can Pittsuburgh guys send it directly to Orchid ?


                                                   .
From; Johnson, Eric L, j~mailt0:Eric.J:ohnson3Ple fbi > aoy]
Sent; Monday, May 23, 2011 2:22 PM
To; Webb, Micah
Subject; Re; DNA Swab

Hey Micah, after pausing on this , when it arrives, I will drive it directly to you so you can send out thru your system to
them.

                                                                                        .                . .•
                                                                                        SSSNSNNSSSSS S > S S >


From: Webb, Micah
                                                                                                                 *




To: Johnson, Eric L   .
Cc: RobinD Guidry                                                                      <MOuattaro#orchM>mm>; Use,
Natalie
Sent: Mon May 23 15 :13: 43 2011
Subject; DNA Swab

Agent Johnson,

When you get the sample from Pittsburgh, could you forward the sample to the address below, referencing the
appropriate case numbers? I've copied Robin and Matt on the e-mail so eyeryone knows what is going on and that the
sample be tested as quickly as possible, as the trial date is quickly approaching  .
Orchid Celimark

13988 Diplomat Drive
                                                               ?.
                                                                                                                     0002054
            Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 327 of 368

Suite 100

Dallas, "DC 75234

214-271-8400

800 752-2774
    *




Please reference their case #HPG7-0014, as well as HPD Inc #105758592 and Lab #192-10367,



I've copied Matt Quartaro from Orchid, so that they are expecting your sample .


Matt,

                                                   .
This case will be a cold case, for Invoicing purposes Please compare this known to the evidence profiles previously
                      .
generated for this case



Thank you,

Robin



                       ..
Robin DeVilie Guidry, M S , F-ABC
Criminalist Specialist

Houston Police Department Crime Laboratory
Phone; 713-308-2620
Fax: 713-308-2645

 Email:




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 328 of 368

                 13847940101C / Court: 337




                   EXHIBIT 127




                                                                      0002056
                         Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 329 of 368
5'



'
     Tss®, Natalie

     From;                                RobinD Guidry < RobinD.Guidry@dtyofhouston.net >
     Sent;                                Thursday, May 19, 2011 12:50 PM
     To:                                  Tise, Natalie
     Cc:                                  Webb, Micah
                                          RE: Obel Cruz Garcia case 105758592

     Categories:                          Red Category


     Thanks, Natalie. That makes sense.

     I think it would be easier for Orchid to manage the trial datel

     Thanks,
     Robin

     »> "Tise, Natalie" <T1S£ NATAU:e@daa)K:tx,net> 5/ 19/ 2011 12:48 PM »>

     Hi Robin,

     The defense has told me that they plan to make an issue of the fact that one of the individuals that elimination samples
     were taken from back in 1992 was not re - compared to the DNA in the rape kit in 2007 because there were only
     extractions and there was not enough to retest. My understanding is that we cannot rule out other contributors to the
     rape kit sample and i know that Rudy was likely with the defendant that night. Everyone else has been ruled out . i just
     want to he able to say that Rudy was ruled out too. Or if not — then i might have enough information to charge him.

      At trial, i plan to call both Orchid and HPD analysts to testify regarding the DNA results that were obtained by each
      respective agency. For this last comparison, i am fine with whoever does the analysis. My biggest concern is just that
      it be done by the trial date Not sure who has a quicker turn around time. Thanks for ail your help, Robin.
                                     .
      Natalie




      From; Webb, Micah
      Sent; Thursday, May 19, 2011 12:32 PM
      To; ’RobinD,Guidry@dtyofhouston net’ .
      Cc; Tise, Natalie
      Subject; Re: Obel Cruz Garda case 105758592




      I agree. The new swab is for the guy we didn’t have a full profile for ( can’t remember name off hand).

      \ *»*» NNNW ****




      From: RobinD Guidry
      To: Webb, Micah
      Cc: Courtney Head ; Tise, Natalie


                                                                                                                0002057
              Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 330 of 368

Sent: Thu May 19 12: 23:58 2011
Subject: Re: Obel Cruz Garcia case 105758592
                                .
That should not be a problem However,Iam curious, why Is another buccal swab being collected? For the unknown
hair? The sexual assault kit items appear to have come back to Diana Garda, Arturo Rodriguez and Obel Cruz-Garcla                  .
Something to consider: we can process it in time for the July 25, 2011 trial date, assuming it is submitted in about a
     .                                                                          .
week However, you will need Orchid to testify regarding their evidence We would then testify to state whether the
                                                                      .
new reference matched any of the data generated by Orchid I think testimony would be simplified if all of the DMA
testing was conducted by Orchid. (They would issue one comprehensive report.) Your thoughts?

Thanks,
Robin

Robin DeVilie Guidry, M.S., F-ABC
Criminalist Specialist
Houston Police Department Crime Laboratory
Phone: 713-308- 2620
Fax: 713-308-2645
Email: rohmd .atJidryiacitvofhousfon,net

»> “ Webb, Micah”                                           5 / 19/ 2011 10:07 AM »>

We are having the FBI collect another buccal swab to be tested and compared to the rape kit of Diana Garcia and any other items
of evidence. The trial is set for 7 / 25 /11 and we are concerned about it getting tested in time. Will HPD be abie to test it once you
get the sample in about a week ? Or do we need to make arrangements to send it to Orchid?


Advise

          .            .
Micah K Webb, D A „ Investigator
282nd District Court
Harris County District Attorney’s Office
                   .
1201 Franklin St Suite 800
Houston, Texas 77002-1923
713-755-0410

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                                                                  .
an attorney representing the State of Texas or her staff This e-mail is not subject to public disclosure without
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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 331 of 3684/9/2021 2:39 PM
                                                              Marilyn Burgess - District Clerk Harris County
                                                                                   Envelope No . 52318129
                  13847940101C / Court : 337                                               By : E Lane-Orton
                                                                                   Filed: 4/9/2021 2: 39 PM

                IN THE 337 TH JUDICIAL DISTRICT COURT
                        HARRIS COUNTY, TEXAS

                                    AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §               Writ No.
                            §               Trial Court Case No:
                            §              1384794
                            §
                Applicant . §               CAPITAL CASE
                            §
                            §
                            §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
                      EXHIBIT 128
                                    Jeremy Schepers (Texas 24084578)
                                    Supervisor , Capital Habeas Unit
                                    David Currie (TX 24084240)
                                    Naomi Fenwick (TX 24107764)
                                    Assistant Federal Public Defender
                                    Office of the Federal Public Defender
                                    Northern District of Texas
                                    525 S. Griffin St ., Ste . 629
                                    Dallas, Texas 75202
                                    jere my _schepers@fd .or g
                                    (214) 767 - 2746
                                    (214) 767 - 2886 (fax)

                                    Counsel for Obel Cruz -Garcia



                                                                                  0002059
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 332 of 368

                 13847940101C / Court: 337




                   EXHIBIT 128




                                                                      0002060
               Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 333 of 368

%


    From:                             Webb, Micah
    Sent:                             Monday, May 16, 2011 3:25 PM
    To:                               Tise, Natalie
    Subject:                          FW: RE: Obel Cruz Garcia



    No profile matches from our hairs. Still waiting on definitive response for were our "new" buccal swab will be
    submitted. Courtney told me that the crime lab would test the swabs. But waiting for a good answer from Robin as
    well.
                                          .
    From: RobinD Guidry [mailto:RobinD Guidry@dtyofhouston net]  .
    Sent: Monday, May 16, 2011 3: 21 PM
    To: Webb, Micah
    Subject; RE: RE: Obel Cruz Garda

    These hairs came from a box of evidence (TL7D\TL7E) that contained both "1 trunk matt" (TL7F\TL7G) and a "plastic
    bag containing evidence" (TL7H\TL7I), See Biology section laboratory report dated January 13, 2011.

                                                                                                                   .
    Ail of the hairs were found in individual paper folds, that were prepared prior to submission to the Crime Lab Each of
    the 10 apparent hairs were examined for possible root material; those positive for possible root material were sent to
    Orchid for testing ( the three in this DNA report).

    There is nothing in our case file to suggest that there are hairs in addition to these that were tested by Orchid.
    Does this help?

    >> > "Webb, Micah" < WEBB...MXCAH@dao,hctx.net> 5/ 16/ 2011 3:04 PM > >>
    Were these the hairs that were in a floor mat ?

                                          .
    From: RobinD Guidry [maiito:RobinD Guidry@cityofhouston net] .
    Sent: Monday, May 16, 2011 3:01 PM
    To: Webb, Micah
    Cc: Courtney Head
    Subject: RE: RE: Obel Cruz Garda

    If you look mid-way down the list of exhibits on page 1 of Orchid's DNA report, you will see the three hairs. Two failed
    to give results, while the passenger front door hair gave a partial DNA profile that did not match anyone tested
        .
    here Were there hairs other than these?

    > > > "Webb, Micah" < WEBB_MICAH@dao.hctx.net> 5 / 16/ 2011 2:29 PM > > >
    Robin, Thanks for the report. However, i was inquiring about some hairs that were being tested from a floor mat. Was
    this part of this report ? Sorry, I just wanted some clarification.

    Thanks

    Micah Webb

                                          .
    From: RobinD Guidry [mailto:RobinD Guidry@dtyofhouston net3  .
    Sent: Monday, May 16, 2011 2:15 PM
    To: Webb, Micah
    Subject: Fwd: RE: Obel Cruz Garda


                                                                 i
                                                                                                                  0002061
             Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 334 of 368

    Good afternoon,
:
                                                                                                                 .
    Courtney asked thatI forward this to you. Please don't hesitate to call or email should you have any questions

    Thank you,
    Robin

    Robin DeVille Guidry, M. S., F-ABC
    Criminalist Specialist
    Houston Police Department Crime Laboratory
    Phone: 713-308- 2620
    Fax: 713-308-2645
    Email: robInd.quidry@dtvofhdusfoh.net


    >> > RobinD Guidry 5/ 12/ 2011 3:34 PM >>>
    Good afternoon, Natalie,

                                                                               .
    Attached is the DNA report from Orchid, including the additional hairs tested It appears that two failed to give DMA
                                 .
    results (front and rear seats) The passenger front door sample did yield a male DNA profile, but one that does not
    match Arturo Rodriguez, Diana Garcia, Candido Lebron, Bienviendo Meio, Leonardo German, Carmelo Martinez, or Obel
    Cruz-Garcia  .
    Please let me know if you should have any questions .
    Thanks!
    Robin

                             .
    Robin DeVille Guidry, M.S , F-ABC
    Criminalist Specialist
    Houston Police Department Crime Laboratory
    Phone: 713-308-2620
    Fax: 713 -308-2645
    Email: I


    »> "Tlse, Natalie" <HSEJMATALIE@dao.hctx.net> 3/ 24/ 2011 3:03 PM > > >
    justreread the email I sent you and I am sorry for the misspellings, I was in court and so was responding from my
    IPHONE and I can' t ever get anything typed correctly !


    From; Tise, Natalie
    Sent: Thursday, March 24, 2011 9: 28 AM
    To: RobinD Guidry
    Subject; Re: Obel Cruz Garcia

    Wow I am glad I checked too! The trial Date has not changes and it is a preferential setting so I don't forsee
    any wiggle room on that. My main concern Is that we get the results in time so that it can ve disclosed to
    defense and so that any follow up can be done.

    Sent from mv iPhone

    On Mar 24, 2011, at 8:56 AM, "RobinD Guidry " <Rohlhi;7.Gnldrv@CHyoj:houston, hoL> wrote:

            Good morning, Natalie,

            I am so glad that you followed up on this. I have found that there was a delay in getting this
            stuff out to Orchid , as we had trouble locating Bill Stephens (possibly retired now?) and were
                                                               2
                                                                                                              0002062
          Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 335 of 368

        waiting to get a contact on an investigator with whom we could coordinate this request to
S       Orchid , I have learned that this sort of request can come from the lab, even though vve want
    '




        Gold Case Grant monies to bo used; instead of wailihg to an investigator, 1. am making the
                                                                                                      the
        request now, I ;am having the hairs sent ouHodtgc with instructions for Orchid to compare
                                                                                                     ,




        hsing if sufficient DMA exists, u> Diana Garcia's known (to try to determin  e if a         !
                                                                                            biologies
        relationship exists).

        I see in the communication log that there is a trial date set for July 25, 2011. Is this still the
        case? Please let me know if there are any other dates that we need to be aware of, to ensure that
        you get the results in time.

        I apologize for this delay , and appreciate you following up with me, getting this case back on
        track.

        Thank you,
        Robin

        Robin DeVilfe Guidry, M .S., F- ABC
        Criminalist Specialist
        Houston Police Department Crime Laboratory
        Phone: 713-308-2620
        Fax : 713-308-2645
        Email:

        »> 'Tise, Natalie" <T1SE NATWhl j@dao. hNx. uet> 3/22/2011 12:11 PM »>

         1 understand . Whenever you come up for air, shoot me an email Thanks !




         From : RobinD Guidry [ maiteuRobinD , Guidry @ dtyofhouston . net]
         Sent: Tuesday, March 22, 2011 10:51 AM
         To: Tise, Natalie
         Subject: Re: Qbei Cruz Garcia



         Hi, Natalie,
                                                                                                       to you.
         I was out last week at training , so I am buried in emails, Let me get an update and get back

         Thanks,
         Robin

         » > "Tise, Natalie" < TtSE NATAUa&cteatonet > 3/21/ 2011 2:34 PM > »

         Robin,

                                                                                                      to Orchid for DNA
          Hope ail is well with you. i am just checking in with you on the hairs that were outsourced
          testing on this 1992 cold case. Can you piease let  me  know  what the  current status is ?


          Thanks,

          Natalie
                                                                  3
                                                                                                                    0002063
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 336 of 368

                 13847940101C / Court: 337




                   EXHIBIT 129




                                                                      0002064
             Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 337 of 368


t   TIses Natali ©
    From;                             RobinD Guidry < RobinD.Guidry @ dtyofhouston.net >
    Sent:                             Thursday, May 12, 2011 3:35 PM
    To:                               Tise, Natalie
    tc:                               Elliott, Carless ( HPD)
                                      RE: Obel Cruz Garcia
    Attachments:                      105758592 _Grcbid DNA report.PDF


    Good afternoon, Nataiie,

                                                                                .
    Attached is the DNA report from Orchid, including the additional hairs tested It appears that two failed to give DNA
    results (front and rear seats). The passenger front door sample did yield a male DNA profile, but one that does not
    match Arturo Rodriguez, Diana Garda, Candido Lebron, Blenviendo Melo, Leonardo German, Carmeio Martinez, or Obei
    Cruz-Garda,

    Please let me know if you should have any questions.
    Thanks !
    Robin

    Robin DeViiie Guidry, M . S., F-ABC
    Criminalist Specialist
    Houston Police Department Crime Laboratory
    Phone: 713-3 Q 8- 262G
    Fax: 713 -308-2645
    Email:                                 '




    »> "Tise, Natalie" < T!SF NATAf.T£@dao.hcbr.net > 3/ 24/ 2011 3:03 PM »>
    Just reread the email I sent you and ! am sorry for the misspellings, I was in court and so was responding from my
    IPHONE and I can't ever get anything typed correctly !


    From ; Tise, Natalie
    Sent; Thursday, March 24, 2011 9: 28 AM
    To: RobinD Guidry
    Subject; Re: Obel Cruz Garcia

    Wow I am glad I checked too! The trial Date has not changes and it is a preferential setting so I don’t forsee
    any wiggle room on that. My main concern is that we get the results in time so that it can ve disclosed to
    defense and so that any follow up can be done.

    Sent from my iPhone

    On Mar 24, 2011 , at 8:56 AM, " RobinD Guidry "                                               wrote:
            Good morning, Natalie,

            I am so glad that you followed up on this , 1 have found that there was a delay in getting this
            stuff out to Orchid , as we had trouble locating Bill Stephens (possibly retired now?) and were
            waiting to get a contact on an investigator with whom we could coordinate this request to
            Orchid. I have learned that this sort of request can come from the lab, even though we want
            Cold Case Grant monies to be used ; instead of waiting to an investigator, I am making the
                                                               i
                                                                                                             0002065
     Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 338 of 368
i

    request now , I am having the hairs sent out today, with instructions for Orchid to compare the
    hairs, if sufficient DNA exists, to Diana Garcia's known (to try to determine if a biological
    relationship exists).

    I see in the communication log that there is a trial date set for July 25, 2011 . Is this still the
    case? Please let me know if there are any other dates that we need to be aware of, to ensure that
    you get the results in time.

    I apologize for this delay , and appreciate you following up with me, getting this case back on
    track.

    Thank you,
    Robin

    Robin DeVille Guidry, MS., F- ABC
    Criminalist Specialist
    Houston Police Department Crime Laboratory
              -
    Phone: 713 308-2620
    Fax: 713-308 -2645
    Email:

                                     ,
                                            ?
                                                        ; >. > 3/22/ 2011 12: 11 PM »>
    »> " Use, Natalie " <TlSfi; ;NAJ ALIE@dac>.hctx , ne|

    i understand . Whenever you come up for air, shoot me an email . Thanks!




    From: RobinD Guidry [muiih3:Rohi« D.Cauldry' #citybffio^stgn .nefl
    Sent; Tuesday, March 22, 2011 10:51 AM
    To: Use, Natalie
    Subject: Re: Obel Cruz Garcia




    Hi, Natalie,

    I was out last week at training, so I am buried in emails. Let me get an update and get back to you .

    Thanks,
    Robin

    > > > "Use, Natalie" < HS1                                                     >>>
                                 1




                                         SK >>i   .               !



    Robin

                           .
    Hope ail is well with you ! am just checking in with you on the hairs that were outsourced to Orchid for DNA
    testing on this 1992 coid case. Can you please let me know what the current status is ?

    Thanks,

    Natalie




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 339 of 368

                 13847940101C / Court: 337




                   EXHIBIT 130




                                                                      0002067
           Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 340 of 368


Use, Natalie

From:                             Webb, Micah
Sent:                             Tuesday, October 18, 2011 10:56 AM
To:                               ' RobinD Guidry '
                                  Tise, Natalie
Subject:                          RE: Obe! Cruz Garcia case 105758592

Categories:                       Red Category



Weil, that HPD OR # is not really close, assuming we are talking about the right report, Double check that this is the
right report, but it should be:




058851589




Thank you




                                     .
From: RobinD Guidry [mailto:RobinD Guidry@dtyofhouston net] .
Sent: Tuesday, October 18, 2011 10:13 AM
To: Webb, Micah
Subject: RE: Obel Cruz Garda case 105758592




Thanks !

> > > “ Webb, Micah" < WEBB_MICAH @ dao.hctx .net > 10/ 18/ 2011 10:11 AM »>

I'll get the information in a little while , Swamped at the moment.




From; RobinD Guidry [ mailto:RobinD,Guidry@cityofhouston.net]
Sent; Tuesday, October 18, 2011 8:51 AM
To: Webb, Micah
Subject: RE: Obel Cruz Garda case 105758592




Mr. Webb,

Regarding the request to test fingernail scrapings in another, possibly related homicide, what is that incident # ? OLO
supplement # 96 where Sgt, Peters requests the fingernail scrapings lists HPD case # 585698, but our LIMS doesn't have
a record of that incident # . Is this only partial, or is there another incident # that I could use to look up the case?

                                                            1
                                                                                                           0002068
              Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 341 of 368

    Thanks very much,
)   Robin

    Robin DeVille Guidry, M . S., F- ABC
    Criminalist Specialist
    Houston Police Department Crime Laboratory
    Fax; 713-308-2845
    Email; robirid,quidrygt!diyofh:OiistQn > eet:


    »> "Webb, Micah" <WEBB_MICAH@dao.hctx.net> 5/ 23/2011 8:38 AM > >>

    is this testing gonna be part of the cold case grant ? i need to figure out the logistics of the sample. Where it needs to
    get sent to be tested by Orchid,




                                            .
    From; RobinD Guidry [mailto:RobinD Guidry@cityofhouston net] .
    Sent; Thursday, May 19, 2011 12:50 PM
    To: Tise, Natalie
    Cc: Webb, Micah
    Subject; RE: Obei Cruz Garda case 105758592




    Thanks, Natalie, That makes sense   .
    I think it would be easier for Orchid to manage the trial date!

    Thanks
    Robin

    »> "Use, Natalie" <TtSE_NATALIE@ dao. hctx .net > 5/ 19/ 2011 12:48 PM »>

    Hi Robin,

    The defense has told me that they plan to rnake an issue of the fact that one of the individuals that elimination samples
    were taken from back in 1992 was not re-compared to the DNA in the rape kit in 2007 because there were only
    extractions and there was not enough to retest . My understanding is that we cannot rule out other contributors to the
    rape kit sample and I know that Rudy was likeiy with the defendant that night. Everyone pise has been ruled out, I just
    want to be able to say that Rudy was ruled out too. Or if nof — then I might have enough information to charge him.


    At trial, i plan to caii both Orchid and HPD analysts to testify regarding the DNA results that were obtained by each
    respective agency , For this last comparison, I am fine with whoever does the analysis. My biggest concern is just that
    it be done by the trial date. Not sure who has a quicker turn around time. Thanks for all your help, Robin,

    Natalie




    From: Webb, Micah
    Sent: Thursday, May 19, 2011 12:32 PM
                                                                  ?.
                                                                                                                 0002069
              Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 342 of 368
                 .
    To: 'RobinD Guidry@dtyQfhouston net'   .
\   £c; Use, Natalie
    Subject: Re: Obel Cruz Garda case 10S758592




    i agree, The new swab is for the guy we didn't have a full profile for ( can't remember name off hand)


    From: RobinD Guidry
    To: Webb, Micah
    Ce: Courtney Head ; Tise, Natalie
    Sent: Thu May 19 12: 23 :58 2011
    Subject: Re: Obe! Cruz Garda case 105758592
    That should not be a problem, However,I am curious, why is another buccal swab being collected? For the unknown
    hair? The sexual assault kit items appear to have come back to Diana Garcia, Arturo Rodriguez and Obel Cruz-Garcia               .
    Something to consider: we can process it in time for the July 25, 2011 trial date, assuming it is submitted in about a
         .                                                                         .
    week However, you will need Orchid to testify regarding their evidence We would then testify to state whether the
                                                                      .
    new reference matched any of the data generated by Orchid I think testimony would be simplified if all of the DNA
                                       .                                                    .
    testing was conducted by Orchid (They would issue one comprehensive report ) Your thoughts?

    Thanks,
    Robin

    Robin DeViite Guidry, M.S., F-ABC
    Criminalist Specialist
    Houston Police Department Crime Laboratory
    Phone: 713-308- 2620
    Fax: 713-308-2645
    Email:

    »> "Webb, Micah" < WEBB_MICAH@dao.hctx.net> 5/ 19/ 2011 10:07 AM >>>
    We are having the FBI collect another buccal swab to be tested and compared to the rape kit of Diana Garcia and any other items
                                                                                                   .
    of evidence. The trial is set for 7/ 25 /11 and we are concerned about it getting tested in time Will HPD be able to test it once you
    get the sample in about a week ? Or do we need to make arrangements to send it to Orchid?


    Advise

                        .
    Micah K. Webb, D A, investigator
    262nd District Court
    Harris County District Attorney’s Office
    1201 Franklin St. Suite 600
    Houston, Texas 77002-1923
    713-755-0410

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    the course of preparing for criminal litigation. This e-mail reflects the mental impressions or legal reasoning of
    an attorney representing the State of Texas or her staff. This e-mail is not subject to public disclosure without
    the express permission of the Harris County District Attorney or her designated representative.




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                                                                                                                         0002070
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 343 of 3684/9/2021 2:16 PM
                                                              Marilyn Burgess - District Clerk Harris County
                                                                                   Envelope No . 52316262
                  13847940101C / Court : 337                                               By : E Lane-Orton
                                                                                   Filed: 4/9/2021 2:16 PM

                IN THE 337 TH JUDICIAL DISTRICT COURT
                        HARRIS COUNTY, TEXAS

                                    AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §               Writ No.
                            §               Trial Court Case No:
                            §              1384794
                            §
                Applicant . §               CAPITAL CASE
                            §
                            §
                            §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
               EXHIBITS 131 THROUGH 137
                                    Jeremy Schepers (Texas 24084578)
                                    Supervisor , Capital Habeas Unit
                                    David Currie (TX 24084240)
                                    Naomi Fenwick (TX 24107764)
                                    Assistant Federal Public Defender
                                    Office of the Federal Public Defender
                                    Northern District of Texas
                                    525 S. Griffin St ., Ste . 629
                                    Dallas, Texas 75202
                                    jere my _schepers@fd .or g
                                    (214) 767 - 2746
                                    (214) 767 - 2886 (fax)

                                    Counsel for Obel Cruz -Garcia



                                                                                  0002071
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 344 of 368

                 13847940101C / Court: 337




                   EXHIBIT 131




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 345 of 368




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               Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 346 of 368

1


    From:                            Webb, Micah
    Sent:                            Tuesday, October 18, 2011 10:56 AM
    To:                              ’RobinD Guidry ’
                                     Tise, Natalie
    Subject:                         RE: Obei Cruz Garda case 105758592

    Categories:                      Red Category


    Wei!, that HPD OR # is not really dose, assuming we are talking about the right report. Double check that this is the
    right report, but it should be:




    058851589




    Thank you




                                         .                     .
    From; RobinD Guidry [ mailto:RobinD Guidry@ dtyofhouston net3
    Sersts Tuesday, October 18, 2011 10:13 AM
    To ? Webb, Micah
    Subjects RE: QbeS Cruz Garcia case 105758592




    Thanks!

    > > > "Webb, Micah" < WEBB_MICAH @ dao. hctx .net> 10/ 18/ 2011 10:11 AM >>>

    i'll get the information in a iittie while. Swamped at the moment.




                                         .
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    To: Webb, Micah
    Subject; RE: Obel Cru2 Garda case 105758592




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    a record of that incident # . Is this only partial, or is there another incident # that I could use to look up the case?

                                                               i

                                                                                                              0002074
              Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 347 of 368

    Thanks very much,
I   Robin

    Robin DeViiSe Guidry, M . S., F- ABC
    Criminalist Specialist
    Houston Police Department Crime Laboratory
    Fax : 713 -308- 2645
    Email               .
                   iSVSVMS* '            &




    »> "Webb, Mlcah'' < WEBB_MICAH@dao.hctx.net> 5/23/2011 8:38 AM >> >

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    get sent to be tested by Orchid .


                                          .
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    Sent: Thursday, May 19, 2011 12:50 PM
    To; Use, Natalie
    Co: Webb, Mlcah
    Subject: RE: Obel Cruz Garda case 105758592




    Thanks, Natalie, That makes sense.

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    Thanks,
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    > > > "Tise, Nataiie” <TCSEJMATAUE @ dao.hctx . net > 5 / 19/ 2011 12:48 PM »>

    Hi Robin,

    The defense has told me that they plan to make an issue of the fact that one of the individuals that elimination samples
    were taken from back in 1992 was not re-compared to the DMA in the rape kit in 2007 because there were only
    extractions and there was not enough to retest. My understanding is that we cannot rule out other contributors to the
    rape kit sample and 1 know that Rudy was likely with the defendant that night. Everyone pise has been ruled out. i just
    want to be able to say that Rudy was ruled out too . Or if not — then I might have enough information to charge him.

    At trial, ! plan to cal! both Orchid and HPD analysts to testify regarding the DIMA results that were obtained by each
                           .
    respective agency For this last comparison, I am fine with whoever does the analysis. My biggest concern is just that
    it be done by the trial date. Not sure who has a quicker turn around time. Thanks for all your help, Robin.

    Nataiie




    From: Webb, Micah
    Sent: Thursday, May 19, 2G11 12:32 PM


                                                                                                                 0002075
              Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 348 of 368
    To; ’RobinD,Guidry @ dtyofhouston net'  .
j   Cc; Tlse, Natalie
    Subject; Re: Obel Cruz Garda case 105758592




    i agree. The new swab is for the guy we didn’t have a full profile for (can't remember name off hand).


    From; RobinD Guidry
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    Cc: Courtney Head ; Use, Natalie
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                                    .
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    Something to consider: we can process it in time for the July 25, 2011 trial date, assuming it is submitted In about a
         .                                                                          .
    week However, you will need Orchid to testify regarding their evidence We would then testify to state whether the
    new reference matched any of the data generated by Orchid. I think testimony would be simplified if all of the DNA
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    testing was conducted by Orchid (They would issue one comprehensive report.) Your thoughts?

    Thanks,
    Robin

    Robin DeViile Guidry, M. S., F- ABC
    Criminalist Spedalist
    Houston Police Department Crime Laboratory
    Phone: 713-308- 2620
    Fax: 713-308- 2645
    Email:

    >> > “Webb, Micah" < WEBB_MICAH@ dao.hctx .net> 5/ 19/ 2011 10:07 AM >>>

    We are having the FBi collect another buccal swab to be tested and compared to the rape kit of Diana Garcia and any other items
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    Advise

    IVlicah K. Webb, D.A. Investigator
    282nd District Court
    Harris County District Attorney's Office
    1201 Franklin St, Suite 600
    Houston , Texas 77002-1923
    713-755-0410

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    the express permission of the Harris County District Attorney or her designated representative.




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 349 of 368

                 13847940101C / Court: 337




                   EXHIBIT 132




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 350 of 368




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   Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 351 of 368



 DMA Timeline


 9/30/92 ll:30ish PM

 Offense occurs. Cigar and other physical evidence from the scene is tagged by CSU j. Norris

 10/1/92 4:25 AM (Supp. 1)

 Rape Kit is completed at St, Joseph’s hospital by SANE Nurse Gloria Kolginczok and transported
              .
 to HPD by W T. Bredemeyer

 10/4/92 (Supp. 3 }

 UP Hernandez interviews Leonardo German and obtains blood and saliva samples

 10/5/92 (Supp. 15)

 Stephens requests that the crime lab do a DNA workup on the rape kit and compare to any
 blood samples submitted from male suspects

10/7/92 {Supp. 16)

Candida Lebron/Rogelio Avlles-Barroso is arrested and interviewed by AC Alonzo and obtains a
DNA sample

10/15 /92 {Supp. 31)

Arturo Rodriguez’s DNA sample was obtained

10/16/92 (Supp 31).
Bienvenido Melo's DNA sample was obtained

10/9/ 92 (Supp. 31)

Deetrice Wallace retrieves these items from the property room: rape kit containing a vaginal
smear, vaginal swabsj.fiW’s blood, hairs, nail scrapings, and panties; fuschla t-shirt, cigar,
                                                                                          and
                      :Vi
tan sheet.        ;         .
                                                                                           .. i




10/ 28/92 (Supp. 28)

BK Sharma receives blood sample from CW, vaginal swab, crotch panties, and blood samples
from Arturo Rodriguez, Leonardo German, Bienvenido Melo, Candida Lebron (Roger ) and found
                                                               » \>   .
                                                                      i


that the DNA extracted from those items was unsuitable for DNA-RFLP analysis

                                                                                                      etyf 4   i
                                                                           All l i e
                                                                            WcL                   0002079
                  Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 352 of 368



             11/9/92 (Supp. 25 )

             Stephens notes that samples of Arturo Rodriguez, Bienvenido Melo, and Javier
                                                                                        Galindo have
             been obtained. Notes that he spoke with Dee Wallace of the Crime Lab who stated that she
                                                                                                      will
             send the semen from the rape kit to be compared to the blood samples.

             12/ 2/92 (Supp. 33)

             Deetrice Wallace states that she has sent extractions only to Genetic Design. The extraction
                                                                                                          s
             are from German, Lebron (Roger), Melo, Arturo, Diana, and extractions from the vaginal
                                                                                                      swab
             and crotch of panties. Genetic Design says that the DNA types from the male fraction of the
             panties are not consistent with any of the tested individuals in this analysis.

            1/10/93 (Supp. 32)

             Deetrice Wallace notes she has sent the rape kit and blood samples to California lab Genetic
             Design for DNA because the lab can do a more exclusive test — RFLP. She says to Stephens
                                                                                                        that
             the semen from the vaginal vault of CW is possibly Arturo's and possibly Bienvenido Melo s and
                                                                                                      '
             RFLP will determlni. FT .\
                                       '




            1/17/94 (Supp. 35)

            DNA was obtained by Stephens from Carmelo Martinez Santana (Rudy) who was in custody
                                                                                                 on
                                   .
            a misdemeanor case Comparison with the rape kit is requested.

            1/ 27/94 (Supp. 36)

            Stephens speaks to Joe thu who tells him that the results of the PCR analysis on the
                                                                                                 blood of
            Rudy could not be excluded. Does not say what Item in the rape kit he was compared ,
                                                                                                   to
            presumably ail. Stephens requests Genetic Design do more specific tests including the AMP
                                                                                                        -
            FLP. D, Wallace sends the DNA extraction from Rudy to Genetic Design for comparison with
            RESULTS of what was previously submitted.

            2/24/94 (Supp, 371

            The HLQDQ ALPHA and D1S80 Types from Rudy are not consistent w those previously reported
                                                                          /
i           on 2/4/93 from the vaginal swabs and panties of Diana.
              ,» »
              t
                                                  \ vs*

V.
    —   w
            9/ 7/07 (Supp. 40 }                           1

            Sgt. Mehl asked Cassandrea Pope to locate evidence being stored in the crime lab. Pope
            initialed bag and gave to Connie Park who sealed it and gave the bag and its contents to Sgt.
            Mehl, Mehl initialed and dated It and secured it in the cold case evidence storage room.




                                                                                                        0002080
 *   Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 353 of 368



 9/27/07 (Supp. 42 and 63 }

 Sgt. Mehl drove to the HPD property room on this date to check out the tagged cigar,
                                                                                        it was in a
 separate plastic bag contained in a larger bag that had sheet and shirt.

 10/1/07 (Supp. 43 and 44)

      .
 Sgt Mehl retrieved the Rape kit from the cold case evidence storage room. Mehl sends cigar
                                                                                              ,
 rape kit, and evidence from the crime Sab (1extract tube of Arturo's blood, a cutting from
 Diana's panties, and extractions from each of the following Arturo, Diana's panties, vaginal
 swab, diana's bipod sa/pple, Arturo's blood sample) to Matt Quattaro at Orchid Celimark. The
 intent was to obtain a CODIS worthy DMA profile.

 11/ 27/07 (Supp. 46)

 Orchid Ceilmark's report , completed,

12/5/07 (Supp. 47)

Orchid Ceiimark's report indicates a full single source male DNA profile from the cigar. Vaginal
swab is mix of Arturo and the Cigar man. Panties is a mixture and major profile is Cigar man.
Diana, and Arturo cannot be excluded.

Mehl asked the Cigar man's profile to be entered into CODIS.

Noticing that the Genetic Design lab excluded Arturo and that was wrong, Mehl decides
                                                                                       to send
the other suspect's blood samples and extractions to Matt Quattaro at Orchid Celimark to see if
GD was wrong about any of those as well, These Include: blood and the DNA extraction from
Lebron (Roger }, blood and the DNA extraction from Melo, blood and the DNA extraction from
German, and the DNA extraction of C. Martinez (Rudy) because his orginal blood sample was
not available.
1/16/08 (Supp. 48)

Mehl receives Orchid's report. Lebron, Melo, German are excluded. Partial profile of Martinez
insufft to Include or exclude from rape kit, but he is excluded from the cigar. Cigar man has
been entered into CODIS.

3/ 28/08 (Supp. 54)

A court order for the buccal swab of Obel Cruz Garcia was signed and sent to Agents Mark
Miller and Grlseile Guzman in Puerto Rico where Cruz-Garcia had been located In prison there   .



                                                                                            0002081
  Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 354 of 368



5/21/08 (Supp. 52)

ON A sample requested from Gbel Cruz Garda was taken and sent to Mehl. Mehl stored in cold
ease storage room and never broke the seal on the envelope and sent it directly to Matt
Quattaro at Orchid Cellmark on 5/ 27/08,

7/17/08 (Supp. 55 )

Orchid returned evidence to HPD in separately sealed plastic envelopes.

7/1E/08 (Supp. 58 and 57)

Mehl retrieved the following evidence from Cassandrea Pope and placed them into the
property room: cigar, rape kit, 10 extract tubes and cutting from panties, blood and extraction
from Lebron, Melo, German and extraction from C. Martinez.

7/25/08 (Supp, 58)

Orchid's report is received in the lab.

7/30/08 (Supp. 59)

Mehl reviews report and learns that Orchid says that Cruz-Garcia is the single source on the
cigar. The sperm fraction from the panties is a mixture and he is the major profile also, and
Diana and Arturo cannot be excluded as minor contributors to the mixture.

2/ 4/09

Cassandrea Pope receives evidence back from Orchid

2/1S/09 (Supp. 71)

Mehl inventories evidence in the Cold Case Storage Room and reseals it,

2/19/09 (Supp, 72)
                *
Mehl takes the fvijdence from Cold Case Storage Room and puts it in the property room.

3/11/09 (Supp. 76|and 78)

Defendant's DMA swabs were taken from storage at lab, inventoried and stored in the Cold
Case Storage room. ' '

3/12/09 (Supp. 77 }

Mehl transports Def s swabs to the HPD property room.




                                                                                           0002082
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 355 of 368

                 13847940101C / Court: 337




                   EXHIBIT 133




                                                                      0002083
        ss              Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 356 of 368
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    I
    *             *
$
s            From;                      RobinD Guidry [RobinD. Guidfy@dtyofhouston.net]
f
             Sent:                      Thursday, May 12, 2011 3:35 PM
             To:                        Tise, Natalie
             Cci                        Elliott, Cariess (HFD)
             Subject:                   RE: Obe! Cruz Garda
             Attachments:                          _
                                        105758592 Qrchid DNA report.PDF

             Categories:                Red Category


             Good afternoon, Natalie,

             Attached is the DNA report from Orchid, including the additional hairs tested, It appears that two failed to give DNA
                                         .
             results (front and rear seats) The passenger front door sample did yield a male DNA profile, but one that does not
             match Arturo Rodriguez, Diana Garcia, Candido Lebron, Bienviendo Melo, Leonardo German, Carmeio Martinez, or Obei
             Cruz-Garcia .
             Please let me know if you should have any questions .
             Thanks!
             Robin

             Robin DeViile Guidry, MS,, F-ABC
             Criminalist Specialist
             Houston Police Department Crime Laboratory
             Phone; 713-308- 2620
             Fax: 713 -308-2645
             Email:


             »> "Tise, Natalie" <T!SiS N&TAUBfMao.hetx.net> 3/ 24/ 2011 3:03 PM >»
             Just reread the email i sent you and 1 am sorry for the misspellings. I was in court and so was responding from my
             IPHONE and I can’t ever get anything typed correctly !


             From: Tise, Natalie
             Sent: Thursday, March 24, 2011 9:28 AM
             T@: RobinD Guidry
             Subject: Re: Obei Cruz Garcia

             Wow I am glad I checked too! The trial Date has not changes and it is a preferential setting so I don't forsee
             any wiggle room on that. My main concern is that we get the results in time so that it can ve disclosed to
             defense and so that any follow up can be done ,

             Sent from my iPhone

             On Mar 24, 2011, at 8:56 AM, "RobinD Guidry" < jlpMhD, Guidry{a>cftya!-lio» tofi:. neP:' wrote:
                                                                                        ^
                      Good morning, Natalie,

                      I am so glad that you followed up on this. I have found that there was a delay in getting this
                      stuff out to Orchid , as we had trouble locating Bill Stephens (possibly retired now?) and were
                      waiting to get a contact on an investigator with whom we could coordinate this request to
                      Orchid. I have learned that this sort of request can come from the lab, even though we want
                      Cold Case Grant monies to be used; instead of waiting to an investigator, I am making the
                                                                        i
                                                                                                                       0002084
   Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 357 of 368

request now. I am having the hairs sent out today, with instructions for Orchid to compare the
hairs, if sufficient DNA exists, to Diana Garda's known (to try to determine if a biological
relationship exists ).

I see in the communication iog that there is a trial date set for July 25, 2011 , Is this still the
case? Please let me know if there are any other dates that we need to be aware of, to ensure that
you get the results in time ,

I apologize for this delay , and appreciate you following up with me, getting this case back on
track.

Thank you,
Robin

Robin DeVille Guidry, M.S., F-ABC
Criminalist Specialist
Houston Police Department Crime Laboratory
Phone: 713-308-2620
Fax : 713-308-2645
Email:

»> "Use, Natalie " <TJS£ : NATAlii@dao,hctxmet> 3/22/2011 12 : 11 PM »

i understand. Whenever you come up for air, shoot me an email Thanks !  .


From; RobinD Guidry [maiito: RnfctetD,8uldY#citvofhouslm net]     .
Sent: Tuesday, March 22, 2011 10:51 AM
T®s Tise, Nataiie
Subject; Re: Qbel Cruz Garcia




 Hi, Nataiie,

 I was out last week at training, so I am buried in emails. Let me get an update and get back to you .

Thanks,
Robin

 » > "Tise, Nataiie" <TISE NATAt.lEkada6. Hctx.net > 3/ 21/ 2011 2: 34 PM » >

 Robin,

 Hope all is well with you. i am just checking in with you on the hairs that were outsourced to Orchid for DNA
 testing on this 1992 cold case. Can you piease iet me know what the current status is ?

 Thanks,

 Nataiie




                                                          2
                                                                                                             0002085
Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 358 of 368

                 13847940101C / Court: 337




                   EXHIBIT 134




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 359 of 368




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            Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 360 of 368


TIse, Natalie
From;                       Webb, Micah
Sent:                       Monday, May 16, 2011 3:25 PM
To;                         Use, Natalie
Subject                     FW: RE: Obei Cruz Garcia


No profile matches from our hairs. Still waiting on definitive response for were our "new " buccal swab will be
submitted. Courtney told me that the crime lab would test the swabs. But waiting for a good answer from Robin as
well.

Front RobinD Guidry [mailto:RobinD,Guidry@ cityofhouston net].
        .
Sent - Monday, May 16, 2011 3:21 PM
To; Webb, Micah
Subject: RE: RE: Obei Cruz Garda

                                                                         ' trunk matt ' (TL7F\TL7G) and a “plastic
                                                                                           1

These hairs came from a box of evidence (TL7D\TL7E) that contained both 1
bag containing evidence” (TL7H\TL7I). See Biology section laboratory report dated January 13, 2011.

All of the hairs were found in individual paper folds, that were prepared prior to submission to the Crime Lab. Each of
the 10 apparent hairs were examined for possible root material; those positive for possible root material were sent to
Orchid for testing (the three In this DNA report).

There is nothing in our case file to suggest that there are hairs in addition to these that were tested by Orchid.
Does this help?

                                            .
 >» "Webb, Micah” <WEBB MICAH@dao hctx.net> 5/ 16/ 2011 3:04 PM > > >
                             „


 Were these the hairs that were in a floor mat ?

                                      .
From: RobinD Guidry [maiito:Rob!'nD Guidry@dtyofhouston net]  .
Sent: Monday, May 16, 2011 3:01 PM
To: Webb, Micah
Ce; Courtney Head
Subject: RE: RE: Obei Cruz Garcia

If you look mid-way down the iist of exhibits on page 1 of Orchid's DNA report, you will see the three hairs. Two failed
to give results, while the passenger front door hair gave a partial DNA profile that did not match anyone tested here.
Were there hairs other than these?

 >» " Webb, Micah" < WEBB MICAH@daQ.hctx,net> 5/ 16/ 2011 2:29 PM »>
                             „


 Robin, Thanks for the report. However, I was inquiring about some hairs that were being tested from a floor mat. Was
 this part of this report ? Sorry, I just wanted some clarification.

 Thanks

 Micah Webb

                                       .
 From; RobinD Guidry [mai!to:RobinD Guidry@ cityofhouston net].
 Sent; Monday, May 16, 2011 2:15 PM
 To; Webb, Micah
 Subject: Fwd: RE: Obei Cruz Garcia

 Good afternoon,


                                                                                                               0002088
         Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 361 of 368


Courtney asked thatI forward this to you. Please don't hesitate to call or email should you have any questions.
Thank you,
Robin

Robin DeVIlie Guidry, MS,, F-ABC
Criminalist Specialist
Houston Police Department Crime Laboratory
Phone: 713-308- 2620
Fax: 713-308- 2645
Email: roblndvguldry eityo ou on.net
                    ^ ^ ^
> > > RobinD Guidry 5/ 12/ 2011 3:34 PM > > >
Good afternoon, Natalie,

Attached is the DNA report from Orchid, including the additional hairs tested, It appears that two failed to give DNA
results (front and rear seats), The passenger front door sampie did yield a male DNA profile, but one that does not
match Arturo Rodriguez, Diana Garcia, Candido Lebron, Bienviendo Meio, Leonardo German, Carmeio Martinez, or Obei
Cruz-Garcia,

Please let me know if you should have any questions.
Thanks!
Robin

Robin DeViile Guidry, M.S,, F- ABC
Crlminaiist Specialist
Houston Police Department Crime Laboratory
Phone: 713-308- 2620
Fax: 713-308- 2645
Email: rob;nd,quidfy #cltvofhou$tQn,Ret


»> "Tise, Natalie" <TISE NATALIE@dao,hctx.net> 3/ 24/ 2011 3:03 PM »>
                          „

Just reread the email I sent you and i am sorry for the misspellings. I was in court and so was responding from my
IPHONE and i can' t ever get anything typed correctly !


From; Tise, Natalie
Sent; Thursday, March 24, 2011 9:28 AM
To; RobinD Guidry
Subject; Re: Obei Cruz Garcia

Wow I am glad I checked too! The trial Date has not changes and it is a preferential setting so I don 't forsee
any wiggle room on that , My main concern is that we get the results in time so that it can ve disclosed to
defense and so that any follow up can be done.

Sent from my iPhone

On Mar 24, 2011, at 8:56 AM, "RobinD Guidry" < RohiRO ,Guklrv@eitvolfs (tuston . net> wrote:
        Good morning, Natalie,

        I am so glad that you followed up on this. I have found that there was a delay in getting this
        stuff out to Orchid, as we had trouble locating Bill Stephens (possibly retired now?) and were
        waiting to get a contact on an investigator with whom we could coordinate this request to
                                                           2
                                                                                                          0002089
  Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 362 of 368
 Orchid , f have teamed that this sort of request can come from the lab, even though we want
 Cold Case Grant monies to be used; instead of waiting to an investigator, I am making the
 request now'. I am having the hairs sent out today, with instructions for Orchid to compare the
 hairs, if sufficient DNA exists, to Diana Garcia's known (to try to determine if a biological
 relationship exists).

 I see in the communication log that there is a trial date set for July 25, 2011 . Is this still the
 case? Please let me know if there are anv other dates that we need to be aware of, to ensure that
 you get the results in time,

 I apologize for this delay, and appreciate you following up with me, getting this ease back on
 track.

 Thank YOU,
 Robin

 Robin DeViiie Guidry, M.S. , F-ABC
 Criminalist Specialist
 Houston Police Department Crime Laboratory
 Phone: 713-308-2620
 Fax: 733-308-2645
 Email :

»> 'Tise, Natalie" <I1SE HATAl ;IE(rt:dao hot x , ngt> 3/22/2011 12:11 PM »>
                                                        >       .




 I understand. Whenever you come up for air, shoot me an email. Thanks !




From: RobinD Guidry [maiito:RoblnD,Guidry@cityofbouston . rset]
Sent: Tuesday, March 22, 2011 10:51 AM
To: Tise, Natalie
Subject: Re: Gbel Cruz Garda



Hi, Natalie,

                                                                    .
I was out fast week at training, so I am buried in emails Let me get an update and get back to you              .
Thanks,
Robin

» > "Tise, Natalie" < TIS£ NAmL!E@dao, Hctx n:et> 3/ 21/ 2011 2:34 PM » >
                                                    >



Robin,

Hope all is well with you. 1 am just checking in with you on the hairs that were outsourced to Orchid
                                                                                                      for DNA
testing on this 1992 coid case. Can you please let me know what the current status is ?

Thanks,

Natalie

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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 363 of 368

                 13847940101C / Court: 337




                   EXHIBIT 135




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 364 of 368




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                              Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 365 of 368
                         *




                                                Meeting Notes from fail Meeting with Rudy on 05.16,12

                              8            Defendant = Chico; first met him in Puerto Rico; married cousin Angeiita ;
                                           Defendant's family - one daughter and one brother in PR

                                           Rudy came to Houston in ~ 1989 and worked here for about one year selling


                                                                                             —
                                           drugs; saw Defendant in PR and Defendant wanted to come to Houston ; Rudy
                                           came back to Houston and after 3- 4 months, Defendant called and said he
                                           wanted to come to Houston; Defendant and Angeiita eventually came to
                                           Houston ,

                                           When Defendant came over to Houston , they started working together selling
                                           drugs; also starting using drugs and selling; became a problem for Rudy because
                                           he starting using too much; Defendant used and sold too but he had more
                                           control /support because of his wife therefore he had more money and
                                           maintained the business better than Rudy; Defendant became the boss

                              EXTRANEOUS MURDER

                              »            Saw Defendant kill a person named Saul ; recognized pics of tub

                                           Defendant had a girlfriend that was sister of Richard ; Richard participated in
                                           killing; the girlfriend was Elizabeth ; Elizabeth called and said Saul was making
                                           moves on her and it made Defendant mad and he said he was going over there;
                                           Defendant picked up Saul and Richard ; took Saul to the apartment - Rudy was
                                           with them the whole time

                                           Rudy knows Saul because of the drug business; Saul sold drugs for Defendant
                                           and Rudy for a short time; doesn’t remember fights between Defendant and Saul
                                           re: drugs; thinks Saul might have taken drugs from them

                              *            Apartment was a second floor apartment off of Winkler; Defendant and Richard
                                           tied up his hands and feet; put him laying down and tied him and started to
                                           inject him with cocaine; before they tied him up, Defendant struck CW in the
                                           hands ( possibly with a gun ) ; Defendant got on top of him and thought he broke
                                           his neck; doesn 't remember him strangling him; does not remember Saul being
                                           hit in the face;

                              $            Defendant told Rudy to go into the other room when they got to apartment;
                                           Rudy didn ' t close the door and watched everything from the dark room ;
                                           Defendant then called him into the living room and they asked him to help put
                                           Saul in the bathtub; they left after that and went out drinking; went back to the
                                           apartment 2 - 4 hours later and Saul was still tn bathtub                         4
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             Doesn't know whose name was on apartment but they paid for the apartment;
             sold drugs from the apartment; no one lived there

       { » This all happened before the little boy was killed

             Originally met Saul through Shorty; Shorty knew Saul's family

             Rudy discussed two different people named "Robert" - both Chicanes; The first
             was younger and worked for them and then Shorty started working for them ;
             "Tina " was a Chicano female and she was girlfriend of younger Robert; The
             second was older ( 30 - 35) and had a ranch.

        OTHER EXTRANEOUSES
                                                                                           '
             Defendant assaulting Rudy: happened a long time after Saul ; when they weren t
             working together, Angelita had gone to Santo Domingo to take money;
             Defendant stayed here and picked Rudy up; Defendant and Cesar were going to
             smoke rocks and so Rudy went over to another friend s and Rudy had taken the
                                                                   '


             beeper; Defendant got mad and told him to come to hotel; Defendant forced him
             into the room and then tied his hands and face, put him in the bathroom and said
             they were going to kill him

             Went over to rob a Dominican man named “ Ritico ”; Bitico sold drugs but did not
             sell for them ; located at some apartments on the edge of Loop 610 ; parked in
             the back; Defendant went up to the apartment with someone else; after he came
             down and told Rudy about it and said he raped the man’s wife; this happened
             after the Saul incident

         *   They 'would also sell fake dope to people and then rob them




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                         Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 367 of 368



                           MAIM OFFENSE
                                                                                                                   "
                           *            Defendant told Rudy that he was going to Diana and Arturo’s to pick up his
                                        stuff ' (i.e. cocaine and money); didn’t appear to be mad ; they were in blue four -
                                        door Chevy; Defendant was driving; Roger was with them; remembers
                                        Defendant having a ,45 pistol; doesn’t remember if Roger had a gun; Roger had
                                        a pocket knife

                               $        Doesn 't remember if they had masks when they got out of car but does know
                                        they didn’t have masks on when they came back with Angelo; knows that
                                        Defendant had used a black mask in the past during other incidents to cover his
                                        face

            Defendant and Roger went into apartment and thinks they were in there about
                               &

            20 mins; Rudy could not see the door to the apartment; first thing he
            remembers seeing is Defendant coming up with CW in his arms; he asks
            Defendant what was up and Defendant said that CW “ saw him ” ; Roger wasn’t
            with him at this point; Rudy told Defendant to take CW back to the apartment
            and Defendant left with CW; he didn't stay gone very long and shortly came back
            with CW and Roger; didn’t see them carrying anything but thinks they got some
>4 A
        WA;
            drugs because Defendant later did some drugs with Rudy and Rudy thinks the
     I : \ drugs came from the apartment; Defendant had the .45 in his hand and also had
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                                                                                                                                      L , ,f ,n ' "
                                        Defendant drove the car when they left; Angelo was in the front (? >) and Rudy
                                                                                                                                                  ^
                                                                                                            '




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                                        and Roger were in the back; Rudy had fid gun or weapon on him ; Defendant
i   <



                                        drove straight to 225 towards Raytown; drove to andghhorhped in Baytown                                   m:
                                        but there wfere no houses, etc; Defendant parked the car and they all got out;
        tf                              Defendant told Roger to “ do what you have to do”; Rudy started walking away
                                        and defecated in his pants; next thing Rudy hears is CW making a sound;
                                        assumed that Roger killed CW; when Rudy walked back over, he saw CW had
                                        blood on him but didn't see blood on Defendant or Roger; thinks he only walked
                                        away from them for a couple of minutes; Defendant then told them to put CW
                                        back in the car; Roger and Rudy put him in the back seat; Rudy was in the back
                                        seat with CW

                                   Ss    Left that scene and took 146; remembers parking by some water and the road
                                         was on the other side; doesn't remember there being many lights but
                                         remembers being very close to the roadway; doesn't remember being by any
                                         apartments; wdien they parked, Defendant told Rudy and Roger to throw him in
                                         the water; Defendant was ordering them with the ,45 in his hand; CW's body
                                         kept floating to top; Defendant ordered them to weight the body down ; they then
                                         got in the car and left




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Case 4:17-cv-03621 Document 89-13 Filed on 01/05/23 in TXSD Page 368 of 368



                                                                                    ;
  After they left, Rudy remembers having a blow out on all four tires of vehicle
  thinks they may have gotten the car towed to a motel; remembers      going to
  Charlie’s; they took a taxi to Charlie’s; Roger might have stayed with the car
                                                                                    but
  doesn 't remember; doesn’t remember If Roger went with them to Charlie
                                                                              ’s ;  they
  went to Charlie's to get Defendant’s car and then went to Defendant’s house in
  Humble; Angelita was sleeping when they arrived; Defendant didn’t say
  anything to Angelita ; Defendant then used the drugs he thinks were stolen from
  Diana and Arturo; Rudy and Defendant didn't talk about what happened to
                                                                                   CW

   Next day, went to Rendon Mechanic Shop and helped changed the tires on the
   blue car; also washed the blue car; they ended up selling the blue car and
   Defendant bought a plane ticket; remembers taking him to the airport early the
   next morning; doesn’t remember taking the car back to Charlie s
                                                                   '


   Never heard from Defendant again after he dropped him at airport

   Never had been to the location where CW's body was dumped




                                                                                           0002096
